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                     Exhibit A
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Exhibit A
FTX Trading Ltd. Case No. 22-11068
Summary of Fees by Professional
For the Period May 1, 2023 through May 31, 2023
                                                                      Date of
                  Name               Initials          Rank                               Project Category                                                   Description of Services                                         Hours   Hourly Rate   Fees
                                                                      Service
                                                                                                                        Meeting to discuss review of FTX transition deliverables for submission to the FTX Executive
Tong,Chia-Hui                          CHT        Senior Manager      5/1/2023   Project Management Office Transition                                                                                                         0.3     $650.00       $195.00
                                                                                                                        committee. EY attendees: C. Ancona, C. Tong, and T. Shea
                                                                                                                        Meeting to discuss review of FTX transition deliverables for submission to the FTX Executive
Ancona,Christopher                     CA              Senior         5/1/2023   Project Management Office Transition                                                                                                         0.3     $395.00       $118.50
                                                                                                                        committee. EY attendees: C. Ancona, C. Tong, and T. Shea
                                                                                                                        Meeting to discuss review of FTX transition deliverables for submission to the FTX Executive
Shea JR,Thomas M                      TMS         Partner/Principal   5/1/2023             US Income Tax                                                                                                                      0.3     $825.00       $247.50
                                                                                                                        committee. EY attendees: C. Ancona, C. Tong, and T. Shea
                                                                                                                        Internal call to discuss IRS Audits and outstanding items. EY attendees: T. Shea, J. Scott, L.
Katelas,Andreas                        KA              Senior         5/1/2023           US International Tax                                                                                                                 0.5     $395.00       $197.50
                                                                                                                        Lovelace, D. Bailey, B. Mistler, J. Berman, R. Yang, and A. Katelas
                                                                                                                        Internal call to discuss IRS Audits and outstanding items. EY attendees: T. Shea, J. Scott, L.
Mistler,Brian M                       BMM             Manager         5/1/2023            IRS Audit Matters                                                                                                                   0.5     $525.00       $262.50
                                                                                                                        Lovelace, D. Bailey, B. Mistler, J. Berman, R. Yang, and A. Katelas
                                                                                                                        Internal call to discuss IRS Audits and outstanding items. EY attendees: T. Shea, J. Scott, L.
Berman,Jake                             JB        Senior Manager      5/1/2023            IRS Audit Matters                                                                                                                   0.5     $650.00       $325.00
                                                                                                                        Lovelace, D. Bailey, B. Mistler, J. Berman, R. Yang, and A. Katelas
                                                   Client Serving                                                       Internal call to discuss IRS Audits and outstanding items. EY attendees: T. Shea, J. Scott, L.
Scott,James                             JS                            5/1/2023             US Income Tax                                                                                                                      0.5     $600.00       $300.00
                                                   Contractor JS                                                        Lovelace, D. Bailey, B. Mistler, J. Berman, R. Yang, and A. Katelas
                                                                                                                        Internal call to discuss IRS Audits and outstanding items. EY attendees: T. Shea, J. Scott, L.
Lovelace,Lauren                        LL         Partner/Principal   5/1/2023           US International Tax                                                                                                                 0.5     $825.00       $412.50
                                                                                                                        Lovelace, D. Bailey, B. Mistler, J. Berman, R. Yang, and A. Katelas
                                                                                                                        Internal call to discuss IRS Audits and outstanding items. EY attendees: T. Shea, J. Scott, L.
Shea JR,Thomas M                      TMS         Partner/Principal   5/1/2023            IRS Audit Matters                                                                                                                   0.5     $825.00       $412.50
                                                                                                                        Lovelace, D. Bailey, B. Mistler, J. Berman, R. Yang, and A. Katelas
                                                                                                                        Internal call to discuss IRS Audits and outstanding items. EY attendees: T. Shea, J. Scott, L.
Bailey,Doug                            DB         Partner/Principal   5/1/2023              Tax Advisory                                                                                                                      0.5     $825.00       $412.50
                                                                                                                        Lovelace, D. Bailey, B. Mistler, J. Berman, R. Yang, and A. Katelas
                                                                                                                        Internal call to discuss IRS Audits and outstanding items. EY attendees: T. Shea, J. Scott, L.
Yang,Rachel Sim                        RSY        Senior Manager      5/1/2023           US International Tax                                                                                                                 0.5     $650.00       $325.00
                                                                                                                        Lovelace, D. Bailey, B. Mistler, J. Berman, R. Yang, and A. Katelas
                                                                                                                        Meeting to discuss FTX transition deliverables status related to FTX customer transaction data. EY
Tong,Chia-Hui                          CHT        Senior Manager      5/1/2023   Project Management Office Transition                                                                                                         0.4     $650.00       $260.00
                                                                                                                        attendees: C. Ancona, C. Tong, and K. Gundu
                                                                                                                        Meeting to discuss FTX transition deliverables status related to FTX customer transaction data. EY
Ancona,Christopher                     CA              Senior         5/1/2023   Project Management Office Transition                                                                                                         0.4     $395.00       $158.00
                                                                                                                        attendees: C. Ancona, C. Tong, and K. Gundu
                                                                                                                        Meeting to discuss FTX transition deliverables status related to FTX customer transaction data. EY
Gundu,Kaivalya                         KG         Senior Manager      5/1/2023               Technology                                                                                                                       0.4     $650.00       $260.00
                                                                                                                        attendees: C. Ancona, C. Tong, and K. Gundu
                                                                                                                        Meeting to discuss February fee application for submission to the debtor's counsel. EY attendees:
Tong,Chia-Hui                          CHT        Senior Manager      5/1/2023   Project Management Office Transition                                                                                                         0.4     $650.00       $260.00
                                                                                                                        C. Ancona, and C. Tong
                                                                                                                        Meeting to discuss February fee application for submission to the debtor's counsel. EY attendees:
Ancona,Christopher                     CA              Senior         5/1/2023   Project Management Office Transition                                                                                                         0.4     $395.00       $158.00
                                                                                                                        C. Ancona, and C. Tong
                                                                                                                        Daily meeting to review new documentation provided, address open items and questions from
MacLean,Corrie                         CM              Senior         5/1/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.         1.0     $395.00       $395.00
                                                                                                                        Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                                        Daily meeting to review new documentation provided, address open items and questions from
Hammon,David Lane                      DLH            Manager         5/1/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.         1.0     $525.00       $525.00
                                                                                                                        Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                                        Daily meeting to review new documentation provided, address open items and questions from
Choudary,Hira                          HC               Staff         5/1/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.         1.0     $225.00       $225.00
                                                                                                                        Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                                        Daily meeting to review new documentation provided, address open items and questions from
Knoeller,Thomas J.                     TJK        Partner/Principal   5/1/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.         1.0     $825.00       $825.00
                                                                                                                        Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                                        Daily meeting to review new documentation provided, address open items and questions from
Staromiejska,Kinga                     KS             Manager         5/1/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.         1.0     $525.00       $525.00
                                                                                                                        Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                                        Meeting with B. Danhach (FTX) to discuss UAE due diligence. EY attendees: D. Hammon, H.
MacLean,Corrie                         CM              Senior         5/1/2023        Meetings with Management                                                                                                                0.2     $395.00        $79.00
                                                                                                                        Choudary, and C. MacLean
                                                                                                                        Meeting with B. Danhach (FTX) to discuss UAE due diligence. EY attendees: D. Hammon, H.
Hammon,David Lane                      DLH            Manager         5/1/2023        Meetings with Management                                                                                                                0.2     $525.00       $105.00
                                                                                                                        Choudary, and C. MacLean
                                                                                                                        Meeting with B. Danhach (FTX) to discuss UAE due diligence. EY attendees: D. Hammon, H.
Choudary,Hira                          HC               Staff         5/1/2023        Meetings with Management                                                                                                                0.2     $225.00        $45.00
                                                                                                                        Choudary, and C. MacLean
                                                                                                                        Call with EY Bahamas, BVI, Cayman teams to discuss due diligence kick off. EY attendees: C.
MacLean,Corrie                         CM              Senior         5/1/2023               Non US Tax                 Ancona, B. Coakley, M. Sangster, D. Hammon, T. McPhee, M. Bahadur, C. Tong, O. Espley-Ault,           0.4     $395.00       $158.00
                                                                                                                        H. Choudary, B. Rahming, and C. MacLean
                                                                                                                        Call with EY Bahamas, BVI, Cayman teams to discuss due diligence kick off. EY attendees: C.
Espley-Ault,Olivia                     OEA        Senior Manager      5/1/2023               Non US Tax                 Ancona, B. Coakley, M. Sangster, D. Hammon, T. McPhee, M. Bahadur, C. Tong, O. Espley-Ault,           0.4     $650.00       $260.00
                                                                                                                        H. Choudary, B. Rahming, and C. MacLean
                                                                                                                        Call with EY Bahamas, BVI, Cayman teams to discuss due diligence kick off. EY attendees: C.
Brittany Coakley,Breshante             BBC              Staff         5/1/2023               Non US Tax                 Ancona, B. Coakley, M. Sangster, D. Hammon, T. McPhee, M. Bahadur, C. Tong, O. Espley-Ault,           0.4     $225.00        $90.00
                                                                                                                        H. Choudary, B. Rahming, and C. MacLean
                                                                                                                        Call with EY Bahamas, BVI, Cayman teams to discuss due diligence kick off. EY attendees: C.
Rahming,Brinique                       BR              Senior         5/1/2023               Non US Tax                 Ancona, B. Coakley, M. Sangster, D. Hammon, T. McPhee, M. Bahadur, C. Tong, O. Espley-Ault,           0.4     $395.00       $158.00
                                                                                                                        H. Choudary, B. Rahming, and C. MacLean
                                                                                                                        Call with EY Bahamas, BVI, Cayman teams to discuss due diligence kick off. EY attendees: C.
Tong,Chia-Hui                          CHT        Senior Manager      5/1/2023   Project Management Office Transition   Ancona, B. Coakley, M. Sangster, D. Hammon, T. McPhee, M. Bahadur, C. Tong, O. Espley-Ault,           0.4     $650.00       $260.00
                                                                                                                        H. Choudary, B. Rahming, and C. MacLean
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                                                         Date of
                 Name     Initials         Rank                              Project Category                                                  Description of Services                                         Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Call with EY Bahamas, BVI, Cayman teams to discuss due diligence kick off. EY attendees: C.
Ancona,Christopher          CA            Senior         5/1/2023   Project Management Office Transition   Ancona, B. Coakley, M. Sangster, D. Hammon, T. McPhee, M. Bahadur, C. Tong, O. Espley-Ault,          0.4     $395.00       $158.00
                                                                                                           H. Choudary, B. Rahming, and C. MacLean
                                                                                                           Call with EY Bahamas, BVI, Cayman teams to discuss due diligence kick off. EY attendees: C.
Hammon,David Lane          DLH           Manager         5/1/2023               Non US Tax                 Ancona, B. Coakley, M. Sangster, D. Hammon, T. McPhee, M. Bahadur, C. Tong, O. Espley-Ault,          0.4     $525.00       $210.00
                                                                                                           H. Choudary, B. Rahming, and C. MacLean
                                                                                                           Call with EY Bahamas, BVI, Cayman teams to discuss due diligence kick off. EY attendees: C.
Choudary,Hira               HC             Staff         5/1/2023               Non US Tax                 Ancona, B. Coakley, M. Sangster, D. Hammon, T. McPhee, M. Bahadur, C. Tong, O. Espley-Ault,          0.4     $225.00        $90.00
                                                                                                           H. Choudary, B. Rahming, and C. MacLean
                                                                                                           Call with EY Bahamas, BVI, Cayman teams to discuss due diligence kick off. EY attendees: C.
McPhee,Tiffany              TM           Manager         5/1/2023               Non US Tax                 Ancona, B. Coakley, M. Sangster, D. Hammon, T. McPhee, M. Bahadur, C. Tong, O. Espley-Ault,          0.4     $525.00       $210.00
                                                                                                           H. Choudary, B. Rahming, and C. MacLean
                                                                                                           Call with EY Bahamas, BVI, Cayman teams to discuss due diligence kick off. EY attendees: C.
Sangster,Mark               MS            Senior         5/1/2023               Non US Tax                 Ancona, B. Coakley, M. Sangster, D. Hammon, T. McPhee, M. Bahadur, C. Tong, O. Espley-Ault,          0.4     $395.00       $158.00
                                                                                                           H. Choudary, B. Rahming, and C. MacLean
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from
MacLean,Corrie             CM             Senior         5/2/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.        1.0     $395.00       $395.00
                                                                                                           Hammon, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from
Hammon,David Lane          DLH           Manager         5/2/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.        1.0     $525.00       $525.00
                                                                                                           Hammon, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from
Staromiejska,Kinga          KS           Manager         5/2/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.        1.0     $525.00       $525.00
                                                                                                           Hammon, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Bi-Weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items.
Tong,Chia-Hui              CHT        Senior Manager     5/2/2023   Project Management Office Transition                                                                                                        0.5     $650.00       $325.00
                                                                                                           Attendees: C. Ancona, C. Tong, and H. Choudary
                                                                                                           Bi-Weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items.
Ancona,Christopher          CA            Senior         5/2/2023   Project Management Office Transition                                                                                                        0.5     $395.00       $197.50
                                                                                                           Attendees: C. Ancona, C. Tong, and H. Choudary
                                                                                                           Meeting to clarify on complexity regarding direct tax returns for Swiss and FL entities. EY
Schwarzwälder,Christian     CS        Senior Manager     5/2/2023               Non US Tax                                                                                                                      0.5     $650.00       $325.00
                                                                                                           attendees: C. Schwarzwälder, K. Wagner, and M. Koch
                                                                                                           Meeting to clarify on complexity regarding direct tax returns for Swiss and FL entities. EY
Wagner,Kaspar              KW             Senior         5/2/2023               Non US Tax                                                                                                                      0.5     $395.00       $197.50
                                                                                                           attendees: C. Schwarzwälder, K. Wagner, and M. Koch
                                                                                                           Meeting to clarify on complexity regarding direct tax returns for Swiss and FL entities. EY
Koch,Markus                MK        Managing Director   5/2/2023               Non US Tax                                                                                                                      0.5     $775.00       $387.50
                                                                                                           attendees: C. Schwarzwälder, K. Wagner, and M. Koch
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
MacLean,Corrie             CM             Senior         5/2/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.3     $395.00       $118.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bost,Anne                   BA       Managing Director   5/2/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.3     $775.00       $232.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katelas,Andreas             KA            Senior         5/2/2023           US International Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.3     $395.00       $118.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Farrar,Anne                 AF       Partner/Principal   5/2/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.3     $825.00       $247.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Tong,Chia-Hui              CHT        Senior Manager     5/2/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.3     $650.00       $195.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Ancona,Christopher          CA            Senior         5/2/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.3     $395.00       $118.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Hammon,David Lane          DLH           Manager         5/2/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.3     $525.00       $157.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katsnelson,David            DK           Manager         5/2/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.3     $525.00       $157.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                         National
McComber,Donna             DM                            5/2/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.3     $990.00       $297.00
                                     Partner/Principal
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Choudary,Hira               HC             Staff         5/2/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.3     $225.00        $67.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                       Client Serving
Scott,James                 JS                           5/2/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.3     $600.00       $180.00
                                       Contractor JS
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Gundu,Kaivalya              KG        Senior Manager     5/2/2023               Technology                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.3     $650.00       $195.00
                                                                                                           the implementation of global compliance and reporting services
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                                                         Date of
                  Name    Initials         Rank                              Project Category                                                   Description of Services                                         Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Staromiejska,Kinga          KS           Manager         5/2/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.3     $525.00       $157.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                      Client Serving
Bieganski,Walter           WB                            5/2/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.3     $200.00        $60.00
                                      Contractor WB
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Haas,Zach                   ZH        Senior Manager     5/2/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.3     $650.00       $195.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bailey,Doug                 DB       Partner/Principal   5/2/2023              Tax Advisory                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.3     $825.00       $247.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Richardson,Audrey Sarah    ASR           Manager         5/2/2023          Information Reporting           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.3     $525.00       $157.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Healy,John                  JH        Senior Manager     5/2/2023            IRS Audit Matters             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.3     $650.00       $195.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Cavusoglu,Coskun            CC       Partner/Principal   5/2/2023               Technology                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.3     $825.00       $247.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Mistler,Brian M           BMM            Manager         5/2/2023        Meetings with Management                                                                                                                0.4     $525.00       $210.00
                                                                                                           EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, and J. Berman
                                                                                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Tong,Chia-Hui              CHT        Senior Manager     5/2/2023        Meetings with Management                                                                                                                0.4     $650.00       $260.00
                                                                                                           EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, and J. Berman
                                                                                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Ancona,Christopher          CA            Senior         5/2/2023        Meetings with Management                                                                                                                0.4     $395.00       $158.00
                                                                                                           EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, and J. Berman
                                                                                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Berman,Jake                 JB        Senior Manager     5/2/2023        Meetings with Management                                                                                                                0.4     $650.00       $260.00
                                                                                                           EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, and J. Berman
                                       Client Serving                                                      Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Scott,James                 JS                           5/2/2023        Meetings with Management                                                                                                                0.4     $600.00       $240.00
                                       Contractor JS                                                       EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, and J. Berman
                                                                                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Shea JR,Thomas M           TMS       Partner/Principal   5/2/2023        Meetings with Management                                                                                                                0.4     $825.00       $330.00
                                                                                                           EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, and J. Berman
Ancona,Christopher          CA            Senior         5/3/2023   Project Management Office Transition   Meeting to discuss February Fee application. EY attendees: C. Ancona and D. Neziroski                 0.4     $395.00       $158.00
                                                                                                           Meeting with J. Chan (FTX) and B. Seaway (A&M) to discuss open items, questions, and action
MacLean,Corrie             CM             Senior         5/3/2023        Meetings with Management          items. EY attendees: C. Ancona, B. Mistler, C. MacLean, L. Lovelace, J. Berman, D. Bailey, J.         0.4     $395.00       $158.00
                                                                                                           Scott, and A. Bost
                                                                                                           Meeting with J. Chan (FTX) and B. Seaway (A&M) to discuss open items, questions, and action
Bost,Anne                   BA       Managing Director   5/3/2023        Meetings with Management          items. EY attendees: C. Ancona, B. Mistler, C. MacLean, L. Lovelace, J. Berman, D. Bailey, J.         0.4     $775.00       $310.00
                                                                                                           Scott, and A. Bost
                                                                                                           Meeting with J. Chan (FTX) and B. Seaway (A&M) to discuss open items, questions, and action
Mistler,Brian M           BMM            Manager         5/3/2023        Meetings with Management          items. EY attendees: C. Ancona, B. Mistler, C. MacLean, L. Lovelace, J. Berman, D. Bailey, J.         0.4     $525.00       $210.00
                                                                                                           Scott, and A. Bost
                                                                                                           Meeting with J. Chan (FTX) and B. Seaway (A&M) to discuss open items, questions, and action
Ancona,Christopher          CA            Senior         5/3/2023        Meetings with Management          items. EY attendees: C. Ancona, B. Mistler, C. MacLean, L. Lovelace, J. Berman, D. Bailey, J.         0.4     $395.00       $158.00
                                                                                                           Scott, and A. Bost
                                                                                                           Meeting with J. Chan (FTX) and B. Seaway (A&M) to discuss open items, questions, and action
Berman,Jake                 JB        Senior Manager     5/3/2023        Meetings with Management          items. EY attendees: C. Ancona, B. Mistler, C. MacLean, L. Lovelace, J. Berman, D. Bailey, J.         0.4     $650.00       $260.00
                                                                                                           Scott, and A. Bost
                                                                                                           Meeting with J. Chan (FTX) and B. Seaway (A&M) to discuss open items, questions, and action
                                       Client Serving
Scott,James                 JS                           5/3/2023        Meetings with Management          items. EY attendees: C. Ancona, B. Mistler, C. MacLean, L. Lovelace, J. Berman, D. Bailey, J.         0.4     $600.00       $240.00
                                       Contractor JS
                                                                                                           Scott, and A. Bost
                                                                                                           Meeting with J. Chan (FTX) and B. Seaway (A&M) to discuss open items, questions, and action
Lovelace,Lauren             LL       Partner/Principal   5/3/2023        Meetings with Management          items. EY attendees: C. Ancona, B. Mistler, C. MacLean, L. Lovelace, J. Berman, D. Bailey, J.         0.4     $825.00       $330.00
                                                                                                           Scott, and A. Bost
                                                                                                           Meeting with J. Chan (FTX) and B. Seaway (A&M) to discuss open items, questions, and action
Bailey,Doug                 DB       Partner/Principal   5/3/2023        Meetings with Management          items. EY attendees: C. Ancona, B. Mistler, C. MacLean, L. Lovelace, J. Berman, D. Bailey, J.         0.4     $825.00       $330.00
                                                                                                           Scott, and A. Bost
                                                                                                           Meeting to discuss FTX project status and deliverable deadlines for reporting to the FTX executive
Tong,Chia-Hui              CHT        Senior Manager     5/3/2023   Project Management Office Transition                                                                                                         0.5     $650.00       $325.00
                                                                                                           committee. EY attendees: C. Ancona, C. Tong, and T. Shea
                                                                                                           Meeting to discuss FTX project status and deliverable deadlines for reporting to the FTX executive
Ancona,Christopher          CA            Senior         5/3/2023   Project Management Office Transition                                                                                                         0.5     $395.00       $197.50
                                                                                                           committee. EY attendees: C. Ancona, C. Tong, and T. Shea
                                                                                                           Meeting to discuss FTX project status and deliverable deadlines for reporting to the FTX executive
Shea JR,Thomas M           TMS       Partner/Principal   5/3/2023             US Income Tax                                                                                                                      0.5     $825.00       $412.50
                                                                                                           committee. EY attendees: C. Ancona, C. Tong, and T. Shea
                                                                                                           Continued discussions regarding February fee application. Attendees: C. Ancona, T. Shea, C.
Tong,Chia-Hui              CHT        Senior Manager     5/3/2023   Project Management Office Transition                                                                                                         0.5     $650.00       $325.00
                                                                                                           Tong, and D. Neziroski
                                                                                                           Continued discussions regarding February fee application. Attendees: C. Ancona, T. Shea, C.
Ancona,Christopher          CA            Senior         5/3/2023   Project Management Office Transition                                                                                                         0.5     $395.00       $197.50
                                                                                                           Tong, and D. Neziroski
                                                                                                           Continued discussions regarding February fee application. Attendees: C. Ancona, T. Shea, C.
Shea JR,Thomas M           TMS       Partner/Principal   5/3/2023             US Income Tax                                                                                                                      0.5     $825.00       $412.50
                                                                                                           Tong, and D. Neziroski
                                                                                                           Call regarding the addition of liabilities to FTX Legal Entity Asset Snapshot for debtors. EY
Mistler,Brian M           BMM            Manager         5/3/2023             US Income Tax                                                                                                                      0.2     $525.00       $105.00
                                                                                                           attendees: B. Mistler and M. Wong
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                                                        Date of
                  Name   Initials        Rank                               Project Category                                                    Description of Services                                         Hours   Hourly Rate   Fees
                                                        Service
                                                                                                          Call regarding the addition of liabilities to FTX Legal Entity Asset Snapshot for debtors. EY
Wong,Maddie               WM              Staff         5/3/2023             US Income Tax                                                                                                                       0.2     $225.00        $45.00
                                                                                                          attendees: B. Mistler and M. Wong
                                                                                                          Bi-weekly meeting to discuss FTX transition deliverables including tax project status and
Tong,Chia-Hui             CHT       Senior Manager      5/3/2023   Project Management Office Transition   identifying risks and issues related to FTX project deliverables for reporting to the FTX executive    0.5     $650.00       $325.00
                                                                                                          committee. EY attendees: C. Ancona, T. Shea, C. Tong, A. Farrar, and J. Scott
                                                                                                          Bi-weekly meeting to discuss FTX transition deliverables including tax project status and
Ancona,Christopher         CA            Senior         5/3/2023   Project Management Office Transition   identifying risks and issues related to FTX project deliverables for reporting to the FTX executive    0.5     $395.00       $197.50
                                                                                                          committee. EY attendees: C. Ancona, T. Shea, C. Tong, A. Farrar, and J. Scott
                                                                                                          Bi-weekly meeting to discuss FTX transition deliverables including tax project status and
                                     Client Serving
Scott,James                JS                           5/3/2023             US Income Tax                identifying risks and issues related to FTX project deliverables for reporting to the FTX executive    0.5     $600.00       $300.00
                                     Contractor JS
                                                                                                          committee. EY attendees: C. Ancona, T. Shea, C. Tong, A. Farrar, and J. Scott
                                                                                                          Bi-weekly meeting to discuss FTX transition deliverables including tax project status and
Shea JR,Thomas M          TMS       Partner/Principal   5/3/2023             US Income Tax                identifying risks and issues related to FTX project deliverables for reporting to the FTX executive    0.5     $825.00       $412.50
                                                                                                          committee. EY attendees: C. Ancona, T. Shea, C. Tong, A. Farrar, and J. Scott
                                                                                                          Bi-weekly meeting to discuss FTX transition deliverables including tax project status and
Farrar,Anne                AF       Partner/Principal   5/3/2023   Project Management Office Transition   identifying risks and issues related to FTX project deliverables for reporting to the FTX executive    0.5     $825.00       $412.50
                                                                                                          committee. EY attendees: C. Ancona, T. Shea, C. Tong, A. Farrar, and J. Scott
                                                                                                          Meeting with the FTX U.S. Federal Tax team to discuss upcoming deliverables and deadlines. EY
Mistler,Brian M          BMM            Manager         5/3/2023             US Income Tax                                                                                                                       0.5     $525.00       $262.50
                                                                                                          attendees: C. Ancona, C. Tong, T. Shea, J. Berman, B. Mistler, Z. Haas, J. Scott, and A. Farrar

                                                                                                          Meeting with the FTX U.S. Federal Tax team to discuss upcoming deliverables and deadlines. EY
Tong,Chia-Hui             CHT       Senior Manager      5/3/2023   Project Management Office Transition                                                                                                          0.5     $650.00       $325.00
                                                                                                          attendees: C. Ancona, C. Tong, T. Shea, J. Berman, B. Mistler, Z. Haas, J. Scott, and A. Farrar

                                                                                                          Meeting with the FTX U.S. Federal Tax team to discuss upcoming deliverables and deadlines. EY
Ancona,Christopher         CA            Senior         5/3/2023   Project Management Office Transition                                                                                                          0.5     $395.00       $197.50
                                                                                                          attendees: C. Ancona, C. Tong, T. Shea, J. Berman, B. Mistler, Z. Haas, J. Scott, and A. Farrar

                                                                                                          Meeting with the FTX U.S. Federal Tax team to discuss upcoming deliverables and deadlines. EY
Berman,Jake                JB       Senior Manager      5/3/2023             US Income Tax                                                                                                                       0.5     $650.00       $325.00
                                                                                                          attendees: C. Ancona, C. Tong, T. Shea, J. Berman, B. Mistler, Z. Haas, J. Scott, and A. Farrar

                                     Client Serving                                                       Meeting with the FTX U.S. Federal Tax team to discuss upcoming deliverables and deadlines. EY
Scott,James                JS                           5/3/2023             US Income Tax                                                                                                                       0.5     $600.00       $300.00
                                     Contractor JS                                                        attendees: C. Ancona, C. Tong, T. Shea, J. Berman, B. Mistler, Z. Haas, J. Scott, and A. Farrar

                                                                                                          Meeting with the FTX U.S. Federal Tax team to discuss upcoming deliverables and deadlines. EY
Shea JR,Thomas M          TMS       Partner/Principal   5/3/2023             US Income Tax                                                                                                                       0.5     $825.00       $412.50
                                                                                                          attendees: C. Ancona, C. Tong, T. Shea, J. Berman, B. Mistler, Z. Haas, J. Scott, and A. Farrar

                                                                                                          Meeting with the FTX U.S. Federal Tax team to discuss upcoming deliverables and deadlines. EY
Haas,Zach                  ZH       Senior Manager      5/3/2023             US Income Tax                                                                                                                       0.5     $650.00       $325.00
                                                                                                          attendees: C. Ancona, C. Tong, T. Shea, J. Berman, B. Mistler, Z. Haas, J. Scott, and A. Farrar

                                                                                                          Meeting with the FTX U.S. Federal Tax team to discuss upcoming deliverables and deadlines. EY
Farrar,Anne                AF       Partner/Principal   5/3/2023   Project Management Office Transition                                                                                                          0.5     $825.00       $412.50
                                                                                                          attendees: C. Ancona, C. Tong, T. Shea, J. Berman, B. Mistler, Z. Haas, J. Scott, and A. Farrar
                                                                                                          Meeting to discuss FTX State and Local Tax deliverables and upcoming deadlines. EY attendees:
Tong,Chia-Hui             CHT       Senior Manager      5/3/2023   Project Management Office Transition                                                                                                          0.7     $650.00       $455.00
                                                                                                          C. Ancona, C. Tong, T. Shea, M. Musano, and E. Hall
                                                                                                          Meeting to discuss FTX State and Local Tax deliverables and upcoming deadlines. EY attendees:
Ancona,Christopher         CA            Senior         5/3/2023   Project Management Office Transition                                                                                                          0.7     $395.00       $276.50
                                                                                                          C. Ancona, C. Tong, T. Shea, M. Musano, and E. Hall
                                                                                                          Meeting to discuss FTX State and Local Tax deliverables and upcoming deadlines. EY attendees:
Hall,Emily Melissa        EMH            Senior         5/3/2023         US State and Local Tax                                                                                                                  0.7     $395.00       $276.50
                                                                                                          C. Ancona, C. Tong, T. Shea, M. Musano, and E. Hall
                                                                                                          Meeting to discuss FTX State and Local Tax deliverables and upcoming deadlines. EY attendees:
Musano,Matthew Albert    MAM        Senior Manager      5/3/2023         US State and Local Tax                                                                                                                  0.7     $650.00       $455.00
                                                                                                          C. Ancona, C. Tong, T. Shea, M. Musano, and E. Hall
                                                                                                          Meeting to discuss FTX State and Local Tax deliverables and upcoming deadlines. EY attendees:
Shea JR,Thomas M          TMS       Partner/Principal   5/3/2023         US State and Local Tax                                                                                                                  0.7     $825.00       $577.50
                                                                                                          C. Ancona, C. Tong, T. Shea, M. Musano, and E. Hall
                                                                                                          Meeting to discuss FTX Non-US Direct tax deliverables and upcoming deadlines. EY attendees: C.
Tong,Chia-Hui             CHT       Senior Manager      5/3/2023   Project Management Office Transition                                                                                                          0.7     $650.00       $455.00
                                                                                                          Ancona, C. Tong, K. Staromiejska, and T. Knoeller
                                                                                                          Meeting to discuss FTX Non-US Direct tax deliverables and upcoming deadlines. EY attendees: C.
Ancona,Christopher         CA            Senior         5/3/2023   Project Management Office Transition                                                                                                          0.7     $395.00       $276.50
                                                                                                          Ancona, C. Tong, K. Staromiejska, and T. Knoeller
                                                                                                          Meeting to discuss FTX Non-US Direct tax deliverables and upcoming deadlines. EY attendees: C.
Staromiejska,Kinga         KS           Manager         5/3/2023               Non US Tax                                                                                                                        0.7     $525.00       $367.50
                                                                                                          Ancona, C. Tong, K. Staromiejska, and T. Knoeller
                                                                                                          Meeting to discuss FTX Non-US Direct tax deliverables and upcoming deadlines. EY attendees: C.
Knoeller,Thomas J.        TJK       Partner/Principal   5/3/2023               Non US Tax                                                                                                                        0.7     $825.00       $577.50
                                                                                                          Ancona, C. Tong, K. Staromiejska, and T. Knoeller
                                                                                                          Meeting with FTX Japan to discuss due diligence. EY attendees: D. Hammon, T. Hamano, H.
MacLean,Corrie            CM             Senior         5/2/2023               Non US Tax                                                                                                                        0.8     $395.00       $316.00
                                                                                                          Choudary, and C. MacLean
                                                                                                          Meeting with FTX Japan to discuss due diligence. EY attendees: D. Hammon, T. Hamano, H.
Hammon,David Lane         DLH           Manager         5/2/2023               Non US Tax                                                                                                                        0.8     $525.00       $420.00
                                                                                                          Choudary, and C. MacLean
                                                                                                          Meeting with J. Chan (FTX) to discuss due diligence. EY attendees: D. Hammon, C. MacLean, and
MacLean,Corrie            CM             Senior         5/2/2023        Meetings with Management                                                                                                                 0.6     $395.00       $237.00
                                                                                                          C. Wong
                                                                                                          Meeting with J. Chan (FTX) to discuss due diligence. EY attendees: D. Hammon, C. MacLean, and
Wong,Charlotte            CW        Senior Manager      5/2/2023        Meetings with Management                                                                                                                 0.6     $650.00       $390.00
                                                                                                          C. Wong
                                                                                                          Meeting with J. Chan (FTX) to discuss due diligence. EY attendees: D. Hammon, C. MacLean, and
Hammon,David Lane         DLH           Manager         5/2/2023        Meetings with Management                                                                                                                 0.6     $525.00       $315.00
                                                                                                          C. Wong
                                                                                                          Meeting with EY Cyprus team to discuss due diligence questionnaire. EY attendees: C. MacLean,
MacLean,Corrie            CM             Senior         5/3/2023               Non US Tax                                                                                                                        0.4     $395.00       $158.00
                                                                                                          D. Hammon, H. Choudary, A. Tsikkouris, E. Papachristodoulou, T. Skarou, and V. Themistou
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                                                               Date of
                 Name           Initials        Rank                               Project Category                                                  Description of Services                                     Hours   Hourly Rate   Fees
                                                               Service
                                                                                                                 Meeting with EY Cyprus team to discuss due diligence questionnaire. EY attendees: C. MacLean,
Papachristodoulou,Elpida          EP        Senior Manager     5/3/2023            Value Added Tax                                                                                                                0.4     $650.00       $260.00
                                                                                                                 D. Hammon, H. Choudary, A. Tsikkouris, E. Papachristodoulou, T. Skarou, and V. Themistou

                                                                                                                 Meeting with EY Cyprus team to discuss due diligence questionnaire. EY attendees: C. MacLean,
Themistou,Victoria                VT            Senior         5/3/2023               Non US Tax                                                                                                                  0.4     $395.00       $158.00
                                                                                                                 D. Hammon, H. Choudary, A. Tsikkouris, E. Papachristodoulou, T. Skarou, and V. Themistou

                                                                                                                 Meeting with EY Cyprus team to discuss due diligence questionnaire. EY attendees: C. MacLean,
Hammon,David Lane                DLH           Manager         5/3/2023               Non US Tax                                                                                                                  0.4     $525.00       $210.00
                                                                                                                 D. Hammon, H. Choudary, A. Tsikkouris, E. Papachristodoulou, T. Skarou, and V. Themistou

                                                                                                                 Meeting with EY Cyprus team to discuss due diligence questionnaire. EY attendees: C. MacLean,
Tsikkouris,Anastasios             AT           Manager         5/3/2023               Non US Tax                                                                                                                  0.4     $525.00       $210.00
                                                                                                                 D. Hammon, H. Choudary, A. Tsikkouris, E. Papachristodoulou, T. Skarou, and V. Themistou

                                                                                                                 Meeting with EY Cyprus team to discuss due diligence questionnaire. EY attendees: C. MacLean,
Skarou,Tonia                      TS            Senior         5/3/2023               Non US Tax                                                                                                                  0.4     $395.00       $158.00
                                                                                                                 D. Hammon, H. Choudary, A. Tsikkouris, E. Papachristodoulou, T. Skarou, and V. Themistou
                                                                                                                 Daily meeting to review new documentation provided, address open items and questions from
MacLean,Corrie                   CM             Senior         5/3/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.    0.8     $395.00       $316.00
                                                                                                                 Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                                 Daily meeting to review new documentation provided, address open items and questions from
Staromiejska,Kinga                KS           Manager         5/3/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.    0.8     $525.00       $420.00
                                                                                                                 Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                                 Daily meeting to review new documentation provided, address open items and questions from
Hammon,David Lane                DLH           Manager         5/3/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.    0.8     $525.00       $420.00
                                                                                                                 Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                                 Daily meeting to review new documentation provided, address open items and questions from
Knoeller,Thomas J.               TJK       Partner/Principal   5/3/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.    0.8     $825.00       $660.00
                                                                                                                 Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                                 Bi-Weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Tong,Chia-Hui                    CHT        Senior Manager     5/4/2023   Project Management Office Transition                                                                                                    0.5     $650.00       $325.00
                                                                                                                 attendees: C. Ancona, C. Tong, and H. Choudary
                                                                                                                 Bi-Weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Ancona,Christopher                CA            Senior         5/4/2023   Project Management Office Transition                                                                                                    0.5     $395.00       $197.50
                                                                                                                 attendees: C. Ancona, C. Tong, and H. Choudary
                                                                                                                 Meeting with K. Schultea (FTX) regarding the FTX Trading and West Realm Shires Inc equity
DeVincenzo,Jennie                JDV       Managing Director   5/4/2023        Meetings with Management          Carta portal and documentation accessibility. EY attendees: R. Walker, J. DeVincenzo, and K.     1.2     $775.00       $930.00
                                                                                                                 Wrenn
                                                                                                                 Meeting with K. Schultea (FTX) regarding the FTX Trading and West Realm Shires Inc equity
Wrenn,Kaitlin Doyle             KDW            Manager         5/4/2023        Meetings with Management          Carta portal and documentation accessibility. EY attendees: R. Walker, J. DeVincenzo, and K.     1.2     $525.00       $630.00
                                                                                                                 Wrenn
                                                                                                                 Meeting with K. Schultea (FTX) regarding the FTX Trading and West Realm Shires Inc equity
Walker,Rachael Leigh Braswell   RLBW       Partner/Principal   5/4/2023        Meetings with Management          Carta portal and documentation accessibility. EY attendees: R. Walker, J. DeVincenzo, and K.     1.2     $825.00       $990.00
                                                                                                                 Wrenn
                                                                                                                 Meeting to discuss trial balance mapping and dividing compliance work that will be done on
Karan,Anna Suncheuri             ASK             Staff         5/4/2023           US International Tax                                                                                                            0.8     $225.00       $180.00
                                                                                                                 OneSource Income Tax software. EY attendees: A. Karan, M. Zhuo, D. Ortiz, P. Zhu, and R. Yang

                                                                                                                 Meeting to discuss trial balance mapping and dividing compliance work that will be done on
Zhuo,Melody                       MZ             Staff         5/4/2023           US International Tax                                                                                                            0.8     $225.00       $180.00
                                                                                                                 OneSource Income Tax software. EY attendees: A. Karan, M. Zhuo, D. Ortiz, P. Zhu, and R. Yang

                                                                                                                 Meeting to discuss trial balance mapping and dividing compliance work that will be done on
Ortiz,Daniella                    DO             Staff         5/4/2023           US International Tax                                                                                                            0.8     $225.00       $180.00
                                                                                                                 OneSource Income Tax software. EY attendees: A. Karan, M. Zhuo, D. Ortiz, P. Zhu, and R. Yang

                                                                                                                 Meeting to discuss trial balance mapping and dividing compliance work that will be done on
Zhu,Philip                        PZ            Senior         5/4/2023           US International Tax                                                                                                            0.8     $395.00       $316.00
                                                                                                                 OneSource Income Tax software. EY attendees: A. Karan, M. Zhuo, D. Ortiz, P. Zhu, and R. Yang

                                                                                                                 Meeting to discuss trial balance mapping and dividing compliance work that will be done on
Yang,Rachel Sim                  RSY        Senior Manager     5/4/2023           US International Tax                                                                                                            0.8     $650.00       $520.00
                                                                                                                 OneSource Income Tax software. EY attendees: A. Karan, M. Zhuo, D. Ortiz, P. Zhu, and R. Yang
                                                                                                                 Meeting to discuss FTX Global Payroll tax deliverables and upcoming filing deadlines. EY
Tong,Chia-Hui                    CHT        Senior Manager     5/4/2023   Project Management Office Transition                                                                                                    0.6     $650.00       $390.00
                                                                                                                 attendees: C. Ancona, C. Tong, T. Shea, and K. Wrenn
                                                                                                                 Meeting to discuss FTX Global Payroll tax deliverables and upcoming filing deadlines. EY
Ancona,Christopher                CA            Senior         5/4/2023   Project Management Office Transition                                                                                                    0.6     $395.00       $237.00
                                                                                                                 attendees: C. Ancona, C. Tong, T. Shea, and K. Wrenn
                                                                                                                 Meeting to discuss FTX Global Payroll tax deliverables and upcoming filing deadlines. EY
Wrenn,Kaitlin Doyle             KDW            Manager         5/4/2023               Payroll Tax                                                                                                                 0.6     $525.00       $315.00
                                                                                                                 attendees: C. Ancona, C. Tong, T. Shea, and K. Wrenn
                                                                                                                 Meeting to discuss FTX Global Payroll tax deliverables and upcoming filing deadlines. EY
Shea JR,Thomas M                 TMS       Partner/Principal   5/4/2023               Payroll Tax                                                                                                                 0.6     $825.00       $495.00
                                                                                                                 attendees: C. Ancona, C. Tong, T. Shea, and K. Wrenn
                                                                                                                 Meeting to discuss FTX Transfer pricing tax deliverables and upcoming filing deadlines. EY
Bost,Anne                         BA       Managing Director   5/4/2023             Transfer Pricing                                                                                                              0.4     $775.00       $310.00
                                                                                                                 attendees: C. Ancona, T. Shea, C. Tong, A. Bost, and D. Katsnelson
                                                                                                                 Meeting to discuss FTX Transfer pricing tax deliverables and upcoming filing deadlines. EY
Tong,Chia-Hui                    CHT        Senior Manager     5/4/2023   Project Management Office Transition                                                                                                    0.4     $650.00       $260.00
                                                                                                                 attendees: C. Ancona, T. Shea, C. Tong, A. Bost, and D. Katsnelson
                                                                                                                 Meeting to discuss FTX Transfer pricing tax deliverables and upcoming filing deadlines. EY
Ancona,Christopher                CA            Senior         5/4/2023   Project Management Office Transition                                                                                                    0.4     $395.00       $158.00
                                                                                                                 attendees: C. Ancona, T. Shea, C. Tong, A. Bost, and D. Katsnelson
                                                                                                                 Meeting to discuss FTX Transfer pricing tax deliverables and upcoming filing deadlines. EY
Katsnelson,David                  DK           Manager         5/4/2023             Transfer Pricing                                                                                                              0.4     $525.00       $210.00
                                                                                                                 attendees: C. Ancona, T. Shea, C. Tong, A. Bost, and D. Katsnelson
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                                                        Date of
                  Name   Initials         Rank                              Project Category                                                  Description of Services                                         Hours   Hourly Rate   Fees
                                                        Service
                                                                                                          Meeting to discuss FTX Transfer pricing tax deliverables and upcoming filing deadlines. EY
Shea JR,Thomas M          TMS       Partner/Principal   5/4/2023             Transfer Pricing                                                                                                                  0.4     $825.00       $330.00
                                                                                                          attendees: C. Ancona, T. Shea, C. Tong, A. Bost, and D. Katsnelson
                                                                                                          EY internal meeting to discuss the FTX master claims log updates, address outstanding questions
Johnson,Derrick Joseph    DJJ             Staff         5/4/2023         US State and Local Tax                                                                                                                0.4     $225.00        $90.00
                                                                                                          and plan next steps. EY attendees: J. Lubic and D. Johnson
                                                                                                          EY internal meeting to discuss the FTX master claims log updates, address outstanding questions
Lubic,Jake                 JL             Staff         5/4/2023         US State and Local Tax                                                                                                                0.4     $225.00        $90.00
                                                                                                          and plan next steps. EY attendees: J. Lubic and D. Johnson
                                                                                                          FTX Fee Application Touchpoint to review February fee application. EY attendees: C. Ancona, C.
Tong,Chia-Hui             CHT        Senior Manager     5/4/2023      Fee/Employment Applications                                                                                                              0.6     $650.00       $390.00
                                                                                                          Tong, H. Choudary, D. Neziroski, and S. Cahalane
                                                                                                          FTX Fee Application Touchpoint to review February fee application. EY attendees: C. Ancona, C.
Cahalane,Shawn M.         SMC           Manager         5/4/2023      Fee/Employment Applications                                                                                                              0.6     $525.00       $315.00
                                                                                                          Tong, H. Choudary, D. Neziroski, and S. Cahalane
                                                                                                          FTX Fee Application Touchpoint to review February fee application. EY attendees: C. Ancona, C.
Ancona,Christopher         CA            Senior         5/4/2023      Fee/Employment Applications                                                                                                              0.6     $395.00       $237.00
                                                                                                          Tong, H. Choudary, D. Neziroski, and S. Cahalane
                                                                                                          Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Mistler,Brian M          BMM            Manager         5/4/2023        Meetings with Management                                                                                                               0.6     $525.00       $315.00
                                                                                                          EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, K. Wrenn, and J. Berman

                                                                                                          Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Tong,Chia-Hui             CHT        Senior Manager     5/4/2023        Meetings with Management                                                                                                               0.6     $650.00       $390.00
                                                                                                          EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, K. Wrenn, and J. Berman

                                                                                                          Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Ancona,Christopher         CA            Senior         5/4/2023        Meetings with Management                                                                                                               0.6     $395.00       $237.00
                                                                                                          EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, K. Wrenn, and J. Berman

                                                                                                          Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Berman,Jake                JB        Senior Manager     5/4/2023        Meetings with Management                                                                                                               0.6     $650.00       $390.00
                                                                                                          EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, K. Wrenn, and J. Berman

                                      Client Serving                                                      Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Scott,James                JS                           5/4/2023        Meetings with Management                                                                                                               0.6     $600.00       $360.00
                                      Contractor JS                                                       EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, K. Wrenn, and J. Berman

                                                                                                          Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Wrenn,Kaitlin Doyle      KDW            Manager         5/4/2023        Meetings with Management                                                                                                               0.6     $525.00       $315.00
                                                                                                          EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, K. Wrenn, and J. Berman

                                                                                                          Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Shea JR,Thomas M          TMS       Partner/Principal   5/4/2023        Meetings with Management                                                                                                               0.6     $825.00       $495.00
                                                                                                          EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, K. Wrenn, and J. Berman
                                                                                                          Meeting to discuss open IRS information document request 2 and 5 for Alameda and proof of
DeVincenzo,Jennie         JDV       Managing Director   5/4/2023               Payroll Tax                                                                                                                     0.8     $775.00       $620.00
                                                                                                          claims received. EY attendees: K. Wrenn and J. DeVincenzo
                                                                                                          Meeting to discuss open IRS information document request 2 and 5 for Alameda and proof of
Wrenn,Kaitlin Doyle      KDW            Manager         5/4/2023               Payroll Tax                                                                                                                     0.8     $525.00       $420.00
                                                                                                          claims received. EY attendees: K. Wrenn and J. DeVincenzo
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
MacLean,Corrie            CM             Senior         5/4/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $395.00       $237.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katelas,Andreas            KA            Senior         5/4/2023           US International Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $395.00       $237.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Farrar,Anne                AF       Partner/Principal   5/4/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $825.00       $495.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Mistler,Brian M          BMM            Manager         5/4/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $525.00       $315.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Tong,Chia-Hui             CHT        Senior Manager     5/4/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $650.00       $390.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Ancona,Christopher         CA            Senior         5/4/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $395.00       $237.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katsnelson,David           DK           Manager         5/4/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $525.00       $315.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Choudary,Hira              HC             Staff         5/4/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $225.00       $135.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                      Client Serving
Scott,James                JS                           5/4/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $600.00       $360.00
                                      Contractor JS
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Wrenn,Kaitlin Doyle      KDW            Manager         5/4/2023               Payroll Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $525.00       $315.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Gundu,Kaivalya             KG        Senior Manager     5/4/2023               Technology                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $650.00       $390.00
                                                                                                          the implementation of global compliance and reporting services
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                                                         Date of
                  Name    Initials        Rank                        Project Category                                           Description of Services                                         Hours   Hourly Rate   Fees
                                                         Service
                                                                                             Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Lovelace,Lauren             LL       Partner/Principal   5/4/2023    US International Tax    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $825.00       $495.00
                                                                                             the implementation of global compliance and reporting services
                                                                                             Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Musano,Matthew Albert     MAM        Senior Manager      5/4/2023   US State and Local Tax   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $650.00       $390.00
                                                                                             the implementation of global compliance and reporting services
                                                                                             Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Shea JR,Thomas M           TMS       Partner/Principal   5/4/2023      US Income Tax         preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $825.00       $495.00
                                                                                             the implementation of global compliance and reporting services
                                                                                             Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                     Client Serving
Bieganski,Walter           WB                            5/4/2023   US State and Local Tax   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $200.00       $120.00
                                     Contractor WB
                                                                                             the implementation of global compliance and reporting services
                                                                                             Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Haas,Zach                   ZH       Senior Manager      5/4/2023      US Income Tax         preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $650.00       $390.00
                                                                                             the implementation of global compliance and reporting services
                                                                                             Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Hammon,David Lane          DLH           Manager         5/4/2023        Non US Tax          preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $525.00       $315.00
                                                                                             the implementation of global compliance and reporting services
                                                                                             Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bailey,Doug                 DB       Partner/Principal   5/4/2023       Tax Advisory         preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $825.00       $495.00
                                                                                             the implementation of global compliance and reporting services
                                                                                             Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Richardson,Audrey Sarah    ASR           Manager         5/4/2023   Information Reporting    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $525.00       $315.00
                                                                                             the implementation of global compliance and reporting services
                                                                                             Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Healy,John                  JH       Senior Manager      5/4/2023     IRS Audit Matters      preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $650.00       $390.00
                                                                                             the implementation of global compliance and reporting services
                                                                                             Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Cavusoglu,Coskun            CC       Partner/Principal   5/4/2023        Technology          preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.6     $825.00       $495.00
                                                                                             the implementation of global compliance and reporting services
                                                                                             Internal meeting to discuss locality taxes. EY attendees: M. Musano, W. Bieganski, E. Zheng, and
Hall,Emily Melissa         EMH            Senior         5/4/2023   US State and Local Tax                                                                                                        0.8     $395.00       $316.00
                                                                                             E. Hall
                                                                                             Internal meeting to discuss locality taxes. EY attendees: M. Musano, W. Bieganski, E. Zheng, and
Zheng,Eva                   EZ           Manager         5/4/2023   US State and Local Tax                                                                                                        0.8     $525.00       $420.00
                                                                                             E. Hall
                                                                                             Internal meeting to discuss locality taxes. EY attendees: M. Musano, W. Bieganski, E. Zheng, and
Musano,Matthew Albert     MAM        Senior Manager      5/4/2023   US State and Local Tax                                                                                                        0.8     $650.00       $520.00
                                                                                             E. Hall
                                     Client Serving                                          Internal meeting to discuss locality taxes. EY attendees: M. Musano, W. Bieganski, E. Zheng, and
Bieganski,Walter           WB                            5/4/2023   US State and Local Tax                                                                                                        0.8     $200.00       $160.00
                                     Contractor WB                                           E. Hall
                                                                                             Discussion to prepare discussion for meeting with Robert Lee and Associates and FTX. EY
Mistler,Brian M           BMM            Manager         5/2/2023     IRS Audit Matters                                                                                                           0.5     $525.00       $262.50
                                                                                             attendees: T. Shea, B. Mistler, J. Scott, and J. Berman
                                                                                             Discussion to prepare discussion for meeting with Robert Lee and Associates and FTX. EY
Berman,Jake                 JB       Senior Manager      5/2/2023      US Income Tax                                                                                                              0.5     $650.00       $325.00
                                                                                             attendees: T. Shea, B. Mistler, J. Scott, and J. Berman
                                      Client Serving                                         Discussion to prepare discussion for meeting with Robert Lee and Associates and FTX. EY
Scott,James                 JS                           5/2/2023      US Income Tax                                                                                                              0.5     $600.00       $300.00
                                      Contractor JS                                          attendees: T. Shea, B. Mistler, J. Scott, and J. Berman
                                                                                             Discussion to prepare discussion for meeting with Robert Lee and Associates and FTX. EY
Shea JR,Thomas M           TMS       Partner/Principal   5/2/2023      US Income Tax                                                                                                              0.5     $825.00       $412.50
                                                                                             attendees: T. Shea, B. Mistler, J. Scott, and J. Berman
                                                                                             Discussion with Robert Lee and Associates regarding IRS audits. EY attendees: J. Berman, T.
Mistler,Brian M           BMM            Manager         5/2/2023     IRS Audit Matters                                                                                                           0.7     $525.00       $367.50
                                                                                             Shea, L. Lovelace, J. Scott, and B. Mistler
                                                                                             Discussion with Robert Lee and Associates regarding IRS audits. EY attendees: J. Berman, T.
Berman,Jake                 JB       Senior Manager      5/2/2023     IRS Audit Matters                                                                                                           0.7     $650.00       $455.00
                                                                                             Shea, L. Lovelace, J. Scott, and B. Mistler
                                      Client Serving                                         Discussion with Robert Lee and Associates regarding IRS audits. EY attendees: J. Berman, T.
Scott,James                 JS                           5/2/2023      US Income Tax                                                                                                              0.7     $600.00       $420.00
                                      Contractor JS                                          Shea, L. Lovelace, J. Scott, and B. Mistler
                                                                                             Discussion with Robert Lee and Associates regarding IRS audits. EY attendees: J. Berman, T.
Lovelace,Lauren             LL       Partner/Principal   5/2/2023    US International Tax                                                                                                         0.7     $825.00       $577.50
                                                                                             Shea, L. Lovelace, J. Scott, and B. Mistler
                                                                                             Discussion with Robert Lee and Associates regarding IRS audits. EY attendees: J. Berman, T.
Shea JR,Thomas M           TMS       Partner/Principal   5/2/2023     IRS Audit Matters                                                                                                           0.7     $825.00       $577.50
                                                                                             Shea, L. Lovelace, J. Scott, and B. Mistler
                                                                                             Meeting with S. Kojima (FTX Singapore) to discuss due diligence. EY attendees: D. Hammon, C.
MacLean,Corrie             CM             Senior         5/3/2023        Non US Tax                                                                                                               0.8     $395.00       $316.00
                                                                                             MacLean, W. Wong, H. Choudary, and K. Staromiejska
                                                                                             Meeting with S. Kojima (FTX Singapore) to discuss due diligence. EY attendees: D. Hammon, C.
Hammon,David Lane          DLH           Manager         5/3/2023        Non US Tax                                                                                                               0.8     $525.00       $420.00
                                                                                             MacLean, W. Wong, H. Choudary, and K. Staromiejska
                                                                                             Meeting with S. Kojima (FTX Singapore) to discuss due diligence. EY attendees: D. Hammon, C.
Wong,Wendy                 WW        Senior Manager      5/3/2023        Non US Tax                                                                                                               0.8     $650.00       $520.00
                                                                                             MacLean, W. Wong, H. Choudary, and K. Staromiejska
                                                                                             Meeting with S. Kojima (FTX Singapore) to discuss due diligence. EY attendees: D. Hammon, C.
Staromiejska,Kinga          KS           Manager         5/3/2023        Non US Tax                                                                                                               0.8     $525.00       $420.00
                                                                                             MacLean, W. Wong, H. Choudary, and K. Staromiejska
                                                                                             Discussion with J. Markau (Ledger X) regarding IRS and NY audit items. EY attendees: B.
Mistler,Brian M           BMM            Manager         5/3/2023      US Income Tax                                                                                                              1.0     $525.00       $525.00
                                                                                             Mistler, J. Scott, M. Musano, and J. Berman
                                      Client Serving                                         Discussion with J. Markau (Ledger X) regarding IRS and NY audit items. EY attendees: B.
Scott,James                 JS                           5/3/2023      US Income Tax                                                                                                              1.0     $600.00       $600.00
                                      Contractor JS                                          Mistler, J. Scott, M. Musano, and J. Berman
                                                                                             Discussion with J. Markau (Ledger X) regarding IRS and NY audit items. EY attendees: B.
Musano,Matthew Albert     MAM        Senior Manager      5/3/2023   US State and Local Tax                                                                                                        1.0     $650.00       $650.00
                                                                                             Mistler, J. Scott, M. Musano, and J. Berman
                                                                                             Discussion with J. Markau (Ledger X) regarding IRS and NY audit items. EY attendees: B.
Berman,Jake                 JB       Senior Manager      5/3/2023      US Income Tax                                                                                                              1.0     $650.00       $650.00
                                                                                             Mistler, J. Scott, M. Musano, and J. Berman
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                                                        Date of
                  Name   Initials         Rank                       Project Category                                            Description of Services                                        Hours   Hourly Rate   Fees
                                                        Service
Mistler,Brian M          BMM            Manager         5/4/2023     IRS Audit Matters      IRS Audit working session with J. Markau (Ledger X). EY attendees: B. Mistler and J. Berman          1.6     $525.00       $840.00

Berman,Jake                JB        Senior Manager     5/4/2023     IRS Audit Matters      IRS Audit working session with J. Markau (Ledger X). EY attendees: B. Mistler and J. Berman          1.6     $650.00      $1,040.00
                                                                                            Daily meeting to review new documentation provided, address open items and questions from
MacLean,Corrie            CM             Senior         5/4/2023        Non US Tax          E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.        0.8     $395.00       $316.00
                                                                                            Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                            Daily meeting to review new documentation provided, address open items and questions from
Hammon,David Lane         DLH           Manager         5/4/2023        Non US Tax          E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.        0.8     $525.00       $420.00
                                                                                            Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                            Daily meeting to review new documentation provided, address open items and questions from
Knoeller,Thomas J.        TJK       Partner/Principal   5/4/2023        Non US Tax          E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.        0.8     $825.00       $660.00
                                                                                            Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                            Daily meeting to review new documentation provided, address open items and questions from
Staromiejska,Kinga         KS           Manager         5/4/2023        Non US Tax          E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.        0.8     $525.00       $420.00
                                                                                            Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                            Weekly meeting with workstreams discuss status of local teams knowledge transfer process. EY
MacLean,Corrie            CM             Senior         5/5/2023        Non US Tax          attendees: D. Hammon, C. MacLean, D. Katsnelson, A. Bost, D. McComber, G. Stefano, H.                0.2     $395.00        $79.00
                                                                                            Choudary, L. Rodriguez, M. Leon, N. Hernandez, and T. Knoeller
                                                                                            Weekly meeting with workstreams discuss status of local teams knowledge transfer process. EY
Bost,Anne                  BA       Managing Director   5/5/2023      Transfer Pricing      attendees: D. Hammon, C. MacLean, D. Katsnelson, A. Bost, D. McComber, G. Stefano, H.                0.2     $775.00       $155.00
                                                                                            Choudary, L. Rodriguez, M. Leon, N. Hernandez, and T. Knoeller
                                                                                            Weekly meeting with workstreams discuss status of local teams knowledge transfer process. EY
Katsnelson,David           DK           Manager         5/5/2023      Transfer Pricing      attendees: D. Hammon, C. MacLean, D. Katsnelson, A. Bost, D. McComber, G. Stefano, H.                0.2     $525.00       $105.00
                                                                                            Choudary, L. Rodriguez, M. Leon, N. Hernandez, and T. Knoeller
                                                                                            Weekly meeting with workstreams discuss status of local teams knowledge transfer process. EY
                                        National
McComber,Donna            DM                            5/5/2023      Transfer Pricing      attendees: D. Hammon, C. MacLean, D. Katsnelson, A. Bost, D. McComber, G. Stefano, H.                0.2     $990.00       $198.00
                                    Partner/Principal
                                                                                            Choudary, L. Rodriguez, M. Leon, N. Hernandez, and T. Knoeller
                                                                                            Weekly meeting with workstreams discuss status of local teams knowledge transfer process. EY
Di Stefano,Giulia         GDS            Senior         5/5/2023      Transfer Pricing      attendees: D. Hammon, C. MacLean, D. Katsnelson, A. Bost, D. McComber, G. Stefano, H.                0.2     $395.00        $79.00
                                                                                            Choudary, L. Rodriguez, M. Leon, N. Hernandez, and T. Knoeller
                                                                                            Weekly meeting with workstreams discuss status of local teams knowledge transfer process. EY
Gil Diez de Leon,Marta    MDL           Manager         5/5/2023     Value Added Tax        attendees: D. Hammon, C. MacLean, D. Katsnelson, A. Bost, D. McComber, G. Stefano, H.                0.2     $525.00       $105.00
                                                                                            Choudary, L. Rodriguez, M. Leon, N. Hernandez, and T. Knoeller
                                                                                            Weekly meeting with workstreams discuss status of local teams knowledge transfer process. EY
Hernandez,Nancy I.        NIH        Senior Manager     5/5/2023        Non US Tax          attendees: D. Hammon, C. MacLean, D. Katsnelson, A. Bost, D. McComber, G. Stefano, H.                0.2     $650.00       $130.00
                                                                                            Choudary, L. Rodriguez, M. Leon, N. Hernandez, and T. Knoeller
                                                                                            Weekly meeting with workstreams discuss status of local teams knowledge transfer process. EY
Hammon,David Lane         DLH           Manager         5/5/2023        Non US Tax          attendees: D. Hammon, C. MacLean, D. Katsnelson, A. Bost, D. McComber, G. Stefano, H.                0.2     $525.00       $105.00
                                                                                            Choudary, L. Rodriguez, M. Leon, N. Hernandez, and T. Knoeller
                                                                                            Weekly meeting with workstreams discuss status of local teams knowledge transfer process. EY
Rodriguez,Lenny            LR            Senior         5/5/2023        Non US Tax          attendees: D. Hammon, C. MacLean, D. Katsnelson, A. Bost, D. McComber, G. Stefano, H.                0.2     $395.00        $79.00
                                                                                            Choudary, L. Rodriguez, M. Leon, N. Hernandez, and T. Knoeller
                                                                                            Weekly meeting with workstreams discuss status of local teams knowledge transfer process. EY
Knoeller,Thomas J.        TJK       Partner/Principal   5/5/2023        Non US Tax          attendees: D. Hammon, C. MacLean, D. Katsnelson, A. Bost, D. McComber, G. Stefano, H.                0.2     $825.00       $165.00
                                                                                            Choudary, L. Rodriguez, M. Leon, N. Hernandez, and T. Knoeller
                                                                                            Daily meeting to review new documentation provided, address open items and questions from
MacLean,Corrie            CM             Senior         5/5/2023        Non US Tax          E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.        0.5     $395.00       $197.50
                                                                                            Hammon, T. Knoeller, C. MacLean, and H. Choudary
                                                                                            Daily meeting to review new documentation provided, address open items and questions from
Hammon,David Lane         DLH           Manager         5/5/2023        Non US Tax          E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.        0.5     $525.00       $262.50
                                                                                            Hammon, T. Knoeller, C. MacLean, and H. Choudary
                                                                                            Daily meeting to review new documentation provided, address open items and questions from
Knoeller,Thomas J.        TJK       Partner/Principal   5/5/2023        Non US Tax          E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.        0.5     $825.00       $412.50
                                                                                            Hammon, T. Knoeller, C. MacLean, and H. Choudary
                                                                                            Internal meeting to discuss sales and use tax audit approach. EY attendees: T. Shea, J. Scott, N.
Schmutter,David            DS       Managing Director   5/5/2023   US State and Local Tax                                                                                                        0.5     $775.00       $387.50
                                                                                            Flagg, D. Schmutter, M. Musano, and E. Hall
                                                                                            Internal meeting to discuss sales and use tax audit approach. EY attendees: T. Shea, J. Scott, N.
Hall,Emily Melissa        EMH            Senior         5/5/2023   US State and Local Tax                                                                                                        0.5     $395.00       $197.50
                                                                                            Flagg, D. Schmutter, M. Musano, and E. Hall
                                      Client Serving                                        Internal meeting to discuss sales and use tax audit approach. EY attendees: T. Shea, J. Scott, N.
Scott,James                JS                           5/5/2023      US Income Tax                                                                                                              0.5     $600.00       $300.00
                                      Contractor JS                                         Flagg, D. Schmutter, M. Musano, and E. Hall
                                                                                            Internal meeting to discuss sales and use tax audit approach. EY attendees: T. Shea, J. Scott, N.
Musano,Matthew Albert    MAM         Senior Manager     5/5/2023   US State and Local Tax                                                                                                        0.5     $650.00       $325.00
                                                                                            Flagg, D. Schmutter, M. Musano, and E. Hall
                                                                                            Internal meeting to discuss sales and use tax audit approach. EY attendees: T. Shea, J. Scott, N.
Shea JR,Thomas M          TMS       Partner/Principal   5/5/2023     IRS Audit Matters                                                                                                           0.5     $825.00       $412.50
                                                                                            Flagg, D. Schmutter, M. Musano, and E. Hall
                                                                                            Internal meeting to discuss sales and use tax audit approach. EY attendees: T. Shea, J. Scott, N.
Flagg,Nancy A.            NAF       Managing Director   5/5/2023   US State and Local Tax                                                                                                        0.5     $775.00       $387.50
                                                                                            Flagg, D. Schmutter, M. Musano, and E. Hall
                                                                                            Weekly recap and upcoming items concerning transition workstream. EY attendees: D. Hammon,
MacLean,Corrie            CM             Senior         5/5/2023        Non US Tax                                                                                                               0.5     $395.00       $197.50
                                                                                            T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                            Weekly recap and upcoming items concerning transition workstream. EY attendees: D. Hammon,
Staromiejska,Kinga         KS           Manager         5/5/2023        Non US Tax                                                                                                               0.5     $525.00       $262.50
                                                                                            T. Knoeller, K. Staromiejska, and C. MacLean
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                                                        Date of
                  Name   Initials        Rank                               Project Category                                                    Description of Services                                      Hours   Hourly Rate   Fees
                                                        Service
                                                                                                          Weekly recap and upcoming items concerning transition workstream. EY attendees: D. Hammon,
Hammon,David Lane         DLH           Manager         5/5/2023               Non US Tax                                                                                                                     0.5     $525.00       $262.50
                                                                                                          T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                          Weekly recap and upcoming items concerning transition workstream. EY attendees: D. Hammon,
Knoeller,Thomas J.        TJK       Partner/Principal   5/5/2023               Non US Tax                                                                                                                     0.5     $825.00       $412.50
                                                                                                          T. Knoeller, K. Staromiejska, and C. MacLean
Hall,Emily Melissa        EMH            Senior         5/3/2023         US State and Local Tax           Internal call to discuss property tax filings/annual reports. EY attendees: K. Davis and E. Hall    0.3     $395.00       $118.50

Davis,Kathleen F.         KFD           Manager         5/3/2023         US State and Local Tax           Internal call to discuss property tax filings/annual reports. EY attendees: K. Davis and E. Hall    0.3     $525.00       $157.50
                                                                                                          Meeting to discuss FTX International Tax & Transactions upcoming deliverables and deadlines.
Katelas,Andreas            KA            Senior         5/5/2023           US International Tax           EY attendees: C. Ancona, C. Tong, T. Shea, A. Farrar, D. Bailey, J. Scott, A. Katelas, and L.       0.6     $395.00       $237.00
                                                                                                          Lovelace
                                                                                                          Meeting to discuss FTX International Tax & Transactions upcoming deliverables and deadlines.
Tong,Chia-Hui             CHT       Senior Manager      5/5/2023   Project Management Office Transition   EY attendees: C. Ancona, C. Tong, T. Shea, A. Farrar, D. Bailey, J. Scott, A. Katelas, and L.       0.6     $650.00       $390.00
                                                                                                          Lovelace
                                                                                                          Meeting to discuss FTX International Tax & Transactions upcoming deliverables and deadlines.
Ancona,Christopher         CA            Senior         5/5/2023   Project Management Office Transition   EY attendees: C. Ancona, C. Tong, T. Shea, A. Farrar, D. Bailey, J. Scott, A. Katelas, and L.       0.6     $395.00       $237.00
                                                                                                          Lovelace
                                                                                                          Meeting to discuss FTX International Tax & Transactions upcoming deliverables and deadlines.
                                     Client Serving
Scott,James                JS                           5/5/2023             US Income Tax                EY attendees: C. Ancona, C. Tong, T. Shea, A. Farrar, D. Bailey, J. Scott, A. Katelas, and L.       0.6     $600.00       $360.00
                                     Contractor JS
                                                                                                          Lovelace
                                                                                                          Meeting to discuss FTX International Tax & Transactions upcoming deliverables and deadlines.
Lovelace,Lauren            LL       Partner/Principal   5/5/2023           US International Tax           EY attendees: C. Ancona, C. Tong, T. Shea, A. Farrar, D. Bailey, J. Scott, A. Katelas, and L.       0.6     $825.00       $495.00
                                                                                                          Lovelace
                                                                                                          Meeting to discuss FTX International Tax & Transactions upcoming deliverables and deadlines.
Farrar,Anne                AF       Partner/Principal   5/5/2023   Project Management Office Transition   EY attendees: C. Ancona, C. Tong, T. Shea, A. Farrar, D. Bailey, J. Scott, A. Katelas, and L.       0.6     $825.00       $495.00
                                                                                                          Lovelace
                                                                                                          Meeting to discuss FTX International Tax & Transactions upcoming deliverables and deadlines.
Bailey,Doug                DB       Partner/Principal   5/5/2023              Tax Advisory                EY attendees: C. Ancona, C. Tong, T. Shea, A. Farrar, D. Bailey, J. Scott, A. Katelas, and L.       0.6     $825.00       $495.00
                                                                                                          Lovelace
                                                                                                          Meeting to discuss FTX International Tax & Transactions upcoming deliverables and deadlines.
Shea JR,Thomas M          TMS       Partner/Principal   5/5/2023             US Income Tax                EY attendees: C. Ancona, C. Tong, T. Shea, A. Farrar, D. Bailey, J. Scott, A. Katelas, and L.       0.6     $825.00       $495.00
                                                                                                          Lovelace
                                                                                                          Meeting to review Alameda transaction data to be used by the various tax workstreams. EY
MacLean,Corrie            CM             Senior         5/4/2023               Non US Tax                 attendees: C. Tong, C. Ancona, C. MacLean, D. Hammon, K. Staromiejska, K. Gundu, and C.             0.6     $395.00       $237.00
                                                                                                          Cavusoglu
                                                                                                          Meeting to review Alameda transaction data to be used by the various tax workstreams. EY
Hammon,David Lane         DLH           Manager         5/4/2023               Non US Tax                 attendees: C. Tong, C. Ancona, C. MacLean, D. Hammon, K. Staromiejska, K. Gundu, and C.             0.6     $525.00       $315.00
                                                                                                          Cavusoglu
                                                                                                          Meeting to review Alameda transaction data to be used by the various tax workstreams. EY
Cavusoglu,Coskun           CC       Partner/Principal   5/4/2023               Technology                 attendees: C. Tong, C. Ancona, C. MacLean, D. Hammon, K. Staromiejska, K. Gundu, and C.             0.6     $825.00       $495.00
                                                                                                          Cavusoglu
                                                                                                          Meeting to review Alameda transaction data to be used by the various tax workstreams. EY
Tong,Chia-Hui             CHT       Senior Manager      5/4/2023   Project Management Office Transition   attendees: C. Tong, C. Ancona, C. MacLean, D. Hammon, K. Staromiejska, K. Gundu, and C.             0.6     $650.00       $390.00
                                                                                                          Cavusoglu
                                                                                                          Meeting to review Alameda transaction data to be used by the various tax workstreams. EY
Ancona,Christopher         CA            Senior         5/4/2023   Project Management Office Transition   attendees: C. Tong, C. Ancona, C. MacLean, D. Hammon, K. Staromiejska, K. Gundu, and C.             0.6     $395.00       $237.00
                                                                                                          Cavusoglu
                                                                                                          Meeting to review Alameda transaction data to be used by the various tax workstreams. EY
Gundu,Kaivalya             KG       Senior Manager      5/4/2023               Technology                 attendees: C. Tong, C. Ancona, C. MacLean, D. Hammon, K. Staromiejska, K. Gundu, and C.             0.6     $650.00       $390.00
                                                                                                          Cavusoglu
                                                                                                          Meeting to review Alameda transaction data to be used by the various tax workstreams. EY
Staromiejska,Kinga         KS           Manager         5/4/2023               Non US Tax                 attendees: C. Tong, C. Ancona, C. MacLean, D. Hammon, K. Staromiejska, K. Gundu, and C.             0.6     $525.00       $315.00
                                                                                                          Cavusoglu
                                                                                                          Weekly call with D. Hariton (S&C) and A Ulyanenko (A&M) to review progress on tax
Mistler,Brian M          BMM            Manager         5/5/2023      Meetings with Other Advisors                                                                                                            0.5     $525.00       $262.50
                                                                                                          workstreams and address open items. EY attendees: T. Shea, J. Scott, B. Mistler, and J. Berman

                                                                                                          Weekly call with D. Hariton (S&C) and A Ulyanenko (A&M) to review progress on tax
Berman,Jake                JB       Senior Manager      5/5/2023      Meetings with Other Advisors                                                                                                            0.5     $650.00       $325.00
                                                                                                          workstreams and address open items. EY attendees: T. Shea, J. Scott, B. Mistler, and J. Berman

                                     Client Serving                                                       Weekly call with D. Hariton (S&C) and A Ulyanenko (A&M) to review progress on tax
Scott,James                JS                           5/5/2023      Meetings with Other Advisors                                                                                                            0.5     $600.00       $300.00
                                     Contractor JS                                                        workstreams and address open items. EY attendees: T. Shea, J. Scott, B. Mistler, and J. Berman

                                                                                                          Weekly call with D. Hariton (S&C) and A Ulyanenko (A&M) to review progress on tax
Shea JR,Thomas M          TMS       Partner/Principal   5/5/2023      Meetings with Other Advisors                                                                                                            0.5     $825.00       $412.50
                                                                                                          workstreams and address open items. EY attendees: T. Shea, J. Scott, B. Mistler, and J. Berman
                                                                                                          Meeting to discuss Workstream Tracker items (e.g., next steps, issues, project status). EY
Tong,Chia-Hui             CHT       Senior Manager      5/5/2023   Project Management Office Transition                                                                                                       0.5     $650.00       $325.00
                                                                                                          attendees: C. Ancona, C. Tong, and H. Choudary
                                                                                                          Meeting to discuss Workstream Tracker items (e.g., next steps, issues, project status). EY
Ancona,Christopher         CA            Senior         5/5/2023   Project Management Office Transition                                                                                                       0.5     $395.00       $197.50
                                                                                                          attendees: C. Ancona, C. Tong, and H. Choudary
                                                                                                          Meeting to review A&M/EY PMO slide deck deliverable status updates and reporting. EY
Mistler,Brian M          BMM            Manager         5/5/2023             US Income Tax                                                                                                                    0.3     $525.00       $157.50
                                                                                                          attendees: C. Ancona, C. Tong, B. Mistler, J. Scott, and J. Berman
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                                                        Date of
                  Name   Initials        Rank                               Project Category                                                    Description of Services                                            Hours   Hourly Rate   Fees
                                                        Service
                                                                                                          Meeting to review A&M/EY PMO slide deck deliverable status updates and reporting. EY
Tong,Chia-Hui             CHT       Senior Manager      5/5/2023   Project Management Office Transition                                                                                                             0.3     $650.00       $195.00
                                                                                                          attendees: C. Ancona, C. Tong, B. Mistler, J. Scott, and J. Berman
                                                                                                          Meeting to review A&M/EY PMO slide deck deliverable status updates and reporting. EY
Ancona,Christopher         CA            Senior         5/5/2023   Project Management Office Transition                                                                                                             0.3     $395.00       $118.50
                                                                                                          attendees: C. Ancona, C. Tong, B. Mistler, J. Scott, and J. Berman
                                                                                                          Meeting to review A&M/EY PMO slide deck deliverable status updates and reporting. EY
Berman,Jake                JB       Senior Manager      5/5/2023             US Income Tax                                                                                                                          0.3     $650.00       $195.00
                                                                                                          attendees: C. Ancona, C. Tong, B. Mistler, J. Scott, and J. Berman
                                     Client Serving                                                       Meeting to review A&M/EY PMO slide deck deliverable status updates and reporting. EY
Scott,James                JS                           5/5/2023             US Income Tax                                                                                                                          0.3     $600.00       $180.00
                                     Contractor JS                                                        attendees: C. Ancona, C. Tong, B. Mistler, J. Scott, and J. Berman
                                                                                                          Internal discussion of outstanding tax workstream items. EY attendees: T. Shea, J. Scott, J.
Mistler,Brian M          BMM            Manager         5/1/2023             US Income Tax                                                                                                                          0.6     $525.00       $315.00
                                                                                                          Berman, and B. Mistler
                                     Client Serving                                                       Internal discussion of outstanding tax workstream items. EY attendees: T. Shea, J. Scott, J.
Scott,James                JS                           5/1/2023             US Income Tax                                                                                                                          0.6     $600.00       $360.00
                                     Contractor JS                                                        Berman, and B. Mistler
                                                                                                          Internal discussion of outstanding tax workstream items. EY attendees: T. Shea, J. Scott, J.
Berman,Jake                JB       Senior Manager      5/1/2023             US Income Tax                                                                                                                          0.6     $650.00       $390.00
                                                                                                          Berman, and B. Mistler
                                                                                                          Internal discussion of outstanding tax workstream items. EY attendees: T. Shea, J. Scott, J.
Shea JR,Thomas M          TMS       Partner/Principal   5/1/2023             US Income Tax                                                                                                                          0.6     $825.00       $495.00
                                                                                                          Berman, and B. Mistler
                                                                                                          Meeting with R. Lee (RLA), M. Hernandez (RLA), and C. Papadopoulos (RLA) to discuss IRS
Mistler,Brian M          BMM            Manager         5/2/2023            IRS Audit Matters                                                                                                                       0.7     $525.00       $367.50
                                                                                                          IDRs. EY attendees: L. Lovelace, T. Shea, J. Scott, J. Berman, and B. Mistler
                                     Client Serving                                                       Meeting with R. Lee (RLA), M. Hernandez (RLA), and C. Papadopoulos (RLA) to discuss IRS
Scott,James                JS                           5/2/2023             US Income Tax                                                                                                                          0.7     $600.00       $420.00
                                     Contractor JS                                                        IDRs. EY attendees: L. Lovelace, T. Shea, J. Scott, J. Berman, and B. Mistler
                                                                                                          Meeting with R. Lee (RLA), M. Hernandez (RLA), and C. Papadopoulos (RLA) to discuss IRS
Lovelace,Lauren            LL       Partner/Principal   5/2/2023           US International Tax                                                                                                                     0.7     $825.00       $577.50
                                                                                                          IDRs. EY attendees: L. Lovelace, T. Shea, J. Scott, J. Berman, and B. Mistler
                                                                                                          Meeting with R. Lee (RLA), M. Hernandez (RLA), and C. Papadopoulos (RLA) to discuss IRS
Berman,Jake                JB       Senior Manager      5/2/2023            IRS Audit Matters                                                                                                                       0.7     $650.00       $455.00
                                                                                                          IDRs. EY attendees: L. Lovelace, T. Shea, J. Scott, J. Berman, and B. Mistler
                                                                                                          Meeting with R. Lee (RLA), M. Hernandez (RLA), and C. Papadopoulos (RLA) to discuss IRS
Shea JR,Thomas M          TMS       Partner/Principal   5/2/2023            IRS Audit Matters                                                                                                                       0.7     $825.00       $577.50
                                                                                                          IDRs. EY attendees: L. Lovelace, T. Shea, J. Scott, J. Berman, and B. Mistler
Mistler,Brian M          BMM            Manager         5/2/2023             US Income Tax                Review of FTX entity list. EY attendees: B. Mistler and M. Zhuo                                           0.5     $525.00       $262.50
Zhuo,Melody               MZ             Staff          5/2/2023           US International Tax           Review of FTX entity list. EY attendees: B. Mistler and M. Zhuo                                           0.5     $225.00       $112.50
                                                                                                          Discussion with J. Markau (Ledger X) around information needed for federal and state tax
Berman,Jake                JB       Senior Manager      5/3/2023             US Income Tax                                                                                                                          0.9     $650.00       $585.00
                                                                                                          analysis. EY attendees: J. Scott, M. Musano, J. Berman, and B. Mistler
                                                                                                          Discussion with J. Markau (Ledger X) around information needed for federal and state tax
Mistler,Brian M          BMM            Manager         5/3/2023            IRS Audit Matters                                                                                                                       0.9     $525.00       $472.50
                                                                                                          analysis. EY attendees: J. Scott, M. Musano, J. Berman, and B. Mistler
                                                                                                          Discussion with J. Markau (Ledger X) around information needed for federal and state tax
Musano,Matthew Albert    MAM        Senior Manager      5/3/2023         US State and Local Tax                                                                                                                     0.9     $650.00       $585.00
                                                                                                          analysis. EY attendees: J. Scott, M. Musano, J. Berman, and B. Mistler
                                     Client Serving                                                       Discussion with J. Markau (Ledger X) around information needed for federal and state tax
Scott,James                JS                           5/3/2023             US Income Tax                                                                                                                          0.9     $600.00       $540.00
                                     Contractor JS                                                        analysis. EY attendees: J. Scott, M. Musano, J. Berman, and B. Mistler
Mistler,Brian M          BMM            Manager         5/4/2023            IRS Audit Matters             Tax working session with J. Markau (Ledger X). EY attendees: B. Mistler and J. Berman                     1.5     $525.00       $787.50
Berman,Jake               JB        Senior Manager      5/4/2023            IRS Audit Matters             Tax working session with J. Markau (Ledger X). EY attendees: B. Mistler and J. Berman                     1.5     $650.00       $975.00
                                                                                                          Internal IDR discussion. EY attendees: T. Shea, J. Scott, D. Bailey, L. Lovelace, J. Healy, T. Ferris,
Mistler,Brian M          BMM            Manager         5/4/2023            IRS Audit Matters                                                                                                                       0.5     $525.00       $262.50
                                                                                                          J. Berman, and B. Mistler
                                                                                                          Internal IDR discussion. EY attendees: T. Shea, J. Scott, D. Bailey, L. Lovelace, J. Healy, T. Ferris,
Berman,Jake                JB       Senior Manager      5/4/2023            IRS Audit Matters                                                                                                                       0.5     $650.00       $325.00
                                                                                                          J. Berman, and B. Mistler
                                     Client Serving                                                       Internal IDR discussion. EY attendees: T. Shea, J. Scott, D. Bailey, L. Lovelace, J. Healy, T. Ferris,
Scott,James                JS                           5/4/2023             US Income Tax                                                                                                                          0.5     $600.00       $300.00
                                     Contractor JS                                                        J. Berman, and B. Mistler
                                                                                                          Internal IDR discussion. EY attendees: T. Shea, J. Scott, D. Bailey, L. Lovelace, J. Healy, T. Ferris,
Lovelace,Lauren            LL       Partner/Principal   5/4/2023           US International Tax                                                                                                                     0.5     $825.00       $412.50
                                                                                                          J. Berman, and B. Mistler
                                                                                                          Internal IDR discussion. EY attendees: T. Shea, J. Scott, D. Bailey, L. Lovelace, J. Healy, T. Ferris,
Shea JR,Thomas M          TMS       Partner/Principal   5/4/2023            IRS Audit Matters                                                                                                                       0.5     $825.00       $412.50
                                                                                                          J. Berman, and B. Mistler
                                                                                                          Internal IDR discussion. EY attendees: T. Shea, J. Scott, D. Bailey, L. Lovelace, J. Healy, T. Ferris,
Bailey,Doug                DB       Partner/Principal   5/4/2023              Tax Advisory                                                                                                                          0.5     $825.00       $412.50
                                                                                                          J. Berman, and B. Mistler
                                                                                                          Internal IDR discussion. EY attendees: T. Shea, J. Scott, D. Bailey, L. Lovelace, J. Healy, T. Ferris,
Healy,John                 JH       Senior Manager      5/4/2023            IRS Audit Matters                                                                                                                       0.5     $650.00       $325.00
                                                                                                          J. Berman, and B. Mistler
                                                                                                          Internal IDR discussion. EY attendees: T. Shea, J. Scott, D. Bailey, L. Lovelace, J. Healy, T. Ferris,
Ferris,Tara                TF       Partner/Principal   5/4/2023            IRS Audit Matters                                                                                                                       0.5     $825.00       $412.50
                                                                                                          J. Berman, and B. Mistler
Mistler,Brian M          BMM           Manager          5/4/2023           IRS Audit Matters              Internal IDR discussion. EY attendees: J. Healy, J. Berman, and B. Mistler                                0.5     $525.00       $262.50
Berman,Jake               JB        Senior Manager      5/4/2023           IRS Audit Matters              Internal IDR discussion. EY attendees: J. Healy, J. Berman, and B. Mistler                                0.5     $650.00       $325.00
Healy,John                JH        Senior Manager      5/4/2023           IRS Audit Matters              Internal IDR discussion. EY attendees: J. Healy, J. Berman, and B. Mistler                                0.5     $650.00       $325.00
Mistler,Brian M          BMM           Manager          5/4/2023            US Income Tax                 Meeting to discuss tax return information. EY attendees: Z. Haas, E. Hall, and B. Mistler                 0.4     $525.00       $210.00
Haas,Zach                 ZH        Senior Manager      5/4/2023            US Income Tax                 Meeting to discuss tax return information. EY attendees: Z. Haas, E. Hall, and B. Mistler                 0.4     $650.00       $260.00
Hall,Emily Melissa       EMH            Senior          5/4/2023         US State and Local Tax           Meeting to discuss tax return information. EY attendees: Z. Haas, E. Hall, and B. Mistler                 0.4     $395.00       $158.00
                                                                                                          Weekly call with D. Hariton (S&C) and A&M to review progress on tax workstreams and address
Mistler,Brian M          BMM            Manager         5/5/2023      Meetings with Other Advisors        open items EY: Attendees; T Shea, J Scott, B Mistler, J Berman, A&M Attendees: K Jacobs, B                0.5     $525.00       $262.50
                                                                                                          Seaway, C Howe, M Glynn
                                                                                                          Weekly call with D. Hariton (S&C) and A&M to review progress on tax workstreams and address
                                     Client Serving
Scott,James                JS                           5/5/2023      Meetings with Other Advisors        open items EY: Attendees; T Shea, J Scott, B Mistler, J Berman, A&M Attendees: K Jacobs, B                0.5     $600.00       $300.00
                                     Contractor JS
                                                                                                          Seaway, C Howe, M Glynn
                                                                                                          Weekly call with D. Hariton (S&C) and A&M to review progress on tax workstreams and address
Berman,Jake                JB       Senior Manager      5/5/2023      Meetings with Other Advisors        open items EY: Attendees; T Shea, J Scott, B Mistler, J Berman, A&M Attendees: K Jacobs, B                0.5     $650.00       $325.00
                                                                                                          Seaway, C Howe, M Glynn
                                                                                                          Weekly call with D. Hariton (S&C) and A&M to review progress on tax workstreams and address
Shea JR,Thomas M          TMS       Partner/Principal   5/5/2023      Meetings with Other Advisors        open items EY: Attendees; T Shea, J Scott, B Mistler, J Berman, A&M Attendees: K Jacobs, B                0.5     $825.00       $412.50
                                                                                                          Seaway, C Howe, M Glynn
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                                                           Date of
                  Name      Initials        Rank                               Project Category                                                     Description of Services                                          Hours   Hourly Rate   Fees
                                                           Service
                                                                                                             Meeting to discuss FTX IRS IDR tracking and upcoming deliverables. EY attendees: C. Ancona,
Tong,Chia-Hui                CHT       Senior Manager      5/5/2023   Project Management Office Transition                                                                                                            0.4     $650.00       $260.00
                                                                                                             C. Tong, T. Shea, J. Healy, T. Ferris, and J. Scott
                                                                                                             Meeting to discuss FTX IRS IDR tracking and upcoming deliverables. EY attendees: C. Ancona,
Ancona,Christopher            CA            Senior         5/5/2023   Project Management Office Transition                                                                                                            0.4     $395.00       $158.00
                                                                                                             C. Tong, T. Shea, J. Healy, T. Ferris, and J. Scott
                                        Client Serving                                                       Meeting to discuss FTX IRS IDR tracking and upcoming deliverables. EY attendees: C. Ancona,
Scott,James                   JS                           5/5/2023             US Income Tax                                                                                                                         0.4     $600.00       $240.00
                                        Contractor JS                                                        C. Tong, T. Shea, J. Healy, T. Ferris, and J. Scott
                                                                                                             Meeting to discuss FTX IRS IDR tracking and upcoming deliverables. EY attendees: C. Ancona,
Healy,John                    JH       Senior Manager      5/5/2023            IRS Audit Matters                                                                                                                      0.4     $650.00       $260.00
                                                                                                             C. Tong, T. Shea, J. Healy, T. Ferris, and J. Scott
                                                                                                             Meeting to discuss FTX IRS IDR tracking and upcoming deliverables. EY attendees: C. Ancona,
Ferris,Tara                   TF       Partner/Principal   5/5/2023            IRS Audit Matters                                                                                                                      0.4     $825.00       $330.00
                                                                                                             C. Tong, T. Shea, J. Healy, T. Ferris, and J. Scott
                                                                                                             Meeting to discuss FTX IRS IDR tracking and upcoming deliverables. EY attendees: C. Ancona,
Shea JR,Thomas M             TMS       Partner/Principal   5/5/2023            IRS Audit Matters                                                                                                                      0.4     $825.00       $330.00
                                                                                                             C. Tong, T. Shea, J. Healy, T. Ferris, and J. Scott
                                                                                                             Weekly call with R. Lee (RLA), M. Hernandez (RLA), and C. Papadopoulos (RLA) to discuss
Mistler,Brian M             BMM            Manager         5/5/2023             US Income Tax                                                                                                                         0.5     $525.00       $262.50
                                                                                                             open tax items. EY attendees: T. Shea and B. Mistler
                                                                                                             Weekly call with R. Lee (RLA), M. Hernandez (RLA), and C. Papadopoulos (RLA) to discuss
Shea JR,Thomas M             TMS       Partner/Principal   5/5/2023             US Income Tax                                                                                                                         0.5     $825.00       $412.50
                                                                                                             open tax items. EY attendees: T. Shea and B. Mistler
                                                                                                             Internal meeting to discuss international compliance filings and data gathering approach. EY
Katelas,Andreas               KA            Senior         5/1/2023           US International Tax                                                                                                                    0.5     $395.00       $197.50
                                                                                                             attendees: L. Lovelace, D. Bailey, A. Katelas, R. Yang, A. Karan, M. Zhuo, D. Ortiz, and P. Zhu

                                                                                                             Internal meeting to discuss international compliance filings and data gathering approach. EY
Lovelace,Lauren               LL       Partner/Principal   5/1/2023           US International Tax                                                                                                                    0.5     $825.00       $412.50
                                                                                                             attendees: L. Lovelace, D. Bailey, A. Katelas, R. Yang, A. Karan, M. Zhuo, D. Ortiz, and P. Zhu

                                                                                                             Internal meeting to discuss international compliance filings and data gathering approach. EY
Yang,Rachel Sim              RSY       Senior Manager      5/1/2023           US International Tax                                                                                                                    0.5     $650.00       $325.00
                                                                                                             attendees: L. Lovelace, D. Bailey, A. Katelas, R. Yang, A. Karan, M. Zhuo, D. Ortiz, and P. Zhu

                                                                                                             Internal meeting to discuss international compliance filings and data gathering approach. EY
Zhuo,Melody                   MZ             Staff         5/1/2023           US International Tax                                                                                                                    0.5     $225.00       $112.50
                                                                                                             attendees: L. Lovelace, D. Bailey, A. Katelas, R. Yang, A. Karan, M. Zhuo, D. Ortiz, and P. Zhu

                                                                                                             Internal meeting to discuss international compliance filings and data gathering approach. EY
Bailey,Doug                   DB       Partner/Principal   5/1/2023              Tax Advisory                                                                                                                         0.5     $825.00       $412.50
                                                                                                             attendees: L. Lovelace, D. Bailey, A. Katelas, R. Yang, A. Karan, M. Zhuo, D. Ortiz, and P. Zhu

                                                                                                             Internal meeting to discuss international compliance filings and data gathering approach. EY
Karan,Anna Suncheuri         ASK             Staff         5/1/2023              Tax Advisory                                                                                                                         0.5     $225.00       $112.50
                                                                                                             attendees: L. Lovelace, D. Bailey, A. Katelas, R. Yang, A. Karan, M. Zhuo, D. Ortiz, and P. Zhu

                                                                                                             Internal meeting to discuss international compliance filings and data gathering approach. EY
Ortiz,Daniella                DO             Staff         5/1/2023           US International Tax                                                                                                                    0.5     $225.00       $112.50
                                                                                                             attendees: L. Lovelace, D. Bailey, A. Katelas, R. Yang, A. Karan, M. Zhuo, D. Ortiz, and P. Zhu

                                                                                                             Internal meeting to discuss international compliance filings and data gathering approach. EY
Zhu,Philip                    PZ            Senior         5/1/2023           US International Tax                                                                                                                    0.5     $395.00       $197.50
                                                                                                             attendees: L. Lovelace, D. Bailey, A. Katelas, R. Yang, A. Karan, M. Zhuo, D. Ortiz, and P. Zhu
                                                                                                             Internal meeting to discuss historical returns and initial restructuring. EY attendees: D. Bailey, L.
Katelas,Andreas               KA            Senior         5/1/2023           US International Tax                                                                                                                    0.5     $395.00       $197.50
                                                                                                             Lovelace, P. Gall, C. Mayer-Dempsey, T. Shea, J. Scott, T. Ferris, and A. Katelas
                                                                                                             Internal meeting to discuss historical returns and initial restructuring. EY attendees: D. Bailey, L.
Mayer-Dempsey,Chris Kosch    CMD       Senior Manager      5/1/2023           US International Tax                                                                                                                    0.5     $650.00       $325.00
                                                                                                             Lovelace, P. Gall, C. Mayer-Dempsey, T. Shea, J. Scott, T. Ferris, and A. Katelas
                                        Client Serving                                                       Internal meeting to discuss historical returns and initial restructuring. EY attendees: D. Bailey, L.
Scott,James                   JS                           5/1/2023             US Income Tax                                                                                                                         0.5     $600.00       $300.00
                                        Contractor JS                                                        Lovelace, P. Gall, C. Mayer-Dempsey, T. Shea, J. Scott, T. Ferris, and A. Katelas
                                                                                                             Internal meeting to discuss historical returns and initial restructuring. EY attendees: D. Bailey, L.
Lovelace,Lauren               LL       Partner/Principal   5/1/2023           US International Tax                                                                                                                    0.5     $825.00       $412.50
                                                                                                             Lovelace, P. Gall, C. Mayer-Dempsey, T. Shea, J. Scott, T. Ferris, and A. Katelas
                                                                                                             Internal meeting to discuss historical returns and initial restructuring. EY attendees: D. Bailey, L.
Shea JR,Thomas M             TMS       Partner/Principal   5/1/2023             US Income Tax                                                                                                                         0.5     $825.00       $412.50
                                                                                                             Lovelace, P. Gall, C. Mayer-Dempsey, T. Shea, J. Scott, T. Ferris, and A. Katelas
                                                                                                             Internal meeting to discuss historical returns and initial restructuring. EY attendees: D. Bailey, L.
Bailey,Doug                   DB       Partner/Principal   5/1/2023              Tax Advisory                                                                                                                         0.5     $825.00       $412.50
                                                                                                             Lovelace, P. Gall, C. Mayer-Dempsey, T. Shea, J. Scott, T. Ferris, and A. Katelas
                                                                                                             Internal meeting to discuss historical returns and initial restructuring. EY attendees: D. Bailey, L.
Ferris,Tara                   TF       Partner/Principal   5/1/2023            IRS Audit Matters                                                                                                                      0.5     $825.00       $412.50
                                                                                                             Lovelace, P. Gall, C. Mayer-Dempsey, T. Shea, J. Scott, T. Ferris, and A. Katelas
                                                                                                             Internal meeting to discuss historical returns and initial restructuring. EY attendees: D. Bailey, L.
Gall,Phillip J               PJG       Partner/Principal   5/1/2023           US International Tax                                                                                                                    0.5     $825.00       $412.50
                                                                                                             Lovelace, P. Gall, C. Mayer-Dempsey, T. Shea, J. Scott, T. Ferris, and A. Katelas
                                                                                                             Weekly meeting K. Jacobs (A&M) and D. Hariton (S&C) to discuss latest tax technical updates,
Katelas,Andreas               KA            Senior         5/2/2023      Meetings with Other Advisors        cryptocurrency valuation and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea,        1.0     $395.00       $395.00
                                                                                                             B. Mistler, J. Berman, J. Scott, and A. Katelas
                                                                                                             Weekly meeting K. Jacobs (A&M) and D. Hariton (S&C) to discuss latest tax technical updates,
Mistler,Brian M             BMM            Manager         5/2/2023      Meetings with Other Advisors        cryptocurrency valuation and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea,        1.0     $525.00       $525.00
                                                                                                             B. Mistler, J. Berman, J. Scott, and A. Katelas
                                                                                                             Weekly meeting K. Jacobs (A&M) and D. Hariton (S&C) to discuss latest tax technical updates,
                                        Client Serving
Scott,James                   JS                           5/2/2023      Meetings with Other Advisors        cryptocurrency valuation and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea,        1.0     $600.00       $600.00
                                        Contractor JS
                                                                                                             B. Mistler, J. Berman, J. Scott, and A. Katelas
                                                                                                             Weekly meeting K. Jacobs (A&M) and D. Hariton (S&C) to discuss latest tax technical updates,
Shea JR,Thomas M             TMS       Partner/Principal   5/2/2023      Meetings with Other Advisors        cryptocurrency valuation and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea,        1.0     $825.00       $825.00
                                                                                                             B. Mistler, J. Berman, J. Scott, and A. Katelas
                                                                                                             Weekly meeting K. Jacobs (A&M) and D. Hariton (S&C) to discuss latest tax technical updates,
Lovelace,Lauren               LL       Partner/Principal   5/2/2023      Meetings with Other Advisors        cryptocurrency valuation and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea,        1.0     $825.00       $825.00
                                                                                                             B. Mistler, J. Berman, J. Scott, and A. Katelas
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                                                        Date of
               Name      Initials        Rank                           Project Category                                                Description of Services                                          Hours   Hourly Rate   Fees
                                                        Service
                                                                                                  Weekly meeting K. Jacobs (A&M) and D. Hariton (S&C) to discuss latest tax technical updates,
Bailey,Doug                DB       Partner/Principal   5/2/2023   Meetings with Other Advisors   cryptocurrency valuation and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea,       1.0     $825.00       $825.00
                                                                                                  B. Mistler, J. Berman, J. Scott, and A. Katelas
                                                                                                  Weekly meeting K. Jacobs (A&M) and D. Hariton (S&C) to discuss latest tax technical updates,
Berman,Jake                JB       Senior Manager      5/2/2023   Meetings with Other Advisors   cryptocurrency valuation and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea,       1.0     $650.00       $650.00
                                                                                                  B. Mistler, J. Berman, J. Scott, and A. Katelas
                                                                                                  Meeting with K. Jacobs (A&M), D. Hariton (S&C), and H. Kim (S&C) to discuss the
Katelas,Andreas            KA            Senior         5/2/2023   Meetings with Other Advisors                                                                                                           0.5     $395.00       $197.50
                                                                                                  cryptocurrency valuation. EY attendees: L. Lovelace, D. Bailey, T. Shea, J. Scott, and A. Katelas

                                     Client Serving                                               Meeting with K. Jacobs (A&M), D. Hariton (S&C), and H. Kim (S&C) to discuss the
Scott,James                JS                           5/2/2023   Meetings with Other Advisors                                                                                                           0.5     $600.00       $300.00
                                     Contractor JS                                                cryptocurrency valuation. EY attendees: L. Lovelace, D. Bailey, T. Shea, J. Scott, and A. Katelas

                                                                                                  Meeting with K. Jacobs (A&M), D. Hariton (S&C), and H. Kim (S&C) to discuss the
Lovelace,Lauren            LL       Partner/Principal   5/2/2023   Meetings with Other Advisors                                                                                                           0.5     $825.00       $412.50
                                                                                                  cryptocurrency valuation. EY attendees: L. Lovelace, D. Bailey, T. Shea, J. Scott, and A. Katelas

                                                                                                  Meeting with K. Jacobs (A&M), D. Hariton (S&C), and H. Kim (S&C) to discuss the
Bailey,Doug                DB       Partner/Principal   5/2/2023   Meetings with Other Advisors                                                                                                           0.5     $825.00       $412.50
                                                                                                  cryptocurrency valuation. EY attendees: L. Lovelace, D. Bailey, T. Shea, J. Scott, and A. Katelas

                                                                                                  Meeting with K. Jacobs (A&M), D. Hariton (S&C), and H. Kim (S&C) to discuss the
Shea JR,Thomas M          TMS       Partner/Principal   5/2/2023   Meetings with Other Advisors                                                                                                           0.5     $825.00       $412.50
                                                                                                  cryptocurrency valuation. EY attendees: L. Lovelace, D. Bailey, T. Shea, J. Scott, and A. Katelas
                                                                                                  Internal meeting to review real and personal property tax filings and determine next steps. EY
Hall,Emily Melissa        EMH            Senior         5/1/2023     US State and Local Tax                                                                                                               0.5     $395.00       $197.50
                                                                                                  attendees: M. Musano, J. Scott, W. Bieganski, K. Davis, and E. Hall
                                     Client Serving                                               Internal meeting to review real and personal property tax filings and determine next steps. EY
Scott,James                JS                           5/1/2023         US Income Tax                                                                                                                    0.5     $600.00       $300.00
                                     Contractor JS                                                attendees: M. Musano, J. Scott, W. Bieganski, K. Davis, and E. Hall
                                                                                                  Internal meeting to review real and personal property tax filings and determine next steps. EY
Davis,Kathleen F.         KFD           Manager         5/1/2023     US State and Local Tax                                                                                                               0.5     $525.00       $262.50
                                                                                                  attendees: M. Musano, J. Scott, W. Bieganski, K. Davis, and E. Hall
                                                                                                  Internal meeting to review real and personal property tax filings and determine next steps. EY
Musano,Matthew Albert    MAM        Senior Manager      5/1/2023     US State and Local Tax                                                                                                               0.5     $650.00       $325.00
                                                                                                  attendees: M. Musano, J. Scott, W. Bieganski, K. Davis, and E. Hall
                                    Client Serving                                                Internal meeting to review real and personal property tax filings and determine next steps. EY
Bieganski,Walter          WB                            5/1/2023     US State and Local Tax                                                                                                               0.5     $200.00       $100.00
                                    Contractor WB                                                 attendees: M. Musano, J. Scott, W. Bieganski, K. Davis, and E. Hall
                                                                                                  Internal meeting to discuss the presentation of operating expenses and selling, general and
Katelas,Andreas            KA            Senior         5/4/2023       US International Tax       administrative expenses for broker-dealers. EY attendees: L. Lovelace, D. Bailey, W. Bieganski, J.      0.5     $395.00       $197.50
                                                                                                  Burns, M. Musano, E. Hall, E. Zheng, and A. Katelas
                                                                                                  Internal meeting to discuss the presentation of operating expenses and selling, general and
Hall,Emily Melissa        EMH            Senior         5/4/2023     US State and Local Tax       administrative expenses for broker-dealers. EY attendees: L. Lovelace, D. Bailey, W. Bieganski, J.      0.5     $395.00       $197.50
                                                                                                  Burns, M. Musano, E. Hall, E. Zheng, and A. Katelas
                                                                                                  Internal meeting to discuss the presentation of operating expenses and selling, general and
Burns,Jack M              JMB       Partner/Principal   5/4/2023       US International Tax       administrative expenses for broker-dealers. EY attendees: L. Lovelace, D. Bailey, W. Bieganski, J.      0.5     $825.00       $412.50
                                                                                                  Burns, M. Musano, E. Hall, E. Zheng, and A. Katelas
                                                                                                  Internal meeting to discuss the presentation of operating expenses and selling, general and
Musano,Matthew Albert    MAM        Senior Manager      5/4/2023     US State and Local Tax       administrative expenses for broker-dealers. EY attendees: L. Lovelace, D. Bailey, W. Bieganski, J.      0.5     $650.00       $325.00
                                                                                                  Burns, M. Musano, E. Hall, E. Zheng, and A. Katelas
                                                                                                  Internal meeting to discuss the presentation of operating expenses and selling, general and
                                    Client Serving
Bieganski,Walter          WB                            5/4/2023     US State and Local Tax       administrative expenses for broker-dealers. EY attendees: L. Lovelace, D. Bailey, W. Bieganski, J.      0.5     $200.00       $100.00
                                    Contractor WB
                                                                                                  Burns, M. Musano, E. Hall, E. Zheng, and A. Katelas
                                                                                                  Internal meeting to discuss the presentation of operating expenses and selling, general and
Lovelace,Lauren            LL       Partner/Principal   5/4/2023       US International Tax       administrative expenses for broker-dealers. EY attendees: L. Lovelace, D. Bailey, W. Bieganski, J.      0.5     $825.00       $412.50
                                                                                                  Burns, M. Musano, E. Hall, E. Zheng, and A. Katelas
                                                                                                  Internal meeting to discuss the presentation of operating expenses and selling, general and
Bailey,Doug                DB       Partner/Principal   5/4/2023          Tax Advisory            administrative expenses for broker-dealers. EY attendees: L. Lovelace, D. Bailey, W. Bieganski, J.      0.5     $825.00       $412.50
                                                                                                  Burns, M. Musano, E. Hall, E. Zheng, and A. Katelas
                                                                                                  Internal meeting to discuss the presentation of operating expenses and selling, general and
Zheng,Eva                  EZ           Manager         5/4/2023     US State and Local Tax       administrative expenses for broker-dealers. EY attendees: L. Lovelace, D. Bailey, W. Bieganski, J.      0.5     $525.00       $262.50
                                                                                                  Burns, M. Musano, E. Hall, E. Zheng, and A. Katelas
                                                                                                  Internal meeting to discuss international compliance and advisory deliverables and deadlines. EY
Katelas,Andreas            KA            Senior         5/5/2023       US International Tax                                                                                                               0.5     $395.00       $197.50
                                                                                                  attendees: L. Lovelace, D. Bailey, and A. Katelas
                                                                                                  Internal meeting to discuss international compliance and advisory deliverables and deadlines. EY
Bailey,Doug                DB       Partner/Principal   5/5/2023          Tax Advisory                                                                                                                    0.5     $825.00       $412.50
                                                                                                  attendees: L. Lovelace, D. Bailey, and A. Katelas
                                                                                                  Internal meeting to discuss international compliance and advisory deliverables and deadlines. EY
Lovelace,Lauren            LL       Partner/Principal   5/5/2023       US International Tax                                                                                                               0.5     $825.00       $412.50
                                                                                                  attendees: L. Lovelace, D. Bailey, and A. Katelas
                                                                                                  Internal state and local tax field of play call to discuss updates to tax workstreams. EY attendees:
Johnson,Derrick Joseph    DJJ             Staff         5/2/2023     US State and Local Tax       M. Musano, J. Scott, N. Flagg, W. Bieganski, J. Jimenez, J. Berman, E. Zheng, C. Dulceak, D.            0.8     $225.00       $180.00
                                                                                                  Johnson, and E. Hall
                                                                                                  Internal state and local tax field of play call to discuss updates to tax workstreams. EY attendees:
Hall,Emily Melissa        EMH            Senior         5/2/2023     US State and Local Tax       M. Musano, J. Scott, N. Flagg, W. Bieganski, J. Jimenez, J. Berman, E. Zheng, C. Dulceak, D.            0.8     $395.00       $316.00
                                                                                                  Johnson, and E. Hall
                                                                                                  Internal state and local tax field of play call to discuss updates to tax workstreams. EY attendees:
Zheng,Eva                  EZ           Manager         5/2/2023     US State and Local Tax       M. Musano, J. Scott, N. Flagg, W. Bieganski, J. Jimenez, J. Berman, E. Zheng, C. Dulceak, D.            0.8     $525.00       $420.00
                                                                                                  Johnson, and E. Hall
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                                                        Date of
                  Name   Initials         Rank                              Project Category                                                   Description of Services                                           Hours   Hourly Rate   Fees
                                                        Service
                                                                                                          Internal state and local tax field of play call to discuss updates to tax workstreams. EY attendees:
                                      Client Serving
Scott,James                JS                           5/2/2023             US Income Tax                M. Musano, J. Scott, N. Flagg, W. Bieganski, J. Jimenez, J. Berman, E. Zheng, C. Dulceak, D.            0.8     $600.00       $480.00
                                      Contractor JS
                                                                                                          Johnson, and E. Hall
                                                                                                          Internal state and local tax field of play call to discuss updates to tax workstreams. EY attendees:
Jimenez,Joseph Robert      JRJ       Senior Manager     5/2/2023         US State and Local Tax           M. Musano, J. Scott, N. Flagg, W. Bieganski, J. Jimenez, J. Berman, E. Zheng, C. Dulceak, D.            0.8     $650.00       $520.00
                                                                                                          Johnson, and E. Hall
                                                                                                          Internal state and local tax field of play call to discuss updates to tax workstreams. EY attendees:
Musano,Matthew Albert    MAM         Senior Manager     5/2/2023         US State and Local Tax           M. Musano, J. Scott, N. Flagg, W. Bieganski, J. Jimenez, J. Berman, E. Zheng, C. Dulceak, D.            0.8     $650.00       $520.00
                                                                                                          Johnson, and E. Hall
                                                                                                          Internal state and local tax field of play call to discuss updates to tax workstreams. EY attendees:
Flagg,Nancy A.            NAF       Managing Director   5/2/2023         US State and Local Tax           M. Musano, J. Scott, N. Flagg, W. Bieganski, J. Jimenez, J. Berman, E. Zheng, C. Dulceak, D.            0.8     $775.00       $620.00
                                                                                                          Johnson, and E. Hall
                                                                                                          Internal state and local tax field of play call to discuss updates to tax workstreams. EY attendees:
                                     Client Serving
Bieganski,Walter          WB                            5/2/2023         US State and Local Tax           M. Musano, J. Scott, N. Flagg, W. Bieganski, J. Jimenez, J. Berman, E. Zheng, C. Dulceak, D.            0.8     $200.00       $160.00
                                     Contractor WB
                                                                                                          Johnson, and E. Hall
                                                                                                          Internal state and local tax field of play call to discuss updates to tax workstreams. EY attendees:
Berman,Jake                JB        Senior Manager     5/2/2023             US Income Tax                M. Musano, J. Scott, N. Flagg, W. Bieganski, J. Jimenez, J. Berman, E. Zheng, C. Dulceak, D.            0.8     $650.00       $520.00
                                                                                                          Johnson, and E. Hall
                                                                                                          Internal state and local tax field of play call to discuss updates to tax workstreams. EY attendees:
Dulceak,Crystal            CD           Manager         5/2/2023         US State and Local Tax           M. Musano, J. Scott, N. Flagg, W. Bieganski, J. Jimenez, J. Berman, E. Zheng, C. Dulceak, D.            0.8     $525.00       $420.00
                                                                                                          Johnson, and E. Hall
                                                                                                          Discussion re: sales and use tax deliverables and upcoming deadlines. EY attendees: J. Jimenez and
Hall,Emily Melissa        EMH            Senior         5/4/2023         US State and Local Tax                                                                                                                   0.2     $395.00        $79.00
                                                                                                          E. Hall
                                                                                                          Discussion re: sales and use tax deliverables and upcoming deadlines. EY attendees: J. Jimenez and
Jimenez,Joseph Robert      JRJ       Senior Manager     5/4/2023         US State and Local Tax                                                                                                                   0.2     $650.00       $130.00
                                                                                                          E. Hall
                                                                                                          Data and Tech Daily Connect to discuss the State Apportionment Data by revenue. EY attendees:
Li,Chunyang                CL            Senior         5/1/2023               Technology                                                                                                                         1.2     $395.00       $474.00
                                                                                                          C. Cavusoglu, R. Nunna, K. Gundu, D. Jena, C. Li, and C. Velpuri
                                                                                                          Data and Tech Daily Connect to discuss the State Apportionment Data by revenue. EY attendees:
Velpuri,Cury               CV             Staff         5/1/2023               Technology                                                                                                                         1.2     $225.00       $270.00
                                                                                                          C. Cavusoglu, R. Nunna, K. Gundu, D. Jena, C. Li, and C. Velpuri
                                                                                                          Data and Tech Daily Connect to discuss the State Apportionment Data by revenue. EY attendees:
Jena,Deepak                DJ           Manager         5/1/2023               Technology                                                                                                                         1.2     $525.00       $630.00
                                                                                                          C. Cavusoglu, R. Nunna, K. Gundu, D. Jena, C. Li, and C. Velpuri
                                                                                                          Data and Tech Daily Connect to discuss the State Apportionment Data by revenue. EY attendees:
Gundu,Kaivalya             KG        Senior Manager     5/1/2023               Technology                                                                                                                         1.2     $650.00       $780.00
                                                                                                          C. Cavusoglu, R. Nunna, K. Gundu, D. Jena, C. Li, and C. Velpuri
                                                                                                          Data and Tech Daily Connect to discuss the State Apportionment Data by revenue. EY attendees:
Nunna,Ramesh kumar        RKN           Manager         5/1/2023               Technology                                                                                                                         1.2     $525.00       $630.00
                                                                                                          C. Cavusoglu, R. Nunna, K. Gundu, D. Jena, C. Li, and C. Velpuri
                                                                                                          Data and Tech Daily Connect to discuss the State Apportionment Data by revenue. EY attendees:
Cavusoglu,Coskun           CC       Partner/Principal   5/1/2023               Technology                                                                                                                         1.2     $825.00       $990.00
                                                                                                          C. Cavusoglu, R. Nunna, K. Gundu, D. Jena, C. Li, and C. Velpuri
                                                                                                          Data and Tech Daily Connect to discuss the cost estimates and workflow. EY attendees: R. Nunna,
Li,Chunyang                CL            Senior         5/2/2023               Technology                                                                                                                         0.8     $395.00       $316.00
                                                                                                          K. Gundu, D. Jena, C. Li, and C. Velpuri
                                                                                                          Data and Tech Daily Connect to discuss the cost estimates and workflow. EY attendees: R. Nunna,
Velpuri,Cury               CV             Staff         5/2/2023               Technology                                                                                                                         0.8     $225.00       $180.00
                                                                                                          K. Gundu, D. Jena, C. Li, and C. Velpuri
                                                                                                          Data and Tech Daily Connect to discuss the cost estimates and workflow. EY attendees: R. Nunna,
Jena,Deepak                DJ           Manager         5/2/2023               Technology                                                                                                                         0.8     $525.00       $420.00
                                                                                                          K. Gundu, D. Jena, C. Li, and C. Velpuri
                                                                                                          Data and Tech Daily Connect to discuss the cost estimates and workflow. EY attendees: R. Nunna,
Gundu,Kaivalya             KG        Senior Manager     5/2/2023               Technology                                                                                                                         0.8     $650.00       $520.00
                                                                                                          K. Gundu, D. Jena, C. Li, and C. Velpuri
                                                                                                          Data and Tech Daily Connect to discuss the cost estimates and workflow. EY attendees: R. Nunna,
Nunna,Ramesh kumar        RKN           Manager         5/2/2023               Technology                                                                                                                         0.8     $525.00       $420.00
                                                                                                          K. Gundu, D. Jena, C. Li, and C. Velpuri
                                                                                                          Discussion re: property tax deliverables and upcoming deadlines. EY attendees: K. Davis and E.
Hall,Emily Melissa        EMH            Senior         5/5/2023         US State and Local Tax                                                                                                                   0.5     $395.00       $197.50
                                                                                                          Hall
                                                                                                          Discussion re: property tax deliverables and upcoming deadlines. EY attendees: K. Davis and E.
Davis,Kathleen F.         KFD           Manager         5/5/2023         US State and Local Tax                                                                                                                   0.5     $525.00       $262.50
                                                                                                          Hall
                                                                                                          Meeting to discuss FTX customer transaction data to be used by each of the tax workstreams in
Tong,Chia-Hui             CHT        Senior Manager     5/8/2023   Project Management Office Transition   support of their deliverables. EY attendees: C. Ancona, C. Tong, T. Shea, C. Cavusoglu, and K.          0.6     $650.00       $390.00
                                                                                                          Gundu
                                                                                                          Meeting to discuss FTX customer transaction data to be used by each of the tax workstreams in
Ancona,Christopher         CA            Senior         5/8/2023   Project Management Office Transition   support of their deliverables. EY attendees: C. Ancona, C. Tong, T. Shea, C. Cavusoglu, and K.          0.6     $395.00       $237.00
                                                                                                          Gundu
                                                                                                          Meeting to discuss FTX customer transaction data to be used by each of the tax workstreams in
Gundu,Kaivalya             KG        Senior Manager     5/8/2023               Technology                 support of their deliverables. EY attendees: C. Ancona, C. Tong, T. Shea, C. Cavusoglu, and K.          0.6     $650.00       $390.00
                                                                                                          Gundu
                                                                                                          Meeting to discuss FTX customer transaction data to be used by each of the tax workstreams in
Shea JR,Thomas M          TMS       Partner/Principal   5/8/2023               Technology                 support of their deliverables. EY attendees: C. Ancona, C. Tong, T. Shea, C. Cavusoglu, and K.          0.6     $825.00       $495.00
                                                                                                          Gundu
                                                                                                          Meeting to discuss FTX customer transaction data to be used by each of the tax workstreams in
Cavusoglu,Coskun           CC       Partner/Principal   5/8/2023               Technology                 support of their deliverables. EY attendees: C. Ancona, C. Tong, T. Shea, C. Cavusoglu, and K.          0.6     $825.00       $495.00
                                                                                                          Gundu
                                                                                                          Meeting to discuss FTX deliverables and deadlines with the information reporting and withholding
Tong,Chia-Hui             CHT        Senior Manager     5/8/2023   Project Management Office Transition                                                                                                           0.4     $650.00       $260.00
                                                                                                          workstream. EY attendees: C. Ancona, C. Tong, T. Shea, A. Richardson, and T. Nichol

                                                                                                          Meeting to discuss FTX deliverables and deadlines with the information reporting and withholding
Ancona,Christopher         CA            Senior         5/8/2023   Project Management Office Transition                                                                                                           0.4     $395.00       $158.00
                                                                                                          workstream. EY attendees: C. Ancona, C. Tong, T. Shea, A. Richardson, and T. Nichol
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                                                         Date of
                  Name    Initials         Rank                              Project Category                                                   Description of Services                                          Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Meeting to discuss FTX deliverables and deadlines with the information reporting and withholding
Shea JR,Thomas M           TMS       Partner/Principal   5/8/2023          Information Reporting                                                                                                                  0.4     $825.00       $330.00
                                                                                                           workstream. EY attendees: C. Ancona, C. Tong, T. Shea, A. Richardson, and T. Nichol

                                                                                                           Meeting to discuss FTX deliverables and deadlines with the information reporting and withholding
Nichol,T.J.                TJN        Senior Manager     5/8/2023          Information Reporting                                                                                                                  0.4     $650.00       $260.00
                                                                                                           workstream. EY attendees: C. Ancona, C. Tong, T. Shea, A. Richardson, and T. Nichol

                                                                                                           Meeting to discuss FTX deliverables and deadlines with the information reporting and withholding
Richardson,Audrey Sarah    ASR           Manager         5/8/2023          Information Reporting                                                                                                                  0.4     $525.00       $210.00
                                                                                                           workstream. EY attendees: C. Ancona, C. Tong, T. Shea, A. Richardson, and T. Nichol
                                                                                                           Internal call to discuss the responsible officer rules in New York State for the sales tax audit of
Musano,Matthew Albert     MAM         Senior Manager     5/3/2023         US State and Local Tax                                                                                                                  0.5     $650.00       $325.00
                                                                                                           Ledger Holdings. EY attendees: M. Musano and S. Cohen
                                                                                                           Internal call to discuss the responsible officer rules in New York State for the sales tax audit of
Cohen,Sam                   SC        Senior Manager     5/3/2023         US State and Local Tax                                                                                                                  0.5     $650.00       $325.00
                                                                                                           Ledger Holdings. EY attendees: M. Musano and S. Cohen
                                       Client Serving                                                      Call regarding Ledger Holdings information document request and items needed for the New York
Scott,James                 JS                           5/3/2023             US Income Tax                                                                                                                       0.8     $600.00       $480.00
                                       Contractor JS                                                       State sales tax audit. EY attendees: J. Scott and M. Musano
                                                                                                           Call regarding Ledger Holdings information document request and items needed for the New York
Musano,Matthew Albert     MAM         Senior Manager     5/3/2023         US State and Local Tax                                                                                                                  0.8     $650.00       $520.00
                                                                                                           State sales tax audit. EY attendees: J. Scott and M. Musano
                                                                                                           Call with J. Markau (LedgerX) to discuss NY State sales tax audit and the documentation that
Mistler,Brian M           BMM            Manager         5/3/2023             US Income Tax                would be required for submission to the auditors. EY attendees: J. Scott, M. Musano, J. Berman,        0.5     $525.00       $262.50
                                                                                                           and B. Mistler
                                                                                                           Call with J. Markau (LedgerX) to discuss NY State sales tax audit and the documentation that
                                       Client Serving
Scott,James                 JS                           5/3/2023             US Income Tax                would be required for submission to the auditors. EY attendees: J. Scott, M. Musano, J. Berman,        0.5     $600.00       $300.00
                                       Contractor JS
                                                                                                           and B. Mistler
                                                                                                           Call with J. Markau (LedgerX) to discuss NY State sales tax audit and the documentation that
Musano,Matthew Albert     MAM         Senior Manager     5/3/2023         US State and Local Tax           would be required for submission to the auditors. EY attendees: J. Scott, M. Musano, J. Berman,        0.5     $650.00       $325.00
                                                                                                           and B. Mistler
                                                                                                           Call with J. Markau (LedgerX) to discuss NY State sales tax audit and the documentation that
Berman,Jake                 JB        Senior Manager     5/3/2023             US Income Tax                would be required for submission to the auditors. EY attendees: J. Scott, M. Musano, J. Berman,        0.5     $650.00       $325.00
                                                                                                           and B. Mistler
                                                                                                           Internal call to discuss the notice of determination received by Ledger Holdings for the New York
Schmutter,David             DS       Managing Director   5/4/2023         US State and Local Tax           State sales tax audit and the best response to such notice. EY attendees: D. Schmutter and M.          0.5     $775.00       $387.50
                                                                                                           Musano
                                                                                                           Internal call to discuss the notice of determination received by Ledger Holdings for the New York
Musano,Matthew Albert     MAM         Senior Manager     5/4/2023         US State and Local Tax           State sales tax audit and the best response to such notice. EY attendees: D. Schmutter and M.          0.5     $650.00       $325.00
                                                                                                           Musano
                                                                                                           Internal call to discuss approach for call with New York State sales tax auditors for Ledger
Hall,Emily Melissa         EMH            Senior         5/8/2023         US State and Local Tax                                                                                                                  0.4     $395.00       $158.00
                                                                                                           Holdings audit. EY attendees: M. Musano, S. Cohen, J. Jimenez, and E. Hall
                                                                                                           Internal call to discuss approach for call with New York State sales tax auditors for Ledger
Musano,Matthew Albert     MAM         Senior Manager     5/8/2023         US State and Local Tax                                                                                                                  0.4     $650.00       $260.00
                                                                                                           Holdings audit. EY attendees: M. Musano, S. Cohen, J. Jimenez, and E. Hall
                                                                                                           Internal call to discuss approach for call with New York State sales tax auditors for Ledger
Cohen,Sam                   SC        Senior Manager     5/8/2023         US State and Local Tax                                                                                                                  0.4     $650.00       $260.00
                                                                                                           Holdings audit. EY attendees: M. Musano, S. Cohen, J. Jimenez, and E. Hall
                                                                                                           Call with New York State to discuss the Ledger Holdings sales tax audit. EY attendees M. Musano,
Schmutter,David             DS       Managing Director   5/8/2023         US State and Local Tax                                                                                                                  0.5     $775.00       $387.50
                                                                                                           D. Schmutter, S. Cohen, J. Jimenez, and E. Hall
                                                                                                           Call with New York State to discuss the Ledger Holdings sales tax audit. EY attendees M. Musano,
Hall,Emily Melissa         EMH            Senior         5/8/2023         US State and Local Tax                                                                                                                  0.5     $395.00       $197.50
                                                                                                           D. Schmutter, S. Cohen, J. Jimenez, and E. Hall
                                                                                                           Call with New York State to discuss the Ledger Holdings sales tax audit. EY attendees M. Musano,
Jimenez,Joseph Robert       JRJ       Senior Manager     5/8/2023         US State and Local Tax                                                                                                                  0.5     $650.00       $325.00
                                                                                                           D. Schmutter, S. Cohen, J. Jimenez, and E. Hall
                                                                                                           Call with New York State to discuss the Ledger Holdings sales tax audit. EY attendees M. Musano,
Musano,Matthew Albert     MAM         Senior Manager     5/8/2023         US State and Local Tax                                                                                                                  0.5     $650.00       $325.00
                                                                                                           D. Schmutter, S. Cohen, J. Jimenez, and E. Hall
                                                                                                           Call with New York State to discuss the Ledger Holdings sales tax audit. EY attendees M. Musano,
Cohen,Sam                   SC        Senior Manager     5/8/2023         US State and Local Tax                                                                                                                  0.5     $650.00       $325.00
                                                                                                           D. Schmutter, S. Cohen, J. Jimenez, and E. Hall
                                                                                                           EY internal call to discuss outstanding workflows and the status of FTX claims log. EY attendees:
Johnson,Derrick Joseph     DJJ             Staff         5/8/2023         US State and Local Tax                                                                                                                  0.3     $225.00        $67.50
                                                                                                           D. Johnson, K. Gatt, and N. Flagg
                                                                                                           EY internal call to discuss outstanding workflows and the status of FTX claims log. EY attendees:
Flagg,Nancy A.             NAF       Managing Director   5/5/2023         US State and Local Tax                                                                                                                  0.3     $775.00       $232.50
                                                                                                           D. Johnson, K. Gatt, and N. Flagg
                                                                                                           EY internal call to discuss outstanding workflows and the status of FTX claims log. EY attendees:
Gatt,Katie                  KG        Senior Manager     5/5/2023         US State and Local Tax                                                                                                                  0.3     $650.00       $195.00
                                                                                                           D. Johnson, K. Gatt, and N. Flagg
                                                                                                           Meeting to discuss FTX Payroll operate tax deliverables and deadlines. EY attendees: C. Ancona,
Soderman,Kathy              KS       Managing Director   5/8/2023               Payroll Tax                                                                                                                       0.3     $775.00       $232.50
                                                                                                           C. Tong, T. Shea, and K. Soderman
                                                                                                           Meeting to discuss FTX Payroll operate tax deliverables and deadlines. EY attendees: C. Ancona,
Tong,Chia-Hui              CHT        Senior Manager     5/8/2023   Project Management Office Transition                                                                                                          0.3     $650.00       $195.00
                                                                                                           C. Tong, T. Shea, and K. Soderman
                                                                                                           Meeting to discuss FTX Payroll operate tax deliverables and deadlines. EY attendees: C. Ancona,
Ancona,Christopher          CA            Senior         5/8/2023   Project Management Office Transition                                                                                                          0.3     $395.00       $118.50
                                                                                                           C. Tong, T. Shea, and K. Soderman
                                                                                                           Meeting to discuss FTX Payroll operate tax deliverables and deadlines. EY attendees: C. Ancona,
Shea JR,Thomas M           TMS       Partner/Principal   5/8/2023               Payroll Tax                                                                                                                       0.3     $825.00       $247.50
                                                                                                           C. Tong, T. Shea, and K. Soderman
                                                                                                           IRS Audit Check-In to discuss target for deliverables and any issues. EY attendees: C. Ancona, C.
Mistler,Brian M           BMM            Manager         5/8/2023            IRS Audit Matters             Tong, H. Choudary, A. Richardson, B. Mistler, D. Bailey, J. Scott, J. Healy, L. Lovelace, and T.       0.5     $525.00       $262.50
                                                                                                           Shea
                                                                                                           IRS Audit Check-In to discuss target for deliverables and any issues. EY attendees: C. Ancona, C.
Tong,Chia-Hui              CHT        Senior Manager     5/8/2023   Project Management Office Transition   Tong, H. Choudary, A. Richardson, B. Mistler, D. Bailey, J. Scott, J. Healy, L. Lovelace, and T.       0.5     $650.00       $325.00
                                                                                                           Shea
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                                                         Date of
                Name      Initials         Rank                              Project Category                                                   Description of Services                                         Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           IRS Audit Check-In to discuss target for deliverables and any issues. EY attendees: C. Ancona, C.
Ancona,Christopher          CA            Senior         5/8/2023   Project Management Office Transition   Tong, H. Choudary, A. Richardson, B. Mistler, D. Bailey, J. Scott, J. Healy, L. Lovelace, and T.      0.5     $395.00       $197.50
                                                                                                           Shea
                                                                                                           IRS Audit Check-In to discuss target for deliverables and any issues. EY attendees: C. Ancona, C.
Choudary,Hira               HC             Staff         5/8/2023               Non US Tax                 Tong, H. Choudary, A. Richardson, B. Mistler, D. Bailey, J. Scott, J. Healy, L. Lovelace, and T.      0.5     $225.00       $112.50
                                                                                                           Shea
                                                                                                           IRS Audit Check-In to discuss target for deliverables and any issues. EY attendees: C. Ancona, C.
                                       Client Serving
Scott,James                 JS                           5/8/2023             US Income Tax                Tong, H. Choudary, A. Richardson, B. Mistler, D. Bailey, J. Scott, J. Healy, L. Lovelace, and T.      0.5     $600.00       $300.00
                                       Contractor JS
                                                                                                           Shea
                                                                                                           IRS Audit Check-In to discuss target for deliverables and any issues. EY attendees: C. Ancona, C.
Lovelace,Lauren             LL       Partner/Principal   5/8/2023           US International Tax           Tong, H. Choudary, A. Richardson, B. Mistler, D. Bailey, J. Scott, J. Healy, L. Lovelace, and T.      0.5     $825.00       $412.50
                                                                                                           Shea
                                                                                                           IRS Audit Check-In to discuss target for deliverables and any issues. EY attendees: C. Ancona, C.
Shea JR,Thomas M           TMS       Partner/Principal   5/8/2023            IRS Audit Matters             Tong, H. Choudary, A. Richardson, B. Mistler, D. Bailey, J. Scott, J. Healy, L. Lovelace, and T.      0.5     $825.00       $412.50
                                                                                                           Shea
                                                                                                           IRS Audit Check-In to discuss target for deliverables and any issues. EY attendees: C. Ancona, C.
Richardson,Audrey Sarah    ASR           Manager         5/8/2023          Information Reporting           Tong, H. Choudary, A. Richardson, B. Mistler, D. Bailey, J. Scott, J. Healy, L. Lovelace, and T.      0.5     $525.00       $262.50
                                                                                                           Shea
                                                                                                           IRS Audit Check-In to discuss target for deliverables and any issues. EY attendees: C. Ancona, C.
Bailey,Doug                 DB       Partner/Principal   5/8/2023              Tax Advisory                Tong, H. Choudary, A. Richardson, B. Mistler, D. Bailey, J. Scott, J. Healy, L. Lovelace, and T.      0.5     $825.00       $412.50
                                                                                                           Shea
                                                                                                           IRS Audit Check-In to discuss target for deliverables and any issues. EY attendees: C. Ancona, C.
Healy,John                  JH        Senior Manager     5/8/2023            IRS Audit Matters             Tong, H. Choudary, A. Richardson, B. Mistler, D. Bailey, J. Scott, J. Healy, L. Lovelace, and T.      0.5     $650.00       $325.00
                                                                                                           Shea
                                                                                                           Work Items Touchpoint meeting to discuss FTX project status updates and next steps for Project
Ancona,Christopher          CA            Senior         5/8/2023   Project Management Office Transition   Management Office transition and knowledge transfer items. EY attendees: C. Ancona and H.             0.5     $395.00       $197.50
                                                                                                           Choudary
                                                                                                           Work Items Touchpoint meeting to discuss FTX project status updates and next steps for Project
Choudary,Hira               HC             Staff         5/8/2023               Non US Tax                 Management Office transition and knowledge transfer items. EY attendees: C. Ancona and H.             0.5     $225.00       $112.50
                                                                                                           Choudary
                                                                                                           Meeting to review the February fee application. EY attendees: C. Ancona, C. Tong, H. Choudary,
Tong,Chia-Hui              CHT        Senior Manager     5/8/2023   Project Management Office Transition                                                                                                         0.6     $650.00       $390.00
                                                                                                           D. Neziroski, and S. Cahalane
                                                                                                           Meeting to review the February fee application. EY attendees: C. Ancona, C. Tong, H. Choudary,
Ancona,Christopher          CA            Senior         5/8/2023   Project Management Office Transition                                                                                                         0.6     $395.00       $237.00
                                                                                                           D. Neziroski, and S. Cahalane
                                                                                                           Meeting to review the February fee application. EY attendees: C. Ancona, C. Tong, H. Choudary,
Choudary,Hira               HC             Staff         5/8/2023               Non US Tax                                                                                                                       0.6     $225.00       $135.00
                                                                                                           D. Neziroski, and S. Cahalane
                                                                                                           Meeting to review the February fee application. EY attendees: C. Ancona, C. Tong, H. Choudary,
Cahalane,Shawn M.          SMC           Manager         5/8/2023      Fee/Employment Applications                                                                                                               0.6     $525.00       $315.00
                                                                                                           D. Neziroski, and S. Cahalane
DeVincenzo,Jennie         JDV        Managing Director   5/8/2023        Meetings with Management          Meeting to discuss Alameda IRS IDR 2. EY attendees: J. DeVincenzo and K. Wrenn                        0.8     $775.00       $620.00
Wrenn,Kaitlin Doyle       KDW           Manager          5/8/2023        Meetings with Management          Meeting to discuss Alameda IRS IDR 2. EY attendees: J. DeVincenzo and K. Wrenn                        0.8     $525.00       $420.00
                                                                                                           Meeting with D. Ornelas (FTX) and A. Manikandan (Rippling) to discuss payroll reporting. EY
DeVincenzo,Jennie          JDV       Managing Director   5/8/2023        Meetings with Management                                                                                                                0.5     $775.00       $387.50
                                                                                                           attendees: J. DeVincenzo and K. Wrenn
                                                                                                           Meeting with D. Ornelas (FTX) and A. Manikandan (Rippling) to discuss payroll reporting. EY
Wrenn,Kaitlin Doyle       KDW            Manager         5/8/2023        Meetings with Management                                                                                                                0.5     $525.00       $262.50
                                                                                                           attendees: J. DeVincenzo and K. Wrenn
                                                                                                           Meeting to discuss open items and questions relating to the transition of EY foreign firms to
Ancona,Christopher          CA            Senior         5/9/2023   Project Management Office Transition                                                                                                         0.9     $395.00       $355.50
                                                                                                           perform tax compliance services. EY attendees: C. Ancona and H. Choudary
                                                                                                           Meeting to discuss open items and questions relating to the transition of EY foreign firms to
Choudary,Hira               HC             Staff         5/9/2023               Non US Tax                                                                                                                       0.9     $225.00       $202.50
                                                                                                           perform tax compliance services. EY attendees: C. Ancona and H. Choudary
                                                                                                           Call with J. Chan (FTX) and S. Yuen (FTX) contacts to discuss Seychelles, Singapore, and
MacLean,Corrie             CM             Senior         5/8/2023        Meetings with Management          Innovatia due diligence. EY attendees: D. Hammon, K. Staromiejska, C. MacLean, and H.                 0.5     $395.00       $197.50
                                                                                                           Choudary
                                                                                                           Call with J. Chan (FTX) and S. Yuen (FTX) contacts to discuss Seychelles, Singapore, and
Hammon,David Lane          DLH           Manager         5/8/2023        Meetings with Management          Innovatia due diligence. EY attendees: D. Hammon, K. Staromiejska, C. MacLean, and H.                 0.5     $525.00       $262.50
                                                                                                           Choudary
                                                                                                           Call with J. Chan (FTX) and S. Yuen (FTX) contacts to discuss Seychelles, Singapore, and
Staromiejska,Kinga          KS           Manager         5/8/2023        Meetings with Management          Innovatia due diligence. EY attendees: D. Hammon, K. Staromiejska, C. MacLean, and H.                 0.5     $525.00       $262.50
                                                                                                           Choudary
                                                                                                           Call with J. Chan (FTX) and S. Yuen (FTX) contacts to discuss Seychelles, Singapore, and
Choudary,Hira               HC             Staff         5/8/2023        Meetings with Management          Innovatia due diligence. EY attendees: D. Hammon, K. Staromiejska, C. MacLean, and H.                 0.5     $225.00       $112.50
                                                                                                           Choudary
                                                                                                           Meeting to discuss the transfer pricing compliance deadline calendar and next steps. EY attendees:
MacLean,Corrie             CM             Senior         5/8/2023               Non US Tax                 D. McComber, A. Bost, D. Katsnelson, D. Hammon, G. Stefano, H. Choudary, O. Hall, C.                  0.4     $395.00       $158.00
                                                                                                           MacLean, and K. Staromiejska
                                                                                                           Meeting to discuss the transfer pricing compliance deadline calendar and next steps. EY attendees:
Bost,Anne                   BA       Managing Director   5/8/2023             Transfer Pricing             D. McComber, A. Bost, D. Katsnelson, D. Hammon, G. Stefano, H. Choudary, O. Hall, C.                  0.4     $775.00       $310.00
                                                                                                           MacLean, and K. Staromiejska
                                                                                                           Meeting to discuss the transfer pricing compliance deadline calendar and next steps. EY attendees:
Katsnelson,David            DK           Manager         5/8/2023             Transfer Pricing             D. McComber, A. Bost, D. Katsnelson, D. Hammon, G. Stefano, H. Choudary, O. Hall, C.                  0.4     $525.00       $210.00
                                                                                                           MacLean, and K. Staromiejska
                                                                                                           Meeting to discuss the transfer pricing compliance deadline calendar and next steps. EY attendees:
                                         National
McComber,Donna             DM                            5/8/2023             Transfer Pricing             D. McComber, A. Bost, D. Katsnelson, D. Hammon, G. Stefano, H. Choudary, O. Hall, C.                  0.4     $990.00       $396.00
                                     Partner/Principal
                                                                                                           MacLean, and K. Staromiejska
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                                                        Date of
                  Name   Initials         Rank                              Project Category                                                   Description of Services                                         Hours   Hourly Rate   Fees
                                                        Service
                                                                                                          Meeting to discuss the transfer pricing compliance deadline calendar and next steps. EY attendees:
Di Stefano,Giulia         GDS            Senior         5/8/2023             Transfer Pricing             D. McComber, A. Bost, D. Katsnelson, D. Hammon, G. Stefano, H. Choudary, O. Hall, C.                  0.4     $395.00       $158.00
                                                                                                          MacLean, and K. Staromiejska
                                                                                                          Meeting to discuss the transfer pricing compliance deadline calendar and next steps. EY attendees:
Hammon,David Lane         DLH           Manager         5/8/2023               Non US Tax                 D. McComber, A. Bost, D. Katsnelson, D. Hammon, G. Stefano, H. Choudary, O. Hall, C.                  0.4     $525.00       $210.00
                                                                                                          MacLean, and K. Staromiejska
                                                                                                          Meeting to discuss the transfer pricing compliance deadline calendar and next steps. EY attendees:
Staromiejska,Kinga         KS           Manager         5/8/2023               Non US Tax                 D. McComber, A. Bost, D. Katsnelson, D. Hammon, G. Stefano, H. Choudary, O. Hall, C.                  0.4     $525.00       $210.00
                                                                                                          MacLean, and K. Staromiejska
                                                                                                          Meeting to discuss the transfer pricing compliance deadline calendar and next steps. EY attendees:
Hall,Olivia                OH             Staff         5/8/2023             Transfer Pricing             D. McComber, A. Bost, D. Katsnelson, D. Hammon, G. Stefano, H. Choudary, O. Hall, C.                  0.4     $225.00        $90.00
                                                                                                          MacLean, and K. Staromiejska
                                                                                                          Meeting to discuss the transfer pricing compliance deadline calendar and next steps. EY attendees:
Choudary,Hira              HC             Staff         5/8/2023               Non US Tax                 D. McComber, A. Bost, D. Katsnelson, D. Hammon, G. Stefano, H. Choudary, O. Hall, C.                  0.4     $225.00        $90.00
                                                                                                          MacLean, and K. Staromiejska
                                                                                                          Daily meeting to review new documentation provided, address open items and questions from
MacLean,Corrie            CM             Senior         5/8/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.         1.0     $395.00       $395.00
                                                                                                          Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                          Daily meeting to review new documentation provided, address open items and questions from
Choudary,Hira              HC             Staff         5/8/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.         1.0     $225.00       $225.00
                                                                                                          Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                          Daily meeting to review new documentation provided, address open items and questions from
Hammon,David Lane         DLH           Manager         5/8/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.         1.0     $525.00       $525.00
                                                                                                          Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                          Daily meeting to review new documentation provided, address open items and questions from
Knoeller,Thomas J.        TJK       Partner/Principal   5/8/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.         1.0     $825.00       $825.00
                                                                                                          Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                          Daily meeting to review new documentation provided, address open items and questions from
Staromiejska,Kinga         KS           Manager         5/8/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.         1.0     $525.00       $525.00
                                                                                                          Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                          Daily meeting to review new documentation provided, address open items and questions from
MacLean,Corrie            CM             Senior         5/9/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.         1.0     $395.00       $395.00
                                                                                                          Hammon, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                          Daily meeting to review new documentation provided, address open items and questions from
Hammon,David Lane         DLH           Manager         5/9/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.         1.0     $525.00       $525.00
                                                                                                          Hammon, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                          Daily meeting to review new documentation provided, address open items and questions from
Staromiejska,Kinga         KS           Manager         5/9/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.         1.0     $525.00       $525.00
                                                                                                          Hammon, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                          Daily meeting to review new documentation provided, address open items and questions from
Choudary,Hira              HC             Staff         5/9/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.         1.0     $225.00       $225.00
                                                                                                          Hammon, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                          Call with A. Thomas (FTX) to discuss Antigua due diligence. EY attendees: L. Phillips, D.
MacLean,Corrie            CM             Senior         5/9/2023        Meetings with Management                                                                                                                0.7     $395.00       $276.50
                                                                                                          Hammon, M. Leon, S. Barnett, H. Choudary, J. Scott, and C. MacLean
                                                                                                          Call with A. Thomas (FTX) to discuss Antigua due diligence. EY attendees: L. Phillips, D.
Choudary,Hira              HC             Staff         5/9/2023        Meetings with Management                                                                                                                0.7     $225.00       $157.50
                                                                                                          Hammon, M. Leon, S. Barnett, H. Choudary, J. Scott, and C. MacLean
                                      Client Serving                                                      Call with A. Thomas (FTX) to discuss Antigua due diligence. EY attendees: L. Phillips, D.
Scott,James                JS                           5/9/2023        Meetings with Management                                                                                                                0.7     $600.00       $420.00
                                      Contractor JS                                                       Hammon, M. Leon, S. Barnett, H. Choudary, J. Scott, and C. MacLean
                                                                                                          Call with A. Thomas (FTX) to discuss Antigua due diligence. EY attendees: L. Phillips, D.
Hammon,David Lane         DLH           Manager         5/9/2023        Meetings with Management                                                                                                                0.7     $525.00       $367.50
                                                                                                          Hammon, M. Leon, S. Barnett, H. Choudary, J. Scott, and C. MacLean
                                                                                                          Call with A. Thomas (FTX) to discuss Antigua due diligence. EY attendees: L. Phillips, D.
Phillips,La-Tanya          LP       Managing Director   5/9/2023              Tax Advisory                                                                                                                      0.7     $775.00       $542.50
                                                                                                          Hammon, M. Leon, S. Barnett, H. Choudary, J. Scott, and C. MacLean
                                                                                                          Call with A. Thomas (FTX) to discuss Antigua due diligence. EY attendees: L. Phillips, D.
Gil Diez de Leon,Marta    MDL           Manager         5/9/2023        Meetings with Management                                                                                                                0.7     $525.00       $367.50
                                                                                                          Hammon, M. Leon, S. Barnett, H. Choudary, J. Scott, and C. MacLean
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
MacLean,Corrie            CM             Senior         5/9/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.5     $395.00       $197.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bost,Anne                  BA       Managing Director   5/9/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.5     $775.00       $387.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katelas,Andreas            KA            Senior         5/9/2023              Tax Advisory                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.5     $395.00       $197.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Mistler,Brian M          BMM            Manager         5/9/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.5     $525.00       $262.50
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Tong,Chia-Hui             CHT        Senior Manager     5/9/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.5     $650.00       $325.00
                                                                                                          the implementation of global compliance and reporting services
                                                                                                          Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Ancona,Christopher         CA            Senior         5/9/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.5     $395.00       $197.50
                                                                                                          the implementation of global compliance and reporting services
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                                                         Date of
                 Name     Initials         Rank                       Project Category                                            Description of Services                                          Hours   Hourly Rate   Fees
                                                         Service
                                                                                             Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katsnelson,David            DK           Manager         5/9/2023      Transfer Pricing      preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $525.00       $262.50
                                                                                             the implementation of global compliance and reporting services
                                                                                             Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                         National
McComber,Donna             DM                            5/9/2023      Transfer Pricing      preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $990.00       $495.00
                                     Partner/Principal
                                                                                             the implementation of global compliance and reporting services
                                                                                             Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Hall,Emily Melissa         EMH            Senior         5/9/2023   US State and Local Tax   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $395.00       $197.50
                                                                                             the implementation of global compliance and reporting services
                                                                                             Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Choudary,Hira               HC             Staff         5/9/2023        Non US Tax          preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $225.00       $112.50
                                                                                             the implementation of global compliance and reporting services
                                                                                             Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Berman,Jake                 JB        Senior Manager     5/9/2023      US Income Tax         preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $650.00       $325.00
                                                                                             the implementation of global compliance and reporting services
                                                                                             Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                       Client Serving
Scott,James                 JS                           5/9/2023      US Income Tax         preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $600.00       $300.00
                                       Contractor JS
                                                                                             the implementation of global compliance and reporting services
                                                                                             Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Wrenn,Kaitlin Doyle       KDW            Manager         5/9/2023        Payroll Tax         preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $525.00       $262.50
                                                                                             the implementation of global compliance and reporting services
                                                                                             Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                         National
Lowery,Kristie L           KLL                           5/9/2023        Payroll Tax         preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $990.00       $495.00
                                     Partner/Principal
                                                                                             the implementation of global compliance and reporting services
                                                                                             Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Lovelace,Lauren             LL       Partner/Principal   5/9/2023    US International Tax    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $825.00       $412.50
                                                                                             the implementation of global compliance and reporting services
                                                                                             Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Musano,Matthew Albert     MAM         Senior Manager     5/9/2023   US State and Local Tax   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $650.00       $325.00
                                                                                             the implementation of global compliance and reporting services
                                                                                             Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Shea JR,Thomas M           TMS       Partner/Principal   5/9/2023      US Income Tax         preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $825.00       $412.50
                                                                                             the implementation of global compliance and reporting services
                                                                                             Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                      Client Serving
Bieganski,Walter           WB                            5/9/2023   US State and Local Tax   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $200.00       $100.00
                                      Contractor WB
                                                                                             the implementation of global compliance and reporting services
                                                                                             Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Haas,Zach                   ZH        Senior Manager     5/9/2023      US Income Tax         preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $650.00       $325.00
                                                                                             the implementation of global compliance and reporting services
                                                                                             Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Hammon,David Lane          DLH           Manager         5/9/2023        Non US Tax          preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $525.00       $262.50
                                                                                             the implementation of global compliance and reporting services
                                                                                             Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Knoeller,Thomas J.         TJK       Partner/Principal   5/9/2023        Non US Tax          preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $825.00       $412.50
                                                                                             the implementation of global compliance and reporting services
                                                                                             Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Staromiejska,Kinga          KS           Manager         5/9/2023        Non US Tax          preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $525.00       $262.50
                                                                                             the implementation of global compliance and reporting services
                                                                                             Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bailey,Doug                 DB       Partner/Principal   5/9/2023       Tax Advisory         preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $825.00       $412.50
                                                                                             the implementation of global compliance and reporting services
                                                                                             Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Ferris,Tara                 TF       Partner/Principal   5/9/2023     IRS Audit Matters      preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $825.00       $412.50
                                                                                             the implementation of global compliance and reporting services
                                                                                             Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Richardson,Audrey Sarah    ASR           Manager         5/9/2023   Information Reporting    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $525.00       $262.50
                                                                                             the implementation of global compliance and reporting services
                                                                                             Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Healy,John                  JH        Senior Manager     5/9/2023     IRS Audit Matters      preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $650.00       $325.00
                                                                                             the implementation of global compliance and reporting services
                                       Client Serving                                        EY internal call to discuss IRS tax claims filed and recommended next steps. EY attendees T.
Scott,James                 JS                           5/4/2023      US Income Tax                                                                                                                0.4     $600.00       $240.00
                                       Contractor JS                                         Ferris, J. Healy, T. Shea, J, Scott, and N. Flagg
                                                                                             EY internal call to discuss IRS tax claims filed and recommended next steps. EY attendees T.
Flagg,Nancy A.             NAF       Managing Director   5/4/2023     IRS Audit Matters                                                                                                             0.4     $775.00       $310.00
                                                                                             Ferris, J. Healy, T. Shea, J, Scott, and N. Flagg
                                                                                             EY internal call to discuss IRS tax claims filed and recommended next steps. EY attendees T.
Shea JR,Thomas M           TMS       Partner/Principal   5/4/2023      US Income Tax                                                                                                                0.4     $825.00       $330.00
                                                                                             Ferris, J. Healy, T. Shea, J, Scott, and N. Flagg
                                                                                             EY internal call to discuss IRS tax claims filed and recommended next steps. EY attendees T.
Healy,John                  JH        Senior Manager     5/4/2023     IRS Audit Matters                                                                                                             0.4     $650.00       $260.00
                                                                                             Ferris, J. Healy, T. Shea, J, Scott, and N. Flagg
                                                                                             EY internal call to discuss IRS tax claims filed and recommended next steps. EY attendees T.
Ferris,Tara                 TF       Partner/Principal   5/4/2023     IRS Audit Matters                                                                                                             0.4     $825.00       $330.00
                                                                                             Ferris, J. Healy, T. Shea, J, Scott, and N. Flagg
                                                                                             EY Indirect bankruptcy team call to discuss IRS tax claim questions for finalizing the master claim
Johnson,Derrick Joseph     DJJ             Staff         5/5/2023   US State and Local Tax                                                                                                          0.6     $225.00       $135.00
                                                                                             log. EY attendees: N. Flagg, K. Gatt, J. Lubic, and D. Johnson
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                                                         Date of
                  Name   Initials        Rank                                Project Category                                                    Description of Services                                          Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           EY Indirect bankruptcy team call to discuss IRS tax claim questions for finalizing the master claim
Flagg,Nancy A.            NAF       Managing Director   5/5/2023          US State and Local Tax                                                                                                                   0.6     $775.00       $465.00
                                                                                                           log. EY attendees: N. Flagg, K. Gatt, J. Lubic, and D. Johnson
                                                                                                           EY Indirect bankruptcy team call to discuss IRS tax claim questions for finalizing the master claim
Gatt,Katie                 KG        Senior Manager     5/5/2023          US State and Local Tax                                                                                                                   0.6     $650.00       $390.00
                                                                                                           log. EY attendees: N. Flagg, K. Gatt, J. Lubic, and D. Johnson
                                                                                                           EY Indirect bankruptcy team call to discuss IRS tax claim questions for finalizing the master claim
Lubic,Jake                 JL             Staff         5/5/2023          US State and Local Tax                                                                                                                   0.6     $225.00       $135.00
                                                                                                           log. EY attendees: N. Flagg, K. Gatt, J. Lubic, and D. Johnson
                                                                                                           Bi-Weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Tong,Chia-Hui             CHT        Senior Manager     5/9/2023    Project Management Office Transition                                                                                                           0.9     $650.00       $585.00
                                                                                                           attendees: C. Ancona and C. Tong
                                                                                                           Bi-Weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Ancona,Christopher         CA            Senior         5/9/2023    Project Management Office Transition                                                                                                           0.9     $395.00       $355.50
                                                                                                           attendees: C. Ancona and C. Tong
                                                                                                           Bi-Weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Tong,Chia-Hui             CHT        Senior Manager     5/9/2023    Project Management Office Transition                                                                                                           0.6     $650.00       $390.00
                                                                                                           attendees: C. Ancona, C. Tong, and H. Choudary
                                                                                                           Bi-Weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Ancona,Christopher         CA            Senior         5/9/2023    Project Management Office Transition                                                                                                           0.6     $395.00       $237.00
                                                                                                           attendees: C. Ancona, C. Tong, and H. Choudary
                                                                                                           Bi-Weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Choudary,Hira              HC             Staff         5/9/2023                Non US Tax                                                                                                                         0.6     $225.00       $135.00
                                                                                                           attendees: C. Ancona, C. Tong, and H. Choudary
                                                                                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Mistler,Brian M          BMM            Manager         5/9/2023         Meetings with Management                                                                                                                  0.7     $525.00       $367.50
                                                                                                           EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, and K. Lowery
                                                                                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Tong,Chia-Hui             CHT        Senior Manager     5/9/2023         Meetings with Management                                                                                                                  0.7     $650.00       $455.00
                                                                                                           EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, and K. Lowery
                                                                                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Ancona,Christopher         CA            Senior         5/9/2023         Meetings with Management                                                                                                                  0.7     $395.00       $276.50
                                                                                                           EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, and K. Lowery
                                     Client Serving                                                        Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Scott,James                JS                           5/9/2023         Meetings with Management                                                                                                                  0.7     $600.00       $420.00
                                     Contractor JS                                                         EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, and K. Lowery
                                        National                                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Lowery,Kristie L          KLL                           5/9/2023         Meetings with Management                                                                                                                  0.7     $990.00       $693.00
                                    Partner/Principal                                                      EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, and K. Lowery
                                                                                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Shea JR,Thomas M          TMS       Partner/Principal   5/9/2023         Meetings with Management                                                                                                                  0.7     $825.00       $577.50
                                                                                                           EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, B. Mistler, and K. Lowery
                                                                                                           Meeting to discuss the IRS IDR preparation. EY attendees: J. DeVincenzo, K. Wrenn, and K.
DeVincenzo,Jennie         JDV       Managing Director   5/9/2023                Payroll Tax                                                                                                                        0.9     $775.00       $697.50
                                                                                                           Lowery
                                                                                                           Meeting to discuss the IRS IDR preparation. EY attendees: J. DeVincenzo, K. Wrenn, and K.
Wrenn,Kaitlin Doyle      KDW            Manager         5/9/2023                Payroll Tax                                                                                                                        0.9     $525.00       $472.50
                                                                                                           Lowery
                                        National                                                           Meeting to discuss the IRS IDR preparation. EY attendees: J. DeVincenzo, K. Wrenn, and K.
Lowery,Kristie L          KLL                           5/9/2023                Payroll Tax                                                                                                                        0.9     $990.00       $891.00
                                    Partner/Principal                                                      Lowery
                                                                                                           Meeting to discuss the FTX equity documents. EY attendees: J. DeVincenzo, K. Lowery, and K.
DeVincenzo,Jennie         JDV       Managing Director   5/9/2023                Payroll Tax                                                                                                                        0.5     $775.00       $387.50
                                                                                                           Wrenn
                                                                                                           Meeting to discuss the FTX equity documents. EY attendees: J. DeVincenzo, K. Lowery, and K.
Wrenn,Kaitlin Doyle      KDW            Manager         5/9/2023                Payroll Tax                                                                                                                        0.5     $525.00       $262.50
                                                                                                           Wrenn
                                        National                                                           Meeting to discuss the FTX equity documents. EY attendees: J. DeVincenzo, K. Lowery, and K.
Lowery,Kristie L          KLL                           5/9/2023                Payroll Tax                                                                                                                        0.5     $990.00       $495.00
                                    Partner/Principal                                                      Wrenn
                                                                                                           Internal call regarding Employment Tax state account status updates. EY attendees: K. Wrenn and
Wrenn,Kaitlin Doyle      KDW            Manager         5/9/2023                Payroll Tax                                                                                                                        0.8     $525.00       $420.00
                                                                                                           V. Short
                                                                                                           Internal call regarding Employment Tax state account status updates. EY attendees: K. Wrenn and
Short,Victoria             VS            Senior         5/9/2023                Payroll Tax                                                                                                                        0.8     $395.00       $316.00
                                                                                                           V. Short
                                                                                                           Call to review the Ohio Commercial Activities Tax calculation. EY attendees: W. Bieganski and E.
Hall,Emily Melissa        EMH            Senior         5/9/2023          US State and Local Tax                                                                                                                   0.2     $395.00        $79.00
                                                                                                           Hall
                                     Client Serving                                                        Call to review the Ohio Commercial Activities Tax calculation. EY attendees: W. Bieganski and E.
Bieganski,Walter          WB                            5/9/2023          US State and Local Tax                                                                                                                   0.2     $200.00        $40.00
                                     Contractor WB                                                         Hall
                                                                                                           Internal state and local tax field of play call to discuss updates for each state tax workstream. EY
Hall,Emily Melissa        EMH            Senior         5/9/2023          US State and Local Tax                                                                                                                   0.4     $395.00       $158.00
                                                                                                           attendees: W. Bieganski, J. Jimenez, K. Gatt, K. Davis, D. Johnson, and E. Hall.

                                                                                                           Internal state and local tax field of play call to discuss updates for each state tax workstream. EY
Jimenez,Joseph Robert      JRJ       Senior Manager     5/9/2023          US State and Local Tax                                                                                                                   0.4     $650.00       $260.00
                                                                                                           attendees: W. Bieganski, J. Jimenez, K. Gatt, K. Davis, D. Johnson, and E. Hall.

                                                                                                           Internal state and local tax field of play call to discuss updates for each state tax workstream. EY
Davis,Kathleen F.         KFD           Manager         5/9/2023          US State and Local Tax                                                                                                                   0.4     $525.00       $210.00
                                                                                                           attendees: W. Bieganski, J. Jimenez, K. Gatt, K. Davis, D. Johnson, and E. Hall.

                                                                                                           Internal state and local tax field of play call to discuss updates for each state tax workstream. EY
Johnson,Derrick Joseph    DJJ             Staff         5/9/2023          US State and Local Tax                                                                                                                   0.4     $225.00        $90.00
                                                                                                           attendees: W. Bieganski, J. Jimenez, K. Gatt, K. Davis, D. Johnson, and E. Hall.

                                                                                                           Internal state and local tax field of play call to discuss updates for each state tax workstream. EY
Gatt,Katie                 KG        Senior Manager     5/9/2023          US State and Local Tax                                                                                                                   0.4     $650.00       $260.00
                                                                                                           attendees: W. Bieganski, J. Jimenez, K. Gatt, K. Davis, D. Johnson, and E. Hall.

                                     Client Serving                                                        Internal state and local tax field of play call to discuss updates for each state tax workstream. EY
Bieganski,Walter          WB                            5/9/2023          US State and Local Tax                                                                                                                   0.4     $200.00        $80.00
                                     Contractor WB                                                         attendees: W. Bieganski, J. Jimenez, K. Gatt, K. Davis, D. Johnson, and E. Hall.

                                                                                                           Weekly meeting with J. Chan (FTX), B. Seaway (A&M), and E. Renner (A&M) to discuss open
MacLean,Corrie            CM             Senior         5/10/2023        Meetings with Management          items, questions, and action items . EY attendees: C. Ancona, B. Mistler, D. Hammon, K.                 0.3     $395.00       $118.50
                                                                                                           Staromiejska, C. MacLean, L. Lovelace, J. Berman, D. Bailey, J. Scott, A. Bost, and H. Choudary
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                                                         Date of
                  Name   Initials         Rank                               Project Category                                                   Description of Services                                          Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Weekly meeting with J. Chan (FTX), B. Seaway (A&M), and E. Renner (A&M) to discuss open
Bost,Anne                  BA       Managing Director   5/10/2023        Meetings with Management          items, questions, and action items . EY attendees: C. Ancona, B. Mistler, D. Hammon, K.                0.3     $775.00       $232.50
                                                                                                           Staromiejska, C. MacLean, L. Lovelace, J. Berman, D. Bailey, J. Scott, A. Bost, and H. Choudary

                                                                                                           Weekly meeting with J. Chan (FTX), B. Seaway (A&M), and E. Renner (A&M) to discuss open
Mistler,Brian M          BMM            Manager         5/10/2023        Meetings with Management          items, questions, and action items . EY attendees: C. Ancona, B. Mistler, D. Hammon, K.                0.3     $525.00       $157.50
                                                                                                           Staromiejska, C. MacLean, L. Lovelace, J. Berman, D. Bailey, J. Scott, A. Bost, and H. Choudary

                                                                                                           Weekly meeting with J. Chan (FTX), B. Seaway (A&M), and E. Renner (A&M) to discuss open
Ancona,Christopher         CA            Senior         5/10/2023        Meetings with Management          items, questions, and action items . EY attendees: C. Ancona, B. Mistler, D. Hammon, K.                0.3     $395.00       $118.50
                                                                                                           Staromiejska, C. MacLean, L. Lovelace, J. Berman, D. Bailey, J. Scott, A. Bost, and H. Choudary

                                                                                                           Weekly meeting with J. Chan (FTX), B. Seaway (A&M), and E. Renner (A&M) to discuss open
Choudary,Hira              HC             Staff         5/10/2023        Meetings with Management          items, questions, and action items . EY attendees: C. Ancona, B. Mistler, D. Hammon, K.                0.3     $225.00        $67.50
                                                                                                           Staromiejska, C. MacLean, L. Lovelace, J. Berman, D. Bailey, J. Scott, A. Bost, and H. Choudary

                                                                                                           Weekly meeting with J. Chan (FTX), B. Seaway (A&M), and E. Renner (A&M) to discuss open
Berman,Jake                JB        Senior Manager     5/10/2023        Meetings with Management          items, questions, and action items . EY attendees: C. Ancona, B. Mistler, D. Hammon, K.                0.3     $650.00       $195.00
                                                                                                           Staromiejska, C. MacLean, L. Lovelace, J. Berman, D. Bailey, J. Scott, A. Bost, and H. Choudary

                                                                                                           Weekly meeting with J. Chan (FTX), B. Seaway (A&M), and E. Renner (A&M) to discuss open
                                      Client Serving
Scott,James                JS                           5/10/2023        Meetings with Management          items, questions, and action items . EY attendees: C. Ancona, B. Mistler, D. Hammon, K.                0.3     $600.00       $180.00
                                      Contractor JS
                                                                                                           Staromiejska, C. MacLean, L. Lovelace, J. Berman, D. Bailey, J. Scott, A. Bost, and H. Choudary

                                                                                                           Weekly meeting with J. Chan (FTX), B. Seaway (A&M), and E. Renner (A&M) to discuss open
Hammon,David Lane         DLH           Manager         5/10/2023        Meetings with Management          items, questions, and action items . EY attendees: C. Ancona, B. Mistler, D. Hammon, K.                0.3     $525.00       $157.50
                                                                                                           Staromiejska, C. MacLean, L. Lovelace, J. Berman, D. Bailey, J. Scott, A. Bost, and H. Choudary

                                                                                                           Weekly meeting with J. Chan (FTX), B. Seaway (A&M), and E. Renner (A&M) to discuss open
Staromiejska,Kinga         KS           Manager         5/10/2023        Meetings with Management          items, questions, and action items . EY attendees: C. Ancona, B. Mistler, D. Hammon, K.                0.3     $525.00       $157.50
                                                                                                           Staromiejska, C. MacLean, L. Lovelace, J. Berman, D. Bailey, J. Scott, A. Bost, and H. Choudary

                                                                                                           Weekly meeting with J. Chan (FTX), B. Seaway (A&M), and E. Renner (A&M) to discuss open
Bailey,Doug                DB       Partner/Principal   5/10/2023        Meetings with Management          items, questions, and action items . EY attendees: C. Ancona, B. Mistler, D. Hammon, K.                0.3     $825.00       $247.50
                                                                                                           Staromiejska, C. MacLean, L. Lovelace, J. Berman, D. Bailey, J. Scott, A. Bost, and H. Choudary

                                                                                                           Weekly meeting with J. Chan (FTX), B. Seaway (A&M), and E. Renner (A&M) to discuss open
Lovelace,Lauren            LL       Partner/Principal   5/10/2023        Meetings with Management          items, questions, and action items . EY attendees: C. Ancona, B. Mistler, D. Hammon, K.                0.3     $825.00       $247.50
                                                                                                           Staromiejska, C. MacLean, L. Lovelace, J. Berman, D. Bailey, J. Scott, A. Bost, and H. Choudary
                                                                                                           Bi-weekly meeting to discuss FTX transition deliverables including tax project status and
Tong,Chia-Hui             CHT        Senior Manager     5/10/2023   Project Management Office Transition   identifying risks and issues related to FTX project deliverables for reporting to the FTX executive    0.4     $650.00       $260.00
                                                                                                           committee. EY attendees: C. Ancona, C. Tong, A. Farrar, and J. Scott
                                                                                                           Bi-weekly meeting to discuss FTX transition deliverables including tax project status and
Ancona,Christopher         CA            Senior         5/10/2023   Project Management Office Transition   identifying risks and issues related to FTX project deliverables for reporting to the FTX executive    0.4     $395.00       $158.00
                                                                                                           committee. EY attendees: C. Ancona, C. Tong, A. Farrar, and J. Scott
                                                                                                           Bi-weekly meeting to discuss FTX transition deliverables including tax project status and
Farrar,Anne                AF       Partner/Principal   5/10/2023   Project Management Office Transition   identifying risks and issues related to FTX project deliverables for reporting to the FTX executive    0.4     $825.00       $330.00
                                                                                                           committee. EY attendees: C. Ancona, C. Tong, A. Farrar, and J. Scott
                                                                                                           Bi-weekly meeting to discuss FTX transition deliverables including tax project status and
                                      Client Serving
Scott,James                JS                           5/10/2023             US Income Tax                identifying risks and issues related to FTX project deliverables for reporting to the FTX executive    0.4     $600.00       $240.00
                                      Contractor JS
                                                                                                           committee. EY attendees: C. Ancona, C. Tong, A. Farrar, and J. Scott
                                                                                                           Bi-weekly meeting to discuss FTX project status updates and next steps for Project Management
MacLean,Corrie            CM             Senior         5/10/2023               Non US Tax                 Office transition and knowledge transfer items. EY attendees: C. Ancona, C. Tong, D. Hammon, C.        0.5     $395.00       $197.50
                                                                                                           MacLean, and H. Choudary
                                                                                                           Bi-weekly meeting to discuss FTX project status updates and next steps for Project Management
Tong,Chia-Hui             CHT        Senior Manager     5/10/2023   Project Management Office Transition   Office transition and knowledge transfer items. EY attendees: C. Ancona, C. Tong, D. Hammon, C.        0.5     $650.00       $325.00
                                                                                                           MacLean, and H. Choudary
                                                                                                           Bi-weekly meeting to discuss FTX project status updates and next steps for Project Management
Ancona,Christopher         CA            Senior         5/10/2023   Project Management Office Transition   Office transition and knowledge transfer items. EY attendees: C. Ancona, C. Tong, D. Hammon, C.        0.5     $395.00       $197.50
                                                                                                           MacLean, and H. Choudary
                                                                                                           Bi-weekly meeting to discuss FTX project status updates and next steps for Project Management
Hammon,David Lane         DLH           Manager         5/10/2023               Non US Tax                 Office transition and knowledge transfer items. EY attendees: C. Ancona, C. Tong, D. Hammon, C.        0.5     $525.00       $262.50
                                                                                                           MacLean, and H. Choudary
                                                                                                           Bi-weekly meeting to discuss FTX project status updates and next steps for Project Management
Choudary,Hira              HC             Staff         5/10/2023               Non US Tax                 Office transition and knowledge transfer items. EY attendees: C. Ancona, C. Tong, D. Hammon, C.        0.5     $225.00       $112.50
                                                                                                           MacLean, and H. Choudary
                                                                                                           Meeting to discuss the processing of the monthly fee application. EY attendees: C. Ancona, C.
Tong,Chia-Hui             CHT        Senior Manager     5/10/2023   Project Management Office Transition                                                                                                          0.5     $650.00       $325.00
                                                                                                           Tong, S. Cahalane, and H. Choudary
                                                                                                           Meeting to discuss the processing of the monthly fee application. EY attendees: C. Ancona, C.
Ancona,Christopher         CA            Senior         5/10/2023   Project Management Office Transition                                                                                                          0.5     $395.00       $197.50
                                                                                                           Tong, S. Cahalane, and H. Choudary
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                                                         Date of
                  Name   Initials         Rank                               Project Category                                                  Description of Services                                         Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Meeting to discuss the processing of the monthly fee application. EY attendees: C. Ancona, C.
Cahalane,Shawn M.         SMC           Manager         5/10/2023      Fee/Employment Applications                                                                                                              0.5     $525.00       $262.50
                                                                                                           Tong, S. Cahalane, and H. Choudary
                                                                                                           Meeting to discuss the processing of the monthly fee application. EY attendees: C. Ancona, C.
Choudary,Hira              HC             Staff         5/10/2023               Non US Tax                                                                                                                      0.5     $225.00       $112.50
                                                                                                           Tong, S. Cahalane, and H. Choudary
                                                                                                           Weekly meeting to discuss open items with regards to the IDR requests on in-scope FTX entities
Mistler,Brian M          BMM            Manager         5/10/2023            IRS Audit Matters             from the IRS. EY attendees: C. Ancona, C. Tong, J. Berman, L. Lovelace, J. Scott, D. Bailey, B.      0.5     $525.00       $262.50
                                                                                                           Mistler, and J. Healy
                                                                                                           Weekly meeting to discuss open items with regards to the IDR requests on in-scope FTX entities
Tong,Chia-Hui             CHT        Senior Manager     5/10/2023   Project Management Office Transition   from the IRS. EY attendees: C. Ancona, C. Tong, J. Berman, L. Lovelace, J. Scott, D. Bailey, B.      0.5     $650.00       $325.00
                                                                                                           Mistler, and J. Healy
                                                                                                           Weekly meeting to discuss open items with regards to the IDR requests on in-scope FTX entities
Ancona,Christopher         CA            Senior         5/10/2023   Project Management Office Transition   from the IRS. EY attendees: C. Ancona, C. Tong, J. Berman, L. Lovelace, J. Scott, D. Bailey, B.      0.5     $395.00       $197.50
                                                                                                           Mistler, and J. Healy
                                                                                                           Weekly meeting to discuss open items with regards to the IDR requests on in-scope FTX entities
Berman,Jake                JB        Senior Manager     5/10/2023            IRS Audit Matters             from the IRS. EY attendees: C. Ancona, C. Tong, J. Berman, L. Lovelace, J. Scott, D. Bailey, B.      0.5     $650.00       $325.00
                                                                                                           Mistler, and J. Healy
                                                                                                           Weekly meeting to discuss open items with regards to the IDR requests on in-scope FTX entities
                                      Client Serving
Scott,James                JS                           5/10/2023             US Income Tax                from the IRS. EY attendees: C. Ancona, C. Tong, J. Berman, L. Lovelace, J. Scott, D. Bailey, B.      0.5     $600.00       $300.00
                                      Contractor JS
                                                                                                           Mistler, and J. Healy
                                                                                                           Weekly meeting to discuss open items with regards to the IDR requests on in-scope FTX entities
Bailey,Doug                DB       Partner/Principal   5/10/2023              Tax Advisory                from the IRS. EY attendees: C. Ancona, C. Tong, J. Berman, L. Lovelace, J. Scott, D. Bailey, B.      0.5     $825.00       $412.50
                                                                                                           Mistler, and J. Healy
                                                                                                           Weekly meeting to discuss open items with regards to the IDR requests on in-scope FTX entities
Healy,John                 JH        Senior Manager     5/10/2023            IRS Audit Matters             from the IRS. EY attendees: C. Ancona, C. Tong, J. Berman, L. Lovelace, J. Scott, D. Bailey, B.      0.5     $650.00       $325.00
                                                                                                           Mistler, and J. Healy
                                                                                                           Weekly meeting to discuss open items with regards to the IDR requests on in-scope FTX entities
Lovelace,Lauren            LL       Partner/Principal   5/10/2023           US International Tax           from the IRS. EY attendees: C. Ancona, C. Tong, J. Berman, L. Lovelace, J. Scott, D. Bailey, B.      0.5     $825.00       $412.50
                                                                                                           Mistler, and J. Healy
                                                                                                           Meeting to discuss proposed client meetings for Alameda IDR benefit analysis completion and
DeVincenzo,Jennie         JDV       Managing Director   5/10/2023               Payroll Tax                final data gathering set with for Blockfolio. EY attendees: K. Lowery, J. DeVincenzo, and K.         0.3     $775.00       $232.50
                                                                                                           Wrenn
                                                                                                           Meeting to discuss proposed client meetings for Alameda IDR benefit analysis completion and
Wrenn,Kaitlin Doyle      KDW            Manager         5/10/2023               Payroll Tax                final data gathering set with for Blockfolio. EY attendees: K. Lowery, J. DeVincenzo, and K.         0.3     $525.00       $157.50
                                                                                                           Wrenn
                                                                                                           Meeting to discuss proposed client meetings for Alameda IDR benefit analysis completion and
                                        National
Lowery,Kristie L          KLL                           5/10/2023               Payroll Tax                final data gathering set with for Blockfolio. EY attendees: K. Lowery, J. DeVincenzo, and K.         0.3     $990.00       $297.00
                                    Partner/Principal
                                                                                                           Wrenn
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
MacLean,Corrie            CM             Senior         5/11/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $395.00       $197.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bost,Anne                  BA       Managing Director   5/11/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $775.00       $387.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katelas,Andreas            KA            Senior         5/11/2023              Tax Advisory                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $395.00       $197.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Mistler,Brian M          BMM            Manager         5/11/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $525.00       $262.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Tong,Chia-Hui             CHT        Senior Manager     5/11/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Ancona,Christopher         CA            Senior         5/11/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $395.00       $197.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                        National
McComber,Donna            DM                            5/11/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $990.00       $495.00
                                    Partner/Principal
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Hall,Emily Melissa        EMH            Senior         5/11/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $395.00       $197.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Choudary,Hira              HC             Staff         5/11/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $225.00       $112.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Berman,Jake                JB        Senior Manager     5/11/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                      Client Serving
Scott,James                JS                           5/11/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $600.00       $300.00
                                      Contractor JS
                                                                                                           the implementation of global compliance and reporting services
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                                                          Date of
                 Name     Initials        Rank                                Project Category                                                  Description of Services                                         Hours   Hourly Rate   Fees
                                                          Service
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Wrenn,Kaitlin Doyle       KDW            Manager         5/11/2023               Payroll Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $525.00       $262.50
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Gundu,Kaivalya              KG        Senior Manager     5/11/2023               Technology                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                         National
Lowery,Kristie L           KLL                           5/11/2023               Payroll Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $990.00       $495.00
                                     Partner/Principal
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Lovelace,Lauren             LL       Partner/Principal   5/11/2023           US International Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $825.00       $412.50
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Musano,Matthew Albert     MAM         Senior Manager     5/11/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Shea JR,Thomas M           TMS       Partner/Principal   5/11/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $825.00       $412.50
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                      Client Serving
Bieganski,Walter           WB                            5/11/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $200.00       $100.00
                                      Contractor WB
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Haas,Zach                   ZH        Senior Manager     5/11/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Hammon,David Lane          DLH           Manager         5/11/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $525.00       $262.50
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Staromiejska,Kinga          KS           Manager         5/11/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $525.00       $262.50
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Richardson,Audrey Sarah    ASR           Manager         5/11/2023          Information Reporting           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $525.00       $262.50
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Healy,John                  JH        Senior Manager     5/11/2023            IRS Audit Matters             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Cavusoglu,Coskun            CC       Partner/Principal   5/11/2023               Technology                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $825.00       $412.50
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Client call regarding employment tax accounts. EY attendees: K. Wrenn, J. DeVincenzo, and V.
DeVincenzo,Jennie          JDV       Managing Director   5/11/2023               Payroll Tax                                                                                                                     0.8     $775.00       $620.00
                                                                                                            Short
                                                                                                            Client call regarding employment tax accounts. EY attendees: K. Wrenn, J. DeVincenzo, and V.
Wrenn,Kaitlin Doyle       KDW            Manager         5/11/2023               Payroll Tax                                                                                                                     0.8     $525.00       $420.00
                                                                                                            Short
                                                                                                            Client call regarding employment tax accounts. EY attendees: K. Wrenn, J. DeVincenzo, and V.
Short,Victoria              VS            Senior         5/11/2023               Payroll Tax                                                                                                                     0.8     $395.00       $316.00
                                                                                                            Short
                                                                                                            Bi-Weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Tong,Chia-Hui              CHT        Senior Manager     5/11/2023   Project Management Office Transition                                                                                                        0.5     $650.00       $325.00
                                                                                                            attendees: C. Ancona, C. Tong, and H. Choudary
                                                                                                            Bi-Weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Ancona,Christopher          CA            Senior         5/11/2023   Project Management Office Transition                                                                                                        0.5     $395.00       $197.50
                                                                                                            attendees: C. Ancona, C. Tong, and H. Choudary
                                                                                                            Bi-Weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Choudary,Hira               HC             Staff         5/11/2023               Non US Tax                                                                                                                      0.5     $225.00       $112.50
                                                                                                            attendees: C. Ancona, C. Tong, and H. Choudary
                                                                                                            Meetings to discuss status on FTX future tax deliverables and deadlines. EY attendees: C. Ancona,
Tong,Chia-Hui              CHT        Senior Manager     5/11/2023   Project Management Office Transition                                                                                                        0.4     $650.00       $260.00
                                                                                                            C. Tong, and M. Cohen
                                                                                                            Meetings to discuss status on FTX future tax deliverables and deadlines. EY attendees: C. Ancona,
Ancona,Christopher          CA            Senior         5/11/2023   Project Management Office Transition                                                                                                        0.4     $395.00       $158.00
                                                                                                            C. Tong, and M. Cohen
                                                                                                            Meetings to discuss status on FTX future tax deliverables and deadlines. EY attendees: C. Ancona,
Cohen,Sam                   SC        Senior Manager     5/11/2023         US State and Local Tax                                                                                                                0.4     $650.00       $260.00
                                                                                                            C. Tong, and M. Cohen
                                                                                                            External meeting with L. Ryan (A&M), A. Canale (A&M), D. Medway (A&M), and R. Gordon
Katelas,Andreas             KA            Senior         5/9/2023       Meetings with Other Advisors        (A&M) to discuss transactions involving cryptocurrency treatment. EY attendees: D. Bailey and A.     0.5     $395.00       $197.50
                                                                                                            Katelas
                                                                                                            External meeting with L. Ryan (A&M), A. Canale (A&M), D. Medway (A&M), and R. Gordon
Bailey,Doug                 DB       Partner/Principal   5/9/2023       Meetings with Other Advisors        (A&M) to discuss transactions involving cryptocurrency treatment. EY attendees: D. Bailey and A.     0.5     $825.00       $412.50
                                                                                                            Katelas
                                                                                                            Internal meeting to discuss tax residency and related developments. EY attendees: D. Bailey, L.
Karan,Anna Suncheuri       ASK             Staff         5/9/2023               Tax Advisory                                                                                                                     0.5     $225.00       $112.50
                                                                                                            Lovelace, L. Phillips, A. Katelas, R. Yang, A. Karan, and M. Zhuo
                                                                                                            Internal meeting to discuss tax residency and related developments. EY attendees: D. Bailey, L.
Katelas,Andreas             KA            Senior         5/9/2023               Tax Advisory                                                                                                                     0.5     $395.00       $197.50
                                                                                                            Lovelace, L. Phillips, A. Katelas, R. Yang, A. Karan, and M. Zhuo
                                                                                                            Internal meeting to discuss tax residency and related developments. EY attendees: D. Bailey, L.
Lovelace,Lauren             LL       Partner/Principal   5/9/2023            US International Tax                                                                                                                0.5     $825.00       $412.50
                                                                                                            Lovelace, L. Phillips, A. Katelas, R. Yang, A. Karan, and M. Zhuo
                                                                                                            Internal meeting to discuss tax residency and related developments. EY attendees: D. Bailey, L.
Zhuo,Melody                 MZ             Staff         5/9/2023               Tax Advisory                                                                                                                     0.5     $225.00       $112.50
                                                                                                            Lovelace, L. Phillips, A. Katelas, R. Yang, A. Karan, and M. Zhuo
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                                                         Date of
                  Name   Initials         Rank                               Project Category                                                   Description of Services                                          Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Internal meeting to discuss tax residency and related developments. EY attendees: D. Bailey, L.
Bailey,Doug                DB       Partner/Principal   5/9/2023               Tax Advisory                                                                                                                       0.5     $825.00       $412.50
                                                                                                           Lovelace, L. Phillips, A. Katelas, R. Yang, A. Karan, and M. Zhuo
                                      Client Serving                                                       Internal meeting to discuss potential changes of ownership and related tax issues. EY attendees: D.
Scott,James                JS                           5/9/2023              US Income Tax                                                                                                                       0.5     $600.00       $300.00
                                      Contractor JS                                                        Bailey, L. Lovelace, A. Katelas, T. Shea, J. Scott, R. Gartin, A. Sargent, A. Ritz, and B. Mistler

                                                                                                           Internal meeting to discuss potential changes of ownership and related tax issues. EY attendees: D.
Lovelace,Lauren            LL       Partner/Principal   5/9/2023            US International Tax                                                                                                                  0.5     $825.00       $412.50
                                                                                                           Bailey, L. Lovelace, A. Katelas, T. Shea, J. Scott, R. Gartin, A. Sargent, A. Ritz, and B. Mistler

                                                                                                           Internal meeting to discuss potential changes of ownership and related tax issues. EY attendees: D.
Bailey,Doug                DB       Partner/Principal   5/9/2023               Tax Advisory                                                                                                                       0.5     $825.00       $412.50
                                                                                                           Bailey, L. Lovelace, A. Katelas, T. Shea, J. Scott, R. Gartin, A. Sargent, A. Ritz, and B. Mistler

                                                                                                           Internal meeting to discuss potential changes of ownership and related tax issues. EY attendees: D.
Katelas,Andreas            KA            Senior         5/9/2023               Tax Advisory                                                                                                                       0.5     $395.00       $197.50
                                                                                                           Bailey, L. Lovelace, A. Katelas, T. Shea, J. Scott, R. Gartin, A. Sargent, A. Ritz, and B. Mistler

                                                                                                           Internal meeting to discuss potential changes of ownership and related tax issues. EY attendees: D.
Shea JR,Thomas M          TMS       Partner/Principal   5/9/2023              US Income Tax                                                                                                                       0.5     $825.00       $412.50
                                                                                                           Bailey, L. Lovelace, A. Katelas, T. Shea, J. Scott, R. Gartin, A. Sargent, A. Ritz, and B. Mistler

                                                                                                           Internal meeting to discuss potential changes of ownership and related tax issues. EY attendees: D.
Gartin,Randell J.         RJG       Managing Director   5/9/2023              US Income Tax                                                                                                                       0.5     $775.00       $387.50
                                                                                                           Bailey, L. Lovelace, A. Katelas, T. Shea, J. Scott, R. Gartin, A. Sargent, A. Ritz, and B. Mistler

                                                                                                           Internal meeting to discuss potential changes of ownership and related tax issues. EY attendees: D.
Sargent,Amy Johannah      AJS       Managing Director   5/9/2023              US Income Tax                                                                                                                       0.5     $775.00       $387.50
                                                                                                           Bailey, L. Lovelace, A. Katelas, T. Shea, J. Scott, R. Gartin, A. Sargent, A. Ritz, and B. Mistler

                                                                                                           Internal meeting to discuss potential changes of ownership and related tax issues. EY attendees: D.
Ritz,Amy Felice           AFR       Managing Director   5/9/2023              US Income Tax                                                                                                                       0.5     $775.00       $387.50
                                                                                                           Bailey, L. Lovelace, A. Katelas, T. Shea, J. Scott, R. Gartin, A. Sargent, A. Ritz, and B. Mistler

                                                                                                           Internal meeting to discuss potential changes of ownership and related tax issues. EY attendees: D.
Mistler,Brian M          BMM            Manager         5/9/2023             IRS Audit Matters                                                                                                                    0.5     $525.00       $262.50
                                                                                                           Bailey, L. Lovelace, A. Katelas, T. Shea, J. Scott, R. Gartin, A. Sargent, A. Ritz, and B. Mistler
                                                                                                           Call to walk through the Texas extension workpaper for West Realm Shires Inc. & Subsidiaries.
Molnar,Evgeniya            EM            Senior         5/10/2023         US State and Local Tax                                                                                                                  0.6     $395.00       $237.00
                                                                                                           EY attendees: E. Hall and E. Molnar
                                                                                                           Call to walk through the Texas extension workpaper for West Realm Shires Inc. & Subsidiaries.
Hall,Emily Melissa        EMH            Senior         5/10/2023         US State and Local Tax                                                                                                                  0.6     $395.00       $237.00
                                                                                                           EY attendees: E. Hall and E. Molnar
                                                                                                           Meeting with J. Markau (LedgerX) to walk through LedgerPrime revenue data. EY attendees: M.
Hall,Emily Melissa        EMH            Senior         5/11/2023         US State and Local Tax                                                                                                                  0.6     $395.00       $237.00
                                                                                                           Musano and E. Hall
                                                                                                           Meeting with J. Markau (LedgerX) to walk through LedgerPrime revenue data. EY attendees: M.
Musano,Matthew Albert    MAM         Senior Manager     5/11/2023         US State and Local Tax                                                                                                                  0.6     $650.00       $390.00
                                                                                                           Musano and E. Hall
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from
MacLean,Corrie            CM             Senior         5/10/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.          0.5     $395.00       $197.50
                                                                                                           Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from
Choudary,Hira              HC             Staff         5/10/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.          0.5     $225.00       $112.50
                                                                                                           Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from
Hammon,David Lane         DLH           Manager         5/10/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.          0.5     $525.00       $262.50
                                                                                                           Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from
Knoeller,Thomas J.        TJK       Partner/Principal   5/10/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.          0.5     $825.00       $412.50
                                                                                                           Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from
Staromiejska,Kinga         KS           Manager         5/10/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.          0.5     $525.00       $262.50
                                                                                                           Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from
MacLean,Corrie            CM             Senior         5/11/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.          1.0     $395.00       $395.00
                                                                                                           Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from
Choudary,Hira              HC             Staff         5/11/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.          1.0     $225.00       $225.00
                                                                                                           Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from
Hammon,David Lane         DLH           Manager         5/11/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.          1.0     $525.00       $525.00
                                                                                                           Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from
Knoeller,Thomas J.        TJK       Partner/Principal   5/11/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.          1.0     $825.00       $825.00
                                                                                                           Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from
Staromiejska,Kinga         KS           Manager         5/11/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.          1.0     $525.00       $525.00
                                                                                                           Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
Ritz,Amy Felice           AFR       Managing Director   5/8/2023       Meetings with Other Advisors        Meeting with B. Seaway (A&M) and S. Wilson (A&M) to discuss certain transactions                       0.4     $775.00       $310.00
                                                                                                           Meeting to review A&M/EY PMO slide deck deliverable status updates and reporting. EY
Mistler,Brian M          BMM            Manager         5/12/2023             US Income Tax                                                                                                                       0.4     $525.00       $210.00
                                                                                                           attendees: C. Ancona, C. Tong, B. Mistler, J. Scott, and J. Berman
                                                                                                           Meeting to review A&M/EY PMO slide deck deliverable status updates and reporting. EY
Tong,Chia-Hui             CHT        Senior Manager     5/12/2023   Project Management Office Transition                                                                                                          0.4     $650.00       $260.00
                                                                                                           attendees: C. Ancona, C. Tong, B. Mistler, J. Scott, and J. Berman
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                                                          Date of
                  Name    Initials         Rank                               Project Category                                                   Description of Services                                         Hours   Hourly Rate   Fees
                                                          Service
                                                                                                            Meeting to review A&M/EY PMO slide deck deliverable status updates and reporting. EY
Ancona,Christopher          CA            Senior         5/12/2023   Project Management Office Transition                                                                                                         0.4     $395.00       $158.00
                                                                                                            attendees: C. Ancona, C. Tong, B. Mistler, J. Scott, and J. Berman
                                                                                                            Meeting to review A&M/EY PMO slide deck deliverable status updates and reporting. EY
Berman,Jake                 JB        Senior Manager     5/12/2023             US Income Tax                                                                                                                      0.4     $650.00       $260.00
                                                                                                            attendees: C. Ancona, C. Tong, B. Mistler, J. Scott, and J. Berman
                                       Client Serving                                                       Meeting to review A&M/EY PMO slide deck deliverable status updates and reporting. EY
Scott,James                 JS                           5/12/2023             US Income Tax                                                                                                                      0.4     $600.00       $240.00
                                       Contractor JS                                                        attendees: C. Ancona, C. Tong, B. Mistler, J. Scott, and J. Berman
                                                                                                            Meeting to discuss open items with regards to the IDR requests on in-scope FTX entities from the
Mistler,Brian M           BMM            Manager         5/12/2023            IRS Audit Matters             IRS. EY attendees: C. Ancona, C. Tong, J. Berman, L. Lovelace, J. Scott, D. Bailey, B. Mistler, J.    0.3     $525.00       $157.50
                                                                                                            Healy, T. Shea, A. Richardson, and H. Choudary
                                                                                                            Meeting to discuss open items with regards to the IDR requests on in-scope FTX entities from the
Tong,Chia-Hui              CHT        Senior Manager     5/12/2023   Project Management Office Transition   IRS. EY attendees: C. Ancona, C. Tong, J. Berman, L. Lovelace, J. Scott, D. Bailey, B. Mistler, J.    0.3     $650.00       $195.00
                                                                                                            Healy, T. Shea, A. Richardson, and H. Choudary
                                                                                                            Meeting to discuss open items with regards to the IDR requests on in-scope FTX entities from the
Ancona,Christopher          CA            Senior         5/12/2023   Project Management Office Transition   IRS. EY attendees: C. Ancona, C. Tong, J. Berman, L. Lovelace, J. Scott, D. Bailey, B. Mistler, J.    0.3     $395.00       $118.50
                                                                                                            Healy, T. Shea, A. Richardson, and H. Choudary
                                                                                                            Meeting to discuss open items with regards to the IDR requests on in-scope FTX entities from the
Choudary,Hira               HC             Staff         5/12/2023               Non US Tax                 IRS. EY attendees: C. Ancona, C. Tong, J. Berman, L. Lovelace, J. Scott, D. Bailey, B. Mistler, J.    0.3     $225.00        $67.50
                                                                                                            Healy, T. Shea, A. Richardson, and H. Choudary
                                                                                                            Meeting to discuss open items with regards to the IDR requests on in-scope FTX entities from the
                                       Client Serving
Scott,James                 JS                           5/12/2023             US Income Tax                IRS. EY attendees: C. Ancona, C. Tong, J. Berman, L. Lovelace, J. Scott, D. Bailey, B. Mistler, J.    0.3     $600.00       $180.00
                                       Contractor JS
                                                                                                            Healy, T. Shea, A. Richardson, and H. Choudary
                                                                                                            Meeting to discuss open items with regards to the IDR requests on in-scope FTX entities from the
Lovelace,Lauren             LL       Partner/Principal   5/12/2023           US International Tax           IRS. EY attendees: C. Ancona, C. Tong, J. Berman, L. Lovelace, J. Scott, D. Bailey, B. Mistler, J.    0.3     $825.00       $247.50
                                                                                                            Healy, T. Shea, A. Richardson, and H. Choudary
                                                                                                            Meeting to discuss open items with regards to the IDR requests on in-scope FTX entities from the
Richardson,Audrey Sarah    ASR           Manager         5/12/2023          Information Reporting           IRS. EY attendees: C. Ancona, C. Tong, J. Berman, L. Lovelace, J. Scott, D. Bailey, B. Mistler, J.    0.3     $525.00       $157.50
                                                                                                            Healy, T. Shea, A. Richardson, and H. Choudary
                                                                                                            Meeting to discuss open items with regards to the IDR requests on in-scope FTX entities from the
Bailey,Doug                 DB       Partner/Principal   5/12/2023              Tax Advisory                IRS. EY attendees: C. Ancona, C. Tong, J. Berman, L. Lovelace, J. Scott, D. Bailey, B. Mistler, J.    0.3     $825.00       $247.50
                                                                                                            Healy, T. Shea, A. Richardson, and H. Choudary
                                                                                                            Meeting to discuss open items with regards to the IDR requests on in-scope FTX entities from the
Healy,John                  JH        Senior Manager     5/12/2023            IRS Audit Matters             IRS. EY attendees: C. Ancona, C. Tong, J. Berman, L. Lovelace, J. Scott, D. Bailey, B. Mistler, J.    0.3     $650.00       $195.00
                                                                                                            Healy, T. Shea, A. Richardson, and H. Choudary
                                                                                                            Meeting to discuss open items with regards to the IDR requests on in-scope FTX entities from the
Berman,Jake                 JB        Senior Manager     5/12/2023            IRS Audit Matters             IRS. EY attendees: C. Ancona, C. Tong, J. Berman, L. Lovelace, J. Scott, D. Bailey, B. Mistler, J.    0.3     $650.00       $195.00
                                                                                                            Healy, T. Shea, A. Richardson, and H. Choudary
                                                                                                            Meeting to discuss open items with regards to the IDR requests on in-scope FTX entities from the
Shea JR,Thomas M           TMS       Partner/Principal   5/12/2023            IRS Audit Matters             IRS. EY attendees: C. Ancona, C. Tong, J. Berman, L. Lovelace, J. Scott, D. Bailey, B. Mistler, J.    0.3     $825.00       $247.50
                                                                                                            Healy, T. Shea, A. Richardson, and H. Choudary
                                                                                                            Daily meeting to review new documentation provided, address open items and questions from
MacLean,Corrie             CM             Senior         5/12/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.         1.0     $395.00       $395.00
                                                                                                            Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                            Daily meeting to review new documentation provided, address open items and questions from
Hammon,David Lane          DLH           Manager         5/12/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.         1.0     $525.00       $525.00
                                                                                                            Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                            Daily meeting to review new documentation provided, address open items and questions from
Knoeller,Thomas J.         TJK       Partner/Principal   5/12/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.         1.0     $825.00       $825.00
                                                                                                            Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                            Daily meeting to review new documentation provided, address open items and questions from
Staromiejska,Kinga          KS           Manager         5/12/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.         1.0     $525.00       $525.00
                                                                                                            Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                            Daily meeting to review new documentation provided, address open items and questions from
Choudary,Hira               HC             Staff         5/12/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.         1.0     $225.00       $225.00
                                                                                                            Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                            Weekly meeting with workstreams to discuss the status of local teams knowledge transfer process.
                                                                                                            EY attendees: C. MacLean, A. Bost, D. Katsnelson, D. Hammon, D. McComber, G. Stefano, H.
MacLean,Corrie             CM             Senior         5/12/2023               Non US Tax                                                                                                                       0.4     $395.00       $158.00
                                                                                                            Choudary, K. Staromiejska, M. Leon, M. Borts, N. Hernandez, N. Srivastava, O. Hall, and T.
                                                                                                            Knoeller
                                                                                                            Weekly meeting with workstreams to discuss the status of local teams knowledge transfer process.
                                                                                                            EY attendees: C. MacLean, A. Bost, D. Katsnelson, D. Hammon, D. McComber, G. Stefano, H.
Bost,Anne                   BA       Managing Director   5/12/2023             Transfer Pricing                                                                                                                   0.4     $775.00       $310.00
                                                                                                            Choudary, K. Staromiejska, M. Leon, M. Borts, N. Hernandez, N. Srivastava, O. Hall, and T.
                                                                                                            Knoeller
                                                                                                            Weekly meeting with workstreams to discuss the status of local teams knowledge transfer process.
                                                                                                            EY attendees: C. MacLean, A. Bost, D. Katsnelson, D. Hammon, D. McComber, G. Stefano, H.
Katsnelson,David            DK           Manager         5/12/2023             Transfer Pricing                                                                                                                   0.4     $525.00       $210.00
                                                                                                            Choudary, K. Staromiejska, M. Leon, M. Borts, N. Hernandez, N. Srivastava, O. Hall, and T.
                                                                                                            Knoeller
                                                                                                            Weekly meeting with workstreams to discuss the status of local teams knowledge transfer process.
                                         National                                                           EY attendees: C. MacLean, A. Bost, D. Katsnelson, D. Hammon, D. McComber, G. Stefano, H.
McComber,Donna             DM                            5/12/2023             Transfer Pricing                                                                                                                   0.4     $990.00       $396.00
                                     Partner/Principal                                                      Choudary, K. Staromiejska, M. Leon, M. Borts, N. Hernandez, N. Srivastava, O. Hall, and T.
                                                                                                            Knoeller
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                                                            Date of
                  Name      Initials         Rank                          Project Category                                           Description of Services                                        Hours   Hourly Rate   Fees
                                                            Service
                                                                                                  Weekly meeting with workstreams to discuss the status of local teams knowledge transfer process.
                                                                                                  EY attendees: C. MacLean, A. Bost, D. Katsnelson, D. Hammon, D. McComber, G. Stefano, H.
Di Stefano,Giulia            GDS            Senior         5/12/2023        Transfer Pricing                                                                                                          0.4     $395.00       $158.00
                                                                                                  Choudary, K. Staromiejska, M. Leon, M. Borts, N. Hernandez, N. Srivastava, O. Hall, and T.
                                                                                                  Knoeller
                                                                                                  Weekly meeting with workstreams to discuss the status of local teams knowledge transfer process.
                                                                                                  EY attendees: C. MacLean, A. Bost, D. Katsnelson, D. Hammon, D. McComber, G. Stefano, H.
Choudary,Hira                 HC             Staff         5/12/2023         Non US Tax                                                                                                               0.4     $225.00        $90.00
                                                                                                  Choudary, K. Staromiejska, M. Leon, M. Borts, N. Hernandez, N. Srivastava, O. Hall, and T.
                                                                                                  Knoeller
                                                                                                  Weekly meeting with workstreams to discuss the status of local teams knowledge transfer process.
                                                                                                  EY attendees: C. MacLean, A. Bost, D. Katsnelson, D. Hammon, D. McComber, G. Stefano, H.
Borts,Michael                MB        Managing Director   5/12/2023         Non US Tax                                                                                                               0.4     $775.00       $310.00
                                                                                                  Choudary, K. Staromiejska, M. Leon, M. Borts, N. Hernandez, N. Srivastava, O. Hall, and T.
                                                                                                  Knoeller
                                                                                                  Weekly meeting with workstreams to discuss the status of local teams knowledge transfer process.
                                                                                                  EY attendees: C. MacLean, A. Bost, D. Katsnelson, D. Hammon, D. McComber, G. Stefano, H.
Hernandez,Nancy I.           NIH        Senior Manager     5/12/2023         Non US Tax                                                                                                               0.4     $650.00       $260.00
                                                                                                  Choudary, K. Staromiejska, M. Leon, M. Borts, N. Hernandez, N. Srivastava, O. Hall, and T.
                                                                                                  Knoeller
                                                                                                  Weekly meeting with workstreams to discuss the status of local teams knowledge transfer process.
                                                                                                  EY attendees: C. MacLean, A. Bost, D. Katsnelson, D. Hammon, D. McComber, G. Stefano, H.
Srivastava,Nikita Asutosh    NAS           Manager         5/12/2023         Non US Tax                                                                                                               0.4     $525.00       $210.00
                                                                                                  Choudary, K. Staromiejska, M. Leon, M. Borts, N. Hernandez, N. Srivastava, O. Hall, and T.
                                                                                                  Knoeller
                                                                                                  Weekly meeting with workstreams to discuss the status of local teams knowledge transfer process.
                                                                                                  EY attendees: C. MacLean, A. Bost, D. Katsnelson, D. Hammon, D. McComber, G. Stefano, H.
Hammon,David Lane            DLH           Manager         5/12/2023         Non US Tax                                                                                                               0.4     $525.00       $210.00
                                                                                                  Choudary, K. Staromiejska, M. Leon, M. Borts, N. Hernandez, N. Srivastava, O. Hall, and T.
                                                                                                  Knoeller
                                                                                                  Weekly meeting with workstreams to discuss the status of local teams knowledge transfer process.
                                                                                                  EY attendees: C. MacLean, A. Bost, D. Katsnelson, D. Hammon, D. McComber, G. Stefano, H.
Staromiejska,Kinga            KS           Manager         5/12/2023         Non US Tax                                                                                                               0.4     $525.00       $210.00
                                                                                                  Choudary, K. Staromiejska, M. Leon, M. Borts, N. Hernandez, N. Srivastava, O. Hall, and T.
                                                                                                  Knoeller
                                                                                                  Weekly meeting with workstreams to discuss the status of local teams knowledge transfer process.
                                                                                                  EY attendees: C. MacLean, A. Bost, D. Katsnelson, D. Hammon, D. McComber, G. Stefano, H.
Knoeller,Thomas J.           TJK       Partner/Principal   5/12/2023         Non US Tax                                                                                                               0.4     $825.00       $330.00
                                                                                                  Choudary, K. Staromiejska, M. Leon, M. Borts, N. Hernandez, N. Srivastava, O. Hall, and T.
                                                                                                  Knoeller
                                                                                                  Weekly meeting with workstreams to discuss the status of local teams knowledge transfer process.
                                                                                                  EY attendees: C. MacLean, A. Bost, D. Katsnelson, D. Hammon, D. McComber, G. Stefano, H.
Hall,Olivia                   OH             Staff         5/12/2023        Transfer Pricing                                                                                                          0.4     $225.00        $90.00
                                                                                                  Choudary, K. Staromiejska, M. Leon, M. Borts, N. Hernandez, N. Srivastava, O. Hall, and T.
                                                                                                  Knoeller
                                                                                                  Weekly meeting with workstreams to discuss the status of local teams knowledge transfer process.
                                                                                                  EY attendees: C. MacLean, A. Bost, D. Katsnelson, D. Hammon, D. McComber, G. Stefano, H.
Gil Diez de Leon,Marta       MDL           Manager         5/12/2023       Value Added Tax                                                                                                            0.4     $525.00       $210.00
                                                                                                  Choudary, K. Staromiejska, M. Leon, M. Borts, N. Hernandez, N. Srivastava, O. Hall, and T.
                                                                                                  Knoeller
                                                                                                  Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Mistler,Brian M             BMM            Manager         5/12/2023   Meetings with Management                                                                                                       0.5     $525.00       $262.50
                                                                                                  EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, J. Berman, B. Mistler, and K. Lowery

                                                                                                  Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Tong,Chia-Hui                CHT        Senior Manager     5/12/2023   Meetings with Management                                                                                                       0.5     $650.00       $325.00
                                                                                                  EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, J. Berman, B. Mistler, and K. Lowery

                                                                                                  Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Ancona,Christopher            CA            Senior         5/12/2023   Meetings with Management                                                                                                       0.5     $395.00       $197.50
                                                                                                  EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, J. Berman, B. Mistler, and K. Lowery

                                         Client Serving                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Scott,James                   JS                           5/12/2023   Meetings with Management                                                                                                       0.5     $600.00       $300.00
                                         Contractor JS                                            EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, J. Berman, B. Mistler, and K. Lowery

                                           National                                               Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Lowery,Kristie L             KLL                           5/12/2023   Meetings with Management                                                                                                       0.5     $990.00       $495.00
                                       Partner/Principal                                          EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, J. Berman, B. Mistler, and K. Lowery

                                                                                                  Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Berman,Jake                   JB        Senior Manager     5/12/2023   Meetings with Management                                                                                                       0.5     $650.00       $325.00
                                                                                                  EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, J. Berman, B. Mistler, and K. Lowery

                                                                                                  Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Shea JR,Thomas M             TMS       Partner/Principal   5/12/2023   Meetings with Management                                                                                                       0.5     $825.00       $412.50
                                                                                                  EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, J. Berman, B. Mistler, and K. Lowery
                                                                                                  Meeting with D. Li (BlackOak), A. Kumar (BlackOak), D. Teo (BlackOak), S. Kit (BlackOak), and
MacLean,Corrie               CM             Senior         5/12/2023         Non US Tax           A. Nee (BlackOak) to discuss FTX Singapore entities. EY attendees: D. Hammon, C. MacLean, H.        0.3     $395.00       $118.50
                                                                                                  Choudary, D. Katsnelson, N. Hernandez, and M. Leon
                                                                                                  Meeting with D. Li (BlackOak), A. Kumar (BlackOak), D. Teo (BlackOak), S. Kit (BlackOak), and
Katsnelson,David              DK           Manager         5/12/2023        Transfer Pricing      A. Nee (BlackOak) to discuss FTX Singapore entities. EY attendees: D. Hammon, C. MacLean, H.        0.3     $525.00       $157.50
                                                                                                  Choudary, D. Katsnelson, N. Hernandez, and M. Leon
                                                                                                  Meeting with D. Li (BlackOak), A. Kumar (BlackOak), D. Teo (BlackOak), S. Kit (BlackOak), and
Choudary,Hira                 HC             Staff         5/12/2023         Non US Tax           A. Nee (BlackOak) to discuss FTX Singapore entities. EY attendees: D. Hammon, C. MacLean, H.        0.3     $225.00        $67.50
                                                                                                  Choudary, D. Katsnelson, N. Hernandez, and M. Leon
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                                                          Date of
                  Name    Initials        Rank                            Project Category                                             Description of Services                                       Hours   Hourly Rate   Fees
                                                          Service
                                                                                                    Meeting with D. Li (BlackOak), A. Kumar (BlackOak), D. Teo (BlackOak), S. Kit (BlackOak), and
Hammon,David Lane          DLH           Manager         5/12/2023           Non US Tax             A. Nee (BlackOak) to discuss FTX Singapore entities. EY attendees: D. Hammon, C. MacLean, H.      0.3     $525.00       $157.50
                                                                                                    Choudary, D. Katsnelson, N. Hernandez, and M. Leon
                                                                                                    Meeting with D. Li (BlackOak), A. Kumar (BlackOak), D. Teo (BlackOak), S. Kit (BlackOak), and
Gil Diez de Leon,Marta     MDL           Manager         5/12/2023        Value Added Tax           A. Nee (BlackOak) to discuss FTX Singapore entities. EY attendees: D. Hammon, C. MacLean, H.      0.3     $525.00       $157.50
                                                                                                    Choudary, D. Katsnelson, N. Hernandez, and M. Leon
                                                                                                    Meeting with D. Li (BlackOak), A. Kumar (BlackOak), D. Teo (BlackOak), S. Kit (BlackOak), and
Hernandez,Nancy I.         NIH       Senior Manager      5/12/2023           Non US Tax             A. Nee (BlackOak) to discuss FTX Singapore entities. EY attendees: D. Hammon, C. MacLean, H.      0.3     $650.00       $195.00
                                                                                                    Choudary, D. Katsnelson, N. Hernandez, and M. Leon
                                                                                                    Meeting to prepare executive summary of transition status for in-person meeting on 5/15. EY
MacLean,Corrie             CM             Senior         5/12/2023           Non US Tax                                                                                                               0.5     $395.00       $197.50
                                                                                                    attendees: C. MacLean, H. Choudary, D. Hammon, and K. Staromiejska
                                                                                                    Meeting to prepare executive summary of transition status for in-person meeting on 5/15. EY
Choudary,Hira               HC             Staff         5/12/2023           Non US Tax                                                                                                               0.5     $225.00       $112.50
                                                                                                    attendees: C. MacLean, H. Choudary, D. Hammon, and K. Staromiejska
                                                                                                    Meeting to prepare executive summary of transition status for in-person meeting on 5/15. EY
Staromiejska,Kinga          KS           Manager         5/12/2023           Non US Tax                                                                                                               0.5     $525.00       $262.50
                                                                                                    attendees: C. MacLean, H. Choudary, D. Hammon, and K. Staromiejska
                                                                                                    Meeting to prepare executive summary of transition status for in-person meeting on 5/15. EY
Hammon,David Lane          DLH           Manager         5/12/2023           Non US Tax                                                                                                               0.5     $525.00       $262.50
                                                                                                    attendees: C. MacLean, H. Choudary, D. Hammon, and K. Staromiejska
                                                                                                    Weekly recap regarding upcoming items concerning the transition workstream. EY attendees: D.
MacLean,Corrie             CM             Senior         5/12/2023           Non US Tax                                                                                                               0.5     $395.00       $197.50
                                                                                                    Hammon, T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                    Weekly recap regarding upcoming items concerning the transition workstream. EY attendees: D.
Hammon,David Lane          DLH           Manager         5/12/2023           Non US Tax                                                                                                               0.5     $525.00       $262.50
                                                                                                    Hammon, T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                    Weekly recap regarding upcoming items concerning the transition workstream. EY attendees: D.
Knoeller,Thomas J.         TJK       Partner/Principal   5/12/2023           Non US Tax                                                                                                               0.5     $825.00       $412.50
                                                                                                    Hammon, T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                    Weekly recap regarding upcoming items concerning the transition workstream. EY attendees: D.
Staromiejska,Kinga          KS           Manager         5/12/2023           Non US Tax                                                                                                               0.5     $525.00       $262.50
                                                                                                    Hammon, T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                    Meeting to compile compliance deliverables needed for FTX Singapore entities. EY attendees: C.
MacLean,Corrie             CM             Senior         5/12/2023           Non US Tax             MacLean, D. Hammon, D. Katsnelson, G. Stefano, H. Choudary, M. Leon, W. Wong, and N.              0.6     $395.00       $237.00
                                                                                                    Hernandez
                                                                                                    Meeting to compile compliance deliverables needed for FTX Singapore entities. EY attendees: C.
Katsnelson,David            DK           Manager         5/12/2023         Transfer Pricing         MacLean, D. Hammon, D. Katsnelson, G. Stefano, H. Choudary, M. Leon, W. Wong, and N.              0.6     $525.00       $315.00
                                                                                                    Hernandez
                                                                                                    Meeting to compile compliance deliverables needed for FTX Singapore entities. EY attendees: C.
Di Stefano,Giulia          GDS            Senior         5/12/2023         Transfer Pricing         MacLean, D. Hammon, D. Katsnelson, G. Stefano, H. Choudary, M. Leon, W. Wong, and N.              0.6     $395.00       $237.00
                                                                                                    Hernandez
                                                                                                    Meeting to compile compliance deliverables needed for FTX Singapore entities. EY attendees: C.
Choudary,Hira               HC             Staff         5/12/2023           Non US Tax             MacLean, D. Hammon, D. Katsnelson, G. Stefano, H. Choudary, M. Leon, W. Wong, and N.              0.6     $225.00       $135.00
                                                                                                    Hernandez
                                                                                                    Meeting to compile compliance deliverables needed for FTX Singapore entities. EY attendees: C.
Hammon,David Lane          DLH           Manager         5/12/2023           Non US Tax             MacLean, D. Hammon, D. Katsnelson, G. Stefano, H. Choudary, M. Leon, W. Wong, and N.              0.6     $525.00       $315.00
                                                                                                    Hernandez
                                                                                                    Meeting to compile compliance deliverables needed for FTX Singapore entities. EY attendees: C.
Wong,Wendy                 WW        Senior Manager      5/12/2023           Non US Tax             MacLean, D. Hammon, D. Katsnelson, G. Stefano, H. Choudary, M. Leon, W. Wong, and N.              0.6     $650.00       $390.00
                                                                                                    Hernandez
                                                                                                    Meeting to compile compliance deliverables needed for FTX Singapore entities. EY attendees: C.
Gil Diez de Leon,Marta     MDL           Manager         5/12/2023        Value Added Tax           MacLean, D. Hammon, D. Katsnelson, G. Stefano, H. Choudary, M. Leon, W. Wong, and N.              0.6     $525.00       $315.00
                                                                                                    Hernandez
                                                                                                    Meeting to compile compliance deliverables needed for FTX Singapore entities. EY attendees: C.
Hernandez,Nancy I.         NIH       Senior Manager      5/12/2023           Non US Tax             MacLean, D. Hammon, D. Katsnelson, G. Stefano, H. Choudary, M. Leon, W. Wong, and N.              0.6     $650.00       $390.00
                                                                                                    Hernandez
                                                                                                    Internal call regarding employment tax accounts, amounts due, non-compliant accounts. EY
Wrenn,Kaitlin Doyle       KDW            Manager         5/12/2023           Payroll Tax                                                                                                              0.8     $525.00       $420.00
                                                                                                    attendees: K. Wrenn and V. Short
                                                                                                    Internal call regarding employment tax accounts, amounts due, non-compliant accounts. EY
Short,Victoria              VS            Senior         5/12/2023           Payroll Tax                                                                                                              0.8     $395.00       $316.00
                                                                                                    attendees: K. Wrenn and V. Short
                                                                                                    Meeting with I. Konig (A&M), A. Mohammed (A&M), and A. Sivapalu (A&M) to discuss
Mistler,Brian M           BMM            Manager         5/10/2023   Meetings with Other Advisors   query/codes used for trail balance and transaction log by account. EY attendees: K. Gundu, D.     0.5     $525.00       $262.50
                                                                                                    Jena, C. Cavusoglu, B. Mistler, D. Bailey, and A. Richardson
                                                                                                    Meeting with I. Konig (A&M), A. Mohammed (A&M), and A. Sivapalu (A&M) to discuss
Cavusoglu,Coskun            CC       Partner/Principal   5/10/2023   Meetings with Other Advisors   query/codes used for trail balance and transaction log by account. EY attendees: K. Gundu, D.     0.5     $825.00       $412.50
                                                                                                    Jena, C. Cavusoglu, B. Mistler, D. Bailey, and A. Richardson
                                                                                                    Meeting with I. Konig (A&M), A. Mohammed (A&M), and A. Sivapalu (A&M) to discuss
Gundu,Kaivalya              KG       Senior Manager      5/10/2023   Meetings with Other Advisors   query/codes used for trail balance and transaction log by account. EY attendees: K. Gundu, D.     0.5     $650.00       $325.00
                                                                                                    Jena, C. Cavusoglu, B. Mistler, D. Bailey, and A. Richardson
                                                                                                    Meeting with I. Konig (A&M), A. Mohammed (A&M), and A. Sivapalu (A&M) to discuss
Bailey,Doug                 DB       Partner/Principal   5/10/2023   Meetings with Other Advisors   query/codes used for trail balance and transaction log by account. EY attendees: K. Gundu, D.     0.5     $825.00       $412.50
                                                                                                    Jena, C. Cavusoglu, B. Mistler, D. Bailey, and A. Richardson
                                                                                                    Meeting with I. Konig (A&M), A. Mohammed (A&M), and A. Sivapalu (A&M) to discuss
Richardson,Audrey Sarah    ASR           Manager         5/10/2023   Meetings with Other Advisors   query/codes used for trail balance and transaction log by account. EY attendees: K. Gundu, D.     0.5     $525.00       $262.50
                                                                                                    Jena, C. Cavusoglu, B. Mistler, D. Bailey, and A. Richardson
                                                                                                    Meeting with I. Konig (A&M), A. Mohammed (A&M), and A. Sivapalu (A&M) to discuss
Jena,Deepak                 DJ           Manager         5/10/2023   Meetings with Other Advisors   query/codes used for trail balance and transaction log by account. EY attendees: K. Gundu, D.     0.5     $525.00       $262.50
                                                                                                    Jena, C. Cavusoglu, B. Mistler, D. Bailey, and A. Richardson
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                                                         Date of
                  Name   Initials        Rank                                Project Category                                                   Description of Services                                          Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Bi-weekly Federal tax team meeting to discuss workstreams and upcoming deadlines. EY
Mistler,Brian M          BMM            Manager         5/8/2023              US Income Tax                                                                                                                       0.5     $525.00       $262.50
                                                                                                           attendees: T. Shea, J. Scott, J. Berman, and B. Mistler
                                     Client Serving                                                        Bi-weekly Federal tax team meeting to discuss workstreams and upcoming deadlines. EY
Scott,James                JS                           5/8/2023              US Income Tax                                                                                                                       0.5     $600.00       $300.00
                                     Contractor JS                                                         attendees: T. Shea, J. Scott, J. Berman, and B. Mistler
                                                                                                           Bi-weekly Federal tax team meeting to discuss workstreams and upcoming deadlines. EY
Berman,Jake                JB       Senior Manager      5/8/2023              US Income Tax                                                                                                                       0.5     $650.00       $325.00
                                                                                                           attendees: T. Shea, J. Scott, J. Berman, and B. Mistler
                                                                                                           Bi-weekly Federal tax team meeting to discuss workstreams and upcoming deadlines. EY
Shea JR,Thomas M          TMS       Partner/Principal   5/8/2023              US Income Tax                                                                                                                       0.5     $825.00       $412.50
                                                                                                           attendees: T. Shea, J. Scott, J. Berman, and B. Mistler
Mistler,Brian M          BMM            Manager         5/8/2023         Meetings with Management          Call with M. McCarty (FTX) to discuss historical tax filings                                           1.0     $525.00       $525.00
                                                                                                           Meeting to walk through OGM Workflow set up form. EY attendees: C. Tong, C. Ancona, and H.
Tong,Chia-Hui             CHT       Senior Manager      5/10/2023   Project Management Office Transition                                                                                                          0.5     $650.00       $325.00
                                                                                                           Choudary
                                                                                                           Meeting to walk through OGM Workflow set up form. EY attendees: C. Tong, C. Ancona, and H.
Choudary,Hira              HC             Staff         5/10/2023               Non US Tax                                                                                                                        0.5     $225.00       $112.50
                                                                                                           Choudary
                                                                                                           Meeting to walk through OGM Workflow set up form. EY attendees: C. Tong, C. Ancona, and H.
Ancona,Christopher         CA            Senior         5/10/2023   Project Management Office Transition                                                                                                          0.5     $395.00       $197.50
                                                                                                           Choudary
Mistler,Brian M          BMM           Manager          5/10/2023             US Income Tax                Meeting to discuss state tax impacts. EY attendees: B. Mistler and W. Bieganski                        0.5     $525.00       $262.50
                                    Client Serving
Bieganski,Walter          WB                            5/10/2023         US State and Local Tax           Meeting to discuss state tax impacts. EY attendees: B. Mistler and W. Bieganski                        0.5     $200.00       $100.00
                                    Contractor WB
                                                                                                           Weekly call with D. Hariton (S&C) and A&M to review progress on tax workstreams and address
Mistler,Brian M          BMM            Manager         5/12/2023      Meetings with Other Advisors        open items EY: Attendees; T Shea, J Scott, B Mistler, J Berman, A&M Attendees: K Jacobs, B             0.4     $525.00       $210.00
                                                                                                           Seaway, C Howe, M Glynn
                                                                                                           Weekly call with D. Hariton (S&C) and A&M to review progress on tax workstreams and address
                                     Client Serving
Scott,James                JS                           5/12/2023      Meetings with Other Advisors        open items EY: Attendees; T Shea, J Scott, B Mistler, J Berman, A&M Attendees: K Jacobs, B             0.4     $600.00       $240.00
                                     Contractor JS
                                                                                                           Seaway, C Howe, M Glynn
                                                                                                           Weekly call with D. Hariton (S&C) and A&M to review progress on tax workstreams and address
Shea JR,Thomas M          TMS       Partner/Principal   5/12/2023      Meetings with Other Advisors        open items EY: Attendees; T Shea, J Scott, B Mistler, J Berman, A&M Attendees: K Jacobs, B             0.4     $825.00       $330.00
                                                                                                           Seaway, C Howe, M Glynn
                                                                                                           Weekly call with D. Hariton (S&C) and A&M to review progress on tax workstreams and address
Berman,Jake                JB       Senior Manager      5/12/2023      Meetings with Other Advisors        open items EY: Attendees; T Shea, J Scott, B Mistler, J Berman, A&M Attendees: K Jacobs, B             0.4     $650.00       $260.00
                                                                                                           Seaway, C Howe, M Glynn
                                                                                                           Weekly call with M. Hernandez (RLA) and C. Papadopoulos (RLA) to discuss open tax items. EY
Mistler,Brian M          BMM            Manager         5/12/2023             US Income Tax                                                                                                                       0.8     $525.00       $420.00
                                                                                                           attendees: T. Shea, L. Lovelace, B. Mistler, and J. Berman
                                                                                                           Weekly call with M. Hernandez (RLA) and C. Papadopoulos (RLA) to discuss open tax items. EY
Lovelace,Lauren            LL       Partner/Principal   5/12/2023           US International Tax                                                                                                                  0.8     $825.00       $660.00
                                                                                                           attendees: T. Shea, L. Lovelace, B. Mistler, and J. Berman
                                                                                                           Weekly call with M. Hernandez (RLA) and C. Papadopoulos (RLA) to discuss open tax items. EY
Shea JR,Thomas M          TMS       Partner/Principal   5/12/2023             US Income Tax                                                                                                                       0.8     $825.00       $660.00
                                                                                                           attendees: T. Shea, L. Lovelace, B. Mistler, and J. Berman
                                                                                                           Weekly call with M. Hernandez (RLA) and C. Papadopoulos (RLA) to discuss open tax items. EY
Berman,Jake                JB       Senior Manager      5/12/2023             US Income Tax                                                                                                                       0.8     $650.00       $520.00
                                                                                                           attendees: T. Shea, L. Lovelace, B. Mistler, and J. Berman
                                                                                                           Internal meeting to discuss latest updates to ITTS issues tracker and international workstreams. EY
Karan,Anna Suncheuri      ASK             Staff         5/10/2023              Tax Advisory                                                                                                                       1.0     $225.00       $225.00
                                                                                                           attendees: L. Lovelace, D. Bailey, A. Katelas, M. Zhuo, A. Karan, R. Yang, D. Ortiz, and P. Zhu

                                                                                                           Internal meeting to discuss latest updates to ITTS issues tracker and international workstreams. EY
Katelas,Andreas            KA            Senior         5/10/2023              Tax Advisory                                                                                                                       1.0     $395.00       $395.00
                                                                                                           attendees: L. Lovelace, D. Bailey, A. Katelas, M. Zhuo, A. Karan, R. Yang, D. Ortiz, and P. Zhu

                                                                                                           Internal meeting to discuss latest updates to ITTS issues tracker and international workstreams. EY
Zhuo,Melody                MZ             Staff         5/10/2023              Tax Advisory                                                                                                                       1.0     $225.00       $225.00
                                                                                                           attendees: L. Lovelace, D. Bailey, A. Katelas, M. Zhuo, A. Karan, R. Yang, D. Ortiz, and P. Zhu

                                                                                                           Internal meeting to discuss latest updates to ITTS issues tracker and international workstreams. EY
Lovelace,Lauren            LL       Partner/Principal   5/10/2023           US International Tax                                                                                                                  1.0     $825.00       $825.00
                                                                                                           attendees: L. Lovelace, D. Bailey, A. Katelas, M. Zhuo, A. Karan, R. Yang, D. Ortiz, and P. Zhu

                                                                                                           Internal meeting to discuss latest updates to ITTS issues tracker and international workstreams. EY
Bailey,Doug                DB       Partner/Principal   5/10/2023              Tax Advisory                                                                                                                       1.0     $825.00       $825.00
                                                                                                           attendees: L. Lovelace, D. Bailey, A. Katelas, M. Zhuo, A. Karan, R. Yang, D. Ortiz, and P. Zhu

                                                                                                           Internal meeting to discuss latest updates to ITTS issues tracker and international workstreams. EY
Yang,Rachel Sim           RSY       Senior Manager      5/10/2023           US International Tax                                                                                                                  1.0     $650.00       $650.00
                                                                                                           attendees: L. Lovelace, D. Bailey, A. Katelas, M. Zhuo, A. Karan, R. Yang, D. Ortiz, and P. Zhu

                                                                                                           Internal meeting to discuss latest updates to ITTS issues tracker and international workstreams. EY
Ortiz,Daniella             DO             Staff         5/10/2023           US International Tax                                                                                                                  1.0     $225.00       $225.00
                                                                                                           attendees: L. Lovelace, D. Bailey, A. Katelas, M. Zhuo, A. Karan, R. Yang, D. Ortiz, and P. Zhu

                                                                                                           Internal meeting to discuss latest updates to ITTS issues tracker and international workstreams. EY
Zhu,Philip                 PZ            Senior         5/10/2023           US International Tax                                                                                                                  1.0     $395.00       $395.00
                                                                                                           attendees: L. Lovelace, D. Bailey, A. Katelas, M. Zhuo, A. Karan, R. Yang, D. Ortiz, and P. Zhu
                                                                                                           Internal meeting to discuss foreign minority investments held and recent documentation provided
Karan,Anna Suncheuri      ASK             Staff         5/10/2023              Tax Advisory                by A&M. EY attendees: L. Lovelace, D. Bailey, A. Katelas, R. Yang, M. Zhuo, A. Karan, and D.           0.5     $225.00       $112.50
                                                                                                           Ortiz
                                                                                                           Internal meeting to discuss foreign minority investments held and recent documentation provided
Katelas,Andreas            KA            Senior         5/10/2023              Tax Advisory                by A&M. EY attendees: L. Lovelace, D. Bailey, A. Katelas, R. Yang, M. Zhuo, A. Karan, and D.           0.5     $395.00       $197.50
                                                                                                           Ortiz
                                                                                                           Internal meeting to discuss foreign minority investments held and recent documentation provided
Zhuo,Melody                MZ             Staff         5/10/2023              Tax Advisory                by A&M. EY attendees: L. Lovelace, D. Bailey, A. Katelas, R. Yang, M. Zhuo, A. Karan, and D.           0.5     $225.00       $112.50
                                                                                                           Ortiz
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                                                                Date of
                 Name           Initials         Rank                               Project Category                                                   Description of Services                                         Hours   Hourly Rate   Fees
                                                                Service
                                                                                                                  Internal meeting to discuss foreign minority investments held and recent documentation provided
Lovelace,Lauren                   LL       Partner/Principal   5/10/2023           US International Tax           by A&M. EY attendees: L. Lovelace, D. Bailey, A. Katelas, R. Yang, M. Zhuo, A. Karan, and D.          0.5     $825.00       $412.50
                                                                                                                  Ortiz
                                                                                                                  Internal meeting to discuss foreign minority investments held and recent documentation provided
Bailey,Doug                       DB       Partner/Principal   5/10/2023              Tax Advisory                by A&M. EY attendees: L. Lovelace, D. Bailey, A. Katelas, R. Yang, M. Zhuo, A. Karan, and D.          0.5     $825.00       $412.50
                                                                                                                  Ortiz
                                                                                                                  Internal meeting to discuss foreign minority investments held and recent documentation provided
Yang,Rachel Sim                  RSY        Senior Manager     5/10/2023           US International Tax           by A&M. EY attendees: L. Lovelace, D. Bailey, A. Katelas, R. Yang, M. Zhuo, A. Karan, and D.          0.5     $650.00       $325.00
                                                                                                                  Ortiz
                                                                                                                  Internal meeting to discuss foreign minority investments held and recent documentation provided
Ortiz,Daniella                    DO             Staff         5/10/2023           US International Tax           by A&M. EY attendees: L. Lovelace, D. Bailey, A. Katelas, R. Yang, M. Zhuo, A. Karan, and D.          0.5     $225.00       $112.50
                                                                                                                  Ortiz
                                                                                                                  Meeting to discuss knowledge transfer, scope, complexity, Prime, clarifications with client re
Schwarzwälder,Christian           CS        Senior Manager     5/15/2023               Non US Tax                                                                                                                       0.7     $650.00       $455.00
                                                                                                                  digital asset transactions. EY attendees: C. Schwarzwälder and K. Wagner
                                                                                                                  Meeting to discuss knowledge transfer, scope, complexity, Prime, clarifications with client re
Wagner,Kaspar                    KW             Senior         5/15/2023               Non US Tax                                                                                                                       0.7     $395.00       $276.50
                                                                                                                  digital asset transactions. EY attendees: C. Schwarzwälder and K. Wagner
                                                                                                                  Meeting to discuss the FTX equity plan review and available data in preparation for meeting with
DeVincenzo,Jennie                JDV       Managing Director   5/15/2023        Meetings with Management                                                                                                                1.0     $775.00       $775.00
                                                                                                                  FTX. EY attendees: K. Lowery, R. Walker, J. DeVincenzo, and K. Wrenn
                                                                                                                  Meeting to discuss the FTX equity plan review and available data in preparation for meeting with
Wrenn,Kaitlin Doyle             KDW            Manager         5/15/2023        Meetings with Management                                                                                                                1.0     $525.00       $525.00
                                                                                                                  FTX. EY attendees: K. Lowery, R. Walker, J. DeVincenzo, and K. Wrenn
                                               National                                                           Meeting to discuss the FTX equity plan review and available data in preparation for meeting with
Lowery,Kristie L                 KLL                           5/15/2023        Meetings with Management                                                                                                                1.0     $990.00       $990.00
                                           Partner/Principal                                                      FTX. EY attendees: K. Lowery, R. Walker, J. DeVincenzo, and K. Wrenn
                                                                                                                  Meeting to discuss the FTX equity plan review and available data in preparation for meeting with
Walker,Rachael Leigh Braswell   RLBW       Partner/Principal   5/15/2023        Meetings with Management                                                                                                                1.0     $825.00       $825.00
                                                                                                                  FTX. EY attendees: K. Lowery, R. Walker, J. DeVincenzo, and K. Wrenn
                                                                                                                  Bahamas team call with J. Chan (FTX) and S. Yuen (FTX) to understand the nature of operations
                                                                                                                  and regulatory requirements of the three entities under review for the FTX Liquidation, as well as
MacLean,Corrie                   CM             Senior         5/15/2023        Meetings with Management                                                                                                                0.6     $395.00       $237.00
                                                                                                                  discussion regarding potential Bahamian contacts to source additional information locally. EY
                                                                                                                  attendees: C. MacLean, D. Hammon, O. Espley-Ault, T. McPhee, B. Rahming, and B. Coakley

                                                                                                                  Bahamas team call with J. Chan (FTX) and S. Yuen (FTX) to understand the nature of operations
                                                                                                                  and regulatory requirements of the three entities under review for the FTX Liquidation, as well as
Espley-Ault,Olivia               OEA        Senior Manager     5/15/2023        Meetings with Management                                                                                                                0.6     $650.00       $390.00
                                                                                                                  discussion regarding potential Bahamian contacts to source additional information locally. EY
                                                                                                                  attendees: C. MacLean, D. Hammon, O. Espley-Ault, T. McPhee, B. Rahming, and B. Coakley

                                                                                                                  Bahamas team call with J. Chan (FTX) and S. Yuen (FTX) to understand the nature of operations
                                                                                                                  and regulatory requirements of the three entities under review for the FTX Liquidation, as well as
Brittany Coakley,Breshante       BBC             Staff         5/15/2023        Meetings with Management                                                                                                                0.6     $225.00       $135.00
                                                                                                                  discussion regarding potential Bahamian contacts to source additional information locally. EY
                                                                                                                  attendees: C. MacLean, D. Hammon, O. Espley-Ault, T. McPhee, B. Rahming, and B. Coakley

                                                                                                                  Bahamas team call with J. Chan (FTX) and S. Yuen (FTX) to understand the nature of operations
                                                                                                                  and regulatory requirements of the three entities under review for the FTX Liquidation, as well as
Rahming,Brinique                  BR            Senior         5/15/2023        Meetings with Management                                                                                                                0.6     $395.00       $237.00
                                                                                                                  discussion regarding potential Bahamian contacts to source additional information locally. EY
                                                                                                                  attendees: C. MacLean, D. Hammon, O. Espley-Ault, T. McPhee, B. Rahming, and B. Coakley

                                                                                                                  Bahamas team call with J. Chan (FTX) and S. Yuen (FTX) to understand the nature of operations
                                                                                                                  and regulatory requirements of the three entities under review for the FTX Liquidation, as well as
McPhee,Tiffany                    TM           Manager         5/15/2023        Meetings with Management                                                                                                                0.6     $525.00       $315.00
                                                                                                                  discussion regarding potential Bahamian contacts to source additional information locally. EY
                                                                                                                  attendees: C. MacLean, D. Hammon, O. Espley-Ault, T. McPhee, B. Rahming, and B. Coakley

                                                                                                                  Bahamas team call with J. Chan (FTX) and S. Yuen (FTX) to understand the nature of operations
                                                                                                                  and regulatory requirements of the three entities under review for the FTX Liquidation, as well as
Hammon,David Lane                DLH           Manager         5/15/2023        Meetings with Management                                                                                                                0.6     $525.00       $315.00
                                                                                                                  discussion regarding potential Bahamian contacts to source additional information locally. EY
                                                                                                                  attendees: C. MacLean, D. Hammon, O. Espley-Ault, T. McPhee, B. Rahming, and B. Coakley
                                                                                                                  Internal call to discuss the findings of the client meeting and to determine the next steps. EY
Espley-Ault,Olivia               OEA        Senior Manager     5/15/2023               Non US Tax                                                                                                                       0.2     $650.00       $130.00
                                                                                                                  attendees: O. Espley-Ault, T. McPhee, B. Rahming, and B. Coakley
                                                                                                                  Internal call to discuss the findings of the client meeting and to determine the next steps. EY
Brittany Coakley,Breshante       BBC             Staff         5/15/2023               Non US Tax                                                                                                                       0.2     $225.00        $45.00
                                                                                                                  attendees: O. Espley-Ault, T. McPhee, B. Rahming, and B. Coakley
                                                                                                                  Internal call to discuss the findings of the client meeting and to determine the next steps. EY
Rahming,Brinique                  BR            Senior         5/15/2023               Non US Tax                                                                                                                       0.2     $395.00        $79.00
                                                                                                                  attendees: O. Espley-Ault, T. McPhee, B. Rahming, and B. Coakley
                                                                                                                  Internal call to discuss the findings of the client meeting and to determine the next steps. EY
McPhee,Tiffany                    TM           Manager         5/15/2023               Non US Tax                                                                                                                       0.2     $525.00       $105.00
                                                                                                                  attendees: O. Espley-Ault, T. McPhee, B. Rahming, and B. Coakley
                                                                                                                  Meeting to discuss FTX VAT tax deliverables and filing deadlines. EY attendees: C. Ancona, C.
Tong,Chia-Hui                    CHT        Senior Manager     5/15/2023   Project Management Office Transition                                                                                                         0.5     $650.00       $325.00
                                                                                                                  Tong, T. Shea, K. Madhok, M. Gil Diez De Leon, J. Scott, and J. Marlow
                                                                                                                  Meeting to discuss FTX VAT tax deliverables and filing deadlines. EY attendees: C. Ancona, C.
Ancona,Christopher                CA            Senior         5/15/2023   Project Management Office Transition                                                                                                         0.5     $395.00       $197.50
                                                                                                                  Tong, T. Shea, K. Madhok, M. Gil Diez De Leon, J. Scott, and J. Marlow
                                             Client Serving                                                       Meeting to discuss FTX VAT tax deliverables and filing deadlines. EY attendees: C. Ancona, C.
Scott,James                       JS                           5/15/2023             US Income Tax                                                                                                                      0.5     $600.00       $300.00
                                             Contractor JS                                                        Tong, T. Shea, K. Madhok, M. Gil Diez De Leon, J. Scott, and J. Marlow
                                                                                                                  Meeting to discuss FTX VAT tax deliverables and filing deadlines. EY attendees: C. Ancona, C.
Shea JR,Thomas M                 TMS       Partner/Principal   5/15/2023            Value Added Tax                                                                                                                     0.5     $825.00       $412.50
                                                                                                                  Tong, T. Shea, K. Madhok, M. Gil Diez De Leon, J. Scott, and J. Marlow
                                                                                                                  Meeting to discuss FTX VAT tax deliverables and filing deadlines. EY attendees: C. Ancona, C.
Madhok,Kishan                    KM         Senior Manager     5/15/2023            Value Added Tax                                                                                                                     0.5     $650.00       $325.00
                                                                                                                  Tong, T. Shea, K. Madhok, M. Gil Diez De Leon, J. Scott, and J. Marlow
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                                                           Date of
                  Name     Initials         Rank                               Project Category                                                   Description of Services                                         Hours   Hourly Rate   Fees
                                                           Service
                                                                                                             Meeting to discuss FTX VAT tax deliverables and filing deadlines. EY attendees: C. Ancona, C.
Gil Diez de Leon,Marta      MDL           Manager         5/15/2023            Value Added Tax                                                                                                                     0.5     $525.00       $262.50
                                                                                                             Tong, T. Shea, K. Madhok, M. Gil Diez De Leon, J. Scott, and J. Marlow
                                                                                                             Meeting to discuss FTX VAT tax deliverables and filing deadlines. EY attendees: C. Ancona, C.
Marlow,Joe                   JM            Senior         5/15/2023            Value Added Tax                                                                                                                     0.5     $395.00       $197.50
                                                                                                             Tong, T. Shea, K. Madhok, M. Gil Diez De Leon, J. Scott, and J. Marlow
                                                                                                             Internal call to discuss income/franchise tax deliverables and business license deliverables. EY
Hall,Emily Melissa          EMH            Senior         5/15/2023         US State and Local Tax                                                                                                                 0.5     $395.00       $197.50
                                                                                                             attendees: M. Musano, W. Bieganski, E. Zheng, and E. Hall
                                                                                                             Internal call to discuss income/franchise tax deliverables and business license deliverables. EY
Zheng,Eva                    EZ           Manager         5/15/2023         US State and Local Tax                                                                                                                 0.5     $525.00       $262.50
                                                                                                             attendees: M. Musano, W. Bieganski, E. Zheng, and E. Hall
                                                                                                             Internal call to discuss income/franchise tax deliverables and business license deliverables. EY
Musano,Matthew Albert      MAM         Senior Manager     5/15/2023         US State and Local Tax                                                                                                                 0.5     $650.00       $325.00
                                                                                                             attendees: M. Musano, W. Bieganski, E. Zheng, and E. Hall
                                       Client Serving                                                        Internal call to discuss income/franchise tax deliverables and business license deliverables. EY
Bieganski,Walter            WB                            5/15/2023         US State and Local Tax                                                                                                                 0.5     $200.00       $100.00
                                       Contractor WB                                                         attendees: M. Musano, W. Bieganski, E. Zheng, and E. Hall
                                                                                                             Internal call to walk through West Realm Shires Services Illinois annual report information
Hall,Emily Melissa          EMH            Senior         5/15/2023         US State and Local Tax                                                                                                                 0.3     $395.00       $118.50
                                                                                                             request. EY attendees: M. Musano and E. Hall
                                                                                                             Internal call to walk through West Realm Shires Services Illinois annual report information
Musano,Matthew Albert      MAM         Senior Manager     5/15/2023         US State and Local Tax                                                                                                                 0.3     $650.00       $195.00
                                                                                                             request. EY attendees: M. Musano and E. Hall
                                                                                                             Update call regarding certain transactions pertaining to FTX and others. EY attendees: A. Katelas,
Sargent,Amy Johannah        AJS       Managing Director   5/9/2023              US Income Tax                                                                                                                      0.5     $775.00       $387.50
                                                                                                             D. Bailey, L. Lovelace, A. Sargent, A. Ritz, B. Mistler, R. Gartin, and J. Scott
                                                                                                             Update call regarding certain transactions pertaining to FTX and others. EY attendees: A. Katelas,
Ritz,Amy Felice             AFR       Managing Director   5/9/2023              US Income Tax                                                                                                                      0.5     $775.00       $387.50
                                                                                                             D. Bailey, L. Lovelace, A. Sargent, A. Ritz, B. Mistler, R. Gartin, and J. Scott
                                                                                                             Update call regarding certain transactions pertaining to FTX and others. EY attendees: A. Katelas,
Katelas,Andreas              KA            Senior         5/9/2023               Tax Advisory                                                                                                                      0.5     $395.00       $197.50
                                                                                                             D. Bailey, L. Lovelace, A. Sargent, A. Ritz, B. Mistler, R. Gartin, and J. Scott
                                                                                                             Update call regarding certain transactions pertaining to FTX and others. EY attendees: A. Katelas,
Mistler,Brian M            BMM            Manager         5/9/2023               Tax Advisory                                                                                                                      0.5     $525.00       $262.50
                                                                                                             D. Bailey, L. Lovelace, A. Sargent, A. Ritz, B. Mistler, R. Gartin, and J. Scott
                                                                                                             Update call regarding certain transactions pertaining to FTX and others. EY attendees: A. Katelas,
Lovelace,Lauren              LL       Partner/Principal   5/9/2023            US International Tax                                                                                                                 0.5     $825.00       $412.50
                                                                                                             D. Bailey, L. Lovelace, A. Sargent, A. Ritz, B. Mistler, R. Gartin, and J. Scott
                                                                                                             Update call regarding certain transactions pertaining to FTX and others. EY attendees: A. Katelas,
Bailey,Doug                  DB       Partner/Principal   5/9/2023               Tax Advisory                                                                                                                      0.5     $825.00       $412.50
                                                                                                             D. Bailey, L. Lovelace, A. Sargent, A. Ritz, B. Mistler, R. Gartin, and J. Scott
                                        Client Serving                                                       Update call regarding certain transactions pertaining to FTX and others. EY attendees: A. Katelas,
Scott,James                  JS                           5/9/2023              US Income Tax                                                                                                                      0.5     $600.00       $300.00
                                        Contractor JS                                                        D. Bailey, L. Lovelace, A. Sargent, A. Ritz, B. Mistler, R. Gartin, and J. Scott
                                                                                                             Meeting to discuss the progress and next steps regarding the due diligence from a direct and
Papachristodoulou,Elpida     EP        Senior Manager     5/16/2023            Value Added Tax                                                                                                                     0.2     $650.00       $130.00
                                                                                                             indirect tax perspective. EY attendees: A. Tsikkouris and E. Papachristodoulou
                                                                                                             Meeting to discuss the progress and next steps regarding the due diligence from a direct and
Tsikkouris,Anastasios        AT           Manager         5/16/2023               Non US Tax                                                                                                                       0.2     $525.00       $105.00
                                                                                                             indirect tax perspective. EY attendees: A. Tsikkouris and E. Papachristodoulou
                                                                                                             FTX Non-US/ACR Executive Update meeting to discuss project status, risks, identify issues, and
MacLean,Corrie              CM             Senior         5/15/2023               Non US Tax                 determine action items. EY attendees: C. Ancona, C. Tong, T. Shea, H. Choudary, C. MacLean, D.        1.5     $395.00       $592.50
                                                                                                             Hammon, T. Knoeller, K. Staromiejska, and J. Scott
                                                                                                             FTX Non-US/ACR Executive Update meeting to discuss project status, risks, identify issues, and
Tong,Chia-Hui               CHT        Senior Manager     5/15/2023   Project Management Office Transition   determine action items. EY attendees: C. Ancona, C. Tong, T. Shea, H. Choudary, C. MacLean, D.        1.5     $650.00       $975.00
                                                                                                             Hammon, T. Knoeller, K. Staromiejska, and J. Scott
                                                                                                             FTX Non-US/ACR Executive Update meeting to discuss project status, risks, identify issues, and
Ancona,Christopher           CA            Senior         5/15/2023   Project Management Office Transition   determine action items. EY attendees: C. Ancona, C. Tong, T. Shea, H. Choudary, C. MacLean, D.        1.5     $395.00       $592.50
                                                                                                             Hammon, T. Knoeller, K. Staromiejska, and J. Scott
                                                                                                             FTX Non-US/ACR Executive Update meeting to discuss project status, risks, identify issues, and
Choudary,Hira                HC             Staff         5/15/2023               Non US Tax                 determine action items. EY attendees: C. Ancona, C. Tong, T. Shea, H. Choudary, C. MacLean, D.        1.5     $225.00       $337.50
                                                                                                             Hammon, T. Knoeller, K. Staromiejska, and J. Scott
                                                                                                             FTX Non-US/ACR Executive Update meeting to discuss project status, risks, identify issues, and
                                        Client Serving
Scott,James                  JS                           5/15/2023             US Income Tax                determine action items. EY attendees: C. Ancona, C. Tong, T. Shea, H. Choudary, C. MacLean, D.        1.5     $600.00       $900.00
                                        Contractor JS
                                                                                                             Hammon, T. Knoeller, K. Staromiejska, and J. Scott
                                                                                                             FTX Non-US/ACR Executive Update meeting to discuss project status, risks, identify issues, and
Staromiejska,Kinga           KS           Manager         5/15/2023               Non US Tax                 determine action items. EY attendees: C. Ancona, C. Tong, T. Shea, H. Choudary, C. MacLean, D.        1.5     $525.00       $787.50
                                                                                                             Hammon, T. Knoeller, K. Staromiejska, and J. Scott
                                                                                                             FTX Non-US/ACR Executive Update meeting to discuss project status, risks, identify issues, and
Hammon,David Lane           DLH           Manager         5/15/2023               Non US Tax                 determine action items. EY attendees: C. Ancona, C. Tong, T. Shea, H. Choudary, C. MacLean, D.        1.5     $525.00       $787.50
                                                                                                             Hammon, T. Knoeller, K. Staromiejska, and J. Scott
                                                                                                             FTX Non-US/ACR Executive Update meeting to discuss project status, risks, identify issues, and
Knoeller,Thomas J.          TJK       Partner/Principal   5/15/2023               Non US Tax                 determine action items. EY attendees: C. Ancona, C. Tong, T. Shea, H. Choudary, C. MacLean, D.        1.5     $825.00      $1,237.50
                                                                                                             Hammon, T. Knoeller, K. Staromiejska, and J. Scott
                                                                                                             FTX Non-US/ACR Executive Update meeting to discuss project status, risks, identify issues, and
Shea JR,Thomas M            TMS       Partner/Principal   5/15/2023               Non US Tax                 determine action items. EY attendees: C. Ancona, C. Tong, T. Shea, H. Choudary, C. MacLean, D.        1.5     $825.00      $1,237.50
                                                                                                             Hammon, T. Knoeller, K. Staromiejska, and J. Scott
                                                                                                             Meeting to discuss FTX Phase 2 deliverables and deadlines. EY attendees: C. Ancona, C. Tong. T.
Ancona,Christopher           CA            Senior         5/15/2023   Project Management Office Transition                                                                                                         0.4     $395.00       $158.00
                                                                                                             Shea, A. Farrar, D. Neziroski, and S. Cahalane
                                                                                                             Meeting to discuss FTX Phase 2 deliverables and deadlines. EY attendees: C. Ancona, C. Tong. T.
Tong,Chia-Hui               CHT        Senior Manager     5/15/2023   Project Management Office Transition                                                                                                         0.4     $650.00       $260.00
                                                                                                             Shea, A. Farrar, D. Neziroski, and S. Cahalane
                                                                                                             Meeting to discuss FTX Phase 2 deliverables and deadlines. EY attendees: C. Ancona, C. Tong. T.
Farrar,Anne                  AF       Partner/Principal   5/15/2023   Project Management Office Transition                                                                                                         0.4     $825.00       $330.00
                                                                                                             Shea, A. Farrar, D. Neziroski, and S. Cahalane
                                                                                                             Meeting to discuss FTX Phase 2 deliverables and deadlines. EY attendees: C. Ancona, C. Tong. T.
Cahalane,Shawn M.           SMC           Manager         5/15/2023      Fee/Employment Applications                                                                                                               0.4     $525.00       $210.00
                                                                                                             Shea, A. Farrar, D. Neziroski, and S. Cahalane
                                                                                                             Meeting to discuss FTX Phase 2 deliverables and deadlines. EY attendees: C. Ancona, C. Tong. T.
Shea JR,Thomas M            TMS       Partner/Principal   5/15/2023             US Income Tax                                                                                                                      0.4     $825.00       $330.00
                                                                                                             Shea, A. Farrar, D. Neziroski, and S. Cahalane
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                                                         Date of
                  Name   Initials         Rank                               Project Category                                                  Description of Services                                         Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Weekly meeting to discuss open items with regards to the IDR requests on in-scope FTX entities
Mistler,Brian M          BMM            Manager         5/16/2023            IRS Audit Matters             from the IRS. EY attendees: C. Ancona, C. Tong, L. Lovelace, J. Scott, D. Bailey, B. Mistler, J.     0.3     $525.00       $157.50
                                                                                                           Healy, H. Choudary, and T. Ferris
                                                                                                           Weekly meeting to discuss open items with regards to the IDR requests on in-scope FTX entities
Tong,Chia-Hui             CHT        Senior Manager     5/16/2023   Project Management Office Transition   from the IRS. EY attendees: C. Ancona, C. Tong, L. Lovelace, J. Scott, D. Bailey, B. Mistler, J.     0.3     $650.00       $195.00
                                                                                                           Healy, H. Choudary, and T. Ferris
                                                                                                           Weekly meeting to discuss open items with regards to the IDR requests on in-scope FTX entities
Ancona,Christopher         CA            Senior         5/16/2023   Project Management Office Transition   from the IRS. EY attendees: C. Ancona, C. Tong, L. Lovelace, J. Scott, D. Bailey, B. Mistler, J.     0.3     $395.00       $118.50
                                                                                                           Healy, H. Choudary, and T. Ferris
                                                                                                           Weekly meeting to discuss open items with regards to the IDR requests on in-scope FTX entities
Choudary,Hira              HC             Staff         5/16/2023               Non US Tax                 from the IRS. EY attendees: C. Ancona, C. Tong, L. Lovelace, J. Scott, D. Bailey, B. Mistler, J.     0.3     $225.00        $67.50
                                                                                                           Healy, H. Choudary, and T. Ferris
                                                                                                           Weekly meeting to discuss open items with regards to the IDR requests on in-scope FTX entities
                                      Client Serving
Scott,James                JS                           5/16/2023             US Income Tax                from the IRS. EY attendees: C. Ancona, C. Tong, L. Lovelace, J. Scott, D. Bailey, B. Mistler, J.     0.3     $600.00       $180.00
                                      Contractor JS
                                                                                                           Healy, H. Choudary, and T. Ferris
                                                                                                           Weekly meeting to discuss open items with regards to the IDR requests on in-scope FTX entities
Bailey,Doug                DB       Partner/Principal   5/16/2023              Tax Advisory                from the IRS. EY attendees: C. Ancona, C. Tong, L. Lovelace, J. Scott, D. Bailey, B. Mistler, J.     0.3     $825.00       $247.50
                                                                                                           Healy, H. Choudary, and T. Ferris
                                                                                                           Weekly meeting to discuss open items with regards to the IDR requests on in-scope FTX entities
Healy,John                 JH        Senior Manager     5/16/2023            IRS Audit Matters             from the IRS. EY attendees: C. Ancona, C. Tong, L. Lovelace, J. Scott, D. Bailey, B. Mistler, J.     0.3     $650.00       $195.00
                                                                                                           Healy, H. Choudary, and T. Ferris
                                                                                                           Weekly meeting to discuss open items with regards to the IDR requests on in-scope FTX entities
Ferris,Tara                TF       Partner/Principal   5/16/2023            IRS Audit Matters             from the IRS. EY attendees: C. Ancona, C. Tong, L. Lovelace, J. Scott, D. Bailey, B. Mistler, J.     0.3     $825.00       $247.50
                                                                                                           Healy, H. Choudary, and T. Ferris
                                                                                                           Weekly meeting to discuss open items with regards to the IDR requests on in-scope FTX entities
Lovelace,Lauren            LL       Partner/Principal   5/16/2023           US International Tax           from the IRS. EY attendees: C. Ancona, C. Tong, L. Lovelace, J. Scott, D. Bailey, B. Mistler, J.     0.3     $825.00       $247.50
                                                                                                           Healy, H. Choudary, and T. Ferris
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
MacLean,Corrie            CM             Senior         5/16/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $395.00       $158.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bost,Anne                  BA       Managing Director   5/16/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $775.00       $310.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katelas,Andreas            KA            Senior         5/16/2023           US International Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $395.00       $158.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Farrar,Anne                AF       Partner/Principal   5/16/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $825.00       $330.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Mistler,Brian M          BMM            Manager         5/16/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $525.00       $210.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Tong,Chia-Hui             CHT        Senior Manager     5/16/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $650.00       $260.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Ancona,Christopher         CA            Senior         5/16/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $395.00       $158.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katsnelson,David           DK           Manager         5/16/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $525.00       $210.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                        National
McComber,Donna            DM                            5/16/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $990.00       $396.00
                                    Partner/Principal
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Choudary,Hira              HC             Staff         5/16/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $225.00        $90.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Berman,Jake                JB        Senior Manager     5/16/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $650.00       $260.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                      Client Serving
Scott,James                JS                           5/16/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $600.00       $240.00
                                      Contractor JS
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Wrenn,Kaitlin Doyle      KDW            Manager         5/16/2023               Payroll Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $525.00       $210.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Gundu,Kaivalya             KG        Senior Manager     5/16/2023               Technology                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $650.00       $260.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                        National
Lowery,Kristie L          KLL                           5/16/2023               Payroll Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.4     $990.00       $396.00
                                    Partner/Principal
                                                                                                           the implementation of global compliance and reporting services
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                                                          Date of
                  Name    Initials         Rank                          Project Category                                            Description of Services                                          Hours   Hourly Rate   Fees
                                                          Service
                                                                                                Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Lovelace,Lauren             LL       Partner/Principal   5/16/2023     US International Tax     preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.4     $825.00       $330.00
                                                                                                the implementation of global compliance and reporting services
                                                                                                Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Shea JR,Thomas M           TMS       Partner/Principal   5/16/2023        US Income Tax         preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.4     $825.00       $330.00
                                                                                                the implementation of global compliance and reporting services
                                                                                                Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                      Client Serving
Bieganski,Walter           WB                            5/16/2023    US State and Local Tax    preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.4     $200.00        $80.00
                                      Contractor WB
                                                                                                the implementation of global compliance and reporting services
                                                                                                Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Haas,Zach                   ZH        Senior Manager     5/16/2023        US Income Tax         preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.4     $650.00       $260.00
                                                                                                the implementation of global compliance and reporting services
                                                                                                Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Hammon,David Lane          DLH           Manager         5/16/2023         Non US Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.4     $525.00       $210.00
                                                                                                the implementation of global compliance and reporting services
                                                                                                Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bailey,Doug                 DB       Partner/Principal   5/16/2023         Tax Advisory         preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.4     $825.00       $330.00
                                                                                                the implementation of global compliance and reporting services
                                                                                                Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Healy,John                  JH        Senior Manager     5/16/2023       IRS Audit Matters      preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.4     $650.00       $260.00
                                                                                                the implementation of global compliance and reporting services
                                                                                                Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Mistler,Brian M           BMM            Manager         5/16/2023   Meetings with Management                                                                                                          0.5     $525.00       $262.50
                                                                                                EY attendees: C. Ancona, C. Tong, J. Scott, J. Berman, B. Mistler, and K. Lowery
                                                                                                Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Tong,Chia-Hui              CHT        Senior Manager     5/16/2023   Meetings with Management                                                                                                          0.5     $650.00       $325.00
                                                                                                EY attendees: C. Ancona, C. Tong, J. Scott, J. Berman, B. Mistler, and K. Lowery
                                                                                                Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Ancona,Christopher          CA            Senior         5/16/2023   Meetings with Management                                                                                                          0.5     $395.00       $197.50
                                                                                                EY attendees: C. Ancona, C. Tong, J. Scott, J. Berman, B. Mistler, and K. Lowery
                                                                                                Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Berman,Jake                 JB        Senior Manager     5/16/2023   Meetings with Management                                                                                                          0.5     $650.00       $325.00
                                                                                                EY attendees: C. Ancona, C. Tong, J. Scott, J. Berman, B. Mistler, and K. Lowery
                                      Client Serving                                            Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Scott,James                 JS                           5/16/2023   Meetings with Management                                                                                                          0.5     $600.00       $300.00
                                      Contractor JS                                             EY attendees: C. Ancona, C. Tong, J. Scott, J. Berman, B. Mistler, and K. Lowery
                                         National                                               Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Lowery,Kristie L           KLL                           5/16/2023   Meetings with Management                                                                                                          0.5     $990.00       $495.00
                                     Partner/Principal                                          EY attendees: C. Ancona, C. Tong, J. Scott, J. Berman, B. Mistler, and K. Lowery
                                                                                                Internal call regarding Employment Tax account status, drafting an account summary for the client,
Pierce,Brandon              BO             Staff         5/16/2023          Payroll Tax                                                                                                                0.8     $225.00       $180.00
                                                                                                and IRS Claims. EY attendees: K. Wrenn, B. Pierce, and V. Short
                                                                                                Internal call regarding Employment Tax account status, drafting an account summary for the client,
Wrenn,Kaitlin Doyle       KDW            Manager         5/16/2023          Payroll Tax                                                                                                                0.8     $525.00       $420.00
                                                                                                and IRS Claims. EY attendees: K. Wrenn, B. Pierce, and V. Short
                                                                                                Internal call regarding Employment Tax account status, drafting an account summary for the client,
Short,Victoria              VS            Senior         5/16/2023          Payroll Tax                                                                                                                0.8     $395.00       $316.00
                                                                                                and IRS Claims. EY attendees: K. Wrenn, B. Pierce, and V. Short
                                                                                                Meeting to discuss the IRS proof of claims overlap on Corporate Income and Employment Tax
Mistler,Brian M           BMM            Manager         5/15/2023       IRS Audit Matters      specialty practices. EY attendees: N. Flagg, T. Shea, K. Wrenn, J. Scott, K. Lowery, D. Johnson, B.    0.7     $525.00       $367.50
                                                                                                Mistler, J. DeVincenzo, K. Gatt, and J. Healy
                                                                                                Meeting to discuss the IRS proof of claims overlap on Corporate Income and Employment Tax
Johnson,Derrick Joseph     DJJ             Staff         5/15/2023    US State and Local Tax    specialty practices. EY attendees: N. Flagg, T. Shea, K. Wrenn, J. Scott, K. Lowery, D. Johnson, B.    0.7     $225.00       $157.50
                                                                                                Mistler, J. DeVincenzo, K. Gatt, and J. Healy
                                                                                                Meeting to discuss the IRS proof of claims overlap on Corporate Income and Employment Tax
                                       Client Serving
Scott,James                 JS                           5/15/2023        US Income Tax         specialty practices. EY attendees: N. Flagg, T. Shea, K. Wrenn, J. Scott, K. Lowery, D. Johnson, B.    0.7     $600.00       $420.00
                                       Contractor JS
                                                                                                Mistler, J. DeVincenzo, K. Gatt, and J. Healy
                                                                                                Meeting to discuss the IRS proof of claims overlap on Corporate Income and Employment Tax
DeVincenzo,Jennie          JDV       Managing Director   5/15/2023          Payroll Tax         specialty practices. EY attendees: N. Flagg, T. Shea, K. Wrenn, J. Scott, K. Lowery, D. Johnson, B.    0.7     $775.00       $542.50
                                                                                                Mistler, J. DeVincenzo, K. Gatt, and J. Healy
                                                                                                Meeting to discuss the IRS proof of claims overlap on Corporate Income and Employment Tax
Wrenn,Kaitlin Doyle       KDW            Manager         5/15/2023          Payroll Tax         specialty practices. EY attendees: N. Flagg, T. Shea, K. Wrenn, J. Scott, K. Lowery, D. Johnson, B.    0.7     $525.00       $367.50
                                                                                                Mistler, J. DeVincenzo, K. Gatt, and J. Healy
                                                                                                Meeting to discuss the IRS proof of claims overlap on Corporate Income and Employment Tax
                                         National
Lowery,Kristie L           KLL                           5/15/2023          Payroll Tax         specialty practices. EY attendees: N. Flagg, T. Shea, K. Wrenn, J. Scott, K. Lowery, D. Johnson, B.    0.7     $990.00       $693.00
                                     Partner/Principal
                                                                                                Mistler, J. DeVincenzo, K. Gatt, and J. Healy
                                                                                                Meeting to discuss the IRS proof of claims overlap on Corporate Income and Employment Tax
Flagg,Nancy A.             NAF       Managing Director   5/15/2023       IRS Audit Matters      specialty practices. EY attendees: N. Flagg, T. Shea, K. Wrenn, J. Scott, K. Lowery, D. Johnson, B.    0.7     $775.00       $542.50
                                                                                                Mistler, J. DeVincenzo, K. Gatt, and J. Healy
                                                                                                Meeting to discuss the IRS proof of claims overlap on Corporate Income and Employment Tax
Shea JR,Thomas M           TMS       Partner/Principal   5/15/2023        US Income Tax         specialty practices. EY attendees: N. Flagg, T. Shea, K. Wrenn, J. Scott, K. Lowery, D. Johnson, B.    0.7     $825.00       $577.50
                                                                                                Mistler, J. DeVincenzo, K. Gatt, and J. Healy
                                                                                                Meeting to discuss the IRS proof of claims overlap on Corporate Income and Employment Tax
Gatt,Katie                  KG        Senior Manager     5/15/2023    US State and Local Tax    specialty practices. EY attendees: N. Flagg, T. Shea, K. Wrenn, J. Scott, K. Lowery, D. Johnson, B.    0.7     $650.00       $455.00
                                                                                                Mistler, J. DeVincenzo, K. Gatt, and J. Healy
                                                                                                Meeting to discuss the IRS proof of claims overlap on Corporate Income and Employment Tax
Healy,John                  JH        Senior Manager     5/15/2023       IRS Audit Matters      specialty practices. EY attendees: N. Flagg, T. Shea, K. Wrenn, J. Scott, K. Lowery, D. Johnson, B.    0.7     $650.00       $455.00
                                                                                                Mistler, J. DeVincenzo, K. Gatt, and J. Healy
                                                                                                Meeting to discuss FTX equity review logistics and planning in preparation for meeting with client.
Fitzgerald,Kaitlin Rose    KRF             Staff         5/16/2023   Meetings with Management                                                                                                          0.5     $225.00       $112.50
                                                                                                EY attendees: K. Fitzgerald and K. Wrenn
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                                                         Date of
                  Name   Initials        Rank                                Project Category                                                   Description of Services                                          Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Meeting to discuss FTX equity review logistics and planning in preparation for meeting with client.
Wrenn,Kaitlin Doyle      KDW            Manager         5/16/2023        Meetings with Management                                                                                                                 0.5     $525.00       $262.50
                                                                                                           EY attendees: K. Fitzgerald and K. Wrenn
                                                                                                           Meeting with K. Schultea (FTX) and D. Ornelas (FTX) to discuss open US payroll tax issues
DeVincenzo,Jennie         JDV       Managing Director   5/16/2023        Meetings with Management          regarding Alameda Research and West Realm Shires Services. EY attendees: K. Wrenn, J.                  0.4     $775.00       $310.00
                                                                                                           DeVincenzo, and K. Lowery
                                                                                                           Meeting with K. Schultea (FTX) and D. Ornelas (FTX) to discuss open US payroll tax issues
Wrenn,Kaitlin Doyle      KDW            Manager         5/16/2023        Meetings with Management          regarding Alameda Research and West Realm Shires Services. EY attendees: K. Wrenn, J.                  0.4     $525.00       $210.00
                                                                                                           DeVincenzo, and K. Lowery
                                                                                                           Meeting with K. Schultea (FTX) and D. Ornelas (FTX) to discuss open US payroll tax issues
                                        National
Lowery,Kristie L          KLL                           5/16/2023        Meetings with Management          regarding Alameda Research and West Realm Shires Services. EY attendees: K. Wrenn, J.                  0.4     $990.00       $396.00
                                    Partner/Principal
                                                                                                           DeVincenzo, and K. Lowery
                                                                                                           Meeting with J. Chan (FTX) and K. Jacobs (A&M) to discuss open items, questions, and action
MacLean,Corrie            CM             Senior         5/17/2023        Meetings with Management          items. EY attendees: C. Ancona, D. Katznelson, B. Mistler, D. Hammon, C. MacLean, L. Lovelace,         0.3     $395.00       $118.50
                                                                                                           J. Berman, A. Bost, and H. Choudary
                                                                                                           Meeting with J. Chan (FTX) and K. Jacobs (A&M) to discuss open items, questions, and action
Bost,Anne                  BA       Managing Director   5/17/2023        Meetings with Management          items. EY attendees: C. Ancona, D. Katznelson, B. Mistler, D. Hammon, C. MacLean, L. Lovelace,         0.3     $775.00       $232.50
                                                                                                           J. Berman, A. Bost, and H. Choudary
                                                                                                           Meeting with J. Chan (FTX) and K. Jacobs (A&M) to discuss open items, questions, and action
Mistler,Brian M          BMM            Manager         5/17/2023        Meetings with Management          items. EY attendees: C. Ancona, D. Katznelson, B. Mistler, D. Hammon, C. MacLean, L. Lovelace,         0.3     $525.00       $157.50
                                                                                                           J. Berman, A. Bost, and H. Choudary
                                                                                                           Meeting with J. Chan (FTX) and K. Jacobs (A&M) to discuss open items, questions, and action
Ancona,Christopher         CA            Senior         5/17/2023        Meetings with Management          items. EY attendees: C. Ancona, D. Katznelson, B. Mistler, D. Hammon, C. MacLean, L. Lovelace,         0.3     $395.00       $118.50
                                                                                                           J. Berman, A. Bost, and H. Choudary
                                                                                                           Meeting with J. Chan (FTX) and K. Jacobs (A&M) to discuss open items, questions, and action
Katsnelson,David           DK           Manager         5/17/2023        Meetings with Management          items. EY attendees: C. Ancona, D. Katznelson, B. Mistler, D. Hammon, C. MacLean, L. Lovelace,         0.3     $525.00       $157.50
                                                                                                           J. Berman, A. Bost, and H. Choudary
                                                                                                           Meeting with J. Chan (FTX) and K. Jacobs (A&M) to discuss open items, questions, and action
Choudary,Hira              HC             Staff         5/17/2023        Meetings with Management          items. EY attendees: C. Ancona, D. Katznelson, B. Mistler, D. Hammon, C. MacLean, L. Lovelace,         0.3     $225.00        $67.50
                                                                                                           J. Berman, A. Bost, and H. Choudary
                                                                                                           Meeting with J. Chan (FTX) and K. Jacobs (A&M) to discuss open items, questions, and action
Berman,Jake                JB        Senior Manager     5/17/2023        Meetings with Management          items. EY attendees: C. Ancona, D. Katznelson, B. Mistler, D. Hammon, C. MacLean, L. Lovelace,         0.3     $650.00       $195.00
                                                                                                           J. Berman, A. Bost, and H. Choudary
                                                                                                           Meeting with J. Chan (FTX) and K. Jacobs (A&M) to discuss open items, questions, and action
Lovelace,Lauren            LL       Partner/Principal   5/17/2023        Meetings with Management          items. EY attendees: C. Ancona, D. Katznelson, B. Mistler, D. Hammon, C. MacLean, L. Lovelace,         0.3     $825.00       $247.50
                                                                                                           J. Berman, A. Bost, and H. Choudary
                                                                                                           Meeting with J. Chan (FTX) and K. Jacobs (A&M) to discuss open items, questions, and action
Hammon,David Lane         DLH           Manager         5/17/2023        Meetings with Management          items. EY attendees: C. Ancona, D. Katznelson, B. Mistler, D. Hammon, C. MacLean, L. Lovelace,         0.3     $525.00       $157.50
                                                                                                           J. Berman, A. Bost, and H. Choudary
                                                                                                           Discussion regarding IRS claims, bonus/payroll, and reimbursements. EY attendees: K. Wrenn and
Berman,Jake                JB        Senior Manager     5/17/2023            IRS Audit Matters                                                                                                                    0.5     $650.00       $325.00
                                                                                                           J. Berman
                                                                                                           Discussion regarding IRS claims, bonus/payroll, and reimbursements. EY attendees: K. Wrenn and
Wrenn,Kaitlin Doyle      KDW            Manager         5/17/2023               Payroll Tax                                                                                                                       0.5     $525.00       $262.50
                                                                                                           J. Berman
                                                                                                           Meeting to discuss the process of preparing binders to begin compliance work regarding the
Karan,Anna Suncheuri      ASK             Staff         5/17/2023           US International Tax                                                                                                                  0.5     $225.00       $112.50
                                                                                                           international filings. EY attendees: M. Wong, D. Ortiz, and A. Karan
                                                                                                           Meeting to discuss the process of preparing binders to begin compliance work regarding the
Wong,Maddie               WM              Staff         5/17/2023             US Income Tax                                                                                                                       0.5     $225.00       $112.50
                                                                                                           international filings. EY attendees: M. Wong, D. Ortiz, and A. Karan
                                                                                                           Meeting to discuss the process of preparing binders to begin compliance work regarding the
Ortiz,Daniella             DO             Staff         5/17/2023           US International Tax                                                                                                                  0.5     $225.00       $112.50
                                                                                                           international filings. EY attendees: M. Wong, D. Ortiz, and A. Karan
                                                                                                           Meeting to discuss the processing of the monthly fee application. EY attendees: C. Ancona, C.
Tong,Chia-Hui             CHT        Senior Manager     5/17/2023   Project Management Office Transition                                                                                                          0.6     $650.00       $390.00
                                                                                                           Tong, D. Neziroski, S. Cahalane, and H. Choudary
                                                                                                           Meeting to discuss the processing of the monthly fee application. EY attendees: C. Ancona, C.
Ancona,Christopher         CA            Senior         5/17/2023   Project Management Office Transition                                                                                                          0.6     $395.00       $237.00
                                                                                                           Tong, D. Neziroski, S. Cahalane, and H. Choudary
                                                                                                           Meeting to discuss the processing of the monthly fee application. EY attendees: C. Ancona, C.
Cahalane,Shawn M.         SMC           Manager         5/17/2023      Fee/Employment Applications                                                                                                                0.6     $525.00       $315.00
                                                                                                           Tong, D. Neziroski, S. Cahalane, and H. Choudary
                                                                                                           Meeting to discuss the processing of the monthly fee application. EY attendees: C. Ancona, C.
Choudary,Hira              HC             Staff         5/17/2023               Non US Tax                                                                                                                        0.6     $225.00       $135.00
                                                                                                           Tong, D. Neziroski, S. Cahalane, and H. Choudary
                                                                                                           Meeting to discuss upcoming FTX tax deliverables deadlines. EY attendees: C. Ancona, C. Tong,
Tong,Chia-Hui             CHT        Senior Manager     5/17/2023      Fee/Employment Applications                                                                                                                0.4     $650.00       $260.00
                                                                                                           B. Richards, D. Neziroski, and S. Cahalane
                                                                                                           Meeting to discuss upcoming FTX tax deliverables deadlines. EY attendees: C. Ancona, C. Tong,
Cahalane,Shawn M.         SMC           Manager         5/17/2023      Fee/Employment Applications                                                                                                                0.4     $525.00       $210.00
                                                                                                           B. Richards, D. Neziroski, and S. Cahalane
                                                                                                           Meeting to discuss upcoming FTX tax deliverables deadlines. EY attendees: C. Ancona, C. Tong,
Ancona,Christopher         CA            Senior         5/17/2023      Fee/Employment Applications                                                                                                                0.4     $395.00       $158.00
                                                                                                           B. Richards, D. Neziroski, and S. Cahalane
                                                                                                           In person meeting to discuss knowledge transfer process, country analysis and entity details,
MacLean,Corrie            CM             Senior         5/15/2023               Non US Tax                 knowledge transfer tracker, workstreams compliance calendar and next steps. EY attendees: D.           6.0     $395.00      $2,370.00
                                                                                                           Hammon, K. Staromiejska, H. Choudary, C. MacLean, and T. Knoeller
                                                                                                           In person meeting to discuss knowledge transfer process, country analysis and entity details,
Hammon,David Lane         DLH           Manager         5/15/2023               Non US Tax                 knowledge transfer tracker, workstreams compliance calendar and next steps. EY attendees: D.           6.0     $525.00      $3,150.00
                                                                                                           Hammon, K. Staromiejska, H. Choudary, C. MacLean, and T. Knoeller
                                                                                                           In person meeting to discuss knowledge transfer process, country analysis and entity details,
Staromiejska,Kinga         KS           Manager         5/15/2023               Non US Tax                 knowledge transfer tracker, workstreams compliance calendar and next steps. EY attendees: D.           6.0     $525.00      $3,150.00
                                                                                                           Hammon, K. Staromiejska, H. Choudary, C. MacLean, and T. Knoeller
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                                                             Date of
                  Name       Initials        Rank                                Project Category                                                  Description of Services                                       Hours   Hourly Rate   Fees
                                                             Service
                                                                                                               In person meeting to discuss knowledge transfer process, country analysis and entity details,
Knoeller,Thomas J.            TJK       Partner/Principal   5/15/2023               Non US Tax                 knowledge transfer tracker, workstreams compliance calendar and next steps. EY attendees: D.       6.0     $825.00      $4,950.00
                                                                                                               Hammon, K. Staromiejska, H. Choudary, C. MacLean, and T. Knoeller
                                                                                                               In person meeting to discuss knowledge transfer process, country analysis and entity details,
Choudary,Hira                  HC             Staff         5/15/2023               Non US Tax                 knowledge transfer tracker, workstreams compliance calendar and next steps. EY attendees: D.       6.0     $225.00      $1,350.00
                                                                                                               Hammon, K. Staromiejska, H. Choudary, C. MacLean, and T. Knoeller
                                                                                                               Weekly meeting to discuss open items with regards to the IDR requests on in-scope FTX entities
Mistler,Brian M              BMM            Manager         5/17/2023            IRS Audit Matters             from the IRS. EY attendees: C. Ancona, C. Tong, J. Berman, L. Lovelace, J. Scott, D. Bailey, B.    0.4     $525.00       $210.00
                                                                                                               Mistler, J. Healy, and H. Choudary
                                                                                                               Weekly meeting to discuss open items with regards to the IDR requests on in-scope FTX entities
Tong,Chia-Hui                 CHT       Senior Manager      5/17/2023   Project Management Office Transition   from the IRS. EY attendees: C. Ancona, C. Tong, J. Berman, L. Lovelace, J. Scott, D. Bailey, B.    0.4     $650.00       $260.00
                                                                                                               Mistler, J. Healy, and H. Choudary
                                                                                                               Weekly meeting to discuss open items with regards to the IDR requests on in-scope FTX entities
Ancona,Christopher             CA            Senior         5/17/2023   Project Management Office Transition   from the IRS. EY attendees: C. Ancona, C. Tong, J. Berman, L. Lovelace, J. Scott, D. Bailey, B.    0.4     $395.00       $158.00
                                                                                                               Mistler, J. Healy, and H. Choudary
                                                                                                               Weekly meeting to discuss open items with regards to the IDR requests on in-scope FTX entities
Choudary,Hira                  HC             Staff         5/17/2023               Non US Tax                 from the IRS. EY attendees: C. Ancona, C. Tong, J. Berman, L. Lovelace, J. Scott, D. Bailey, B.    0.4     $225.00        $90.00
                                                                                                               Mistler, J. Healy, and H. Choudary
                                                                                                               Weekly meeting to discuss open items with regards to the IDR requests on in-scope FTX entities
Berman,Jake                    JB       Senior Manager      5/17/2023            IRS Audit Matters             from the IRS. EY attendees: C. Ancona, C. Tong, J. Berman, L. Lovelace, J. Scott, D. Bailey, B.    0.4     $650.00       $260.00
                                                                                                               Mistler, J. Healy, and H. Choudary
                                                                                                               Weekly meeting to discuss open items with regards to the IDR requests on in-scope FTX entities
                                         Client Serving
Scott,James                    JS                           5/17/2023             US Income Tax                from the IRS. EY attendees: C. Ancona, C. Tong, J. Berman, L. Lovelace, J. Scott, D. Bailey, B.    0.4     $600.00       $240.00
                                         Contractor JS
                                                                                                               Mistler, J. Healy, and H. Choudary
                                                                                                               Weekly meeting to discuss open items with regards to the IDR requests on in-scope FTX entities
Bailey,Doug                    DB       Partner/Principal   5/17/2023              Tax Advisory                from the IRS. EY attendees: C. Ancona, C. Tong, J. Berman, L. Lovelace, J. Scott, D. Bailey, B.    0.4     $825.00       $330.00
                                                                                                               Mistler, J. Healy, and H. Choudary
                                                                                                               Weekly meeting to discuss open items with regards to the IDR requests on in-scope FTX entities
Healy,John                     JH       Senior Manager      5/17/2023            IRS Audit Matters             from the IRS. EY attendees: C. Ancona, C. Tong, J. Berman, L. Lovelace, J. Scott, D. Bailey, B.    0.4     $650.00       $260.00
                                                                                                               Mistler, J. Healy, and H. Choudary
                                                                                                               Weekly meeting to discuss open items with regards to the IDR requests on in-scope FTX entities
Lovelace,Lauren                LL       Partner/Principal   5/17/2023           US International Tax           from the IRS. EY attendees: C. Ancona, C. Tong, J. Berman, L. Lovelace, J. Scott, D. Bailey, B.    0.4     $825.00       $330.00
                                                                                                               Mistler, J. Healy, and H. Choudary
                                                                                                               Internal call to discuss the financial statement requirements re: The Bahamas and BVI. EY
Espley-Ault,Olivia            OEA       Senior Manager      5/17/2023               Non US Tax                                                                                                                    0.3     $650.00       $195.00
                                                                                                               attendees: O. Espley-Ault, B. Rahming, and B. Coakley
                                                                                                               Internal call to discuss the financial statement requirements re: The Bahamas and BVI. EY
Brittany Coakley,Breshante    BBC             Staff         5/17/2023               Non US Tax                                                                                                                    0.3     $225.00        $67.50
                                                                                                               attendees: O. Espley-Ault, B. Rahming, and B. Coakley
                                                                                                               Internal call to discuss the financial statement requirements re: The Bahamas and BVI. EY
Rahming,Brinique               BR            Senior         5/17/2023               Non US Tax                                                                                                                    0.3     $395.00       $118.50
                                                                                                               attendees: O. Espley-Ault, B. Rahming, and B. Coakley
                                                                                                               Meeting with EY Panama to discuss due diligence next steps. EY attendees: A. Cigarruista, D.
MacLean,Corrie                CM             Senior         5/16/2023               Non US Tax                                                                                                                    0.4     $395.00       $158.00
                                                                                                               Hammon, C. MacLean, A. Rios, H. Choudary, and K. Staromiejska
                                                                                                               Meeting with EY Panama to discuss due diligence next steps. EY attendees: A. Cigarruista, D.
Hammon,David Lane             DLH           Manager         5/16/2023               Non US Tax                                                                                                                    0.4     $525.00       $210.00
                                                                                                               Hammon, C. MacLean, A. Rios, H. Choudary, and K. Staromiejska
                                                                                                               Meeting with EY Panama to discuss due diligence next steps. EY attendees: A. Cigarruista, D.
Staromiejska,Kinga             KS           Manager         5/16/2023               Non US Tax                                                                                                                    0.4     $525.00       $210.00
                                                                                                               Hammon, C. MacLean, A. Rios, H. Choudary, and K. Staromiejska
                                                                                                               Meeting with EY Panama to discuss due diligence next steps. EY attendees: A. Cigarruista, D.
Choudary,Hira                  HC             Staff         5/16/2023               Non US Tax                                                                                                                    0.4     $225.00        $90.00
                                                                                                               Hammon, C. MacLean, A. Rios, H. Choudary, and K. Staromiejska
                                                                                                               Meeting with the indirect team to discuss tax compliance approach. EY attendees: C. MacLean, C.
MacLean,Corrie                CM             Senior         5/16/2023               Non US Tax                                                                                                                    0.3     $395.00       $118.50
                                                                                                               Ancona, D. Hammon, K. Gundu, K. Staromiejska, K. Madhok, and M. Leon
                                                                                                               Meeting with the indirect team to discuss tax compliance approach. EY attendees: C. MacLean, C.
Ancona,Christopher             CA            Senior         5/16/2023   Project Management Office Transition                                                                                                      0.3     $395.00       $118.50
                                                                                                               Ancona, D. Hammon, K. Gundu, K. Staromiejska, K. Madhok, and M. Leon
                                                                                                               Meeting with the indirect team to discuss tax compliance approach. EY attendees: C. MacLean, C.
Gundu,Kaivalya                 KG       Senior Manager      5/16/2023               Technology                                                                                                                    0.3     $650.00       $195.00
                                                                                                               Ancona, D. Hammon, K. Gundu, K. Staromiejska, K. Madhok, and M. Leon
                                                                                                               Meeting with the indirect team to discuss tax compliance approach. EY attendees: C. MacLean, C.
Hammon,David Lane             DLH           Manager         5/16/2023               Non US Tax                                                                                                                    0.3     $525.00       $157.50
                                                                                                               Ancona, D. Hammon, K. Gundu, K. Staromiejska, K. Madhok, and M. Leon
                                                                                                               Meeting with the indirect team to discuss tax compliance approach. EY attendees: C. MacLean, C.
Staromiejska,Kinga             KS           Manager         5/16/2023               Non US Tax                                                                                                                    0.3     $525.00       $157.50
                                                                                                               Ancona, D. Hammon, K. Gundu, K. Staromiejska, K. Madhok, and M. Leon
                                                                                                               Meeting with the indirect team to discuss tax compliance approach. EY attendees: C. MacLean, C.
Madhok,Kishan                 KM        Senior Manager      5/16/2023            Value Added Tax                                                                                                                  0.3     $650.00       $195.00
                                                                                                               Ancona, D. Hammon, K. Gundu, K. Staromiejska, K. Madhok, and M. Leon
                                                                                                               Meeting with the indirect team to discuss tax compliance approach. EY attendees: C. MacLean, C.
Gil Diez de Leon,Marta        MDL           Manager         5/16/2023            Value Added Tax                                                                                                                  0.3     $525.00       $157.50
                                                                                                               Ancona, D. Hammon, K. Gundu, K. Staromiejska, K. Madhok, and M. Leon
                                                                                                               Meeting with EY Canada to discuss due diligence. EY attendees: D. Katsnelson, C. Charbonneau,
MacLean,Corrie                CM             Senior         5/17/2023               Non US Tax                 A. Tse, T. Nasir, D. Hammon, C. Chambron, H. Choudary, C. MacLean, J. Shnaider, and K.             0.2     $395.00        $79.00
                                                                                                               Staromiejska
                                                                                                               Meeting with EY Canada to discuss due diligence. EY attendees: D. Katsnelson, C. Charbonneau,
Katsnelson,David               DK           Manager         5/17/2023             Transfer Pricing             A. Tse, T. Nasir, D. Hammon, C. Chambron, H. Choudary, C. MacLean, J. Shnaider, and K.             0.2     $525.00       $105.00
                                                                                                               Staromiejska
                                                                                                               Meeting with EY Canada to discuss due diligence. EY attendees: D. Katsnelson, C. Charbonneau,
Hammon,David Lane             DLH           Manager         5/17/2023               Non US Tax                 A. Tse, T. Nasir, D. Hammon, C. Chambron, H. Choudary, C. MacLean, J. Shnaider, and K.             0.2     $525.00       $105.00
                                                                                                               Staromiejska
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                                                         Date of
                Name     Initials        Rank                           Project Category                                          Description of Services                                       Hours   Hourly Rate   Fees
                                                         Service
                                                                                               Meeting with EY Canada to discuss due diligence. EY attendees: D. Katsnelson, C. Charbonneau,
Staromiejska,Kinga         KS           Manager         5/17/2023         Non US Tax           A. Tse, T. Nasir, D. Hammon, C. Chambron, H. Choudary, C. MacLean, J. Shnaider, and K.            0.2     $525.00       $105.00
                                                                                               Staromiejska
                                                                                               Meeting with EY Canada to discuss due diligence. EY attendees: D. Katsnelson, C. Charbonneau,
Choudary,Hira              HC             Staff         5/17/2023         Non US Tax           A. Tse, T. Nasir, D. Hammon, C. Chambron, H. Choudary, C. MacLean, J. Shnaider, and K.            0.2     $225.00        $45.00
                                                                                               Staromiejska
                                                                                               Meeting with J. Bavaud (FTX), P. Gruhn (FTX), B. Danhach (FTX), R. Matzke (FTX),to discuss
MacLean,Corrie            CM             Senior         5/17/2023   Meetings with Management   FTX UAE entities compliance. EY attendees: D. Hammon, D. Katsnelson, H. Choudary, N.              0.3     $395.00       $118.50
                                                                                               Hernandez, K. Madhok, and C. MacLean
                                                                                               Meeting with J. Bavaud (FTX), P. Gruhn (FTX), B. Danhach (FTX), R. Matzke (FTX),to discuss
Katsnelson,David           DK           Manager         5/17/2023   Meetings with Management   FTX UAE entities compliance. EY attendees: D. Hammon, D. Katsnelson, H. Choudary, N.              0.3     $525.00       $157.50
                                                                                               Hernandez, K. Madhok, and C. MacLean
                                                                                               Meeting with J. Bavaud (FTX), P. Gruhn (FTX), B. Danhach (FTX), R. Matzke (FTX),to discuss
Choudary,Hira              HC             Staff         5/17/2023   Meetings with Management   FTX UAE entities compliance. EY attendees: D. Hammon, D. Katsnelson, H. Choudary, N.              0.3     $225.00        $67.50
                                                                                               Hernandez, K. Madhok, and C. MacLean
                                                                                               Meeting with J. Bavaud (FTX), P. Gruhn (FTX), B. Danhach (FTX), R. Matzke (FTX),to discuss
Hernandez,Nancy I.        NIH        Senior Manager     5/17/2023   Meetings with Management   FTX UAE entities compliance. EY attendees: D. Hammon, D. Katsnelson, H. Choudary, N.              0.3     $650.00       $195.00
                                                                                               Hernandez, K. Madhok, and C. MacLean
                                                                                               Meeting with J. Bavaud (FTX), P. Gruhn (FTX), B. Danhach (FTX), R. Matzke (FTX),to discuss
Hammon,David Lane         DLH           Manager         5/17/2023   Meetings with Management   FTX UAE entities compliance. EY attendees: D. Hammon, D. Katsnelson, H. Choudary, N.              0.3     $525.00       $157.50
                                                                                               Hernandez, K. Madhok, and C. MacLean
                                                                                               Meeting with J. Bavaud (FTX), P. Gruhn (FTX), B. Danhach (FTX), R. Matzke (FTX),to discuss
Madhok,Kishan             KM         Senior Manager     5/17/2023   Meetings with Management   FTX UAE entities compliance. EY attendees: D. Hammon, D. Katsnelson, H. Choudary, N.              0.3     $650.00       $195.00
                                                                                               Hernandez, K. Madhok, and C. MacLean
                                                                                               Meeting with ACR team to regroup on the knowledge transfer process. EY attendees: N.
MacLean,Corrie            CM             Senior         5/17/2023         Non US Tax                                                                                                             0.5     $395.00       $197.50
                                                                                               Hernandez, T. Knoeller, C. MacLean, D. Hammon, M. Borts
                                                                                               Meeting with ACR team to regroup on the knowledge transfer process. EY attendees: N.
Borts,Michael             MB        Managing Director   5/17/2023         Non US Tax                                                                                                             0.5     $775.00       $387.50
                                                                                               Hernandez, T. Knoeller, C. MacLean, D. Hammon, M. Borts
                                                                                               Meeting with ACR team to regroup on the knowledge transfer process. EY attendees: N.
Hernandez,Nancy I.        NIH        Senior Manager     5/17/2023         Non US Tax                                                                                                             0.5     $650.00       $325.00
                                                                                               Hernandez, T. Knoeller, C. MacLean, D. Hammon, M. Borts
                                                                                               Meeting with ACR team to regroup on the knowledge transfer process. EY attendees: N.
Hammon,David Lane         DLH           Manager         5/17/2023         Non US Tax                                                                                                             0.5     $525.00       $262.50
                                                                                               Hernandez, T. Knoeller, C. MacLean, D. Hammon, M. Borts
                                                                                               Meeting with ACR team to regroup on the knowledge transfer process. EY attendees: N.
Knoeller,Thomas J.        TJK       Partner/Principal   5/17/2023         Non US Tax                                                                                                             0.5     $825.00       $412.50
                                                                                               Hernandez, T. Knoeller, C. MacLean, D. Hammon, M. Borts
                                                                                               Meeting with EY workstreams and desk to inventory Vietnam compliance deliverables. EY
MacLean,Corrie            CM             Senior         5/17/2023         Non US Tax           attendees: M. Leon, L. Nguyen, N. Hernandez, D. Hammon, H. Choudary, D. Katsnelson, C.            0.2     $395.00        $79.00
                                                                                               MacLean
                                                                                               Meeting with EY workstreams and desk to inventory Vietnam compliance deliverables. EY
Katsnelson,David           DK           Manager         5/17/2023       Transfer Pricing       attendees: M. Leon, L. Nguyen, N. Hernandez, D. Hammon, H. Choudary, D. Katsnelson, C.            0.2     $525.00       $105.00
                                                                                               MacLean
                                                                                               Meeting with EY workstreams and desk to inventory Vietnam compliance deliverables. EY
Choudary,Hira              HC             Staff         5/17/2023         Non US Tax           attendees: M. Leon, L. Nguyen, N. Hernandez, D. Hammon, H. Choudary, D. Katsnelson, C.            0.2     $225.00        $45.00
                                                                                               MacLean
                                                                                               Meeting with EY workstreams and desk to inventory Vietnam compliance deliverables. EY
Gil Diez de Leon,Marta    MDL           Manager         5/17/2023       Value Added Tax        attendees: M. Leon, L. Nguyen, N. Hernandez, D. Hammon, H. Choudary, D. Katsnelson, C.            0.2     $525.00       $105.00
                                                                                               MacLean
                                                                                               Meeting with EY workstreams and desk to inventory Vietnam compliance deliverables. EY
Hernandez,Nancy I.        NIH        Senior Manager     5/17/2023         Non US Tax           attendees: M. Leon, L. Nguyen, N. Hernandez, D. Hammon, H. Choudary, D. Katsnelson, C.            0.2     $650.00       $130.00
                                                                                               MacLean
                                                                                               Meeting with EY workstreams and desk to inventory Vietnam compliance deliverables. EY
Nguyen,Ly Vu-Uyen        LVUN        Senior Manager     5/17/2023         Non US Tax           attendees: M. Leon, L. Nguyen, N. Hernandez, D. Hammon, H. Choudary, D. Katsnelson, C.            0.2     $650.00       $130.00
                                                                                               MacLean
                                                                                               Meeting with EY workstreams and desk to inventory Vietnam compliance deliverables. EY
Hammon,David Lane         DLH           Manager         5/17/2023         Non US Tax           attendees: M. Leon, L. Nguyen, N. Hernandez, D. Hammon, H. Choudary, D. Katsnelson, C.            0.2     $525.00       $105.00
                                                                                               MacLean
                                                                                               Meeting with EY workstreams and desk to inventory Japan compliance deliverables. EY attendees:
MacLean,Corrie            CM             Senior         5/17/2023         Non US Tax                                                                                                             0.7     $395.00       $276.50
                                                                                               M. Leon, T. Hamano, N. Hernandez, D. Hammon, H. Choudary, D. Katsnelson, C. MacLean

                                                                                               Meeting with EY workstreams and desk to inventory Japan compliance deliverables. EY attendees:
Katsnelson,David           DK           Manager         5/17/2023       Transfer Pricing                                                                                                         0.7     $525.00       $367.50
                                                                                               M. Leon, T. Hamano, N. Hernandez, D. Hammon, H. Choudary, D. Katsnelson, C. MacLean

                                                                                               Meeting with EY workstreams and desk to inventory Japan compliance deliverables. EY attendees:
Choudary,Hira              HC             Staff         5/17/2023         Non US Tax                                                                                                             0.7     $225.00       $157.50
                                                                                               M. Leon, T. Hamano, N. Hernandez, D. Hammon, H. Choudary, D. Katsnelson, C. MacLean

                                                                                               Meeting with EY workstreams and desk to inventory Japan compliance deliverables. EY attendees:
Gil Diez de Leon,Marta    MDL           Manager         5/17/2023       Value Added Tax                                                                                                          0.7     $525.00       $367.50
                                                                                               M. Leon, T. Hamano, N. Hernandez, D. Hammon, H. Choudary, D. Katsnelson, C. MacLean

                                                                                               Meeting with EY workstreams and desk to inventory Japan compliance deliverables. EY attendees:
Hernandez,Nancy I.        NIH        Senior Manager     5/17/2023         Non US Tax                                                                                                             0.7     $650.00       $455.00
                                                                                               M. Leon, T. Hamano, N. Hernandez, D. Hammon, H. Choudary, D. Katsnelson, C. MacLean
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                                                         Date of
                 Name    Initials        Rank                           Project Category                                           Description of Services                                        Hours   Hourly Rate   Fees
                                                         Service
                                                                                               Meeting with EY workstreams and desk to inventory Japan compliance deliverables. EY attendees:
Hamano,Taisuke             TH       Senior Manager      5/17/2023         Tax Advisory                                                                                                             0.7     $650.00       $455.00
                                                                                               M. Leon, T. Hamano, N. Hernandez, D. Hammon, H. Choudary, D. Katsnelson, C. MacLean

                                                                                               Meeting with EY workstreams and desk to inventory Japan compliance deliverables. EY attendees:
Hammon,David Lane         DLH           Manager         5/17/2023         Non US Tax                                                                                                               0.7     $525.00       $367.50
                                                                                               M. Leon, T. Hamano, N. Hernandez, D. Hammon, H. Choudary, D. Katsnelson, C. MacLean
                                                                                               Meeting with S. Kojima (FTX) to discuss India due diligence. EY attendees: C. MacLean, D.
MacLean,Corrie            CM             Senior         5/17/2023   Meetings with Management                                                                                                       0.5     $395.00       $197.50
                                                                                               Hammon, H. Choudary, D. Katsnelson, N. Hernandez, A. Khubani, and M. Leon
                                                                                               Meeting with S. Kojima (FTX) to discuss India due diligence. EY attendees: C. MacLean, D.
Katsnelson,David           DK           Manager         5/17/2023   Meetings with Management                                                                                                       0.5     $525.00       $262.50
                                                                                               Hammon, H. Choudary, D. Katsnelson, N. Hernandez, A. Khubani, and M. Leon
                                                                                               Meeting with S. Kojima (FTX) to discuss India due diligence. EY attendees: C. MacLean, D.
Choudary,Hira              HC             Staff         5/17/2023   Meetings with Management                                                                                                       0.5     $225.00       $112.50
                                                                                               Hammon, H. Choudary, D. Katsnelson, N. Hernandez, A. Khubani, and M. Leon
                                                                                               Meeting with S. Kojima (FTX) to discuss India due diligence. EY attendees: C. MacLean, D.
Gil Diez de Leon,Marta    MDL           Manager         5/17/2023   Meetings with Management                                                                                                       0.5     $525.00       $262.50
                                                                                               Hammon, H. Choudary, D. Katsnelson, N. Hernandez, A. Khubani, and M. Leon
                                                                                               Meeting with S. Kojima (FTX) to discuss India due diligence. EY attendees: C. MacLean, D.
Hernandez,Nancy I.        NIH       Senior Manager      5/17/2023   Meetings with Management                                                                                                       0.5     $650.00       $325.00
                                                                                               Hammon, H. Choudary, D. Katsnelson, N. Hernandez, A. Khubani, and M. Leon
                                                                                               Meeting with S. Kojima (FTX) to discuss India due diligence. EY attendees: C. MacLean, D.
Hammon,David Lane         DLH           Manager         5/17/2023   Meetings with Management                                                                                                       0.5     $525.00       $262.50
                                                                                               Hammon, H. Choudary, D. Katsnelson, N. Hernandez, A. Khubani, and M. Leon
                                                                                               Meeting with S. Kojima (FTX) to discuss India due diligence. EY attendees: C. MacLean, D.
Khubani,Arpita             AK       Senior Manager      5/17/2023         Non US Tax                                                                                                               0.5     $650.00       $325.00
                                                                                               Hammon, H. Choudary, D. Katsnelson, N. Hernandez, A. Khubani, and M. Leon
                                                                                               Daily meeting to review new documentation provided, address open items and questions from
MacLean,Corrie            CM             Senior         5/16/2023         Non US Tax           E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.       0.5     $395.00       $197.50
                                                                                               Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                               Daily meeting to review new documentation provided, address open items and questions from
Choudary,Hira              HC             Staff         5/16/2023         Non US Tax           E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.       0.5     $225.00       $112.50
                                                                                               Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                               Daily meeting to review new documentation provided, address open items and questions from
Hammon,David Lane         DLH           Manager         5/16/2023         Non US Tax           E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.       0.5     $525.00       $262.50
                                                                                               Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                               Daily meeting to review new documentation provided, address open items and questions from
Knoeller,Thomas J.        TJK       Partner/Principal   5/16/2023         Non US Tax           E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.       0.5     $825.00       $412.50
                                                                                               Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                               Daily meeting to review new documentation provided, address open items and questions from
Staromiejska,Kinga         KS           Manager         5/16/2023         Non US Tax           E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.       0.5     $525.00       $262.50
                                                                                               Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                               Daily meeting to review new documentation provided, address open items and questions from
MacLean,Corrie            CM             Senior         5/17/2023         Non US Tax           E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.       0.5     $395.00       $197.50
                                                                                               Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                               Daily meeting to review new documentation provided, address open items and questions from
Choudary,Hira              HC             Staff         5/17/2023         Non US Tax           E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.       0.5     $225.00       $112.50
                                                                                               Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                               Daily meeting to review new documentation provided, address open items and questions from
Hammon,David Lane         DLH           Manager         5/17/2023         Non US Tax           E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.       0.5     $525.00       $262.50
                                                                                               Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                               Daily meeting to review new documentation provided, address open items and questions from
Knoeller,Thomas J.        TJK       Partner/Principal   5/17/2023         Non US Tax           E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.       0.5     $825.00       $412.50
                                                                                               Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                               Daily meeting to review new documentation provided, address open items and questions from
Staromiejska,Kinga         KS           Manager         5/17/2023         Non US Tax           E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.       0.5     $525.00       $262.50
                                                                                               Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                               Discussion regarding the New Jersey managing member for the super combined group and the
Molnar,Evgeniya            EM            Senior         5/17/2023    US State and Local Tax    approach for asking New Jersey Division of Taxation for clarification. EY attendees: E. Hall and    0.2     $395.00        $79.00
                                                                                               E. Molnar
                                                                                               Discussion regarding the New Jersey managing member for the super combined group and the
Hall,Emily Melissa        EMH            Senior         5/17/2023    US State and Local Tax    approach for asking New Jersey Division of Taxation for clarification. EY attendees: E. Hall and    0.2     $395.00        $79.00
                                                                                               E. Molnar
                                                                                               Internal state and local tax field of play call to discuss workstream updates (i.e., bankruptcy,
Johnson,Derrick Joseph    DJJ             Staff         5/17/2023    US State and Local Tax    property tax, income/franchise tax). EY attendees: M. Musano, N. Flagg, W. Bieganski, J. Berman,    0.6     $225.00       $135.00
                                                                                               J. Jimenez, K. Davis, D. Johnson, and E. Hall
                                                                                               Internal state and local tax field of play call to discuss workstream updates (i.e., bankruptcy,
Hall,Emily Melissa        EMH            Senior         5/17/2023    US State and Local Tax    property tax, income/franchise tax). EY attendees: M. Musano, N. Flagg, W. Bieganski, J. Berman,    0.6     $395.00       $237.00
                                                                                               J. Jimenez, K. Davis, D. Johnson, and E. Hall
                                                                                               Internal state and local tax field of play call to discuss workstream updates (i.e., bankruptcy,
Berman,Jake                JB       Senior Manager      5/17/2023        US Income Tax         property tax, income/franchise tax). EY attendees: M. Musano, N. Flagg, W. Bieganski, J. Berman,    0.6     $650.00       $390.00
                                                                                               J. Jimenez, K. Davis, D. Johnson, and E. Hall
                                                                                               Internal state and local tax field of play call to discuss workstream updates (i.e., bankruptcy,
Jimenez,Joseph Robert      JRJ      Senior Manager      5/17/2023    US State and Local Tax    property tax, income/franchise tax). EY attendees: M. Musano, N. Flagg, W. Bieganski, J. Berman,    0.6     $650.00       $390.00
                                                                                               J. Jimenez, K. Davis, D. Johnson, and E. Hall
                                                                                               Internal state and local tax field of play call to discuss workstream updates (i.e., bankruptcy,
Davis,Kathleen F.         KFD           Manager         5/17/2023    US State and Local Tax    property tax, income/franchise tax). EY attendees: M. Musano, N. Flagg, W. Bieganski, J. Berman,    0.6     $525.00       $315.00
                                                                                               J. Jimenez, K. Davis, D. Johnson, and E. Hall
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                                                         Date of
                  Name   Initials         Rank                               Project Category                                                   Description of Services                                          Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Internal state and local tax field of play call to discuss workstream updates (i.e., bankruptcy,
Musano,Matthew Albert    MAM         Senior Manager     5/17/2023         US State and Local Tax           property tax, income/franchise tax). EY attendees: M. Musano, N. Flagg, W. Bieganski, J. Berman,       0.6     $650.00       $390.00
                                                                                                           J. Jimenez, K. Davis, D. Johnson, and E. Hall
                                                                                                           Internal state and local tax field of play call to discuss workstream updates (i.e., bankruptcy,
Flagg,Nancy A.            NAF       Managing Director   5/17/2023         US State and Local Tax           property tax, income/franchise tax). EY attendees: M. Musano, N. Flagg, W. Bieganski, J. Berman,       0.6     $775.00       $465.00
                                                                                                           J. Jimenez, K. Davis, D. Johnson, and E. Hall
                                                                                                           Internal state and local tax field of play call to discuss workstream updates (i.e., bankruptcy,
                                     Client Serving
Bieganski,Walter          WB                            5/17/2023         US State and Local Tax           property tax, income/franchise tax). EY attendees: M. Musano, N. Flagg, W. Bieganski, J. Berman,       0.6     $200.00       $120.00
                                     Contractor WB
                                                                                                           J. Jimenez, K. Davis, D. Johnson, and E. Hall
                                                                                                           Internal call to walk through annual return filings. EY attendees: M. Musano, J. Scott, W.
Mistler,Brian M          BMM            Manager         5/17/2023            IRS Audit Matters                                                                                                                    0.3     $525.00       $157.50
                                                                                                           Bieganski, M. Coffey, C. Dulceak, J. Berman, B. Mistler, and E. Hall
                                                                                                           Internal call to walk through annual return filings. EY attendees: M. Musano, J. Scott, W.
Hall,Emily Melissa        EMH            Senior         5/17/2023         US State and Local Tax                                                                                                                  0.3     $395.00       $118.50
                                                                                                           Bieganski, M. Coffey, C. Dulceak, J. Berman, B. Mistler, and E. Hall
                                                                                                           Internal call to walk through annual return filings. EY attendees: M. Musano, J. Scott, W.
Berman,Jake                JB        Senior Manager     5/17/2023             US Income Tax                                                                                                                       0.3     $650.00       $195.00
                                                                                                           Bieganski, M. Coffey, C. Dulceak, J. Berman, B. Mistler, and E. Hall
                                      Client Serving                                                       Internal call to walk through annual return filings. EY attendees: M. Musano, J. Scott, W.
Scott,James                JS                           5/17/2023             US Income Tax                                                                                                                       0.3     $600.00       $180.00
                                      Contractor JS                                                        Bieganski, M. Coffey, C. Dulceak, J. Berman, B. Mistler, and E. Hall
                                                                                                           Internal call to walk through annual return filings. EY attendees: M. Musano, J. Scott, W.
Musano,Matthew Albert    MAM         Senior Manager     5/17/2023         US State and Local Tax                                                                                                                  0.3     $650.00       $195.00
                                                                                                           Bieganski, M. Coffey, C. Dulceak, J. Berman, B. Mistler, and E. Hall
                                     Client Serving                                                        Internal call to walk through annual return filings. EY attendees: M. Musano, J. Scott, W.
Bieganski,Walter          WB                            5/17/2023         US State and Local Tax                                                                                                                  0.3     $200.00        $60.00
                                     Contractor WB                                                         Bieganski, M. Coffey, C. Dulceak, J. Berman, B. Mistler, and E. Hall
                                                                                                           Internal call to walk through annual return filings. EY attendees: M. Musano, J. Scott, W.
Coffey,Mandy V.          MVC         Senior Manager     5/17/2023         US State and Local Tax                                                                                                                  0.3     $650.00       $195.00
                                                                                                           Bieganski, M. Coffey, C. Dulceak, J. Berman, B. Mistler, and E. Hall
                                                                                                           Internal call to walk through annual return filings. EY attendees: M. Musano, J. Scott, W.
Dulceak,Crystal            CD           Manager         5/17/2023         US State and Local Tax                                                                                                                  0.3     $525.00       $157.50
                                                                                                           Bieganski, M. Coffey, C. Dulceak, J. Berman, B. Mistler, and E. Hall
Hall,Emily Melissa       EMH             Senior         5/18/2023         US State and Local Tax           Internal meeting to discuss new notices. EY attendees: K. Wrenn, E. Hall, and V. Short                 0.3     $395.00       $118.50
Wrenn,Kaitlin Doyle      KDW            Manager         5/18/2023              Payroll Tax                 Internal meeting to discuss new notices. EY attendees: K. Wrenn, E. Hall, and V. Short                 0.3     $525.00       $157.50
Short,Victoria            VS             Senior         5/18/2023              Payroll Tax                 Internal meeting to discuss new notices. EY attendees: K. Wrenn, E. Hall, and V. Short                 0.3     $395.00       $118.50
                                                                                                           Internal meeting to discuss question of tax residence and related local developments. EY attendees:
Katelas,Andreas            KA            Senior         5/16/2023           US International Tax                                                                                                                  0.5     $395.00       $197.50
                                                                                                           A. Katelas, L. Phillips, R. Moncrieff, O. Espley-Ault, L. Lovelace, D. Bailey, and M. Zhou

                                                                                                           Internal meeting to discuss question of tax residence and related local developments. EY attendees:
Phillips,La-Tanya          LP       Managing Director   5/16/2023              Tax Advisory                                                                                                                       0.5     $775.00       $387.50
                                                                                                           A. Katelas, L. Phillips, R. Moncrieff, O. Espley-Ault, L. Lovelace, D. Bailey, and M. Zhou

                                                                                                           Meeting with local legal advisor Arthur Thomas to obtain information on entities including type of
Phillips,La-Tanya          LP       Managing Director   5/9/2023               Tax Advisory                                                                                                                       1.2     $775.00       $930.00
                                                                                                           license (IBC) and status of local books and records as well as status of local tax compliance
                                                                                                           Internal meeting to discuss tax residency and related developments. EY attendees: D. Bailey, L.
Phillips,La-Tanya          LP       Managing Director   5/9/2023               Tax Advisory                                                                                                                       0.5     $775.00       $387.50
                                                                                                           Lovelace, L. Phillips, A. Katelas, R. Yang, A. Karan, and M. Zhuo
                                                                                                           Internal meeting to discuss options for evaluation of local tax exposure given lack of available
Phillips,La-Tanya          LP       Managing Director   5/31/2023              Tax Advisory                                                                                                                       0.3     $775.00       $232.50
                                                                                                           information. EY attendees: D. Hammon, C. Maclean, and L. Phillips
Phillips,La-Tanya          LP       Managing Director   5/18/2023              Tax Advisory                Review of available documentation to determine whether any tax exposure could be ascertained           2.8     $775.00      $2,170.00

                                                                                                           Internal meeting to discuss question of tax residence and related local developments. EY attendees:
Zhuo,Melody                MZ             Staff         5/16/2023           US International Tax                                                                                                                  0.5     $225.00       $112.50
                                                                                                           A. Katelas, L. Phillips, R. Moncrieff, O. Espley-Ault, L. Lovelace, D. Bailey, and M. Zhou
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bost,Anne                  BA       Managing Director   5/18/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $775.00       $387.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katelas,Andreas            KA            Senior         5/18/2023           US International Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $395.00       $197.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Farrar,Anne                AF       Partner/Principal   5/18/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $825.00       $412.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Mistler,Brian M          BMM            Manager         5/18/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $525.00       $262.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Tong,Chia-Hui             CHT        Senior Manager     5/18/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $650.00       $325.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Ancona,Christopher         CA            Senior         5/18/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $395.00       $197.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katsnelson,David           DK           Manager         5/18/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $525.00       $262.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Hall,Emily Melissa        EMH            Senior         5/18/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and        0.5     $395.00       $197.50
                                                                                                           the implementation of global compliance and reporting services
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                                                                Date of
                  Name          Initials        Rank                                Project Category                                                    Description of Services                                       Hours   Hourly Rate   Fees
                                                                Service
                                                                                                                  Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Choudary,Hira                     HC             Staff         5/18/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $225.00       $112.50
                                                                                                                  the implementation of global compliance and reporting services
                                                                                                                  Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Berman,Jake                       JB        Senior Manager     5/18/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                                  the implementation of global compliance and reporting services
                                                                                                                  Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Wrenn,Kaitlin Doyle             KDW            Manager         5/18/2023               Payroll Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $525.00       $262.50
                                                                                                                  the implementation of global compliance and reporting services
                                                                                                                  Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                               National
Lowery,Kristie L                 KLL                           5/18/2023               Payroll Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $990.00       $495.00
                                           Partner/Principal
                                                                                                                  the implementation of global compliance and reporting services
                                                                                                                  Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Lovelace,Lauren                   LL       Partner/Principal   5/18/2023           US International Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $825.00       $412.50
                                                                                                                  the implementation of global compliance and reporting services
                                                                                                                  Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Musano,Matthew Albert           MAM         Senior Manager     5/18/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                                  the implementation of global compliance and reporting services
                                                                                                                  Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Shea JR,Thomas M                 TMS       Partner/Principal   5/18/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $825.00       $412.50
                                                                                                                  the implementation of global compliance and reporting services
                                                                                                                  Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                            Client Serving
Bieganski,Walter                 WB                            5/18/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $200.00       $100.00
                                            Contractor WB
                                                                                                                  the implementation of global compliance and reporting services
                                                                                                                  Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Haas,Zach                         ZH        Senior Manager     5/18/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                                  the implementation of global compliance and reporting services
                                                                                                                  Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Staromiejska,Kinga                KS           Manager         5/18/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $525.00       $262.50
                                                                                                                  the implementation of global compliance and reporting services
                                                                                                                  Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bailey,Doug                       DB       Partner/Principal   5/18/2023              Tax Advisory                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $825.00       $412.50
                                                                                                                  the implementation of global compliance and reporting services
                                                                                                                  Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Healy,John                        JH        Senior Manager     5/18/2023            IRS Audit Matters             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                                  the implementation of global compliance and reporting services
                                                                                                                  Bi-Weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Tong,Chia-Hui                    CHT        Senior Manager     5/18/2023   Project Management Office Transition                                                                                                        0.4     $650.00       $260.00
                                                                                                                  attendees: C. Ancona, C. Tong, and H. Choudary
                                                                                                                  Bi-Weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Ancona,Christopher                CA            Senior         5/18/2023   Project Management Office Transition                                                                                                        0.4     $395.00       $158.00
                                                                                                                  attendees: C. Ancona, C. Tong, and H. Choudary
                                                                                                                  Bi-Weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Choudary,Hira                     HC             Staff         5/18/2023               Non US Tax                                                                                                                      0.4     $225.00        $90.00
                                                                                                                  attendees: C. Ancona, C. Tong, and H. Choudary
                                                                                                                  Internal meeting to walk thru the planned agenda for working session with FTX regarding IRS
DeVincenzo,Jennie                JDV       Managing Director   5/18/2023        Meetings with Management          audit update for Alameda Research and other entities, equity plan review, state transcript update    1.0     $775.00       $775.00
                                                                                                                  and IRS Proof of Claims summary. EY attendees: J. DeVincenzo, K. Lowery, and K. Wrenn

                                                                                                                  Internal meeting to walk thru the planned agenda for working session with FTX regarding IRS
Wrenn,Kaitlin Doyle             KDW            Manager         5/18/2023        Meetings with Management          audit update for Alameda Research and other entities, equity plan review, state transcript update    1.0     $525.00       $525.00
                                                                                                                  and IRS Proof of Claims summary. EY attendees: J. DeVincenzo, K. Lowery, and K. Wrenn

                                                                                                                  Internal meeting to walk thru the planned agenda for working session with FTX regarding IRS
                                               National
Lowery,Kristie L                 KLL                           5/18/2023        Meetings with Management          audit update for Alameda Research and other entities, equity plan review, state transcript update    1.0     $990.00       $990.00
                                           Partner/Principal
                                                                                                                  and IRS Proof of Claims summary. EY attendees: J. DeVincenzo, K. Lowery, and K. Wrenn
                                                                                                                  Internal meeting to discuss FTX equity data review and to plan for upcoming meeting with FTX.
Fitzgerald,Kaitlin Rose          KRF             Staff         5/18/2023        Meetings with Management                                                                                                               0.5     $225.00       $112.50
                                                                                                                  EY attendees: R. Walker and K. Fitzgerald
                                                                                                                  Internal meeting to discuss FTX equity data review and to plan for upcoming meeting with FTX.
Walker,Rachael Leigh Braswell   RLBW       Partner/Principal   5/18/2023        Meetings with Management                                                                                                               0.5     $825.00       $412.50
                                                                                                                  EY attendees: R. Walker and K. Fitzgerald
                                                                                                                  Meeting to review A&M/EY PMO slide deck deliverable status updates and reporting. EY
Mistler,Brian M                 BMM            Manager         5/18/2023             US Income Tax                                                                                                                     0.4     $525.00       $210.00
                                                                                                                  attendees: C. Ancona, C. Tong, T. Shea, B. Mistler, and J. Berman
                                                                                                                  Meeting to review A&M/EY PMO slide deck deliverable status updates and reporting. EY
Tong,Chia-Hui                    CHT        Senior Manager     5/18/2023   Project Management Office Transition                                                                                                        0.4     $650.00       $260.00
                                                                                                                  attendees: C. Ancona, C. Tong, T. Shea, B. Mistler, and J. Berman
                                                                                                                  Meeting to review A&M/EY PMO slide deck deliverable status updates and reporting. EY
Ancona,Christopher                CA            Senior         5/18/2023   Project Management Office Transition                                                                                                        0.4     $395.00       $158.00
                                                                                                                  attendees: C. Ancona, C. Tong, T. Shea, B. Mistler, and J. Berman
                                                                                                                  Meeting to review A&M/EY PMO slide deck deliverable status updates and reporting. EY
Berman,Jake                       JB        Senior Manager     5/18/2023             US Income Tax                                                                                                                     0.4     $650.00       $260.00
                                                                                                                  attendees: C. Ancona, C. Tong, T. Shea, B. Mistler, and J. Berman
                                                                                                                  Meeting to review A&M/EY PMO slide deck deliverable status updates and reporting. EY
Shea JR,Thomas M                 TMS       Partner/Principal   5/18/2023             US Income Tax                                                                                                                     0.4     $825.00       $330.00
                                                                                                                  attendees: C. Ancona, C. Tong, T. Shea, B. Mistler, and J. Berman
                                                                                                                  Continue discussion regarding FTX Information Reporting & Withholding tax deliverables and
Tong,Chia-Hui                    CHT        Senior Manager     5/18/2023   Project Management Office Transition                                                                                                        0.6     $650.00       $390.00
                                                                                                                  deadlines. EY attendees: C. Ancona, C. Tong, and A. Richardson
                                                                                                                  Continue discussion regarding FTX Information Reporting & Withholding tax deliverables and
Ancona,Christopher                CA            Senior         5/18/2023   Project Management Office Transition                                                                                                        0.6     $395.00       $237.00
                                                                                                                  deadlines. EY attendees: C. Ancona, C. Tong, and A. Richardson
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                                                          Date of
                  Name    Initials         Rank                           Project Category                                                Description of Services                                           Hours   Hourly Rate   Fees
                                                          Service
                                                                                                    Continue discussion regarding FTX Information Reporting & Withholding tax deliverables and
Richardson,Audrey Sarah    ASR           Manager         5/18/2023      Information Reporting                                                                                                                0.6     $525.00       $315.00
                                                                                                    deadlines. EY attendees: C. Ancona, C. Tong, and A. Richardson
                                                                                                    Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Mistler,Brian M           BMM            Manager         5/18/2023    Meetings with Management                                                                                                               0.8     $525.00       $420.00
                                                                                                    EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, J. Berman, B. Mistler, and K. Lowery

                                                                                                    Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Tong,Chia-Hui              CHT        Senior Manager     5/18/2023    Meetings with Management                                                                                                               0.8     $650.00       $520.00
                                                                                                    EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, J. Berman, B. Mistler, and K. Lowery

                                                                                                    Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Ancona,Christopher          CA            Senior         5/18/2023    Meetings with Management                                                                                                               0.8     $395.00       $316.00
                                                                                                    EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, J. Berman, B. Mistler, and K. Lowery

                                                                                                    Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Berman,Jake                 JB        Senior Manager     5/18/2023    Meetings with Management                                                                                                               0.8     $650.00       $520.00
                                                                                                    EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, J. Berman, B. Mistler, and K. Lowery

                                       Client Serving                                               Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Scott,James                 JS                           5/18/2023    Meetings with Management                                                                                                               0.8     $600.00       $480.00
                                       Contractor JS                                                EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, J. Berman, B. Mistler, and K. Lowery

                                         National                                                   Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Lowery,Kristie L           KLL                           5/18/2023    Meetings with Management                                                                                                               0.8     $990.00       $792.00
                                     Partner/Principal                                              EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, J. Berman, B. Mistler, and K. Lowery

                                                                                                    Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Shea JR,Thomas M           TMS       Partner/Principal   5/18/2023    Meetings with Management                                                                                                               0.8     $825.00       $660.00
                                                                                                    EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, J. Berman, B. Mistler, and K. Lowery
                                                                                                    Internal meeting discussing Employment Tax account closures and filing zero return walk through
Wrenn,Kaitlin Doyle       KDW            Manager         5/18/2023           Payroll Tax                                                                                                                     0.6     $525.00       $315.00
                                                                                                    in online portal. EY attendees: K. Wrenn and V. Short
                                                                                                    Internal meeting discussing Employment Tax account closures and filing zero return walk through
Short,Victoria              VS            Senior         5/18/2023           Payroll Tax                                                                                                                     0.6     $395.00       $237.00
                                                                                                    in online portal. EY attendees: K. Wrenn and V. Short
                                                                                                    Internal meeting to review transactions involving cryptocurrency treatment. EY attendees: L.
Katelas,Andreas             KA            Senior         5/15/2023       US International Tax                                                                                                                0.5     $395.00       $197.50
                                                                                                    Lovelace, D. Bailey, A. Dubroff, M. Stevens, N. Flagg, and A. Katelas
                                                                                                    Internal meeting to review transactions involving cryptocurrency treatment. EY attendees: L.
Lovelace,Lauren             LL       Partner/Principal   5/15/2023       US International Tax                                                                                                                0.5     $825.00       $412.50
                                                                                                    Lovelace, D. Bailey, A. Dubroff, M. Stevens, N. Flagg, and A. Katelas
                                                                                                    Internal meeting to review transactions involving cryptocurrency treatment. EY attendees: L.
Flagg,Nancy A.             NAF       Managing Director   5/15/2023     US State and Local Tax                                                                                                                0.5     $775.00       $387.50
                                                                                                    Lovelace, D. Bailey, A. Dubroff, M. Stevens, N. Flagg, and A. Katelas
                                                                                                    Internal meeting to review transactions involving cryptocurrency treatment. EY attendees: L.
Bailey,Doug                 DB       Partner/Principal   5/15/2023          Tax Advisory                                                                                                                     0.5     $825.00       $412.50
                                                                                                    Lovelace, D. Bailey, A. Dubroff, M. Stevens, N. Flagg, and A. Katelas
                                                                                                    Internal meeting to review transactions involving cryptocurrency treatment. EY attendees: L.
Dubroff,Andy                AD       Managing Director   5/15/2023       US International Tax                                                                                                                0.5     $775.00       $387.50
                                                                                                    Lovelace, D. Bailey, A. Dubroff, M. Stevens, N. Flagg, and A. Katelas
                                         National                                                   Internal meeting to review transactions involving cryptocurrency treatment. EY attendees: L.
Stevens,Matthew Aaron      MAS                           5/15/2023          Tax Advisory                                                                                                                     0.5     $990.00       $495.00
                                     Partner/Principal                                              Lovelace, D. Bailey, A. Dubroff, M. Stevens, N. Flagg, and A. Katelas
                                                                                                    Internal meeting to discuss foreign bank account identification, and documentation. EY attendees:
Katelas,Andreas             KA            Senior         5/15/2023       US International Tax                                                                                                                0.2     $395.00        $79.00
                                                                                                    L. Lovelace, K. Pawa, T. Shea, A. Katelas, and D. Bailey
                                                                                                    Internal meeting to discuss foreign bank account identification, and documentation. EY attendees:
Lovelace,Lauren             LL       Partner/Principal   5/15/2023       US International Tax                                                                                                                0.2     $825.00       $165.00
                                                                                                    L. Lovelace, K. Pawa, T. Shea, A. Katelas, and D. Bailey
                                                                                                    Internal meeting to discuss foreign bank account identification, and documentation. EY attendees:
Shea JR,Thomas M           TMS       Partner/Principal   5/15/2023       US International Tax                                                                                                                0.2     $825.00       $165.00
                                                                                                    L. Lovelace, K. Pawa, T. Shea, A. Katelas, and D. Bailey
                                                                                                    Internal meeting to discuss foreign bank account identification, and documentation. EY attendees:
Bailey,Doug                 DB       Partner/Principal   5/15/2023          Tax Advisory                                                                                                                     0.2     $825.00       $165.00
                                                                                                    L. Lovelace, K. Pawa, T. Shea, A. Katelas, and D. Bailey
                                                                                                    Internal meeting to discuss historical returns, accounting methods and approach going forward. EY
Katelas,Andreas             KA            Senior         5/16/2023       US International Tax                                                                                                                0.5     $395.00       $197.50
                                                                                                    attendees: L. Lovelace, D. Bailey, T. Shea, J. Scott, J. Berman, B. Mistler, and A. Katelas

                                                                                                    Internal meeting to discuss historical returns, accounting methods and approach going forward. EY
Mistler,Brian M           BMM            Manager         5/16/2023         US Income Tax                                                                                                                     0.5     $525.00       $262.50
                                                                                                    attendees: L. Lovelace, D. Bailey, T. Shea, J. Scott, J. Berman, B. Mistler, and A. Katelas

                                                                                                    Internal meeting to discuss historical returns, accounting methods and approach going forward. EY
Berman,Jake                 JB        Senior Manager     5/16/2023         US Income Tax                                                                                                                     0.5     $650.00       $325.00
                                                                                                    attendees: L. Lovelace, D. Bailey, T. Shea, J. Scott, J. Berman, B. Mistler, and A. Katelas

                                       Client Serving                                               Internal meeting to discuss historical returns, accounting methods and approach going forward. EY
Scott,James                 JS                           5/16/2023         US Income Tax                                                                                                                     0.5     $600.00       $300.00
                                       Contractor JS                                                attendees: L. Lovelace, D. Bailey, T. Shea, J. Scott, J. Berman, B. Mistler, and A. Katelas

                                                                                                    Internal meeting to discuss historical returns, accounting methods and approach going forward. EY
Shea JR,Thomas M           TMS       Partner/Principal   5/16/2023         US Income Tax                                                                                                                     0.5     $825.00       $412.50
                                                                                                    attendees: L. Lovelace, D. Bailey, T. Shea, J. Scott, J. Berman, B. Mistler, and A. Katelas

                                                                                                    Internal meeting to discuss historical returns, accounting methods and approach going forward. EY
Bailey,Doug                 DB       Partner/Principal   5/16/2023          Tax Advisory                                                                                                                     0.5     $825.00       $412.50
                                                                                                    attendees: L. Lovelace, D. Bailey, T. Shea, J. Scott, J. Berman, B. Mistler, and A. Katelas

                                                                                                    Internal meeting to discuss historical returns, accounting methods and approach going forward. EY
Lovelace,Lauren             LL       Partner/Principal   5/16/2023       US International Tax                                                                                                                0.5     $825.00       $412.50
                                                                                                    attendees: L. Lovelace, D. Bailey, T. Shea, J. Scott, J. Berman, B. Mistler, and A. Katelas
                                                                                                    Meeting with K. Jacobs (A&M) and D. Hariton (S&C) to discuss latest tax technical updates and
Katelas,Andreas             KA            Senior         5/16/2023   Meetings with Other Advisors   other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea, B. Mistler, J. Berman, J. Scott,    0.5     $395.00       $197.50
                                                                                                    and A. Katelas
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                                                         Date of
                  Name   Initials         Rank                               Project Category                                                    Description of Services                                           Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Meeting with K. Jacobs (A&M) and D. Hariton (S&C) to discuss latest tax technical updates and
Mistler,Brian M          BMM            Manager         5/16/2023      Meetings with Other Advisors        other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea, B. Mistler, J. Berman, J. Scott,    0.5     $525.00       $262.50
                                                                                                           and A. Katelas
                                                                                                           Meeting with K. Jacobs (A&M) and D. Hariton (S&C) to discuss latest tax technical updates and
Berman,Jake                JB        Senior Manager     5/16/2023      Meetings with Other Advisors        other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea, B. Mistler, J. Berman, J. Scott,    0.5     $650.00       $325.00
                                                                                                           and A. Katelas
                                                                                                           Meeting with K. Jacobs (A&M) and D. Hariton (S&C) to discuss latest tax technical updates and
                                      Client Serving
Scott,James                JS                           5/16/2023      Meetings with Other Advisors        other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea, B. Mistler, J. Berman, J. Scott,    0.5     $600.00       $300.00
                                      Contractor JS
                                                                                                           and A. Katelas
                                                                                                           Meeting with K. Jacobs (A&M) and D. Hariton (S&C) to discuss latest tax technical updates and
Shea JR,Thomas M          TMS       Partner/Principal   5/16/2023      Meetings with Other Advisors        other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea, B. Mistler, J. Berman, J. Scott,    0.5     $825.00       $412.50
                                                                                                           and A. Katelas
                                                                                                           Meeting with K. Jacobs (A&M) and D. Hariton (S&C) to discuss latest tax technical updates and
Lovelace,Lauren            LL       Partner/Principal   5/16/2023      Meetings with Other Advisors        other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea, B. Mistler, J. Berman, J. Scott,    0.5     $825.00       $412.50
                                                                                                           and A. Katelas
                                                                                                           Meeting with K. Jacobs (A&M) and D. Hariton (S&C) to discuss latest tax technical updates and
Bailey,Doug                DB       Partner/Principal   5/16/2023      Meetings with Other Advisors        other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea, B. Mistler, J. Berman, J. Scott,    0.5     $825.00       $412.50
                                                                                                           and A. Katelas
                                                                                                           Internal meeting to discuss cryptocurrency valuation methods. EY attendees: A. Katelas, D. Bailey,
Bost,Anne                  BA       Managing Director   5/16/2023             Transfer Pricing                                                                                                                      0.5     $775.00       $387.50
                                                                                                           A. Bost, J. Scott, and T. Shea
                                                                                                           Internal meeting to discuss cryptocurrency valuation methods. EY attendees: A. Katelas, D. Bailey,
Katelas,Andreas            KA            Senior         5/16/2023           US International Tax                                                                                                                    0.5     $395.00       $197.50
                                                                                                           A. Bost, J. Scott, and T. Shea
                                      Client Serving                                                       Internal meeting to discuss cryptocurrency valuation methods. EY attendees: A. Katelas, D. Bailey,
Scott,James                JS                           5/16/2023             US Income Tax                                                                                                                         0.5     $600.00       $300.00
                                      Contractor JS                                                        A. Bost, J. Scott, and T. Shea
                                                                                                           Internal meeting to discuss cryptocurrency valuation methods. EY attendees: A. Katelas, D. Bailey,
Shea JR,Thomas M          TMS       Partner/Principal   5/16/2023             US Income Tax                                                                                                                         0.5     $825.00       $412.50
                                                                                                           A. Bost, J. Scott, and T. Shea
                                                                                                           Internal meeting to discuss cryptocurrency valuation methods. EY attendees: A. Katelas, D. Bailey,
Bailey,Doug                DB       Partner/Principal   5/16/2023              Tax Advisory                                                                                                                         0.5     $825.00       $412.50
                                                                                                           A. Bost, J. Scott, and T. Shea
                                                                                                           Weekly FTX Meeting to review workstream project status, discuss progress on deliverables, risks,
Tong,Chia-Hui             CHT        Senior Manager     5/19/2023   Project Management Office Transition   identify issues, and determine action items. EY attendees: A. Farrar, C. Tong, C. Cavusoglu, and H.      0.5     $650.00       $325.00
                                                                                                           Choudary
                                                                                                           Weekly FTX Meeting to review workstream project status, discuss progress on deliverables, risks,
Choudary,Hira              HC             Staff         5/19/2023               Non US Tax                 identify issues, and determine action items. EY attendees: A. Farrar, C. Tong, C. Cavusoglu, and H.      0.5     $225.00       $112.50
                                                                                                           Choudary
                                                                                                           Weekly FTX Meeting to review workstream project status, discuss progress on deliverables, risks,
Farrar,Anne                AF       Partner/Principal   5/19/2023   Project Management Office Transition   identify issues, and determine action items. EY attendees: A. Farrar, C. Tong, C. Cavusoglu, and H.      0.5     $825.00       $412.50
                                                                                                           Choudary
                                                                                                           Weekly FTX Meeting to review workstream project status, discuss progress on deliverables, risks,
Cavusoglu,Coskun           CC       Partner/Principal   5/19/2023               Technology                 identify issues, and determine action items. EY attendees: A. Farrar, C. Tong, C. Cavusoglu, and H.      0.5     $825.00       $412.50
                                                                                                           Choudary
                                                                                                           Weekly call with D. Hariton (S&C), C. Howe (A&M), and K. Jacobs (A&M) to review progress on
Mistler,Brian M          BMM            Manager         5/19/2023      Meetings with Other Advisors                                                                                                                 0.8     $525.00       $420.00
                                                                                                           tax workstreams and address open items. EY attendees: T. Shea, J. Scott, B. Mistler, and J. Berman

                                                                                                           Weekly call with D. Hariton (S&C), C. Howe (A&M), and K. Jacobs (A&M) to review progress on
Berman,Jake                JB        Senior Manager     5/19/2023      Meetings with Other Advisors                                                                                                                 0.8     $650.00       $520.00
                                                                                                           tax workstreams and address open items. EY attendees: T. Shea, J. Scott, B. Mistler, and J. Berman

                                      Client Serving                                                       Weekly call with D. Hariton (S&C), C. Howe (A&M), and K. Jacobs (A&M) to review progress on
Scott,James                JS                           5/19/2023      Meetings with Other Advisors                                                                                                                 0.8     $600.00       $480.00
                                      Contractor JS                                                        tax workstreams and address open items. EY attendees: T. Shea, J. Scott, B. Mistler, and J. Berman

                                                                                                           Weekly call with D. Hariton (S&C), C. Howe (A&M), and K. Jacobs (A&M) to review progress on
Shea JR,Thomas M          TMS       Partner/Principal   5/19/2023      Meetings with Other Advisors                                                                                                                 0.8     $825.00       $660.00
                                                                                                           tax workstreams and address open items. EY attendees: T. Shea, J. Scott, B. Mistler, and J. Berman
                                                                                                           Bi-weekly Federal tax team meeting to discuss workstreams and upcoming deadlines. EY
Mistler,Brian M          BMM            Manager         5/15/2023             US Income Tax                                                                                                                         0.5     $525.00       $262.50
                                                                                                           attendees: T. Shea, J. Scott, J. Berman, and B. Mistler
                                                                                                           Bi-weekly Federal tax team meeting to discuss workstreams and upcoming deadlines. EY
Berman,Jake                JB        Senior Manager     5/15/2023             US Income Tax                                                                                                                         0.5     $650.00       $325.00
                                                                                                           attendees: T. Shea, J. Scott, J. Berman, and B. Mistler
                                      Client Serving                                                       Bi-weekly Federal tax team meeting to discuss workstreams and upcoming deadlines. EY
Scott,James                JS                           5/15/2023             US Income Tax                                                                                                                         0.5     $600.00       $300.00
                                      Contractor JS                                                        attendees: T. Shea, J. Scott, J. Berman, and B. Mistler
                                                                                                           Bi-weekly Federal tax team meeting to discuss workstreams and upcoming deadlines. EY
Shea JR,Thomas M          TMS       Partner/Principal   5/15/2023             US Income Tax                                                                                                                         0.5     $825.00       $412.50
                                                                                                           attendees: T. Shea, J. Scott, J. Berman, and B. Mistler
Mistler,Brian M          BMM            Manager         5/16/2023             US Income Tax                Audit response working session. EY attendees: T. Shea, J. Berman, J. Scott, and B. Mistler               2.0     $525.00      $1,050.00
Berman,Jake               JB        Senior Manager      5/16/2023            IRS Audit Matters             Audit response working session. EY attendees: T. Shea, J. Berman, J. Scott, and B. Mistler               2.0     $650.00      $1,300.00
                                     Client Serving
Scott,James                JS                           5/16/2023             US Income Tax                Audit response working session. EY attendees: T. Shea, J. Berman, J. Scott, and B. Mistler               2.0     $600.00      $1,200.00
                                     Contractor JS
Shea JR,Thomas M         TMS        Partner/Principal   5/16/2023             US Income Tax                Audit response working session. EY attendees: T. Shea, J. Berman, J. Scott, and B. Mistler               2.0     $825.00      $1,650.00
Mistler,Brian M          BMM            Manager         5/18/2023            IRS Audit Matters             Audit response working session. EY attendees: T. Shea, J. Berman, and B. Mistler                         3.0     $525.00      $1,575.00
Berman,Jake               JB        Senior Manager      5/18/2023            IRS Audit Matters             Audit response working session. EY attendees: T. Shea, J. Berman, and B. Mistler                         3.0     $650.00      $1,950.00
Shea JR,Thomas M         TMS        Partner/Principal   5/18/2023            IRS Audit Matters             Audit response working session. EY attendees: T. Shea, J. Berman, and B. Mistler                         3.0     $825.00      $2,475.00
                                                                                                           Meeting to discuss communication with IRS. EY attendees: J. Berman, T. Shea, J. Scott, N. Flagg,
Mistler,Brian M          BMM            Manager         5/18/2023            IRS Audit Matters                                                                                                                      0.5     $525.00       $262.50
                                                                                                           K. Gatt, and B. Mistler
                                                                                                           Meeting to discuss communication with IRS. EY attendees: J. Berman, T. Shea, J. Scott, N. Flagg,
Berman,Jake                JB        Senior Manager     5/18/2023            IRS Audit Matters                                                                                                                      0.5     $650.00       $325.00
                                                                                                           K. Gatt, and B. Mistler
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                                                         Date of
                  Name   Initials         Rank                               Project Category                                                    Description of Services                                           Hours   Hourly Rate   Fees
                                                         Service
                                      Client Serving                                                       Meeting to discuss communication with IRS. EY attendees: J. Berman, T. Shea, J. Scott, N. Flagg,
Scott,James                JS                           5/18/2023             US Income Tax                                                                                                                         0.5     $600.00       $300.00
                                      Contractor JS                                                        K. Gatt, and B. Mistler
                                                                                                           Meeting to discuss communication with IRS. EY attendees: J. Berman, T. Shea, J. Scott, N. Flagg,
Shea JR,Thomas M          TMS       Partner/Principal   5/18/2023            IRS Audit Matters                                                                                                                      0.5     $825.00       $412.50
                                                                                                           K. Gatt, and B. Mistler
                                                                                                           Meeting to discuss communication with IRS. EY attendees: J. Berman, T. Shea, J. Scott, N. Flagg,
Flagg,Nancy A.            NAF       Managing Director   5/18/2023            IRS Audit Matters                                                                                                                      0.5     $775.00       $387.50
                                                                                                           K. Gatt, and B. Mistler
                                                                                                           Meeting to discuss communication with IRS. EY attendees: J. Berman, T. Shea, J. Scott, N. Flagg,
Gatt,Katie                 KG        Senior Manager     5/18/2023         US State and Local Tax                                                                                                                    0.5     $650.00       $325.00
                                                                                                           K. Gatt, and B. Mistler
                                                                                                           Audit response working session. EY attendees: J. Healy, T. Ferris, A. Bost, B. Mistler, T. Shea,
Bost,Anne                  BA       Managing Director   5/18/2023             Transfer Pricing                                                                                                                      2.0     $775.00      $1,550.00
                                                                                                           and J. Berman
                                                                                                           Audit response working session. EY attendees: J. Healy, T. Ferris, A. Bost, B. Mistler, T. Shea,
Mistler,Brian M          BMM            Manager         5/25/2023            IRS Audit Matters                                                                                                                      2.0     $525.00      $1,050.00
                                                                                                           and J. Berman
                                                                                                           Audit response working session. EY attendees: J. Healy, T. Ferris, A. Bost, B. Mistler, T. Shea,
Healy,John                 JH        Senior Manager     5/18/2023            IRS Audit Matters                                                                                                                      2.0     $650.00      $1,300.00
                                                                                                           and J. Berman
                                                                                                           Audit response working session. EY attendees: J. Healy, T. Ferris, A. Bost, B. Mistler, T. Shea,
Ferris,Tara                TF       Partner/Principal   5/18/2023            IRS Audit Matters                                                                                                                      2.0     $825.00      $1,650.00
                                                                                                           and J. Berman
                                                                                                           Audit response working session. EY attendees: J. Healy, T. Ferris, A. Bost, B. Mistler, T. Shea,
Shea JR,Thomas M          TMS       Partner/Principal   5/18/2023             US Income Tax                                                                                                                         2.0     $825.00      $1,650.00
                                                                                                           and J. Berman
                                                                                                           Audit response working session. EY attendees: J. Healy, T. Ferris, A. Bost, B. Mistler, T. Shea,
Berman,Jake                JB        Senior Manager     5/18/2023            IRS Audit Matters                                                                                                                      2.0     $650.00      $1,300.00
                                                                                                           and J. Berman
                                                                                                           Audit response touchpoint to ensure deliverables are progressing and to identify any risks or issues.
Tong,Chia-Hui             CHT        Senior Manager     5/19/2023   Project Management Office Transition                                                                                                            0.4     $650.00       $260.00
                                                                                                           Meeting with T. Shea, J. Scott, D. Bailey, L. Lovelace, J. Healy, J. Berman, and C. Tong

                                                                                                           Audit response touchpoint to ensure deliverables are progressing and to identify any risks or issues.
Berman,Jake                JB        Senior Manager     5/19/2023            IRS Audit Matters                                                                                                                      0.4     $650.00       $260.00
                                                                                                           Meeting with T. Shea, J. Scott, D. Bailey, L. Lovelace, J. Healy, J. Berman, and C. Tong

                                      Client Serving                                                       Audit response touchpoint to ensure deliverables are progressing and to identify any risks or issues.
Scott,James                JS                           5/19/2023             US Income Tax                                                                                                                         0.4     $600.00       $240.00
                                      Contractor JS                                                        Meeting with T. Shea, J. Scott, D. Bailey, L. Lovelace, J. Healy, J. Berman, and C. Tong

                                                                                                           Audit response touchpoint to ensure deliverables are progressing and to identify any risks or issues.
Lovelace,Lauren            LL       Partner/Principal   5/19/2023           US International Tax                                                                                                                    0.4     $825.00       $330.00
                                                                                                           Meeting with T. Shea, J. Scott, D. Bailey, L. Lovelace, J. Healy, J. Berman, and C. Tong

                                                                                                           Audit response touchpoint to ensure deliverables are progressing and to identify any risks or issues.
Shea JR,Thomas M          TMS       Partner/Principal   5/19/2023            IRS Audit Matters                                                                                                                      0.4     $825.00       $330.00
                                                                                                           Meeting with T. Shea, J. Scott, D. Bailey, L. Lovelace, J. Healy, J. Berman, and C. Tong

                                                                                                           Audit response touchpoint to ensure deliverables are progressing and to identify any risks or issues.
Bailey,Doug                DB       Partner/Principal   5/19/2023              Tax Advisory                                                                                                                         0.4     $825.00       $330.00
                                                                                                           Meeting with T. Shea, J. Scott, D. Bailey, L. Lovelace, J. Healy, J. Berman, and C. Tong

                                                                                                           Audit response touchpoint to ensure deliverables are progressing and to identify any risks or issues.
Healy,John                 JH        Senior Manager     5/19/2023            IRS Audit Matters                                                                                                                      0.4     $650.00       $260.00
                                                                                                           Meeting with T. Shea, J. Scott, D. Bailey, L. Lovelace, J. Healy, J. Berman, and C. Tong
                                                                                                           Internal call to close employment tax accounts through online portal. EY attendees: K. Wrenn and
Wrenn,Kaitlin Doyle      KDW            Manager         5/18/2023               Payroll Tax                                                                                                                         0.6     $525.00       $315.00
                                                                                                           V. Short
                                                                                                           Internal call to close employment tax accounts through online portal. EY attendees: K. Wrenn and
Short,Victoria             VS            Senior         5/18/2023               Payroll Tax                                                                                                                         0.6     $395.00       $237.00
                                                                                                           V. Short
                                                                                                           Internal meeting to discuss accounting method changes. EY attendees: L. Lovelace, D. Bailey, T.
Katelas,Andreas            KA            Senior         5/16/2023           US International Tax                                                                                                                    0.5     $395.00       $197.50
                                                                                                           Shea, J. Scott, J. Berman, B. Mistler, A. Katelas, and S. Weiler
                                                                                                           Internal meeting to discuss accounting method changes. EY attendees: L. Lovelace, D. Bailey, T.
Mistler,Brian M          BMM            Manager         5/16/2023            IRS Audit Matters                                                                                                                      0.5     $525.00       $262.50
                                                                                                           Shea, J. Scott, J. Berman, B. Mistler, A. Katelas, and S. Weiler
                                                                                                           Internal meeting to discuss accounting method changes. EY attendees: L. Lovelace, D. Bailey, T.
Berman,Jake                JB        Senior Manager     5/16/2023             US Income Tax                                                                                                                         0.5     $650.00       $325.00
                                                                                                           Shea, J. Scott, J. Berman, B. Mistler, A. Katelas, and S. Weiler
                                      Client Serving                                                       Internal meeting to discuss accounting method changes. EY attendees: L. Lovelace, D. Bailey, T.
Scott,James                JS                           5/16/2023             US Income Tax                                                                                                                         0.5     $600.00       $300.00
                                      Contractor JS                                                        Shea, J. Scott, J. Berman, B. Mistler, A. Katelas, and S. Weiler
                                                                                                           Internal meeting to discuss accounting method changes. EY attendees: L. Lovelace, D. Bailey, T.
Bailey,Doug                DB       Partner/Principal   5/16/2023              Tax Advisory                                                                                                                         0.5     $825.00       $412.50
                                                                                                           Shea, J. Scott, J. Berman, B. Mistler, A. Katelas, and S. Weiler
                                                                                                           Internal meeting to discuss accounting method changes. EY attendees: L. Lovelace, D. Bailey, T.
Lovelace,Lauren            LL       Partner/Principal   5/16/2023           US International Tax                                                                                                                    0.5     $825.00       $412.50
                                                                                                           Shea, J. Scott, J. Berman, B. Mistler, A. Katelas, and S. Weiler
                                                                                                           Internal meeting to discuss accounting method changes. EY attendees: L. Lovelace, D. Bailey, T.
Shea JR,Thomas M          TMS       Partner/Principal   5/16/2023             US Income Tax                                                                                                                         0.5     $825.00       $412.50
                                                                                                           Shea, J. Scott, J. Berman, B. Mistler, A. Katelas, and S. Weiler
                                                                                                           Internal meeting to discuss accounting method changes. EY attendees: L. Lovelace, D. Bailey, T.
Weiler,Sam P              SPW       Partner/Principal   5/16/2023              Tax Advisory                                                                                                                         0.5     $825.00       $412.50
                                                                                                           Shea, J. Scott, J. Berman, B. Mistler, A. Katelas, and S. Weiler
                                                                                                           Internal meeting to discuss revenue threshold. EY attendees: L. Lovelace, A. Katelas, D. Ortiz, M.
Katelas,Andreas            KA            Senior         5/16/2023           US International Tax                                                                                                                    0.5     $395.00       $197.50
                                                                                                           Zhuo, and P. Zhu
                                                                                                           Internal meeting to discuss revenue threshold. EY attendees: L. Lovelace, A. Katelas, D. Ortiz, M.
Zhuo,Melody                MZ             Staff         5/16/2023           US International Tax                                                                                                                    0.5     $225.00       $112.50
                                                                                                           Zhuo, and P. Zhu
                                                                                                           Internal meeting to discuss revenue threshold. EY attendees: L. Lovelace, A. Katelas, D. Ortiz, M.
Zhu,Philip                 PZ            Senior         5/16/2023           US International Tax                                                                                                                    0.5     $395.00       $197.50
                                                                                                           Zhuo, and P. Zhu
                                                                                                           Internal meeting to discuss revenue threshold. EY attendees: L. Lovelace, A. Katelas, D. Ortiz, M.
Ortiz,Daniella             DO             Staff         5/16/2023           US International Tax                                                                                                                    0.5     $225.00       $112.50
                                                                                                           Zhuo, and P. Zhu
                                                                                                           Internal meeting to discuss revenue threshold. EY attendees: L. Lovelace, A. Katelas, D. Ortiz, M.
Lovelace,Lauren            LL       Partner/Principal   5/16/2023           US International Tax                                                                                                                    0.5     $825.00       $412.50
                                                                                                           Zhuo, and P. Zhu
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                                                        Date of
                 Name   Initials         Rank                           Project Category                                               Description of Services                                          Hours   Hourly Rate   Fees
                                                        Service
                                                                                                  Internal meeting to discuss status of international compliance requirements. EY attendees: R. Yang,
Karan,Anna Suncheuri     ASK             Staff         5/17/2023       US International Tax                                                                                                              0.5     $225.00       $112.50
                                                                                                  A. Katelas, A. Karan, M. Zhuo, P. Zhu, and D. Ortiz
                                                                                                  Internal meeting to discuss status of international compliance requirements. EY attendees: R. Yang,
Katelas,Andreas           KA            Senior         5/17/2023       US International Tax                                                                                                              0.5     $395.00       $197.50
                                                                                                  A. Katelas, A. Karan, M. Zhuo, P. Zhu, and D. Ortiz
                                                                                                  Internal meeting to discuss status of international compliance requirements. EY attendees: R. Yang,
Zhuo,Melody               MZ             Staff         5/17/2023       US International Tax                                                                                                              0.5     $225.00       $112.50
                                                                                                  A. Katelas, A. Karan, M. Zhuo, P. Zhu, and D. Ortiz
                                                                                                  Internal meeting to discuss status of international compliance requirements. EY attendees: R. Yang,
Yang,Rachel Sim          RSY        Senior Manager     5/17/2023       US International Tax                                                                                                              0.5     $650.00       $325.00
                                                                                                  A. Katelas, A. Karan, M. Zhuo, P. Zhu, and D. Ortiz
                                                                                                  Internal meeting to discuss status of international compliance requirements. EY attendees: R. Yang,
Zhu,Philip                PZ            Senior         5/17/2023       US International Tax                                                                                                              0.5     $395.00       $197.50
                                                                                                  A. Katelas, A. Karan, M. Zhuo, P. Zhu, and D. Ortiz
                                                                                                  Internal meeting to discuss status of international compliance requirements. EY attendees: R. Yang,
Ortiz,Daniella            DO             Staff         5/17/2023       US International Tax                                                                                                              0.5     $225.00       $112.50
                                                                                                  A. Katelas, A. Karan, M. Zhuo, P. Zhu, and D. Ortiz
                                                                                                  Meeting with K. Jacobs (A&M), D. Hariton (S&C), and H. Kim (S&C) to discuss cryptocurrency
Katelas,Andreas           KA            Senior         5/17/2023   Meetings with Other Advisors                                                                                                          0.7     $395.00       $276.50
                                                                                                  valuation methods. EY attendees: A. Bost, J. Scott, and A. Katelas
                                     Client Serving                                               Meeting with K. Jacobs (A&M), D. Hariton (S&C), and H. Kim (S&C) to discuss cryptocurrency
Scott,James               JS                           5/17/2023   Meetings with Other Advisors                                                                                                          0.7     $600.00       $420.00
                                     Contractor JS                                                valuation methods. EY attendees: A. Bost, J. Scott, and A. Katelas
                                                                                                  Meeting with K. Jacobs (A&M), D. Hariton (S&C), and H. Kim (S&C) to discuss cryptocurrency
Bost,Anne                 BA       Managing Director   5/17/2023   Meetings with Other Advisors                                                                                                          0.7     $775.00       $542.50
                                                                                                  valuation methods. EY attendees: A. Bost, J. Scott, and A. Katelas
                                                                                                  Internal call to regroup on cryptocurrency valuation methods and discuss next steps following call
Katelas,Andreas           KA            Senior         5/18/2023   Meetings with Other Advisors                                                                                                          0.5     $395.00       $197.50
                                                                                                  with A&M and S&C. EY attendees: D. Bailey and A. Katelas
                                                                                                  Internal call to regroup on cryptocurrency valuation methods and discuss next steps following call
Bailey,Doug               DB       Partner/Principal   5/18/2023   Meetings with Other Advisors                                                                                                          0.5     $825.00       $412.50
                                                                                                  with A&M and S&C. EY attendees: D. Bailey and A. Katelas
                                                                                                  Internal meeting to discuss FTX international workstreams and allocation of roles and
Katelas,Andreas           KA            Senior         5/19/2023       US International Tax                                                                                                              0.7     $395.00       $276.50
                                                                                                  responsibilities. EY attendees: A. Katelas and A. Glattstein
                                                                                                  Internal meeting to discuss FTX international workstreams and allocation of roles and
Glattstein,Arielle        AG             Staff         5/19/2023       US International Tax                                                                                                              0.7     $225.00       $157.50
                                                                                                  responsibilities. EY attendees: A. Katelas and A. Glattstein
                                                                                                  Meeting with BlackOak, TLB Law Firm, and FTX to discuss Quoine Pte Ltd Singapore entity
MacLean,Corrie           CM             Senior         5/18/2023           Non US Tax                                                                                                                    0.8     $395.00       $316.00
                                                                                                  compliance status. EY attendees: C. MacLean, K. Staromiejska, and W. Wong
                                                                                                  Meeting with BlackOak, TLB Law Firm, and FTX to discuss Quoine Pte Ltd Singapore entity
Staromiejska,Kinga        KS           Manager         5/18/2023           Non US Tax                                                                                                                    0.8     $525.00       $420.00
                                                                                                  compliance status. EY attendees: C. MacLean, K. Staromiejska, and W. Wong
                                                                                                  Meeting with BlackOak, TLB Law Firm, and FTX to discuss Quoine Pte Ltd Singapore entity
Wong,Wendy               WW         Senior Manager     5/18/2023           Non US Tax                                                                                                                    0.8     $650.00       $520.00
                                                                                                  compliance status. EY attendees: C. MacLean, K. Staromiejska, and W. Wong
                                                                                                  Daily meeting to review new documentation provided, address open items and questions from
MacLean,Corrie           CM             Senior         5/19/2023           Non US Tax             E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: K.          1.0     $395.00       $395.00
                                                                                                  Staromiejska and C. MacLean
                                                                                                  Daily meeting to review new documentation provided, address open items and questions from
Staromiejska,Kinga        KS           Manager         5/19/2023           Non US Tax             E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: K.          1.0     $525.00       $525.00
                                                                                                  Staromiejska and C. MacLean
                                                                                                  Weekly recap and upcoming items for next week concerning transition workstream. EY attendees:
MacLean,Corrie           CM             Senior         5/19/2023           Non US Tax                                                                                                                    0.5     $395.00       $197.50
                                                                                                  T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                  Weekly recap and upcoming items for next week concerning transition workstream. EY attendees:
Knoeller,Thomas J.       TJK       Partner/Principal   5/19/2023           Non US Tax                                                                                                                    0.5     $825.00       $412.50
                                                                                                  T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                  Weekly recap and upcoming items for next week concerning transition workstream. EY attendees:
Staromiejska,Kinga        KS           Manager         5/19/2023           Non US Tax                                                                                                                    0.5     $525.00       $262.50
                                                                                                  T. Knoeller, K. Staromiejska, and C. MacLean
                                                                                                  Meeting with C. Camella (LedgerX) and D. Fish (LedgerX) to request support documentation for
Hall,Emily Melissa       EMH            Senior         5/19/2023     US State and Local Tax       IRS audit, New York sales and use tax audit, and state corporate income tax filings. EY attendees:     1.0     $395.00       $395.00
                                                                                                  M. Musano, J. Berman, J. Jimenez, K. Wrenn, and E. Hall
                                                                                                  Meeting with C. Camella (LedgerX) and D. Fish (LedgerX) to request support documentation for
Wrenn,Kaitlin Doyle     KDW            Manager         5/19/2023           Payroll Tax            IRS audit, New York sales and use tax audit, and state corporate income tax filings. EY attendees:     1.0     $525.00       $525.00
                                                                                                  M. Musano, J. Berman, J. Jimenez, K. Wrenn, and E. Hall
                                                                                                  Meeting with C. Camella (LedgerX) and D. Fish (LedgerX) to request support documentation for
Berman,Jake               JB        Senior Manager     5/19/2023         US Income Tax            IRS audit, New York sales and use tax audit, and state corporate income tax filings. EY attendees:     1.0     $650.00       $650.00
                                                                                                  M. Musano, J. Berman, J. Jimenez, K. Wrenn, and E. Hall
                                                                                                  Meeting with C. Camella (LedgerX) and D. Fish (LedgerX) to request support documentation for
Musano,Matthew Albert   MAM         Senior Manager     5/19/2023     US State and Local Tax       IRS audit, New York sales and use tax audit, and state corporate income tax filings. EY attendees:     1.0     $650.00       $650.00
                                                                                                  M. Musano, J. Berman, J. Jimenez, K. Wrenn, and E. Hall
                                                                                                  Meeting with C. Camella (LedgerX) and D. Fish (LedgerX) to request support documentation for
Jimenez,Joseph Robert     JRJ       Senior Manager     5/19/2023     US State and Local Tax       IRS audit, New York sales and use tax audit, and state corporate income tax filings. EY attendees:     1.0     $650.00       $650.00
                                                                                                  M. Musano, J. Berman, J. Jimenez, K. Wrenn, and E. Hall
                                                                                                  Meeting with D. Fish (LedgerX) and G. Camella (LedgerX) to walk through documentation
Hall,Emily Melissa       EMH            Senior         5/19/2023     US State and Local Tax       requests for IRS audit, New York sales and use tax audit, and state and local corporate income tax     1.0     $395.00       $395.00
                                                                                                  filings. EY attendees: M. Musano, J. Berman, J. Jimenez, K. Wrenn, and E. Hall
                                                                                                  Meeting with D. Fish (LedgerX) and G. Camella (LedgerX) to walk through documentation
Berman,Jake               JB        Senior Manager     5/19/2023         US Income Tax            requests for IRS audit, New York sales and use tax audit, and state and local corporate income tax     1.0     $650.00       $650.00
                                                                                                  filings. EY attendees: M. Musano, J. Berman, J. Jimenez, K. Wrenn, and E. Hall
                                                                                                  Meeting with D. Fish (LedgerX) and G. Camella (LedgerX) to walk through documentation
Jimenez,Joseph Robert     JRJ       Senior Manager     5/19/2023     US State and Local Tax       requests for IRS audit, New York sales and use tax audit, and state and local corporate income tax     1.0     $650.00       $650.00
                                                                                                  filings. EY attendees: M. Musano, J. Berman, J. Jimenez, K. Wrenn, and E. Hall
                                                                                                  Meeting with D. Fish (LedgerX) and G. Camella (LedgerX) to walk through documentation
Wrenn,Kaitlin Doyle     KDW            Manager         5/19/2023           Payroll Tax            requests for IRS audit, New York sales and use tax audit, and state and local corporate income tax     1.0     $525.00       $525.00
                                                                                                  filings. EY attendees: M. Musano, J. Berman, J. Jimenez, K. Wrenn, and E. Hall
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                                                                Date of
                  Name          Initials        Rank                                Project Category                                                   Description of Services                                         Hours   Hourly Rate   Fees
                                                                Service
                                                                                                                  Meeting with D. Fish (LedgerX) and G. Camella (LedgerX) to walk through documentation
Musano,Matthew Albert           MAM         Senior Manager     5/19/2023         US State and Local Tax           requests for IRS audit, New York sales and use tax audit, and state and local corporate income tax    1.0     $650.00       $650.00
                                                                                                                  filings. EY attendees: M. Musano, J. Berman, J. Jimenez, K. Wrenn, and E. Hall
                                                                                                                  Internal call regarding employment tax account closures and account status for WRSS and
Wrenn,Kaitlin Doyle             KDW            Manager         5/19/2023               Payroll Tax                                                                                                                      0.8     $525.00       $420.00
                                                                                                                  Alameda. EY attendees: K. Wrenn and V. Short
                                                                                                                  Internal call regarding employment tax account closures and account status for WRSS and
Short,Victoria                    VS            Senior         5/19/2023               Payroll Tax                                                                                                                      0.8     $395.00       $316.00
                                                                                                                  Alameda. EY attendees: K. Wrenn and V. Short
                                                                                                                  EY internal call to discuss outstanding workflows along with status of FTX claims log. EY
Johnson,Derrick Joseph           DJJ             Staff         5/15/2023         US State and Local Tax                                                                                                                 0.6     $225.00       $135.00
                                                                                                                  attendees: D. Johnson, K. Gatt and N. Flagg
                                                                                                                  EY internal call to discuss outstanding workflows along with status of FTX claims log. EY
Flagg,Nancy A.                   NAF       Managing Director   5/15/2023         US State and Local Tax                                                                                                                 0.6     $775.00       $465.00
                                                                                                                  attendees: D. Johnson, K. Gatt and N. Flagg
                                                                                                                  EY internal call to discuss outstanding workflows along with status of FTX claims log. EY
Gatt,Katie                        KG        Senior Manager     5/15/2023         US State and Local Tax                                                                                                                 0.6     $650.00       $390.00
                                                                                                                  attendees: D. Johnson, K. Gatt and N. Flagg
                                                                                                                  Meeting with K. Schultea (FTX) regarding US domestic employment tax open items; including
                                                                                                                  state/local employment tax account status updates and next steps, IRS Proof of Claims summary,
DeVincenzo,Jennie                JDV       Managing Director   5/22/2023        Meetings with Management                                                                                                                4.2     $775.00      $3,255.00
                                                                                                                  2022 bonus processing, IRS audit status and Alameda information document request for benefit
                                                                                                                  summary. EY attendees: K. Lowery, K. Wrenn, J. DeVincenzo
                                                                                                                  Meeting with K. Schultea (FTX) regarding US domestic employment tax open items; including
                                                                                                                  state/local employment tax account status updates and next steps, IRS Proof of Claims summary,
Wrenn,Kaitlin Doyle             KDW            Manager         5/22/2023        Meetings with Management                                                                                                                4.2     $525.00      $2,205.00
                                                                                                                  2022 bonus processing, IRS audit status and Alameda information document request for benefit
                                                                                                                  summary. EY attendees: K. Lowery, K. Wrenn, J. DeVincenzo
                                                                                                                  Meeting with K. Schultea (FTX) regarding US domestic employment tax open items; including
                                               National                                                           state/local employment tax account status updates and next steps, IRS Proof of Claims summary,
Lowery,Kristie L                 KLL                           5/22/2023        Meetings with Management                                                                                                                4.2     $990.00      $4,158.00
                                           Partner/Principal                                                      2022 bonus processing, IRS audit status and Alameda information document request for benefit
                                                                                                                  summary. EY attendees: K. Lowery, K. Wrenn, J. DeVincenzo
                                                                                                                  Meeting with K. Schultea (FTX) to discuss Equity Compensation review and documentation. EY
DeVincenzo,Jennie                JDV       Managing Director   5/22/2023        Meetings with Management                                                                                                                3.0     $775.00      $2,325.00
                                                                                                                  attendees: K. Lowery, K. Wrenn, J. DeVincenzo, K. Fitzgerald, and R. Walker
Fitzgerald,Kaitlin Rose          KRF             Staff         5/22/2023        Meetings with Management          Prepare for meeting with FTX by reviewing missing data                                                1.0     $225.00       $225.00
                                                                                                                  Meeting with K. Schultea (FTX) to discuss Equity Compensation review and documentation. EY
Fitzgerald,Kaitlin Rose          KRF             Staff         5/22/2023        Meetings with Management                                                                                                                3.0     $225.00       $675.00
                                                                                                                  attendees: K. Lowery, K. Wrenn, J. DeVincenzo, K. Fitzgerald, and R. Walker

                                                                                                                  Meeting with K. Schultea (FTX) to discuss Equity Compensation review and documentation. EY
Wrenn,Kaitlin Doyle             KDW            Manager         5/22/2023        Meetings with Management                                                                                                                3.0     $525.00      $1,575.00
                                                                                                                  attendees: K. Lowery, K. Wrenn, J. DeVincenzo, K. Fitzgerald, and R. Walker

                                               National                                                           Meeting with K. Schultea (FTX) to discuss Equity Compensation review and documentation. EY
Lowery,Kristie L                 KLL                           5/22/2023        Meetings with Management                                                                                                                3.0     $990.00      $2,970.00
                                           Partner/Principal                                                      attendees: K. Lowery, K. Wrenn, J. DeVincenzo, K. Fitzgerald, and R. Walker

                                                                                                                  Meeting with K. Schultea (FTX) to discuss Equity Compensation review and documentation. EY
Walker,Rachael Leigh Braswell   RLBW       Partner/Principal   5/22/2023        Meetings with Management                                                                                                                3.0     $825.00      $2,475.00
                                                                                                                  attendees: K. Lowery, K. Wrenn, J. DeVincenzo, K. Fitzgerald, and R. Walker
                                                                                                                  Bi-Weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Tong,Chia-Hui                    CHT        Senior Manager     5/23/2023   Project Management Office Transition                                                                                                         0.9     $650.00       $585.00
                                                                                                                  attendees: C. Ancona, C. Tong, and H. Choudary
                                                                                                                  Bi-Weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Choudary,Hira                     HC             Staff         5/23/2023               Non US Tax                                                                                                                       0.9     $225.00       $202.50
                                                                                                                  attendees: C. Ancona, C. Tong, and H. Choudary
                                                                                                                  Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
MacLean,Corrie                   CM             Senior         5/23/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.5     $395.00       $197.50
                                                                                                                  the implementation of global compliance and reporting services
                                                                                                                  Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bost,Anne                         BA       Managing Director   5/23/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.5     $775.00       $387.50
                                                                                                                  the implementation of global compliance and reporting services
                                                                                                                  Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katelas,Andreas                   KA            Senior         5/23/2023              Tax Advisory                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.5     $395.00       $197.50
                                                                                                                  the implementation of global compliance and reporting services
                                                                                                                  Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Farrar,Anne                       AF       Partner/Principal   5/23/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.5     $825.00       $412.50
                                                                                                                  the implementation of global compliance and reporting services
                                                                                                                  Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Mistler,Brian M                 BMM            Manager         5/23/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.5     $525.00       $262.50
                                                                                                                  the implementation of global compliance and reporting services
                                                                                                                  Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Tong,Chia-Hui                    CHT        Senior Manager     5/23/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.5     $650.00       $325.00
                                                                                                                  the implementation of global compliance and reporting services
                                                                                                                  Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Ancona,Christopher                CA            Senior         5/23/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.5     $395.00       $197.50
                                                                                                                  the implementation of global compliance and reporting services
                                                                                                                  Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katsnelson,David                  DK           Manager         5/23/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.5     $525.00       $262.50
                                                                                                                  the implementation of global compliance and reporting services
                                                                                                                  Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                               National
McComber,Donna                   DM                            5/23/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and       0.5     $990.00       $495.00
                                           Partner/Principal
                                                                                                                  the implementation of global compliance and reporting services
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                                                          Date of
                  Name    Initials         Rank                               Project Category                                                  Description of Services                                         Hours   Hourly Rate   Fees
                                                          Service
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Hall,Emily Melissa         EMH            Senior         5/23/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $395.00       $197.50
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Choudary,Hira               HC             Staff         5/23/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $225.00       $112.50
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Berman,Jake                 JB        Senior Manager     5/23/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                       Client Serving
Scott,James                 JS                           5/23/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $600.00       $300.00
                                       Contractor JS
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Flagg,Nancy A.             NAF       Managing Director   5/23/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $775.00       $387.50
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Haas,Zach                   ZH        Senior Manager     5/23/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Shea JR,Thomas M           TMS       Partner/Principal   5/23/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $825.00       $412.50
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Hammon,David Lane          DLH           Manager         5/23/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $525.00       $262.50
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bailey,Doug                 DB       Partner/Principal   5/23/2023              Tax Advisory                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $825.00       $412.50
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Musano,Matthew Albert     MAM         Senior Manager     5/23/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Ferris,Tara                 TF       Partner/Principal   5/23/2023            IRS Audit Matters             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $825.00       $412.50
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Richardson,Audrey Sarah    ASR           Manager         5/23/2023          Information Reporting           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $525.00       $262.50
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Healy,John                  JH        Senior Manager     5/23/2023            IRS Audit Matters             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                            the implementation of global compliance and reporting services
                                                                                                            Call with Payroll Operate workstream to discuss upcoming FTX tax deliverables and deadlines. EY
Soderman,Kathy              KS       Managing Director   5/23/2023               Payroll Tax                                                                                                                     0.3     $775.00       $232.50
                                                                                                            attendees: C. Tong, C. Ancona, H. Choudary, and K. Soderman
                                                                                                            Call with Payroll Operate workstream to discuss upcoming FTX tax deliverables and deadlines. EY
Tong,Chia-Hui              CHT        Senior Manager     5/23/2023   Project Management Office Transition                                                                                                        0.3     $650.00       $195.00
                                                                                                            attendees: C. Tong, C. Ancona, H. Choudary, and K. Soderman
                                                                                                            Call with Payroll Operate workstream to discuss upcoming FTX tax deliverables and deadlines. EY
Choudary,Hira               HC             Staff         5/23/2023               Non US Tax                                                                                                                      0.3     $225.00        $67.50
                                                                                                            attendees: C. Tong, C. Ancona, H. Choudary, and K. Soderman
                                                                                                            Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Mistler,Brian M           BMM            Manager         5/23/2023        Meetings with Management                                                                                                               0.5     $525.00       $262.50
                                                                                                            EY attendees: C. Ancona, C. Tong, J. Scott, J. Berman, B. Mistler, and K. Lowery
                                                                                                            Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Tong,Chia-Hui              CHT        Senior Manager     5/23/2023        Meetings with Management                                                                                                               0.5     $650.00       $325.00
                                                                                                            EY attendees: C. Ancona, C. Tong, J. Scott, J. Berman, B. Mistler, and K. Lowery
                                                                                                            Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Berman,Jake                 JB        Senior Manager     5/23/2023        Meetings with Management                                                                                                               0.5     $650.00       $325.00
                                                                                                            EY attendees: C. Ancona, C. Tong, J. Scott, J. Berman, B. Mistler, and K. Lowery
                                      Client Serving                                                        Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Scott,James                 JS                           5/23/2023        Meetings with Management                                                                                                               0.5     $600.00       $300.00
                                      Contractor JS                                                         EY attendees: C. Ancona, C. Tong, J. Scott, J. Berman, B. Mistler, and K. Lowery
                                         National                                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Lowery,Kristie L           KLL                           5/23/2023        Meetings with Management                                                                                                               0.5     $990.00       $495.00
                                     Partner/Principal                                                      EY attendees: C. Ancona, C. Tong, J. Scott, J. Berman, B. Mistler, and K. Lowery
                                                                                                            Meeting with J. Chan (FTX) to discuss FTX Canada due diligence. EY attendees: H. Choudary, D.
MacLean,Corrie             CM             Senior         5/23/2023        Meetings with Management          Katsnelson, S. Mak, T. Nasir, M. Leon, C. Charbonneau, A. Tse, C. MacLean, J. Shnaider, and D.       0.3     $395.00       $118.50
                                                                                                            Hammon
                                                                                                            Meeting with J. Chan (FTX) to discuss FTX Canada due diligence. EY attendees: H. Choudary, D.
Katsnelson,David            DK           Manager         5/23/2023        Meetings with Management          Katsnelson, S. Mak, T. Nasir, M. Leon, C. Charbonneau, A. Tse, C. MacLean, J. Shnaider, and D.       0.3     $525.00       $157.50
                                                                                                            Hammon
                                                                                                            Meeting with J. Chan (FTX) to discuss FTX Canada due diligence. EY attendees: H. Choudary, D.
Choudary,Hira               HC             Staff         5/23/2023        Meetings with Management          Katsnelson, S. Mak, T. Nasir, M. Leon, C. Charbonneau, A. Tse, C. MacLean, J. Shnaider, and D.       0.3     $225.00        $67.50
                                                                                                            Hammon
                                                                                                            Meeting with J. Chan (FTX) to discuss FTX Canada due diligence. EY attendees: H. Choudary, D.
Hammon,David Lane          DLH           Manager         5/23/2023        Meetings with Management          Katsnelson, S. Mak, T. Nasir, M. Leon, C. Charbonneau, A. Tse, C. MacLean, J. Shnaider, and D.       0.3     $525.00       $157.50
                                                                                                            Hammon
                                                                                                            Meeting with J. Chan (FTX) to discuss FTX Canada due diligence. EY attendees: H. Choudary, D.
Gil Diez de Leon,Marta     MDL           Manager         5/23/2023        Meetings with Management          Katsnelson, S. Mak, T. Nasir, M. Leon, C. Charbonneau, A. Tse, C. MacLean, J. Shnaider, and D.       0.3     $525.00       $157.50
                                                                                                            Hammon
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                                                             Date of
                  Name       Initials        Rank                           Project Category                                            Description of Services                                       Hours   Hourly Rate   Fees
                                                             Service
                                                                                                   Daily meeting to review new documentation provided, address open items and questions from
MacLean,Corrie                CM             Senior         5/23/2023         Non US Tax           E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.       1.0     $395.00       $395.00
                                                                                                   Hammon, C. MacLean, and H. Choudary
                                                                                                   Daily meeting to review new documentation provided, address open items and questions from
Hammon,David Lane             DLH           Manager         5/23/2023         Non US Tax           E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.       1.0     $525.00       $525.00
                                                                                                   Hammon, C. MacLean, and H. Choudary
                                                                                                   Daily meeting to review new documentation provided, address open items and questions from
Choudary,Hira                  HC             Staff         5/23/2023         Non US Tax           E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.       1.0     $225.00       $225.00
                                                                                                   Hammon, C. MacLean, and H. Choudary
                                                                                                   Internal state and local tax field of play call to discuss workstream updates. EY attendees: M.
Mistler,Brian M              BMM            Manager         5/23/2023        US Income Tax                                                                                                             0.4     $525.00       $210.00
                                                                                                   Musano, J. Scott, J. Jimenez, B. Mistler, D. Johnson, and E. Hall
                                                                                                   Internal state and local tax field of play call to discuss workstream updates. EY attendees: M.
Johnson,Derrick Joseph        DJJ             Staff         5/23/2023    US State and Local Tax                                                                                                        0.4     $225.00        $90.00
                                                                                                   Musano, J. Scott, J. Jimenez, B. Mistler, D. Johnson, and E. Hall
                                                                                                   Internal state and local tax field of play call to discuss workstream updates. EY attendees: M.
Hall,Emily Melissa            EMH            Senior         5/23/2023    US State and Local Tax                                                                                                        0.4     $395.00       $158.00
                                                                                                   Musano, J. Scott, J. Jimenez, B. Mistler, D. Johnson, and E. Hall
                                         Client Serving                                            Internal state and local tax field of play call to discuss workstream updates. EY attendees: M.
Scott,James                    JS                           5/23/2023        US Income Tax                                                                                                             0.4     $600.00       $240.00
                                         Contractor JS                                             Musano, J. Scott, J. Jimenez, B. Mistler, D. Johnson, and E. Hall
                                                                                                   Internal state and local tax field of play call to discuss workstream updates. EY attendees: M.
Musano,Matthew Albert        MAM        Senior Manager      5/23/2023    US State and Local Tax                                                                                                        0.4     $650.00       $260.00
                                                                                                   Musano, J. Scott, J. Jimenez, B. Mistler, D. Johnson, and E. Hall
                                                                                                   Internal state and local tax field of play call to discuss workstream updates. EY attendees: M.
Jimenez,Joseph Robert          JRJ      Senior Manager      5/22/2023    US State and Local Tax                                                                                                        0.4     $650.00       $260.00
                                                                                                   Musano, J. Scott, J. Jimenez, B. Mistler, D. Johnson, and E. Hall
                                                                                                   Call with J. Markau (Ledger X), D. Fish (Ledger X), and G. Camella (Ledger X) to discuss Ledger
Mistler,Brian M              BMM            Manager         5/23/2023        US Income Tax         Holdings Inc. open items for employment tax and state and local tax. EY attendees: M. Musano, B.    0.6     $525.00       $315.00
                                                                                                   Mistler, K. Wrenn, and E. Hall
                                                                                                   Call with J. Markau (Ledger X), D. Fish (Ledger X), and G. Camella (Ledger X) to discuss Ledger
Hall,Emily Melissa            EMH            Senior         5/23/2023    US State and Local Tax    Holdings Inc. open items for employment tax and state and local tax. EY attendees: M. Musano, B.    0.6     $395.00       $237.00
                                                                                                   Mistler, K. Wrenn, and E. Hall
                                                                                                   Call with J. Markau (Ledger X), D. Fish (Ledger X), and G. Camella (Ledger X) to discuss Ledger
Musano,Matthew Albert        MAM        Senior Manager      5/23/2023    US State and Local Tax    Holdings Inc. open items for employment tax and state and local tax. EY attendees: M. Musano, B.    0.6     $650.00       $390.00
                                                                                                   Mistler, K. Wrenn, and E. Hall
                                                                                                   Call with J. Markau (Ledger X), D. Fish (Ledger X), and G. Camella (Ledger X) to discuss Ledger
Wrenn,Kaitlin Doyle          KDW            Manager         5/23/2023         Payroll Tax          Holdings Inc. open items for employment tax and state and local tax. EY attendees: M. Musano, B.    0.6     $525.00       $315.00
                                                                                                   Mistler, K. Wrenn, and E. Hall
                                                                                                   Regional team call to discuss our understanding of the business and local entities to date. EY
Espley-Ault,Olivia            OEA       Senior Manager      5/23/2023         Non US Tax                                                                                                               0.6     $650.00       $390.00
                                                                                                   attendees: B. Coakley, B. Rahming, M. Bahadur, O. Espley-Ault, and S. Fitzmaurice
                                                                                                   Regional team call to discuss our understanding of the business and local entities to date. EY
Brittany Coakley,Breshante    BBC             Staff         5/23/2023         Non US Tax                                                                                                               0.6     $225.00       $135.00
                                                                                                   attendees: B. Coakley, B. Rahming, M. Bahadur, O. Espley-Ault, and S. Fitzmaurice
                                                                                                   Regional team call to discuss our understanding of the business and local entities to date. EY
Rahming,Brinique               BR            Senior         5/23/2023         Non US Tax                                                                                                               0.6     $395.00       $237.00
                                                                                                   attendees: B. Coakley, B. Rahming, M. Bahadur, O. Espley-Ault, and S. Fitzmaurice
                                                                                                   Regional team call to discuss our understanding of the business and local entities to date. EY
Devona Bahadur,Michele        DBM       Senior Manager      5/23/2023         Non US Tax                                                                                                               0.6     $650.00       $390.00
                                                                                                   attendees: B. Coakley, B. Rahming, M. Bahadur, O. Espley-Ault, and S. Fitzmaurice
                                                                                                   Regional team call to discuss our understanding of the business and local entities to date. EY
Fitzmaurice,Sean               SF           Manager         5/23/2023         Non US Tax                                                                                                               0.6     $525.00       $315.00
                                                                                                   attendees: B. Coakley, B. Rahming, M. Bahadur, O. Espley-Ault, and S. Fitzmaurice
                                                                                                   External meeting with C. Louis (Mazars), G. Miebach (Mazars), M. van den Belt (FTX), D.
                                                                                                   Johnston (FTX), G. Balmelli (FTX) and J. Bavaud (FTX) regarding Tax due diligence, reporting
Bruns,Alexander                AB       Senior Manager      5/12/2023   Meetings with Management                                                                                                       1.2     $650.00       $780.00
                                                                                                   obligations with regard to direct taxes, indirect taxes, payroll and bookkeeping/accounting. EY
                                                                                                   attendees: B. Delff, S. Knüwer, F. Borchers, V. Shabanaj, A. Bruns, D. Mosdzin, and J. Krug

                                                                                                   External meeting with C. Louis (Mazars), G. Miebach (Mazars), M. van den Belt (FTX), D.
                                                                                                   Johnston (FTX), G. Balmelli (FTX) and J. Bavaud (FTX) regarding Tax due diligence, reporting
Delff,Björn                    BD       Partner/Principal   5/12/2023   Meetings with Management                                                                                                       1.2     $825.00       $990.00
                                                                                                   obligations with regard to direct taxes, indirect taxes, payroll and bookkeeping/accounting. EY
                                                                                                   attendees: B. Delff, S. Knüwer, F. Borchers, V. Shabanaj, A. Bruns, D. Mosdzin, and J. Krug

                                                                                                   External meeting with C. Louis (Mazars), G. Miebach (Mazars), M. van den Belt (FTX), D.
                                                                                                   Johnston (FTX), G. Balmelli (FTX) and J. Bavaud (FTX) regarding Tax due diligence, reporting
Mosdzin,Dennis                DM        Senior Manager      5/12/2023   Meetings with Management                                                                                                       1.2     $650.00       $780.00
                                                                                                   obligations with regard to direct taxes, indirect taxes, payroll and bookkeeping/accounting. EY
                                                                                                   attendees: B. Delff, S. Knüwer, F. Borchers, V. Shabanaj, A. Bruns, D. Mosdzin, and J. Krug

                                                                                                   External meeting with C. Louis (Mazars), G. Miebach (Mazars), M. van den Belt (FTX), D.
                                                                                                   Johnston (FTX), G. Balmelli (FTX) and J. Bavaud (FTX) regarding Tax due diligence, reporting
Borchers,Fabian                FB            Senior         5/12/2023   Meetings with Management                                                                                                       1.2     $395.00       $474.00
                                                                                                   obligations with regard to direct taxes, indirect taxes, payroll and bookkeeping/accounting. EY
                                                                                                   attendees: B. Delff, S. Knüwer, F. Borchers, V. Shabanaj, A. Bruns, D. Mosdzin, and J. Krug

                                                                                                   External meeting with C. Louis (Mazars), G. Miebach (Mazars), M. van den Belt (FTX), D.
                                                                                                   Johnston (FTX), G. Balmelli (FTX) and J. Bavaud (FTX) regarding Tax due diligence, reporting
Shabanaj,Vlora                 VS            Senior         5/12/2023   Meetings with Management                                                                                                       1.2     $395.00       $474.00
                                                                                                   obligations with regard to direct taxes, indirect taxes, payroll and bookkeeping/accounting. EY
                                                                                                   attendees: B. Delff, S. Knüwer, F. Borchers, V. Shabanaj, A. Bruns, D. Mosdzin, and J. Krug
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                                                        Date of
                 Name   Initials        Rank                                Project Category                                                   Description of Services                                       Hours   Hourly Rate   Fees
                                                        Service
                                                                                                          External meeting with C. Louis (Mazars), G. Miebach (Mazars), M. van den Belt (FTX), D.
                                                                                                          Johnston (FTX), G. Balmelli (FTX) and J. Bavaud (FTX) regarding Tax due diligence, reporting
Knüwer,Stephanie          SK       Senior Manager      5/12/2023               Non US Tax                                                                                                                     1.2     $650.00       $780.00
                                                                                                          obligations with regard to direct taxes, indirect taxes, payroll and bookkeeping/accounting. EY
                                                                                                          attendees: B. Delff, S. Knüwer, F. Borchers, V. Shabanaj, A. Bruns, D. Mosdzin, and J. Krug

                                                                                                          External meeting with C. Louis (Mazars), G. Miebach (Mazars), M. van den Belt (FTX), D.
                                                                                                          Johnston (FTX), G. Balmelli (FTX) and J. Bavaud (FTX) regarding Tax due diligence, reporting
Krug,Judith               JK       Senior Manager      5/12/2023               Payroll Tax                                                                                                                    1.2     $650.00       $780.00
                                                                                                          obligations with regard to direct taxes, indirect taxes, payroll and bookkeeping/accounting. EY
                                                                                                          attendees: B. Delff, S. Knüwer, F. Borchers, V. Shabanaj, A. Bruns, D. Mosdzin, and J. Krug
                                                                                                          Internal organization meeting regarding Tax due diligence for Germany. EY attendees: S. Knüwer,
Bruns,Alexander           AB       Senior Manager      5/12/2023               Non US Tax                                                                                                                     0.4     $650.00       $260.00
                                                                                                          F. Borchers, V. Shabanaj, A. Bruns, D. Mosdzin, J. Krug
                                                                                                          Internal organization meeting regarding Tax due diligence for Germany. EY attendees: S. Knüwer,
Mosdzin,Dennis           DM        Senior Manager      5/12/2023               Non US Tax                                                                                                                     0.4     $650.00       $260.00
                                                                                                          F. Borchers, V. Shabanaj, A. Bruns, D. Mosdzin, J. Krug
                                                                                                          Internal organization meeting regarding Tax due diligence for Germany. EY attendees: S. Knüwer,
Borchers,Fabian           FB            Senior         5/12/2023               Non US Tax                                                                                                                     0.4     $395.00       $158.00
                                                                                                          F. Borchers, V. Shabanaj, A. Bruns, D. Mosdzin, J. Krug
                                                                                                          Internal organization meeting regarding Tax due diligence for Germany. EY attendees: S. Knüwer,
Shabanaj,Vlora            VS            Senior         5/12/2023               Non US Tax                                                                                                                     0.4     $395.00       $158.00
                                                                                                          F. Borchers, V. Shabanaj, A. Bruns, D. Mosdzin, J. Krug
                                                                                                          Internal organization meeting regarding Tax due diligence for Germany. EY attendees: S. Knüwer,
Knüwer,Stephanie          SK       Senior Manager      5/12/2023               Non US Tax                                                                                                                     0.4     $650.00       $260.00
                                                                                                          F. Borchers, V. Shabanaj, A. Bruns, D. Mosdzin, J. Krug
                                                                                                          Internal organization meeting regarding Tax due diligence for Germany. EY attendees: S. Knüwer,
Krug,Judith               JK       Senior Manager      5/12/2023               Payroll Tax                                                                                                                    0.4     $650.00       $260.00
                                                                                                          F. Borchers, V. Shabanaj, A. Bruns, D. Mosdzin, J. Krug
                                                                                                          Meeting with J. Chan (FTX) and K. Jacobs (A&M) to discuss open items, questions, and action
MacLean,Corrie           CM             Senior         5/24/2023        Meetings with Management          items. EY attendees: C. Ancona, D. Katznelson, D. Hammon, C. MacLean, H. Choudary, and O.           0.3     $395.00       $118.50
                                                                                                          Hall
                                                                                                          Meeting with J. Chan (FTX) and K. Jacobs (A&M) to discuss open items, questions, and action
Ancona,Christopher        CA            Senior         5/24/2023        Meetings with Management          items. EY attendees: C. Ancona, D. Katznelson, D. Hammon, C. MacLean, H. Choudary, and O.           0.3     $395.00       $118.50
                                                                                                          Hall
                                                                                                          Meeting with J. Chan (FTX) and K. Jacobs (A&M) to discuss open items, questions, and action
Katsnelson,David          DK           Manager         5/24/2023        Meetings with Management          items. EY attendees: C. Ancona, D. Katznelson, D. Hammon, C. MacLean, H. Choudary, and O.           0.3     $525.00       $157.50
                                                                                                          Hall
                                                                                                          Meeting with J. Chan (FTX) and K. Jacobs (A&M) to discuss open items, questions, and action
Choudary,Hira             HC             Staff         5/24/2023        Meetings with Management          items. EY attendees: C. Ancona, D. Katznelson, D. Hammon, C. MacLean, H. Choudary, and O.           0.3     $225.00        $67.50
                                                                                                          Hall
                                                                                                          Meeting with J. Chan (FTX) and K. Jacobs (A&M) to discuss open items, questions, and action
Hammon,David Lane        DLH           Manager         5/24/2023        Meetings with Management          items. EY attendees: C. Ancona, D. Katznelson, D. Hammon, C. MacLean, H. Choudary, and O.           0.3     $525.00       $157.50
                                                                                                          Hall
                                                                                                          Meeting with J. Chan (FTX) and K. Jacobs (A&M) to discuss open items, questions, and action
Hall,Olivia               OH             Staff         5/24/2023        Meetings with Management          items. EY attendees: C. Ancona, D. Katznelson, D. Hammon, C. MacLean, H. Choudary, and O.           0.3     $225.00        $67.50
                                                                                                          Hall
Ancona,Christopher        CA            Senior         5/24/2023   Project Management Office Transition   Call to discuss FTX Phase 2 tax deliverables. EY attendees: C. Ancona and H. Choudary               0.3     $395.00       $118.50
Choudary,Hira             HC             Staff         5/24/2023               Non US Tax                 Call to discuss FTX Phase 2 tax deliverables. EY attendees: C. Ancona and H. Choudary               0.3     $225.00        $67.50
                                                                                                          Weekly FTX Meeting to review workstream project status, discuss progress on deliverables, risks,
Tong,Chia-Hui            CHT       Senior Manager      5/24/2023   Project Management Office Transition   identify issues, and determine action items. EY attendees: C. Ancona, A. Farrar, C. Tong, and H.    0.5     $650.00       $325.00
                                                                                                          Choudary
                                                                                                          Weekly FTX Meeting to review workstream project status, discuss progress on deliverables, risks,
Ancona,Christopher        CA            Senior         5/24/2023   Project Management Office Transition   identify issues, and determine action items. EY attendees: C. Ancona, A. Farrar, C. Tong, and H.    0.5     $395.00       $197.50
                                                                                                          Choudary
                                                                                                          Weekly FTX Meeting to review workstream project status, discuss progress on deliverables, risks,
Choudary,Hira             HC             Staff         5/24/2023               Non US Tax                 identify issues, and determine action items. EY attendees: C. Ancona, A. Farrar, C. Tong, and H.    0.5     $225.00       $112.50
                                                                                                          Choudary
                                                                                                          Meeting to discuss the processing of the monthly fee application. EY attendees: C. Ancona, C.
Tong,Chia-Hui            CHT       Senior Manager      5/24/2023   Project Management Office Transition                                                                                                       0.3     $650.00       $195.00
                                                                                                          Tong, D. Neziroski, S. Cahalane, and H. Choudary
                                                                                                          Meeting to discuss the processing of the monthly fee application. EY attendees: C. Ancona, C.
Ancona,Christopher        CA            Senior         5/24/2023   Project Management Office Transition                                                                                                       0.3     $395.00       $118.50
                                                                                                          Tong, D. Neziroski, S. Cahalane, and H. Choudary
                                                                                                          Meeting to discuss the processing of the monthly fee application. EY attendees: C. Ancona, C.
Cahalane,Shawn M.        SMC           Manager         5/24/2023      Fee/Employment Applications                                                                                                             0.3     $525.00       $157.50
                                                                                                          Tong, D. Neziroski, S. Cahalane, and H. Choudary
                                                                                                          Meeting to discuss the processing of the monthly fee application. EY attendees: C. Ancona, C.
Choudary,Hira             HC             Staff         5/24/2023               Non US Tax                                                                                                                     0.3     $225.00        $67.50
                                                                                                          Tong, D. Neziroski, S. Cahalane, and H. Choudary
                                                                                                          Meeting to discuss FTX ITTS upcoming tax deliverables and deadlines. Attendees (EY to
Katelas,Andreas           KA            Senior         5/24/2023              Tax Advisory                                                                                                                    0.2     $395.00        $79.00
                                                                                                          Comment)
                                                                                                          Meeting to discuss FTX ITTS upcoming tax deliverables and deadlines. Attendees (EY to
Tong,Chia-Hui            CHT       Senior Manager      5/24/2023   Project Management Office Transition                                                                                                       0.2     $650.00       $130.00
                                                                                                          Comment)
                                                                                                          Meeting to discuss FTX ITTS upcoming tax deliverables and deadlines. Attendees (EY to
Ancona,Christopher        CA            Senior         5/24/2023   Project Management Office Transition                                                                                                       0.2     $395.00        $79.00
                                                                                                          Comment)
                                                                                                          Meeting to discuss FTX ITTS upcoming tax deliverables and deadlines. Attendees (EY to
Choudary,Hira             HC             Staff         5/24/2023               Non US Tax                                                                                                                     0.2     $225.00        $45.00
                                                                                                          Comment)
                                                                                                          Meeting to discuss FTX ITTS upcoming tax deliverables and deadlines. Attendees (EY to
Lovelace,Lauren           LL       Partner/Principal   5/24/2023           US International Tax                                                                                                               0.2     $825.00       $165.00
                                                                                                          Comment)
                                                                                                          Bi-Weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Tong,Chia-Hui            CHT       Senior Manager      5/24/2023   Project Management Office Transition                                                                                                       0.5     $650.00       $325.00
                                                                                                          attendees: C. Ancona, C. Tong, and H. Choudary
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                                                         Date of
                  Name   Initials         Rank                               Project Category                                                  Description of Services                                         Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Bi-Weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Ancona,Christopher         CA            Senior         5/24/2023   Project Management Office Transition                                                                                                        0.5     $395.00       $197.50
                                                                                                           attendees: C. Ancona, C. Tong, and H. Choudary
                                                                                                           Bi-Weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Choudary,Hira              HC             Staff         5/24/2023               Non US Tax                                                                                                                      0.5     $225.00       $112.50
                                                                                                           attendees: C. Ancona, C. Tong, and H. Choudary
                                                                                                           Bi-weekly meeting to discuss FTX project status updates and next steps for Project Management
MacLean,Corrie            CM             Senior         5/24/2023               Non US Tax                 Office transition and knowledge transfer items. EY attendees: C. Ancona, C. Tong, A. Farrar, D.      0.5     $395.00       $197.50
                                                                                                           Hammon, C. MacLean, and H. Choudary
                                                                                                           Bi-weekly meeting to discuss FTX project status updates and next steps for Project Management
Tong,Chia-Hui             CHT        Senior Manager     5/24/2023   Project Management Office Transition   Office transition and knowledge transfer items. EY attendees: C. Ancona, C. Tong, A. Farrar, D.      0.5     $650.00       $325.00
                                                                                                           Hammon, C. MacLean, and H. Choudary
                                                                                                           Bi-weekly meeting to discuss FTX project status updates and next steps for Project Management
Ancona,Christopher         CA            Senior         5/24/2023   Project Management Office Transition   Office transition and knowledge transfer items. EY attendees: C. Ancona, C. Tong, A. Farrar, D.      0.5     $395.00       $197.50
                                                                                                           Hammon, C. MacLean, and H. Choudary
                                                                                                           Bi-weekly meeting to discuss FTX project status updates and next steps for Project Management
Choudary,Hira              HC             Staff         5/24/2023               Non US Tax                 Office transition and knowledge transfer items. EY attendees: C. Ancona, C. Tong, A. Farrar, D.      0.5     $225.00       $112.50
                                                                                                           Hammon, C. MacLean, and H. Choudary
                                                                                                           Bi-weekly meeting to discuss FTX project status updates and next steps for Project Management
Farrar,Anne                AF       Partner/Principal   5/24/2023   Project Management Office Transition   Office transition and knowledge transfer items. EY attendees: C. Ancona, C. Tong, A. Farrar, D.      0.5     $825.00       $412.50
                                                                                                           Hammon, C. MacLean, and H. Choudary
                                                                                                           Bi-weekly meeting to discuss FTX project status updates and next steps for Project Management
Hammon,David Lane         DLH           Manager         5/24/2023               Non US Tax                 Office transition and knowledge transfer items. EY attendees: C. Ancona, C. Tong, A. Farrar, D.      0.5     $525.00       $262.50
                                                                                                           Hammon, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from
MacLean,Corrie            CM             Senior         5/24/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.        0.5     $395.00       $197.50
                                                                                                           Hammon, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from
Choudary,Hira              HC             Staff         5/24/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.        0.5     $225.00       $112.50
                                                                                                           Hammon, C. MacLean, and H. Choudary
                                                                                                           Daily meeting to review new documentation provided, address open items and questions from
Hammon,David Lane         DLH           Manager         5/24/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.        0.5     $525.00       $262.50
                                                                                                           Hammon, C. MacLean, and H. Choudary
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bost,Anne                  BA       Managing Director   5/25/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.3     $775.00       $232.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katelas,Andreas            KA            Senior         5/25/2023              Tax Advisory                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.3     $395.00       $118.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Mistler,Brian M          BMM            Manager         5/25/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.3     $525.00       $157.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Tong,Chia-Hui             CHT        Senior Manager     5/25/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.3     $650.00       $195.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Ancona,Christopher         CA            Senior         5/25/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.3     $395.00       $118.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katsnelson,David           DK           Manager         5/25/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.3     $525.00       $157.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Hall,Emily Melissa        EMH            Senior         5/25/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.3     $395.00       $118.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Choudary,Hira              HC             Staff         5/25/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.3     $225.00        $67.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Berman,Jake                JB        Senior Manager     5/25/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.3     $650.00       $195.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                      Client Serving
Scott,James                JS                           5/25/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.3     $600.00       $180.00
                                      Contractor JS
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                        National
Lowery,Kristie L          KLL                           5/25/2023               Payroll Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.3     $990.00       $297.00
                                    Partner/Principal
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Lovelace,Lauren            LL       Partner/Principal   5/25/2023           US International Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.3     $825.00       $247.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Haas,Zach                  ZH        Senior Manager     5/25/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.3     $650.00       $195.00
                                                                                                           the implementation of global compliance and reporting services
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                                                            Date of
                Name        Initials        Rank                                Project Category                                                  Description of Services                                         Hours   Hourly Rate   Fees
                                                            Service
                                                                                                              Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Hammon,David Lane            DLH           Manager         5/25/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.3     $525.00       $157.50
                                                                                                              the implementation of global compliance and reporting services
                                                                                                              Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Farrar,Anne                   AF       Partner/Principal   5/25/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.3     $825.00       $247.50
                                                                                                              the implementation of global compliance and reporting services
                                                                                                              Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Staromiejska,Kinga            KS           Manager         5/25/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.3     $525.00       $157.50
                                                                                                              the implementation of global compliance and reporting services
                                                                                                              Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bailey,Doug                   DB       Partner/Principal   5/25/2023              Tax Advisory                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.3     $825.00       $247.50
                                                                                                              the implementation of global compliance and reporting services
                                                                                                              Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Musano,Matthew Albert       MAM        Senior Manager      5/25/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.3     $650.00       $195.00
                                                                                                              the implementation of global compliance and reporting services
                                                                                                              Bi-Weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Tong,Chia-Hui                CHT       Senior Manager      5/25/2023   Project Management Office Transition                                                                                                        0.5     $650.00       $325.00
                                                                                                              attendees: C. Ancona, C. Tong, and H. Choudary
                                                                                                              Bi-Weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Ancona,Christopher            CA            Senior         5/25/2023   Project Management Office Transition                                                                                                        0.5     $395.00       $197.50
                                                                                                              attendees: C. Ancona, C. Tong, and H. Choudary
                                                                                                              Bi-Weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Choudary,Hira                 HC             Staff         5/25/2023               Non US Tax                                                                                                                      0.5     $225.00       $112.50
                                                                                                              attendees: C. Ancona, C. Tong, and H. Choudary
                                                                                                              Meeting with R. Matzke (FTX) and J. Bavaud (FTX) to discuss Ireland, UAE, and Germany due
MacLean,Corrie               CM             Senior         5/25/2023        Meetings with Management          diligence. EY attendees: C. MacLean, D. Hammon, K. Staromiejska, H. Choudary, D. Katsnelson,         0.6     $395.00       $237.00
                                                                                                              M. Leon, N. Srivastava, and R. Dunne
                                                                                                              Meeting with R. Matzke (FTX) and J. Bavaud (FTX) to discuss Ireland, UAE, and Germany due
Katsnelson,David              DK           Manager         5/25/2023        Meetings with Management          diligence. EY attendees: C. MacLean, D. Hammon, K. Staromiejska, H. Choudary, D. Katsnelson,         0.6     $525.00       $315.00
                                                                                                              M. Leon, N. Srivastava, and R. Dunne
                                                                                                              Meeting with R. Matzke (FTX) and J. Bavaud (FTX) to discuss Ireland, UAE, and Germany due
Choudary,Hira                 HC             Staff         5/25/2023        Meetings with Management          diligence. EY attendees: C. MacLean, D. Hammon, K. Staromiejska, H. Choudary, D. Katsnelson,         0.6     $225.00       $135.00
                                                                                                              M. Leon, N. Srivastava, and R. Dunne
                                                                                                              Meeting with R. Matzke (FTX) and J. Bavaud (FTX) to discuss Ireland, UAE, and Germany due
Gil Diez de Leon,Marta       MDL           Manager         5/25/2023        Meetings with Management          diligence. EY attendees: C. MacLean, D. Hammon, K. Staromiejska, H. Choudary, D. Katsnelson,         0.6     $525.00       $315.00
                                                                                                              M. Leon, N. Srivastava, and R. Dunne
                                                                                                              Meeting with R. Matzke (FTX) and J. Bavaud (FTX) to discuss Ireland, UAE, and Germany due
Srivastava,Nikita Asutosh    NAS           Manager         5/25/2023        Meetings with Management          diligence. EY attendees: C. MacLean, D. Hammon, K. Staromiejska, H. Choudary, D. Katsnelson,         0.6     $525.00       $315.00
                                                                                                              M. Leon, N. Srivastava, and R. Dunne
                                                                                                              Meeting with R. Matzke (FTX) and J. Bavaud (FTX) to discuss Ireland, UAE, and Germany due
Hammon,David Lane            DLH           Manager         5/25/2023        Meetings with Management          diligence. EY attendees: C. MacLean, D. Hammon, K. Staromiejska, H. Choudary, D. Katsnelson,         0.6     $525.00       $315.00
                                                                                                              M. Leon, N. Srivastava, and R. Dunne
                                                                                                              Meeting with R. Matzke (FTX) and J. Bavaud (FTX) to discuss Ireland, UAE, and Germany due
Staromiejska,Kinga            KS           Manager         5/25/2023        Meetings with Management          diligence. EY attendees: C. MacLean, D. Hammon, K. Staromiejska, H. Choudary, D. Katsnelson,         0.6     $525.00       $315.00
                                                                                                              M. Leon, N. Srivastava, and R. Dunne
                                                                                                              Meeting with R. Matzke (FTX) and J. Bavaud (FTX) to discuss Ireland, UAE, and Germany due
Dunne,Robert                 RDF       Senior Manager      5/25/2023        Meetings with Management          diligence. EY attendees: C. MacLean, D. Hammon, K. Staromiejska, H. Choudary, D. Katsnelson,         0.6     $650.00       $390.00
                                                                                                              M. Leon, N. Srivastava, and R. Dunne
                                                                                                              Daily meeting to review new documentation provided, address open items and questions from
MacLean,Corrie               CM             Senior         5/25/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.        1.0     $395.00       $395.00
                                                                                                              Hammon, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                              Daily meeting to review new documentation provided, address open items and questions from
Choudary,Hira                 HC             Staff         5/25/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.        1.0     $225.00       $225.00
                                                                                                              Hammon, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                              Daily meeting to review new documentation provided, address open items and questions from
Hammon,David Lane            DLH           Manager         5/25/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.        1.0     $525.00       $525.00
                                                                                                              Hammon, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                              Daily meeting to review new documentation provided, address open items and questions from
Staromiejska,Kinga            KS           Manager         5/25/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.        1.0     $525.00       $525.00
                                                                                                              Hammon, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                              Meeting to prepare bi-weekly FTX executive update. EY attendees: D. Hammon, K. Staromiejska,
MacLean,Corrie               CM             Senior         5/25/2023               Non US Tax                                                                                                                      1.0     $395.00       $395.00
                                                                                                              C. MacLean, and H. Choudary
                                                                                                              Meeting to prepare bi-weekly FTX executive update. EY attendees: D. Hammon, K. Staromiejska,
Choudary,Hira                 HC             Staff         5/25/2023               Non US Tax                                                                                                                      1.0     $225.00       $225.00
                                                                                                              C. MacLean, and H. Choudary
                                                                                                              Meeting to prepare bi-weekly FTX executive update. EY attendees: D. Hammon, K. Staromiejska,
Hammon,David Lane            DLH           Manager         5/25/2023               Non US Tax                                                                                                                      1.0     $525.00       $525.00
                                                                                                              C. MacLean, and H. Choudary
                                                                                                              Meeting to prepare bi-weekly FTX executive update. EY attendees: D. Hammon, K. Staromiejska,
Staromiejska,Kinga            KS           Manager         5/25/2023               Non US Tax                                                                                                                      1.0     $525.00       $525.00
                                                                                                              C. MacLean, and H. Choudary
                                                                                                              Weekly recap to discuss upcoming items concerning transition workstream. EY attendees: D.
MacLean,Corrie               CM             Senior         5/25/2023               Non US Tax                                                                                                                      0.5     $395.00       $197.50
                                                                                                              Hammon, K. Staromiejska, and C. MacLean
                                                                                                              Weekly recap to discuss upcoming items concerning transition workstream. EY attendees: D.
Hammon,David Lane            DLH           Manager         5/25/2023               Non US Tax                                                                                                                      0.5     $525.00       $262.50
                                                                                                              Hammon, K. Staromiejska, and C. MacLean
                                                                                                              Weekly recap to discuss upcoming items concerning transition workstream. EY attendees: D.
Staromiejska,Kinga            KS           Manager         5/25/2023               Non US Tax                                                                                                                      0.5     $525.00       $262.50
                                                                                                              Hammon, K. Staromiejska, and C. MacLean
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                                                         Date of
                  Name   Initials        Rank                                Project Category                                                   Description of Services                                          Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Meeting to review A&M/EY PMO slide deck deliverable status updates and reporting. EY
Mistler,Brian M          BMM            Manager         5/25/2023             US Income Tax                                                                                                                       0.3     $525.00       $157.50
                                                                                                           attendees: C. Ancona, C. Tong, B. Mistler, J. Scott, and J. Berman
                                                                                                           Meeting to review A&M/EY PMO slide deck deliverable status updates and reporting. EY
Tong,Chia-Hui             CHT       Senior Manager      5/25/2023   Project Management Office Transition                                                                                                          0.3     $650.00       $195.00
                                                                                                           attendees: C. Ancona, C. Tong, B. Mistler, J. Scott, and J. Berman
                                                                                                           Meeting to review A&M/EY PMO slide deck deliverable status updates and reporting. EY
Ancona,Christopher         CA            Senior         5/25/2023   Project Management Office Transition                                                                                                          0.3     $395.00       $118.50
                                                                                                           attendees: C. Ancona, C. Tong, B. Mistler, J. Scott, and J. Berman
                                                                                                           Meeting to review A&M/EY PMO slide deck deliverable status updates and reporting. EY
Berman,Jake                JB       Senior Manager      5/25/2023             US Income Tax                                                                                                                       0.3     $650.00       $195.00
                                                                                                           attendees: C. Ancona, C. Tong, B. Mistler, J. Scott, and J. Berman
                                     Client Serving                                                        Meeting to review A&M/EY PMO slide deck deliverable status updates and reporting. EY
Scott,James                JS                           5/25/2023             US Income Tax                                                                                                                       0.3     $600.00       $180.00
                                     Contractor JS                                                         attendees: C. Ancona, C. Tong, B. Mistler, J. Scott, and J. Berman
                                                                                                           Meeting to discuss FTX ACR upcoming tax deliverables and deadlines. EY attendees: C. Tong, C.
Tong,Chia-Hui             CHT       Senior Manager      5/25/2023   Project Management Office Transition                                                                                                          0.2     $650.00       $130.00
                                                                                                           Ancona, H. Choudary, and N. Hernandez
                                                                                                           Meeting to discuss FTX ACR upcoming tax deliverables and deadlines. EY attendees: C. Tong, C.
Ancona,Christopher         CA            Senior         5/25/2023   Project Management Office Transition                                                                                                          0.2     $395.00        $79.00
                                                                                                           Ancona, H. Choudary, and N. Hernandez
                                                                                                           Meeting to discuss FTX ACR upcoming tax deliverables and deadlines. EY attendees: C. Tong, C.
Choudary,Hira              HC             Staff         5/25/2023               Non US Tax                                                                                                                        0.2     $225.00        $45.00
                                                                                                           Ancona, H. Choudary, and N. Hernandez
                                                                                                           Meeting to discuss FTX ACR upcoming tax deliverables and deadlines. EY attendees: C. Tong, C.
Hernandez,Nancy I.        NIH       Senior Manager      5/25/2023               Non US Tax                                                                                                                        0.2     $650.00       $130.00
                                                                                                           Ancona, H. Choudary, and N. Hernandez
                                                                                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Mistler,Brian M          BMM            Manager         5/25/2023        Meetings with Management                                                                                                                 0.4     $525.00       $210.00
                                                                                                           EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, J. Berman, B. Mistler, and K. Lowery

                                                                                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Tong,Chia-Hui             CHT       Senior Manager      5/25/2023        Meetings with Management                                                                                                                 0.4     $650.00       $260.00
                                                                                                           EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, J. Berman, B. Mistler, and K. Lowery

                                                                                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Ancona,Christopher         CA            Senior         5/25/2023        Meetings with Management                                                                                                                 0.4     $395.00       $158.00
                                                                                                           EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, J. Berman, B. Mistler, and K. Lowery

                                                                                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Berman,Jake                JB       Senior Manager      5/25/2023        Meetings with Management                                                                                                                 0.4     $650.00       $260.00
                                                                                                           EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, J. Berman, B. Mistler, and K. Lowery

                                     Client Serving                                                        Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Scott,James                JS                           5/25/2023        Meetings with Management                                                                                                                 0.4     $600.00       $240.00
                                     Contractor JS                                                         EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, J. Berman, B. Mistler, and K. Lowery

                                                                                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Shea JR,Thomas M          TMS       Partner/Principal   5/25/2023        Meetings with Management                                                                                                                 0.4     $825.00       $330.00
                                                                                                           EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, J. Berman, B. Mistler, and K. Lowery

                                        National                                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Lowery,Kristie L          KLL                           5/25/2023        Meetings with Management                                                                                                                 0.4     $990.00       $396.00
                                    Partner/Principal                                                      EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, J. Berman, B. Mistler, and K. Lowery
                                                                                                           Internal call to walk through the state extensions calculation. EY attendees: E. Zheng, K. Lindsey,
Hall,Emily Melissa        EMH            Senior         5/24/2023         US State and Local Tax                                                                                                                  0.5     $395.00       $197.50
                                                                                                           Y. Sun, and E. Hall
                                                                                                           Internal call to walk through the state extensions calculation. EY attendees: E. Zheng, K. Lindsey,
Zheng,Eva                  EZ           Manager         5/11/2023         US State and Local Tax                                                                                                                  0.5     $525.00       $262.50
                                                                                                           Y. Sun, and E. Hall
                                                                                                           Internal call to walk through the state extensions calculation. EY attendees: E. Zheng, K. Lindsey,
Sun,Yuchen                 YS            Senior         5/11/2023         US State and Local Tax                                                                                                                  0.5     $395.00       $197.50
                                                                                                           Y. Sun, and E. Hall
                                                                                                           Internal call to walk through the state extensions calculation. EY attendees: E. Zheng, K. Lindsey,
Lindsey,Krista             KL           Manager         5/24/2023         US State and Local Tax                                                                                                                  0.5     $525.00       $262.50
                                                                                                           Y. Sun, and E. Hall
                                                                                                           Bi-weekly Federal tax team meeting to discuss workstreams and upcoming deadlines. EY
Mistler,Brian M          BMM            Manager         5/22/2023             US Income Tax                                                                                                                       0.5     $525.00       $262.50
                                                                                                           attendees: T. Shea, J. Scott, J. Berman, and B. Mistler
                                                                                                           Bi-weekly Federal tax team meeting to discuss workstreams and upcoming deadlines. EY
Shea JR,Thomas M          TMS       Partner/Principal   5/22/2023             US Income Tax                                                                                                                       0.5     $825.00       $412.50
                                                                                                           attendees: T. Shea, J. Scott, J. Berman, and B. Mistler
                                                                                                           Internal meeting to discuss about FTX Texas combined rules with TX specialist. EY attendees: M.
Zheng,Eva                  EZ           Manager         5/12/2023         US State and Local Tax                                                                                                                  0.5     $525.00       $262.50
                                                                                                           Musano, J. Bowden, W. Bieganski, and E. Zheng
                                     Client Serving                                                        Bi-weekly Federal tax team meeting to discuss workstreams and upcoming deadlines. EY
Scott,James                JS                           5/22/2023             US Income Tax                                                                                                                       0.5     $600.00       $300.00
                                     Contractor JS                                                         attendees: T. Shea, J. Scott, J. Berman, and B. Mistler
                                                                                                           Internal meeting to discuss about FTX Texas combined rules with TX specialist. EY attendees: M.
Musano,Matthew Albert    MAM        Senior Manager      5/12/2023         US State and Local Tax                                                                                                                  0.5     $650.00       $325.00
                                                                                                           Musano, J. Bowden, W. Bieganski, and E. Zheng
                                                                                                           Internal meeting to discuss about FTX Texas combined rules with TX specialist. EY attendees: M.
Bowden,Jamie               JB       Senior Manager      5/12/2023         US State and Local Tax                                                                                                                  0.5     $650.00       $325.00
                                                                                                           Musano, J. Bowden, W. Bieganski, and E. Zheng
                                                                                                           IRS audit walkthrough with D. Hariton (S&C) and H. Kim (S&C). EY attendees: T. Shea, J. Scott,
Mistler,Brian M          BMM            Manager         5/24/2023      Meetings with Other Advisors                                                                                                               0.8     $525.00       $420.00
                                                                                                           J. Berman, and B. Mistler
                                     Client Serving                                                        IRS audit walkthrough with D. Hariton (S&C) and H. Kim (S&C). EY attendees: T. Shea, J. Scott,
Scott,James                JS                           5/24/2023      Meetings with Other Advisors                                                                                                               0.8     $600.00       $480.00
                                     Contractor JS                                                         J. Berman, and B. Mistler
                                                                                                           IRS audit walkthrough with D. Hariton (S&C) and H. Kim (S&C). EY attendees: T. Shea, J. Scott,
Shea JR,Thomas M          TMS       Partner/Principal   5/24/2023      Meetings with Other Advisors                                                                                                               0.8     $825.00       $660.00
                                                                                                           J. Berman, and B. Mistler
                                                                                                           IRS audit walkthrough with D. Hariton (S&C) and H. Kim (S&C). EY attendees: T. Shea, J. Scott,
Berman,Jake                JB       Senior Manager      5/24/2023      Meetings with Other Advisors                                                                                                               0.8     $650.00       $520.00
                                                                                                           J. Berman, and B. Mistler
                                                                                                           Meeting with R. Lee (RLA) and C. Papadopoulos (FTX) to discuss IRS audit items. EY attendees:
Mistler,Brian M          BMM            Manager         5/24/2023        Meetings with Management                                                                                                                 0.8     $525.00       $420.00
                                                                                                           T. Shea and B. Mistler
                                                                                                           Meeting with R. Lee (RLA) and C. Papadopoulos (FTX) to discuss IRS audit items. EY attendees:
Shea JR,Thomas M          TMS       Partner/Principal   5/24/2023        Meetings with Management                                                                                                                 0.8     $825.00       $660.00
                                                                                                           T. Shea and B. Mistler
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                                                         Date of
                  Name   Initials        Rank                            Project Category                                                Description of Services                                           Hours   Hourly Rate   Fees
                                                         Service
                                                                                                   IRS audit walkthrough with J. Ray (RLKS), K. Schultea (RLKS), M. Cilia (RLKS), D. Hariton
Mistler,Brian M          BMM            Manager         5/25/2023    Meetings with Management                                                                                                               0.5     $525.00       $262.50
                                                                                                   (S&C), and H. Kim (S&C). EY attendees: T. Shea, J. Scott, J. Berman, and B. Mistler
                                     Client Serving                                                IRS audit walkthrough with J. Ray (RLKS), K. Schultea (RLKS), M. Cilia (RLKS), D. Hariton
Scott,James                JS                           5/25/2023    Meetings with Management                                                                                                               0.5     $600.00       $300.00
                                     Contractor JS                                                 (S&C), and H. Kim (S&C). EY attendees: T. Shea, J. Scott, J. Berman, and B. Mistler
                                                                                                   IRS audit walkthrough with J. Ray (RLKS), K. Schultea (RLKS), M. Cilia (RLKS), D. Hariton
Shea JR,Thomas M          TMS       Partner/Principal   5/25/2023    Meetings with Management                                                                                                               0.5     $825.00       $412.50
                                                                                                   (S&C), and H. Kim (S&C). EY attendees: T. Shea, J. Scott, J. Berman, and B. Mistler
                                                                                                   IRS audit walkthrough with J. Ray (RLKS), K. Schultea (RLKS), M. Cilia (RLKS), D. Hariton
Berman,Jake                JB       Senior Manager      5/25/2023    Meetings with Management                                                                                                               0.5     $650.00       $325.00
                                                                                                   (S&C), and H. Kim (S&C). EY attendees: T. Shea, J. Scott, J. Berman, and B. Mistler
                                                                                                   Bi-weekly Federal tax team meeting to discuss workstreams and upcoming deadlines. EY
Mistler,Brian M          BMM            Manager         5/25/2023         US Income Tax                                                                                                                     0.5     $525.00       $262.50
                                                                                                   attendees: T. Shea, J. Scott, J. Berman, and B. Mistler
                                     Client Serving                                                Bi-weekly Federal tax team meeting to discuss workstreams and upcoming deadlines. EY
Scott,James                JS                           5/25/2023         US Income Tax                                                                                                                     0.5     $600.00       $300.00
                                     Contractor JS                                                 attendees: T. Shea, J. Scott, J. Berman, and B. Mistler
                                                                                                   Bi-weekly Federal tax team meeting to discuss workstreams and upcoming deadlines. EY
Shea JR,Thomas M          TMS       Partner/Principal   5/25/2023         US Income Tax                                                                                                                     0.5     $825.00       $412.50
                                                                                                   attendees: T. Shea, J. Scott, J. Berman, and B. Mistler
                                                                                                   Bi-weekly Federal tax team meeting to discuss workstreams and upcoming deadlines. EY
Berman,Jake                JB       Senior Manager      5/25/2023         US Income Tax                                                                                                                     0.5     $650.00       $325.00
                                                                                                   attendees: T. Shea, J. Scott, J. Berman, and B. Mistler
Mistler,Brian M          BMM            Manager         5/25/2023         US Income Tax            Internal call to discuss tax workstreams. EY attendees: T. Shea, J. Scott, J. Berman, and B. Mistler     0.3     $525.00       $157.50
                                     Client Serving
Scott,James                JS                           5/25/2023         US Income Tax            Internal call to discuss tax workstreams. EY attendees: T. Shea, J. Scott, J. Berman, and B. Mistler     0.3     $600.00       $180.00
                                     Contractor JS
Shea JR,Thomas M          TMS       Partner/Principal   5/25/2023         US Income Tax            Internal call to discuss tax workstreams. EY attendees: T. Shea, J. Scott, J. Berman, and B. Mistler     0.3     $825.00       $247.50

Berman,Jake                JB       Senior Manager      5/25/2023         US Income Tax            Internal call to discuss tax workstreams. EY attendees: T. Shea, J. Scott, J. Berman, and B. Mistler     0.3     $650.00       $195.00
Mistler,Brian M          BMM           Manager          5/25/2023        IRS Audit Matters         Internal call to discuss IRS audit responses. EY attendees: J. Berman and B. Mistler                     0.3     $525.00       $157.50
Berman,Jake               JB        Senior Manager      5/25/2023        IRS Audit Matters         Internal call to discuss IRS audit responses. EY attendees: J. Berman and B. Mistler                     0.3     $650.00       $195.00
                                                                                                   Federal Team Internal Call to discuss ongoing matters (IRS Audit, IDRs, tax compliance). EY
Mistler,Brian M          BMM            Manager         5/22/2023         US Income Tax                                                                                                                     0.5     $525.00       $262.50
                                                                                                   attendees: J. Berman, J. Scott, B. Mistler, and T. Shea
                                     Client Serving                                                Federal Team Internal Call to discuss ongoing matters (IRS Audit, IDRs, tax compliance). EY
Scott,James                JS                           5/22/2023         US Income Tax                                                                                                                     0.5     $600.00       $300.00
                                     Contractor JS                                                 attendees: J. Berman, J. Scott, B. Mistler, and T. Shea
                                                                                                   Federal Team Internal Call to discuss ongoing matters (IRS Audit, IDRs, tax compliance). EY
Berman,Jake                JB       Senior Manager      5/22/2023         US Income Tax                                                                                                                     0.5     $650.00       $325.00
                                                                                                   attendees: J. Berman, J. Scott, B. Mistler, and T. Shea
                                                                                                   Meeting with D. Hariton (S&C) and H. Kim (S&C) to walkthrough IDR-1. EY attendees: T. Shea,
Mistler,Brian M          BMM            Manager         5/23/2023   Meetings with Other Advisors                                                                                                            0.8     $525.00       $420.00
                                                                                                   B. Mistler, and J. Scott
                                                                                                   Meeting with D. Hariton (S&C) and H. Kim (S&C) to walkthrough IDR-1. EY attendees: T. Shea,
Shea JR,Thomas M          TMS       Partner/Principal   5/23/2023   Meetings with Other Advisors                                                                                                            0.8     $825.00       $660.00
                                                                                                   B. Mistler, and J. Scott
                                     Client Serving                                                Meeting with D. Hariton (S&C) and H. Kim (S&C) to walkthrough IDR-1. EY attendees: T. Shea,
Scott,James                JS                           5/23/2023   Meetings with Other Advisors                                                                                                            0.8     $600.00       $480.00
                                     Contractor JS                                                 B. Mistler, and J. Scott
                                                                                                   Internal meeting to discuss progress with international compliance requirements. EY attendees: R.
Karan,Anna Suncheuri      ASK             Staff         5/22/2023          Tax Advisory                                                                                                                     0.5     $225.00       $112.50
                                                                                                   Yang, A. Katelas, A. Karan, M. Zhuo, D. Ortiz, and A. Glattstein
                                                                                                   Internal meeting to discuss progress with international compliance requirements. EY attendees: R.
Katelas,Andreas            KA            Senior         5/22/2023          Tax Advisory                                                                                                                     0.5     $395.00       $197.50
                                                                                                   Yang, A. Katelas, A. Karan, M. Zhuo, D. Ortiz, and A. Glattstein
                                                                                                   Internal meeting to discuss progress with international compliance requirements. EY attendees: R.
Zhuo,Melody                MZ             Staff         5/22/2023          Tax Advisory                                                                                                                     0.5     $225.00       $112.50
                                                                                                   Yang, A. Katelas, A. Karan, M. Zhuo, D. Ortiz, and A. Glattstein
                                                                                                   Internal meeting to discuss progress with international compliance requirements. EY attendees: R.
Yang,Rachel Sim           RSY       Senior Manager      5/22/2023       US International Tax                                                                                                                0.5     $650.00       $325.00
                                                                                                   Yang, A. Katelas, A. Karan, M. Zhuo, D. Ortiz, and A. Glattstein
                                                                                                   Internal meeting to discuss progress with international compliance requirements. EY attendees: R.
Ortiz,Daniella             DO             Staff         5/22/2023       US International Tax                                                                                                                0.5     $225.00       $112.50
                                                                                                   Yang, A. Katelas, A. Karan, M. Zhuo, D. Ortiz, and A. Glattstein
                                                                                                   Internal meeting to discuss progress with international compliance requirements. EY attendees: R.
Glattstein,Arielle         AG             Staff         5/22/2023          Tax Advisory                                                                                                                     0.5     $225.00       $112.50
                                                                                                   Yang, A. Katelas, A. Karan, M. Zhuo, D. Ortiz, and A. Glattstein
                                                                                                   Internal meeting to discuss tax technical updates. EY attendees: D. Bailey, L. Lovelace, A. Katelas,
Katelas,Andreas            KA            Senior         5/22/2023          Tax Advisory                                                                                                                     1.0     $395.00       $395.00
                                                                                                   T. Shea, J. Scott, and J. Taylor
                                     Client Serving                                                Internal meeting to discuss tax technical updates. EY attendees: D. Bailey, L. Lovelace, A. Katelas,
Scott,James                JS                           5/22/2023         US Income Tax                                                                                                                     1.0     $600.00       $600.00
                                     Contractor JS                                                 T. Shea, J. Scott, and J. Taylor
                                                                                                   Internal meeting to discuss tax technical updates. EY attendees: D. Bailey, L. Lovelace, A. Katelas,
Lovelace,Lauren            LL       Partner/Principal   5/22/2023       US International Tax                                                                                                                1.0     $825.00       $825.00
                                                                                                   T. Shea, J. Scott, and J. Taylor
                                                                                                   Internal meeting to discuss tax technical updates. EY attendees: D. Bailey, L. Lovelace, A. Katelas,
Bailey,Doug                DB       Partner/Principal   5/22/2023          Tax Advisory                                                                                                                     1.0     $825.00       $825.00
                                                                                                   T. Shea, J. Scott, and J. Taylor
                                                                                                   Internal meeting to discuss tax technical updates. EY attendees: D. Bailey, L. Lovelace, A. Katelas,
Shea JR,Thomas M          TMS       Partner/Principal   5/22/2023         US Income Tax                                                                                                                     1.0     $825.00       $825.00
                                                                                                   T. Shea, J. Scott, and J. Taylor
                                                                                                   External meeting with T. Zackon (Tres Finance) to discuss presentation of exchange data and cost
Katelas,Andreas            KA            Senior         5/23/2023          Tax Advisory                                                                                                                     0.2     $395.00        $79.00
                                                                                                   basis methodology. EY attendees: D. Bailey, L. Lovelace, and A. Katelas
                                                                                                   External meeting with T. Zackon (Tres Finance) to discuss presentation of exchange data and cost
Lovelace,Lauren            LL       Partner/Principal   5/23/2023       US International Tax                                                                                                                0.2     $825.00       $165.00
                                                                                                   basis methodology. EY attendees: D. Bailey, L. Lovelace, and A. Katelas
                                                                                                   External meeting with T. Zackon (Tres Finance) to discuss presentation of exchange data and cost
Bailey,Doug                DB       Partner/Principal   5/23/2023          Tax Advisory                                                                                                                     0.2     $825.00       $165.00
                                                                                                   basis methodology. EY attendees: D. Bailey, L. Lovelace, and A. Katelas
                                                                                                   Weekly meeting with K. Jacobs (A&M), B. Seaway (A&M), and D. Hariton (S&C) to discuss
Katelas,Andreas            KA            Senior         5/23/2023   Meetings with Other Advisors   latest tax technical updates and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea,    0.5     $395.00       $197.50
                                                                                                   B. Mistler, J. Berman, J. Scott, A. Katelas, J. Taylor, and A. Bost
                                                                                                   Weekly meeting with K. Jacobs (A&M), B. Seaway (A&M), and D. Hariton (S&C) to discuss
Mistler,Brian M          BMM            Manager         5/23/2023   Meetings with Other Advisors   latest tax technical updates and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea,    0.5     $525.00       $262.50
                                                                                                   B. Mistler, J. Berman, J. Scott, A. Katelas, J. Taylor, and A. Bost
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                                                         Date of
                  Name   Initials        Rank                            Project Category                                                Description of Services                                           Hours   Hourly Rate   Fees
                                                         Service
                                                                                                   Weekly meeting with K. Jacobs (A&M), B. Seaway (A&M), and D. Hariton (S&C) to discuss
                                     Client Serving
Scott,James                JS                           5/23/2023   Meetings with Other Advisors   latest tax technical updates and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea,    0.5     $600.00       $300.00
                                     Contractor JS
                                                                                                   B. Mistler, J. Berman, J. Scott, A. Katelas, J. Taylor, and A. Bost
                                                                                                   Weekly meeting with K. Jacobs (A&M), B. Seaway (A&M), and D. Hariton (S&C) to discuss
Shea JR,Thomas M          TMS       Partner/Principal   5/23/2023   Meetings with Other Advisors   latest tax technical updates and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea,    0.5     $825.00       $412.50
                                                                                                   B. Mistler, J. Berman, J. Scott, A. Katelas, J. Taylor, and A. Bost
                                                                                                   Weekly meeting with K. Jacobs (A&M), B. Seaway (A&M), and D. Hariton (S&C) to discuss
Berman,Jake                JB       Senior Manager      5/23/2023   Meetings with Other Advisors   latest tax technical updates and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea,    0.5     $650.00       $325.00
                                                                                                   B. Mistler, J. Berman, J. Scott, A. Katelas, J. Taylor, and A. Bost
                                                                                                   Weekly meeting with K. Jacobs (A&M), B. Seaway (A&M), and D. Hariton (S&C) to discuss
Lovelace,Lauren            LL       Partner/Principal   5/23/2023   Meetings with Other Advisors   latest tax technical updates and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea,    0.5     $825.00       $412.50
                                                                                                   B. Mistler, J. Berman, J. Scott, A. Katelas, J. Taylor, and A. Bost
                                                                                                   Weekly meeting with K. Jacobs (A&M), B. Seaway (A&M), and D. Hariton (S&C) to discuss
Bailey,Doug                DB       Partner/Principal   5/23/2023   Meetings with Other Advisors   latest tax technical updates and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea,    0.5     $825.00       $412.50
                                                                                                   B. Mistler, J. Berman, J. Scott, A. Katelas, J. Taylor, and A. Bost
                                                                                                   IDR Response catchup discussion with J. Ray (RLKS), K. Schultea (RLKS), M. Cilia (RLKS), D.
Mistler,Brian M          BMM            Manager         5/26/2023    Meetings with Management                                                                                                               0.6     $525.00       $315.00
                                                                                                   Hariton (S&C) and H. Kim (S&C). EY attendees: T. Shea, B. Mistler, J. Scott, and J. Berman

                                     Client Serving                                                IDR Response catchup discussion with J. Ray (RLKS), K. Schultea (RLKS), M. Cilia (RLKS), D.
Scott,James                JS                           5/26/2023    Meetings with Management                                                                                                               0.6     $600.00       $360.00
                                     Contractor JS                                                 Hariton (S&C) and H. Kim (S&C). EY attendees: T. Shea, B. Mistler, J. Scott, and J. Berman

                                                                                                   IDR Response catchup discussion with J. Ray (RLKS), K. Schultea (RLKS), M. Cilia (RLKS), D.
Shea JR,Thomas M          TMS       Partner/Principal   5/26/2023    Meetings with Management                                                                                                               0.6     $825.00       $495.00
                                                                                                   Hariton (S&C) and H. Kim (S&C). EY attendees: T. Shea, B. Mistler, J. Scott, and J. Berman
                                                                                                   Call with D. Hariton (S&C) regarding federal items. EY attendees: T. Shea, B. Mistler, J. Scott,
Mistler,Brian M          BMM            Manager         5/26/2023   Meetings with Other Advisors                                                                                                            0.2     $525.00       $105.00
                                                                                                   and J. Berman
                                     Client Serving                                                Call with D. Hariton (S&C) regarding federal items. EY attendees: T. Shea, B. Mistler, J. Scott,
Scott,James                JS                           5/26/2023   Meetings with Other Advisors                                                                                                            0.2     $600.00       $120.00
                                     Contractor JS                                                 and J. Berman
                                                                                                   Call with D. Hariton (S&C) regarding federal items. EY attendees: T. Shea, B. Mistler, J. Scott,
Shea JR,Thomas M          TMS       Partner/Principal   5/26/2023   Meetings with Other Advisors                                                                                                            0.2     $825.00       $165.00
                                                                                                   and J. Berman
                                                                                                   Federal Items Response catchup discussion with J. Ray (RLKS), K. Schultea (RLKS), M. Cilia
Mistler,Brian M          BMM            Manager         5/25/2023    Meetings with Management      (RLKS), D. Hariton (S&C) and H. Kim (S&C). EY attendees: T. Shea, B. Mistler, J. Scott, and J.           0.6     $525.00       $315.00
                                                                                                   Berman
                                                                                                   Federal Items Response catchup discussion with J. Ray (RLKS), K. Schultea (RLKS), M. Cilia
                                     Client Serving
Scott,James                JS                           5/25/2023    Meetings with Management      (RLKS), D. Hariton (S&C) and H. Kim (S&C). EY attendees: T. Shea, B. Mistler, J. Scott, and J.           0.6     $600.00       $360.00
                                     Contractor JS
                                                                                                   Berman
                                                                                                   Federal Items Response catchup discussion with J. Ray (RLKS), K. Schultea (RLKS), M. Cilia
Shea JR,Thomas M          TMS       Partner/Principal   5/25/2023    Meetings with Management      (RLKS), D. Hariton (S&C) and H. Kim (S&C). EY attendees: T. Shea, B. Mistler, J. Scott, and J.           0.6     $825.00       $495.00
                                                                                                   Berman
                                                                                                   Discussion regarding the latest federal items. EY attendees: T. Shea, J. Scott, B. Mistler, and J.
Mistler,Brian M          BMM            Manager         5/25/2023         US Income Tax                                                                                                                     0.4     $525.00       $210.00
                                                                                                   Berman
                                     Client Serving                                                Discussion regarding the latest federal items. EY attendees: T. Shea, J. Scott, B. Mistler, and J.
Scott,James                JS                           5/25/2023         US Income Tax                                                                                                                     0.4     $600.00       $240.00
                                     Contractor JS                                                 Berman
                                                                                                   Discussion regarding the latest federal items. EY attendees: T. Shea, J. Scott, B. Mistler, and J.
Shea JR,Thomas M          TMS       Partner/Principal   5/25/2023         US Income Tax                                                                                                                     0.4     $825.00       $330.00
                                                                                                   Berman
                                                                                                   Meeting with J. Ray (RLKS), M. Cilia (RLKS), K. Schultea (RLKS), D. Hariton (S&C), and H.
Mistler,Brian M          BMM            Manager         5/26/2023    Meetings with Management                                                                                                               0.5     $525.00       $262.50
                                                                                                   Kim (S&C) to discuss tax matters. EY attendees: T. Shea, J. Scott, J. Berman, and B. Mistler
                                     Client Serving                                                Meeting with J. Ray (RLKS), M. Cilia (RLKS), K. Schultea (RLKS), D. Hariton (S&C), and H.
Scott,James                JS                           5/26/2023    Meetings with Management                                                                                                               0.5     $600.00       $300.00
                                     Contractor JS                                                 Kim (S&C) to discuss tax matters. EY attendees: T. Shea, J. Scott, J. Berman, and B. Mistler
                                                                                                   Meeting with J. Ray (RLKS), M. Cilia (RLKS), K. Schultea (RLKS), D. Hariton (S&C), and H.
Shea JR,Thomas M          TMS       Partner/Principal   5/26/2023    Meetings with Management                                                                                                               0.5     $825.00       $412.50
                                                                                                   Kim (S&C) to discuss tax matters. EY attendees: T. Shea, J. Scott, J. Berman, and B. Mistler
                                                                                                   Meeting with J. Ray (RLKS), M. Cilia (RLKS), K. Schultea (RLKS), D. Hariton (S&C), and H.
Berman,Jake                JB       Senior Manager      5/26/2023    Meetings with Management                                                                                                               0.5     $650.00       $325.00
                                                                                                   Kim (S&C) to discuss tax matters. EY attendees: T. Shea, J. Scott, J. Berman, and B. Mistler
                                                                                                   Internal call to review outstanding tax items. EY attendees: T. Shea, J. Scott, B. Mistler, and J.
Mistler,Brian M          BMM            Manager         5/26/2023        IRS Audit Matters                                                                                                                  0.5     $525.00       $262.50
                                                                                                   Berman
                                     Client Serving                                                Internal call to review outstanding tax items. EY attendees: T. Shea, J. Scott, B. Mistler, and J.
Scott,James                JS                           5/26/2023         US Income Tax                                                                                                                     0.5     $600.00       $300.00
                                     Contractor JS                                                 Berman
                                                                                                   Internal call to review outstanding tax items. EY attendees: T. Shea, J. Scott, B. Mistler, and J.
Shea JR,Thomas M          TMS       Partner/Principal   5/26/2023         US Income Tax                                                                                                                     0.5     $825.00       $412.50
                                                                                                   Berman
                                                                                                   Internal call to review outstanding tax items. EY attendees: T. Shea, J. Scott, B. Mistler, and J.
Berman,Jake                JB       Senior Manager      5/26/2023         US Income Tax                                                                                                                     0.5     $650.00       $325.00
                                                                                                   Berman
                                                                                                   Weekly call with D. Hariton (S&C) and A&M to review progress on tax workstreams and address
Mistler,Brian M          BMM            Manager         5/26/2023   Meetings with Other Advisors   open items EY: Attendees; T Shea, J Scott, B Mistler, J Berman, A&M Attendees: K Jacobs, B               0.3     $525.00       $157.50
                                                                                                   Seaway, C Howe, M Glynn
                                                                                                   Weekly call with D. Hariton (S&C) and A&M to review progress on tax workstreams and address
                                     Client Serving
Scott,James                JS                           5/26/2023   Meetings with Other Advisors   open items EY: Attendees; T Shea, J Scott, B Mistler, J Berman, A&M Attendees: K Jacobs, B               0.3     $600.00       $180.00
                                     Contractor JS
                                                                                                   Seaway, C Howe, M Glynn
                                                                                                   Weekly call with D. Hariton (S&C) and A&M to review progress on tax workstreams and address
Shea JR,Thomas M          TMS       Partner/Principal   5/26/2023   Meetings with Other Advisors   open items EY: Attendees; T Shea, J Scott, B Mistler, J Berman, A&M Attendees: K Jacobs, B               0.3     $825.00       $247.50
                                                                                                   Seaway, C Howe, M Glynn
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                                                         Date of
                  Name   Initials         Rank                               Project Category                                                  Description of Services                                         Hours   Hourly Rate   Fees
                                                         Service
                                                                                                           Weekly call with D. Hariton (S&C) and A&M to review progress on tax workstreams and address
Berman,Jake                JB        Senior Manager     5/26/2023      Meetings with Other Advisors        open items EY: Attendees; T Shea, J Scott, B Mistler, J Berman, A&M Attendees: K Jacobs, B           0.3     $650.00       $195.00
                                                                                                           Seaway, C Howe, M Glynn
Hall,Emily Melissa        EMH            Senior         5/25/2023         US State and Local Tax           Internal call to discuss claims for annual report. EY attendees: K. Gatt and E. Hall                 0.2     $395.00        $79.00
Gatt,Katie                 KG        Senior Manager     5/25/2023         US State and Local Tax           Internal call to discuss claims for annual report. EY attendees: K. Gatt and E. Hall                 0.2     $650.00       $130.00
                                                                                                           Bi-Weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Tong,Chia-Hui             CHT        Senior Manager     5/30/2023   Project Management Office Transition                                                                                                        0.4     $650.00       $260.00
                                                                                                           attendees: C. Ancona, C. Tong, and H. Choudary
                                                                                                           Bi-Weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Ancona,Christopher         CA            Senior         5/30/2023   Project Management Office Transition                                                                                                        0.4     $395.00       $158.00
                                                                                                           attendees: C. Ancona, C. Tong, and H. Choudary
                                                                                                           Bi-Weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Choudary,Hira              HC             Staff         5/30/2023               Non US Tax                                                                                                                      0.4     $225.00        $90.00
                                                                                                           attendees: C. Ancona, C. Tong, and H. Choudary
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
MacLean,Corrie            CM             Senior         5/30/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $395.00       $197.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bost,Anne                  BA       Managing Director   5/30/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $775.00       $387.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katelas,Andreas            KA            Senior         5/30/2023           US International Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $395.00       $197.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Mistler,Brian M          BMM            Manager         5/30/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $525.00       $262.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Tong,Chia-Hui             CHT        Senior Manager     5/30/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Ancona,Christopher         CA            Senior         5/30/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $395.00       $197.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katsnelson,David           DK           Manager         5/30/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $525.00       $262.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                        National
McComber,Donna            DM                            5/30/2023             Transfer Pricing             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $990.00       $495.00
                                    Partner/Principal
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Choudary,Hira              HC             Staff         5/30/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $225.00       $112.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Berman,Jake                JB        Senior Manager     5/30/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
                                      Client Serving
Scott,James                JS                           5/30/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $600.00       $300.00
                                      Contractor JS
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Wrenn,Kaitlin Doyle      KDW            Manager         5/30/2023               Payroll Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $525.00       $262.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Flagg,Nancy A.            NAF       Managing Director   5/30/2023         US State and Local Tax           preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $775.00       $387.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Haas,Zach                  ZH        Senior Manager     5/30/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Shea JR,Thomas M          TMS       Partner/Principal   5/30/2023             US Income Tax                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $825.00       $412.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Hammon,David Lane         DLH           Manager         5/30/2023               Non US Tax                 preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $525.00       $262.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Farrar,Anne                AF       Partner/Principal   5/30/2023   Project Management Office Transition   preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $825.00       $412.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Bailey,Doug                DB       Partner/Principal   5/30/2023              Tax Advisory                preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $825.00       $412.50
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Healy,John                 JH        Senior Manager     5/30/2023            IRS Audit Matters             preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $650.00       $325.00
                                                                                                           the implementation of global compliance and reporting services
                                                                                                           FTX ACE solution template input review meeting to discuss issues. EY attendees: C. Ancona and
Ancona,Christopher         CA            Senior         5/30/2023   Project Management Office Transition                                                                                                        0.4     $395.00       $158.00
                                                                                                           H. Choudary
                                                                                                           FTX ACE solution template input review meeting to discuss issues. EY attendees: C. Ancona and
Choudary,Hira              HC             Staff         5/30/2023               Non US Tax                                                                                                                      0.4     $225.00        $90.00
                                                                                                           H. Choudary
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                                                             Date of
                  Name       Initials         Rank                               Project Category                                                     Description of Services                                            Hours   Hourly Rate   Fees
                                                             Service
                                                                                                               Meeting with K. Schultea (FTX), J. Bander (S&C) and J. Paranyuk (S&C) regarding Alameda IRS
DeVincenzo,Jennie             JDV       Managing Director   5/30/2023        Meetings with Management                                                                                                                     0.3     $775.00       $232.50
                                                                                                               IDR-3 benefit summary report for review. EY attendees: K. Lowery, K. Wrenn, and J. DeVincenzo

                                                                                                               Meeting with K. Schultea (FTX), J. Bander (S&C) and J. Paranyuk (S&C) regarding Alameda IRS
Wrenn,Kaitlin Doyle          KDW            Manager         5/30/2023        Meetings with Management                                                                                                                     0.3     $525.00       $157.50
                                                                                                               IDR-3 benefit summary report for review. EY attendees: K. Lowery, K. Wrenn, and J. DeVincenzo

                                            National                                                           Meeting with K. Schultea (FTX), J. Bander (S&C) and J. Paranyuk (S&C) regarding Alameda IRS
Lowery,Kristie L              KLL                           5/30/2023        Meetings with Management                                                                                                                     0.3     $990.00       $297.00
                                        Partner/Principal                                                      IDR-3 benefit summary report for review. EY attendees: K. Lowery, K. Wrenn, and J. DeVincenzo

                                                                                                               Meeting to discuss the follow up items from S&C call on IDR 3 and preparation for IRS auditor
DeVincenzo,Jennie             JDV       Managing Director   5/30/2023               Payroll Tax                                                                                                                           0.8     $775.00       $620.00
                                                                                                               discussion tomorrow on employment tax items. EY attendees: K. Wrenn, and J. DeVincenzo

                                                                                                               Meeting to discuss the follow up items from S&C call on IDR 3 and preparation for IRS auditor
Wrenn,Kaitlin Doyle          KDW            Manager         5/30/2023               Payroll Tax                                                                                                                           0.8     $525.00       $420.00
                                                                                                               discussion tomorrow on employment tax items. EY attendees: K. Wrenn, and J. DeVincenzo
                                                                                                               Regional team call to discuss the status of the due diligence process of the local entities to date. EY
Brittany Coakley,Breshante    BBC             Staff         5/30/2023               Non US Tax                 attendees: B. Coakley, B. Rahming, T. McPhee, M. Sangster, M. Bahadur, O. Espley-Ault, and S.              1.0     $225.00       $225.00
                                                                                                               Fitzmaurice
                                                                                                               Regional team call to discuss the status of the due diligence process of the local entities to date. EY
Rahming,Brinique               BR            Senior         5/30/2023               Non US Tax                 attendees: B. Coakley, B. Rahming, T. McPhee, M. Sangster, M. Bahadur, O. Espley-Ault, and S.              1.0     $395.00       $395.00
                                                                                                               Fitzmaurice
                                                                                                               Regional team call to discuss the status of the due diligence process of the local entities to date. EY
Devona Bahadur,Michele        DBM        Senior Manager     5/30/2023               Non US Tax                 attendees: B. Coakley, B. Rahming, T. McPhee, M. Sangster, M. Bahadur, O. Espley-Ault, and S.              1.0     $650.00       $650.00
                                                                                                               Fitzmaurice
                                                                                                               Regional team call to discuss the status of the due diligence process of the local entities to date. EY
Fitzmaurice,Sean               SF           Manager         5/30/2023               Non US Tax                 attendees: B. Coakley, B. Rahming, T. McPhee, M. Sangster, M. Bahadur, O. Espley-Ault, and S.              1.0     $525.00       $525.00
                                                                                                               Fitzmaurice
                                                                                                               Regional team call to discuss the status of the due diligence process of the local entities to date. EY
McPhee,Tiffany                 TM           Manager         5/30/2023               Non US Tax                 attendees: B. Coakley, B. Rahming, T. McPhee, M. Sangster, M. Bahadur, O. Espley-Ault, and S.              1.0     $525.00       $525.00
                                                                                                               Fitzmaurice
                                                                                                               Regional team call to discuss the status of the due diligence process of the local entities to date. EY
Sangster,Mark                  MS            Senior         5/30/2023               Non US Tax                 attendees: B. Coakley, B. Rahming, T. McPhee, M. Sangster, M. Bahadur, O. Espley-Ault, and S.              1.0     $395.00       $395.00
                                                                                                               Fitzmaurice
                                                                                                               Regional team call to discuss the status of the due diligence process of the local entities to date. EY
Espley-Ault,Olivia            OEA        Senior Manager     5/30/2023               Non US Tax                 attendees: B. Coakley, B. Rahming, T. McPhee, M. Sangster, M. Bahadur, O. Espley-Ault, and S.              1.0     $650.00       $650.00
                                                                                                               Fitzmaurice
                                                                                                               Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Mistler,Brian M              BMM            Manager         5/30/2023        Meetings with Management                                                                                                                     0.5     $525.00       $262.50
                                                                                                               EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, J. Berman, B. Mistler, and K. Lowery

                                                                                                               Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Tong,Chia-Hui                 CHT        Senior Manager     5/30/2023        Meetings with Management                                                                                                                     0.5     $650.00       $325.00
                                                                                                               EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, J. Berman, B. Mistler, and K. Lowery

                                                                                                               Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Ancona,Christopher             CA            Senior         5/30/2023        Meetings with Management                                                                                                                     0.5     $395.00       $197.50
                                                                                                               EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, J. Berman, B. Mistler, and K. Lowery

                                                                                                               Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Berman,Jake                    JB        Senior Manager     5/30/2023        Meetings with Management                                                                                                                     0.5     $650.00       $325.00
                                                                                                               EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, J. Berman, B. Mistler, and K. Lowery

                                          Client Serving                                                       Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Scott,James                    JS                           5/30/2023        Meetings with Management                                                                                                                     0.5     $600.00       $300.00
                                          Contractor JS                                                        EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, J. Berman, B. Mistler, and K. Lowery

                                                                                                               Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Shea JR,Thomas M              TMS       Partner/Principal   5/30/2023        Meetings with Management                                                                                                                     0.5     $825.00       $412.50
                                                                                                               EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, J. Berman, B. Mistler, and K. Lowery

                                            National                                                           Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Lowery,Kristie L              KLL                           5/30/2023        Meetings with Management                                                                                                                     0.5     $990.00       $495.00
                                        Partner/Principal                                                      EY attendees: C. Ancona, C. Tong, T. Shea, J. Scott, J. Berman, B. Mistler, and K. Lowery
                                                                                                               Weekly FTX Meeting to review workstream project status, discuss progress on deliverables, risks,
Tong,Chia-Hui                 CHT        Senior Manager     5/31/2023   Project Management Office Transition   identify issues, and determine action items. EY attendees: C. Ancona, A. Farrar, C. Tong, and H.           0.4     $650.00       $260.00
                                                                                                               Choudary
                                                                                                               Weekly FTX Meeting to review workstream project status, discuss progress on deliverables, risks,
Ancona,Christopher             CA            Senior         5/31/2023   Project Management Office Transition   identify issues, and determine action items. EY attendees: C. Ancona, A. Farrar, C. Tong, and H.           0.4     $395.00       $158.00
                                                                                                               Choudary
                                                                                                               Weekly FTX Meeting to review workstream project status, discuss progress on deliverables, risks,
Farrar,Anne                    AF       Partner/Principal   5/31/2023   Project Management Office Transition   identify issues, and determine action items. EY attendees: C. Ancona, A. Farrar, C. Tong, and H.           0.4     $825.00       $330.00
                                                                                                               Choudary
                                                                                                               Weekly FTX Meeting to review workstream project status, discuss progress on deliverables, risks,
Choudary,Hira                  HC             Staff         5/31/2023               Non US Tax                 identify issues, and determine action items. EY attendees: C. Ancona, A. Farrar, C. Tong, and H.           0.4     $225.00        $90.00
                                                                                                               Choudary
                                                                                                               Meeting to discuss the equity review progress with EY Compensation and Employment tax team.
DeVincenzo,Jennie             JDV       Managing Director   5/31/2023               Payroll Tax                                                                                                                           0.4     $775.00       $310.00
                                                                                                               EY attendees: K. Wrenn, J. DeVincenzo, K. Fitzgerald, and R. Walker
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                                                                Date of
                Name            Initials        Rank                                Project Category                                                  Description of Services                                        Hours   Hourly Rate   Fees
                                                                Service
                                                                                                                  Meeting to discuss the equity review progress with EY Compensation and Employment tax team.
Wrenn,Kaitlin Doyle             KDW            Manager         5/31/2023               Payroll Tax                                                                                                                    0.4     $525.00       $210.00
                                                                                                                  EY attendees: K. Wrenn, J. DeVincenzo, K. Fitzgerald, and R. Walker
                                                                                                                  Meeting to discuss the equity review progress with EY Compensation and Employment tax team.
Walker,Rachael Leigh Braswell   RLBW       Partner/Principal   5/31/2023               Payroll Tax                                                                                                                    0.4     $825.00       $330.00
                                                                                                                  EY attendees: K. Wrenn, J. DeVincenzo, K. Fitzgerald, and R. Walker
                                                                                                                  Meeting to discuss the equity review progress with EY Compensation and Employment tax team.
Fitzgerald,Kevin                  KF           Manager         5/31/2023               Payroll Tax                                                                                                                    0.4     $525.00       $210.00
                                                                                                                  EY attendees: K. Wrenn, J. DeVincenzo, K. Fitzgerald, and R. Walker
                                                                                                                  Meeting with IRS employment tax auditor regarding status of FTX entities open employment tax
DeVincenzo,Jennie                JDV       Managing Director   5/31/2023               Payroll Tax                                                                                                                    1.6     $775.00      $1,240.00
                                                                                                                  audits. EY attendees: K. Lowery, M. Rule, J. DeVincenzo, and K. Wrenn
                                                                                                                  Meeting with IRS employment tax auditor regarding status of FTX entities open employment tax
Wrenn,Kaitlin Doyle             KDW            Manager         5/31/2023               Payroll Tax                                                                                                                    1.6     $525.00       $840.00
                                                                                                                  audits. EY attendees: K. Lowery, M. Rule, J. DeVincenzo, and K. Wrenn
                                               National                                                           Meeting with IRS employment tax auditor regarding status of FTX entities open employment tax
Lowery,Kristie L                 KLL                           5/31/2023               Payroll Tax                                                                                                                    1.6     $990.00      $1,584.00
                                           Partner/Principal                                                      audits. EY attendees: K. Lowery, M. Rule, J. DeVincenzo, and K. Wrenn
                                                                                                                  Meeting with IRS employment tax auditor regarding status of FTX entities open employment tax
Rule,Martin Daniel               MDR        Senior Manager     5/31/2023               Payroll Tax                                                                                                                    1.6     $650.00      $1,040.00
                                                                                                                  audits. EY attendees: K. Lowery, M. Rule, J. DeVincenzo, and K. Wrenn
                                                                                                                  Internal meeting regroup post-employment tax IRS audit discussion with examiner. EY attendees:
DeVincenzo,Jennie                JDV       Managing Director   5/31/2023               Payroll Tax                                                                                                                    0.5     $775.00       $387.50
                                                                                                                  K. Lowery, M. Rule, J. DeVincenzo, and K. Wrenn
                                                                                                                  Internal meeting regroup post-employment tax IRS audit discussion with examiner. EY attendees:
Wrenn,Kaitlin Doyle             KDW            Manager         5/31/2023               Payroll Tax                                                                                                                    0.5     $525.00       $262.50
                                                                                                                  K. Lowery, M. Rule, J. DeVincenzo, and K. Wrenn
                                               National                                                           Internal meeting regroup post-employment tax IRS audit discussion with examiner. EY attendees:
Lowery,Kristie L                 KLL                           5/31/2023               Payroll Tax                                                                                                                    0.5     $990.00       $495.00
                                           Partner/Principal                                                      K. Lowery, M. Rule, J. DeVincenzo, and K. Wrenn
                                                                                                                  Internal meeting regroup post-employment tax IRS audit discussion with examiner. EY attendees:
Rule,Martin Daniel               MDR        Senior Manager     5/31/2023               Payroll Tax                                                                                                                    0.5     $650.00       $325.00
                                                                                                                  K. Lowery, M. Rule, J. DeVincenzo, and K. Wrenn
                                                                                                                  Meeting to discuss the processing of the monthly fee application. EY attendees: C. Ancona, C.
Tong,Chia-Hui                    CHT        Senior Manager     5/31/2023   Project Management Office Transition                                                                                                       0.6     $650.00       $390.00
                                                                                                                  Tong, D. Neziroski, S. Cahalane, and H. Choudary
                                                                                                                  Meeting to discuss the processing of the monthly fee application. EY attendees: C. Ancona, C.
Ancona,Christopher                CA            Senior         5/31/2023   Project Management Office Transition                                                                                                       0.6     $395.00       $237.00
                                                                                                                  Tong, D. Neziroski, S. Cahalane, and H. Choudary
                                                                                                                  Meeting to discuss the processing of the monthly fee application. EY attendees: C. Ancona, C.
Choudary,Hira                     HC             Staff         5/31/2023               Non US Tax                                                                                                                     0.6     $225.00       $135.00
                                                                                                                  Tong, D. Neziroski, S. Cahalane, and H. Choudary
                                                                                                                  Meeting to discuss the processing of the monthly fee application. EY attendees: C. Ancona, C.
Cahalane,Shawn M.                SMC           Manager         5/31/2023      Fee/Employment Applications                                                                                                             0.6     $525.00       $315.00
                                                                                                                  Tong, D. Neziroski, S. Cahalane, and H. Choudary
                                                                                                                  Daily meeting to review new documentation provided, address open items and questions from
MacLean,Corrie                   CM             Senior         5/30/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.       1.0     $395.00       $395.00
                                                                                                                  Hammon, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                                  Daily meeting to review new documentation provided, address open items and questions from
Choudary,Hira                     HC             Staff         5/30/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.       1.0     $225.00       $225.00
                                                                                                                  Hammon, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                                  Daily meeting to review new documentation provided, address open items and questions from
Hammon,David Lane                DLH           Manager         5/30/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.       1.0     $525.00       $525.00
                                                                                                                  Hammon, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                                  Daily meeting to review new documentation provided, address open items and questions from
Staromiejska,Kinga                KS           Manager         5/30/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.       1.0     $525.00       $525.00
                                                                                                                  Hammon, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                                                  Daily meeting to review new documentation provided, address open items and questions from
MacLean,Corrie                   CM             Senior         5/31/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.       0.5     $395.00       $197.50
                                                                                                                  Hammon, C. MacLean, and H. Choudary
                                                                                                                  Daily meeting to review new documentation provided, address open items and questions from
Hammon,David Lane                DLH           Manager         5/31/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.       0.5     $525.00       $262.50
                                                                                                                  Hammon, C. MacLean, and H. Choudary
                                                                                                                  Daily meeting to review new documentation provided, address open items and questions from
Choudary,Hira                     HC             Staff         5/31/2023               Non US Tax                 E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.       0.5     $225.00       $112.50
                                                                                                                  Hammon, C. MacLean, and H. Choudary
                                                                                                                  Meeting to discuss expectations, roles and responsibilities, next steps and action items for the
Tong,Chia-Hui                    CHT        Senior Manager     5/31/2023   Project Management Office Transition   Technology/the Project Management workstream. EY attendees: C. Ancona, C. Tong, H.                  0.9     $650.00       $585.00
                                                                                                                  Choudary, C. Li, D. Jena, and C. Cavusoglu
                                                                                                                  Meeting to discuss expectations, roles and responsibilities, next steps and action items for the
Ancona,Christopher                CA            Senior         5/31/2023   Project Management Office Transition   Technology/the Project Management workstream. EY attendees: C. Ancona, C. Tong, H.                  0.9     $395.00       $355.50
                                                                                                                  Choudary, C. Li, D. Jena, and C. Cavusoglu
                                                                                                                  Meeting to discuss expectations, roles and responsibilities, next steps and action items for the
Cavusoglu,Coskun                  CC       Partner/Principal   5/31/2023               Technology                 Technology/the Project Management workstream. EY attendees: C. Ancona, C. Tong, H.                  0.9     $825.00       $742.50
                                                                                                                  Choudary, C. Li, D. Jena, and C. Cavusoglu
                                                                                                                  Meeting to discuss expectations, roles and responsibilities, next steps and action items for the
Jena,Deepak                       DJ           Manager         5/31/2023               Technology                 Technology/the Project Management workstream. EY attendees: C. Ancona, C. Tong, H.                  0.9     $525.00       $472.50
                                                                                                                  Choudary, C. Li, D. Jena, and C. Cavusoglu
                                                                                                                  Meeting to discuss expectations, roles and responsibilities, next steps and action items for the
Li,Chunyang                       CL            Senior         5/31/2023               Technology                 Technology/the Project Management workstream. EY attendees: C. Ancona, C. Tong, H.                  0.9     $395.00       $355.50
                                                                                                                  Choudary, C. Li, D. Jena, and C. Cavusoglu
                                                                                                                  Meeting to discuss expectations, roles and responsibilities, next steps and action items for the
Choudary,Hira                     HC             Staff         5/31/2023               Non US Tax                 Technology/the Project Management workstream. EY attendees: C. Ancona, C. Tong, H.                  0.9     $225.00       $202.50
                                                                                                                  Choudary, C. Li, D. Jena, and C. Cavusoglu
                                                                                                                  Meeting to walk through sales and use tax gap analysis. EY attendees: M. Musano, J. Jimenez, and
Hall,Emily Melissa               EMH            Senior         5/31/2023         US State and Local Tax                                                                                                               2.7     $395.00      $1,066.50
                                                                                                                  E. Hall
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                                                         Date of
                  Name   Initials         Rank                           Project Category                                              Description of Services                                        Hours   Hourly Rate   Fees
                                                         Service
                                                                                                   Meeting to walk through sales and use tax gap analysis. EY attendees: M. Musano, J. Jimenez, and
Jimenez,Joseph Robert      JRJ       Senior Manager     5/30/2023     US State and Local Tax                                                                                                           2.7     $650.00      $1,755.00
                                                                                                   E. Hall
                                                                                                   Meeting to walk through income/franchise tax gap analysis and determine deliverable format. EY
Hall,Emily Melissa        EMH            Senior         5/31/2023     US State and Local Tax                                                                                                           0.5     $395.00       $197.50
                                                                                                   attendees: M. Musano, W. Bieganski, and E. Hall
                                     Client Serving                                                Meeting to walk through income/franchise tax gap analysis and determine deliverable format. EY
Bieganski,Walter          WB                            5/31/2023     US State and Local Tax                                                                                                           0.5     $200.00       $100.00
                                     Contractor WB                                                 attendees: M. Musano, W. Bieganski, and E. Hall
                                                                                                   Meeting to walk through income/franchise tax gap analysis and determine deliverable format. EY
Musano,Matthew Albert    MAM         Senior Manager     5/31/2023     US State and Local Tax                                                                                                           0.5     $650.00       $325.00
                                                                                                   attendees: M. Musano, W. Bieganski, and E. Hall
                                                                                                   Internal meeting to discuss IRS alignment between federal and employment tax related items
Berman,Jake                JB        Senior Manager     5/30/2023        IRS Audit Matters                                                                                                             1.0     $650.00       $650.00
                                                                                                   requested through IDR. EY attendees: J. Berman, B. Mistler, and K. Wrenn
                                                                                                   Internal meeting to discuss IRS alignment between federal and employment tax related items
Wrenn,Kaitlin Doyle      KDW            Manager         5/30/2023           Payroll Tax                                                                                                                1.0     $525.00       $525.00
                                                                                                   requested through IDR. EY attendees: J. Berman, B. Mistler, and K. Wrenn
                                                                                                   Internal meeting to discuss IRS alignment between federal and employment tax related items
Mistler,Brian M          BMM            Manager         5/30/2023        IRS Audit Matters                                                                                                             1.0     $525.00       $525.00
                                                                                                   requested through IDR. EY attendees: J. Berman, B. Mistler, and K. Wrenn
                                                                                                   Weekly meeting with K. Jacobs (A&M) and D. Hariton (S&C) to discuss latest tax technical
Katelas,Andreas            KA            Senior         5/30/2023   Meetings with Other Advisors   updates and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea, B. Mistler, J.     0.6     $395.00       $237.00
                                                                                                   Berman, J. Scott, A. Katelas, and A. Bost
                                                                                                   Weekly meeting with K. Jacobs (A&M) and D. Hariton (S&C) to discuss latest tax technical
Mistler,Brian M          BMM            Manager         5/30/2023   Meetings with Other Advisors   updates and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea, B. Mistler, J.     0.6     $525.00       $315.00
                                                                                                   Berman, J. Scott, A. Katelas, and A. Bost
                                                                                                   Weekly meeting with K. Jacobs (A&M) and D. Hariton (S&C) to discuss latest tax technical
Berman,Jake                JB        Senior Manager     5/30/2023   Meetings with Other Advisors   updates and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea, B. Mistler, J.     0.6     $650.00       $390.00
                                                                                                   Berman, J. Scott, A. Katelas, and A. Bost
                                                                                                   Weekly meeting with K. Jacobs (A&M) and D. Hariton (S&C) to discuss latest tax technical
Lovelace,Lauren            LL       Partner/Principal   5/30/2023   Meetings with Other Advisors   updates and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea, B. Mistler, J.     0.6     $825.00       $495.00
                                                                                                   Berman, J. Scott, A. Katelas, and A. Bost
                                                                                                   Weekly meeting with K. Jacobs (A&M) and D. Hariton (S&C) to discuss latest tax technical
Bailey,Doug                DB       Partner/Principal   5/30/2023   Meetings with Other Advisors   updates and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea, B. Mistler, J.     0.6     $825.00       $495.00
                                                                                                   Berman, J. Scott, A. Katelas, and A. Bost
                                                                                                   Weekly meeting with K. Jacobs (A&M) and D. Hariton (S&C) to discuss latest tax technical
Shea JR,Thomas M          TMS       Partner/Principal   5/30/2023   Meetings with Other Advisors   updates and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea, B. Mistler, J.     0.6     $825.00       $495.00
                                                                                                   Berman, J. Scott, A. Katelas, and A. Bost
                                                                                                   Weekly meeting with K. Jacobs (A&M) and D. Hariton (S&C) to discuss latest tax technical
                                      Client Serving
Scott,James                JS                           5/30/2023   Meetings with Other Advisors   updates and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea, B. Mistler, J.     0.6     $600.00       $360.00
                                      Contractor JS
                                                                                                   Berman, J. Scott, A. Katelas, and A. Bost
                                                                                                   Internal call to discuss IRS audit responses. EY attendees: J. Berman, J. DeVincenzo, K. Wrenn,
Mistler,Brian M          BMM            Manager         5/30/2023        IRS Audit Matters                                                                                                             0.9     $525.00       $472.50
                                                                                                   and B. Mistler
                                                                                                   Internal call to discuss IRS audit responses. EY attendees: J. Berman, J. DeVincenzo, K. Wrenn,
Wrenn,Kaitlin Doyle      KDW            Manager         5/30/2023           Payroll Tax                                                                                                                0.9     $525.00       $472.50
                                                                                                   and B. Mistler
                                                                                                   Internal call to discuss IRS audit responses. EY attendees: J. Berman, J. DeVincenzo, K. Wrenn,
Berman,Jake                JB        Senior Manager     5/30/2023        IRS Audit Matters                                                                                                             0.9     $650.00       $585.00
                                                                                                   and B. Mistler
                                                                                                   Internal call to discuss IRS audit responses. EY attendees: J. Berman, J. DeVincenzo, K. Wrenn,
DeVincenzo,Jennie         JDV       Managing Director   5/30/2023           Payroll Tax                                                                                                                0.9     $775.00       $697.50
                                                                                                   and B. Mistler
Mistler,Brian M          BMM            Manager         5/30/2023        IRS Audit Matters         Internal call to discuss IRS audit responses. EY attendees: B. Mistler and G. Di Stefano            0.4     $525.00       $210.00
Di Stefano,Giulia        GDS             Senior         5/30/2023         Transfer Pricing         Internal call to discuss IRS audit responses. EY attendees: B. Mistler and G. Di Stefano            0.4     $395.00       $158.00
                                                                                                   Internal call to discuss IRS audit responses. EY attendees: T. Shea, J. Scott, J. Berman, and B.
Mistler,Brian M          BMM            Manager         5/30/2023        IRS Audit Matters                                                                                                             0.7     $525.00       $367.50
                                                                                                   Mistler
                                                                                                   Internal call to discuss IRS audit responses. EY attendees: T. Shea, J. Scott, J. Berman, and B.
Berman,Jake                JB        Senior Manager     5/30/2023        IRS Audit Matters                                                                                                             0.7     $650.00       $455.00
                                                                                                   Mistler
                                                                                                   Internal call to discuss IRS audit responses. EY attendees: T. Shea, J. Scott, J. Berman, and B.
Shea JR,Thomas M          TMS       Partner/Principal   5/30/2023         US Income Tax                                                                                                                0.7     $825.00       $577.50
                                                                                                   Mistler
                                      Client Serving                                               Internal call to discuss IRS audit responses. EY attendees: T. Shea, J. Scott, J. Berman, and B.
Scott,James                JS                           5/30/2023         US Income Tax                                                                                                                0.7     $600.00       $420.00
                                      Contractor JS                                                Mistler
                                                                                                   Bi-weekly Federal tax team meeting to discuss workstreams and upcoming deadlines. EY
Mistler,Brian M          BMM            Manager         5/30/2023        IRS Audit Matters                                                                                                             0.5     $525.00       $262.50
                                                                                                   attendees: T. Shea, J. Scott, J. Berman, and B. Mistler
                                                                                                   Bi-weekly Federal tax team meeting to discuss workstreams and upcoming deadlines. EY
Berman,Jake                JB        Senior Manager     5/30/2023         US Income Tax                                                                                                                0.5     $650.00       $325.00
                                                                                                   attendees: T. Shea, J. Scott, J. Berman, and B. Mistler
                                                                                                   Bi-weekly Federal tax team meeting to discuss workstreams and upcoming deadlines. EY
Shea JR,Thomas M          TMS       Partner/Principal   5/30/2023         US Income Tax                                                                                                                0.5     $825.00       $412.50
                                                                                                   attendees: T. Shea, J. Scott, J. Berman, and B. Mistler
                                     Client Serving                                                Bi-weekly Federal tax team meeting to discuss workstreams and upcoming deadlines. EY
Scott,James                JS                           5/30/2023         US Income Tax                                                                                                                0.5     $600.00       $300.00
                                     Contractor JS                                                 attendees: T. Shea, J. Scott, J. Berman, and B. Mistler
Mistler,Brian M          BMM            Manager         5/31/2023        IRS Audit Matters         Internal call to discuss IRS audit responses. EY attendees: T. Shea, J. Healy, and B. Mistler       0.6     $525.00       $315.00
Shea JR,Thomas M         TMS        Partner/Principal   5/31/2023         US Income Tax            Internal call to discuss IRS audit responses. EY attendees: T. Shea, J. Healy, and B. Mistler       0.6     $825.00       $495.00
Healy,John                JH        Senior Manager      5/31/2023        IRS Audit Matters         Internal call to discuss IRS audit responses. EY attendees: T. Shea, J. Healy, and B. Mistler       0.6     $650.00       $390.00
                                                                                                   Meeting with J. Bavaud (FTX) to discuss the compliance status of Europe entities. EY attendees:
MacLean,Corrie            CM             Senior         5/31/2023    Meetings with Management                                                                                                          0.6     $395.00       $237.00
                                                                                                   C. MacLean and D. Hammon
                                                                                                   Meeting with J. Bavaud (FTX) to discuss the compliance status of Europe entities. EY attendees:
Hammon,David Lane         DLH           Manager         5/31/2023    Meetings with Management                                                                                                          0.6     $525.00       $315.00
                                                                                                   C. MacLean and D. Hammon
                                                                                                   Meeting to discuss next steps for FTX Antigua compliance. EY attendees: L. Phillips, H.
MacLean,Corrie            CM             Senior         5/31/2023           Non US Tax             Choudary, C. MacLean, D. Katsnelson, M. Leon, D. Hammon, N. Srivastava, J. Marlow, and N.           0.2     $395.00        $79.00
                                                                                                   Hernandez
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                                                            Date of
                  Name      Initials        Rank                            Project Category                                               Description of Services                                          Hours   Hourly Rate   Fees
                                                            Service
                                                                                                      Meeting to discuss next steps for FTX Antigua compliance. EY attendees: L. Phillips, H.
Choudary,Hira                 HC             Staff         5/31/2023           Non US Tax             Choudary, C. MacLean, D. Katsnelson, M. Leon, D. Hammon, N. Srivastava, J. Marlow, and N.              0.2     $225.00        $45.00
                                                                                                      Hernandez
                                                                                                      Meeting to discuss next steps for FTX Antigua compliance. EY attendees: L. Phillips, H.
Gil Diez de Leon,Marta       MDL           Manager         5/31/2023        Value Added Tax           Choudary, C. MacLean, D. Katsnelson, M. Leon, D. Hammon, N. Srivastava, J. Marlow, and N.              0.2     $525.00       $105.00
                                                                                                      Hernandez
                                                                                                      Meeting to discuss next steps for FTX Antigua compliance. EY attendees: L. Phillips, H.
Hernandez,Nancy I.           NIH        Senior Manager     5/31/2023           Non US Tax             Choudary, C. MacLean, D. Katsnelson, M. Leon, D. Hammon, N. Srivastava, J. Marlow, and N.              0.2     $650.00       $130.00
                                                                                                      Hernandez
                                                                                                      Meeting to discuss next steps for FTX Antigua compliance. EY attendees: L. Phillips, H.
Srivastava,Nikita Asutosh    NAS           Manager         5/31/2023           Non US Tax             Choudary, C. MacLean, D. Katsnelson, M. Leon, D. Hammon, N. Srivastava, J. Marlow, and N.              0.2     $525.00       $105.00
                                                                                                      Hernandez
                                                                                                      Meeting to discuss next steps for FTX Antigua compliance. EY attendees: L. Phillips, H.
Katsnelson,David              DK           Manager         5/31/2023         Transfer Pricing         Choudary, C. MacLean, D. Katsnelson, M. Leon, D. Hammon, N. Srivastava, J. Marlow, and N.              0.2     $525.00       $105.00
                                                                                                      Hernandez
                                                                                                      Meeting to discuss next steps for FTX Antigua compliance. EY attendees: L. Phillips, H.
Hammon,David Lane            DLH           Manager         5/31/2023           Non US Tax             Choudary, C. MacLean, D. Katsnelson, M. Leon, D. Hammon, N. Srivastava, J. Marlow, and N.              0.2     $525.00       $105.00
                                                                                                      Hernandez
                                                                                                      Meeting to discuss next steps for FTX Antigua compliance. EY attendees: L. Phillips, H.
Marlow,Joe                    JM            Senior         5/31/2023        Value Added Tax           Choudary, C. MacLean, D. Katsnelson, M. Leon, D. Hammon, N. Srivastava, J. Marlow, and N.              0.2     $395.00        $79.00
                                                                                                      Hernandez
                                                                                                      Meeting to discuss next steps for FTX Antigua compliance. EY attendees: L. Phillips, H.
Phillips,La-Tanya             LP       Managing Director   5/31/2023           Non US Tax             Choudary, C. MacLean, D. Katsnelson, M. Leon, D. Hammon, N. Srivastava, J. Marlow, and N.              0.2     $775.00       $155.00
                                                                                                      Hernandez
                                                                                                      Internal call to discuss the TP compliance calendar. EY attendees: G. Di Stefano and D.
Di Stefano,Giulia            GDS            Senior         5/1/2023          Transfer Pricing                                                                                                                0.5     $395.00       $197.50
                                                                                                      McComber
                                           National                                                   Internal call to discuss the TP compliance calendar. EY attendees: G. Di Stefano and D.
McComber,Donna               DM                            5/1/2023          Transfer Pricing                                                                                                                0.5     $990.00       $495.00
                                       Partner/Principal                                              McComber
                                                                                                      Weekly call with R. Gordon (A&M) and K. Kearney (A&M) to discuss A&M's financial findings.
Di Stefano,Giulia            GDS            Senior         5/11/2023   Meetings with Other Advisors                                                                                                          0.5     $395.00       $197.50
                                                                                                      EY attendees: G. Di Stefano, D. McComber, A. Bost, D. Katsnelson, and O. Hall
                                           National                                                   Weekly call with R. Gordon (A&M) and K. Kearney (A&M) to discuss A&M's financial findings.
McComber,Donna               DM                            5/11/2023   Meetings with Other Advisors                                                                                                          0.5     $990.00       $495.00
                                       Partner/Principal                                              EY attendees: G. Di Stefano, D. McComber, A. Bost, D. Katsnelson, and O. Hall
                                                                                                      Weekly call with R. Gordon (A&M) and K. Kearney (A&M) to discuss A&M's financial findings.
Hall,Olivia                   OH             Staff         5/11/2023   Meetings with Other Advisors                                                                                                          0.5     $225.00       $112.50
                                                                                                      EY attendees: G. Di Stefano, D. McComber, A. Bost, D. Katsnelson, and O. Hall
                                           National                                                   Weekly meeting to discuss status of the Transfer pricing documentation and Transfer pricing
McComber,Donna               DM                            5/18/2023         Transfer Pricing                                                                                                                0.5     $990.00       $495.00
                                       Partner/Principal                                              calendar. EY attendees: D. McComber, G. Di Stefano, D. Katsnelson, O. Hall, and A. Bost

                                                                                                      Weekly meeting to discuss status of the Transfer pricing documentation and Transfer pricing
Di Stefano,Giulia            GDS            Senior         5/18/2023         Transfer Pricing                                                                                                                0.5     $395.00       $197.50
                                                                                                      calendar. EY attendees: D. McComber, G. Di Stefano, D. Katsnelson, O. Hall, and A. Bost

                                                                                                      Weekly meeting to discuss status of the Transfer pricing documentation and Transfer pricing
Hall,Olivia                   OH             Staff         5/18/2023         Transfer Pricing                                                                                                                0.5     $225.00       $112.50
                                                                                                      calendar. EY attendees: D. McComber, G. Di Stefano, D. Katsnelson, O. Hall, and A. Bost
                                                                                                      Discussion to address scribe's responsibilities and other assignments handover. EY attendees: G. Di
Di Stefano,Giulia            GDS            Senior         5/18/2023         Transfer Pricing                                                                                                                0.2     $395.00        $79.00
                                                                                                      Stefano and D. Katsnelson
                                                                                                      Discussion to address scribe's responsibilities and other assignments handover. EY attendees: G. Di
Katsnelson,David              DK           Manager         5/18/2023         Transfer Pricing                                                                                                                0.2     $525.00       $105.00
                                                                                                      Stefano and D. Katsnelson
Di Stefano,Giulia            GDS            Senior         5/18/2023         Transfer Pricing         Discussion on recent TP doc relevant findings. EY attendees: G. Di Stefano and O. Hall                 0.2     $395.00        $79.00
Hall,Olivia                  OH              Staff         5/18/2023         Transfer Pricing         Discussion on recent TP doc relevant findings. EY attendees: G. Di Stefano and O. Hall                 0.2     $225.00        $45.00
                                           National                                                   Call with K. Kearney (A&M) and R. Gordon (A&M) pertaining to additional data. EY attendees:
McComber,Donna               DM                            5/18/2023   Meetings with Other Advisors                                                                                                          0.5     $990.00       $495.00
                                       Partner/Principal                                              G. Di Stefano, O. Hall, D. McComber, and D. Katsnelson
                                                                                                      Call with K. Kearney (A&M) and R. Gordon (A&M) pertaining to additional data. EY attendees:
Di Stefano,Giulia            GDS            Senior         5/18/2023   Meetings with Other Advisors                                                                                                          0.5     $395.00       $197.50
                                                                                                      G. Di Stefano, O. Hall, D. McComber, and D. Katsnelson
                                                                                                      Call with K. Kearney (A&M) and R. Gordon (A&M) pertaining to additional data. EY attendees:
Hall,Olivia                   OH             Staff         5/18/2023   Meetings with Other Advisors                                                                                                          0.5     $225.00       $112.50
                                                                                                      G. Di Stefano, O. Hall, D. McComber, and D. Katsnelson
Di Stefano,Giulia            GDS            Senior         5/18/2023         Transfer Pricing         Discussion re: the Japanese - Singaporean APA. EY attendees: G. Di Stefano and W. Wong                 0.3     $395.00       $118.50
Wong,Wendy                   WW         Senior Manager     5/18/2023          Non US Tax              Discussion re: the Japanese - Singaporean APA. EY attendees: G. Di Stefano and W. Wong                 0.3     $650.00       $195.00
                                                                                                      Internal call to discuss the IRS's information request pertaining to the loans. EY attendees: B.
Mistler,Brian M             BMM            Manager         5/19/2023          Tax Advisory                                                                                                                   0.5     $525.00       $262.50
                                                                                                      Mistler, D. McComber, D. Katsnelson, and A. Bost
                                           National                                                   Internal call to discuss the IRS's information request pertaining to the loans. EY attendees: B.
McComber,Donna               DM                            5/19/2023         Transfer Pricing                                                                                                                0.5     $990.00       $495.00
                                       Partner/Principal                                              Mistler, D. McComber, D. Katsnelson, and A. Bost
Di Stefano,Giulia            GDS            Senior         5/24/2023         Transfer Pricing         Meeting to discuss 2022 TP doc. EY attendees: D. Katsnelson and G. Di Stefano                          0.4     $395.00       $158.00
Katsnelson,David             DK            Manager         5/24/2023         Transfer Pricing         Meeting to discuss 2022 TP doc. EY attendees: D. Katsnelson and G. Di Stefano                          0.4     $525.00       $210.00
                                           National                                                   Weekly meeting to discuss TP Doc and next steps. EY attendees: D. Katsnelson, G. Di Stefano, A.
McComber,Donna               DM                            5/29/2023         Transfer Pricing                                                                                                                0.5     $990.00       $495.00
                                       Partner/Principal                                              Bost, D. McComber, and O. Hall
                                                                                                      Weekly meeting to discuss TP Doc and next steps. EY attendees: D. Katsnelson, G. Di Stefano, A.
Di Stefano,Giulia            GDS            Senior         5/29/2023         Transfer Pricing                                                                                                                0.5     $395.00       $197.50
                                                                                                      Bost, D. McComber, and O. Hall
                                                                                                      Weekly meeting to discuss TP Doc and next steps. EY attendees: D. Katsnelson, G. Di Stefano, A.
Katsnelson,David              DK           Manager         5/29/2023         Transfer Pricing                                                                                                                0.5     $525.00       $262.50
                                                                                                      Bost, D. McComber, and O. Hall
                                                                                                      Weekly meeting to discuss TP Doc and next steps. EY attendees: D. Katsnelson, G. Di Stefano, A.
Hall,Olivia                   OH             Staff         5/29/2023         Transfer Pricing                                                                                                                0.5     $225.00       $112.50
                                                                                                      Bost, D. McComber, and O. Hall
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                                                         Date of
                  Name   Initials        Rank                                Project Category                                                   Description of Services                                          Hours   Hourly Rate   Fees
                                                         Service
                                        National                                                           Internal call to discuss answer to the IRS information request on the loans. EY attendees: G. Di
McComber,Donna            DM                            5/31/2023             Transfer Pricing                                                                                                                    1.0     $990.00       $990.00
                                    Partner/Principal                                                      Stefano and D. McComber
                                                                                                           Internal call to discuss answer to the IRS information request on the loans. EY attendees: G. Di
Di Stefano,Giulia         GDS            Senior         5/31/2023             Transfer Pricing                                                                                                                    1.0     $395.00       $395.00
                                                                                                           Stefano and D. McComber
                                                                                                           Meeting to discuss upcoming FTX Project Management Office tax project deliverables. EY
Ancona,Christopher         CA            Senior         5/31/2023   Project Management Office Transition                                                                                                          0.5     $395.00       $197.50
                                                                                                           attendees: C. Ancona, C. Tong, A. Farrar, J. Scott, and T. Shea
                                                                                                           Meeting to discuss upcoming FTX Project Management Office tax project deliverables. EY
Tong,Chia-Hui             CHT       Senior Manager      5/31/2023   Project Management Office Transition                                                                                                          0.5     $650.00       $325.00
                                                                                                           attendees: C. Ancona, C. Tong, A. Farrar, J. Scott, and T. Shea
                                                                                                           Meeting to discuss upcoming FTX Project Management Office tax project deliverables. EY
Farrar,Anne                AF       Partner/Principal   5/31/2023   Project Management Office Transition                                                                                                          0.5     $825.00       $412.50
                                                                                                           attendees: C. Ancona, C. Tong, A. Farrar, J. Scott, and T. Shea
                                     Client Serving                                                        Meeting to discuss upcoming FTX Project Management Office tax project deliverables. EY
Scott,James                JS                           5/31/2023             US Income Tax                                                                                                                       0.5     $600.00       $300.00
                                     Contractor JS                                                         attendees: C. Ancona, C. Tong, A. Farrar, J. Scott, and T. Shea
                                                                                                           Meeting to discuss upcoming FTX Project Management Office tax project deliverables. EY
Shea JR,Thomas M          TMS       Partner/Principal   5/31/2023             US Income Tax                                                                                                                       0.5     $825.00       $412.50
                                                                                                           attendees: C. Ancona, C. Tong, A. Farrar, J. Scott, and T. Shea
                                                                                                           Weekly meeting with K. Jacobs (A&M) and D. Hariton (S&C) to discuss latest tax technical
Katelas,Andreas            KA            Senior         5/30/2023      Meetings with Other Advisors        updates and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea, B. Mistler, J.        0.5     $395.00       $197.50
                                                                                                           Berman, J. Scott, and A. Katelas
                                                                                                           Weekly meeting with K. Jacobs (A&M) and D. Hariton (S&C) to discuss latest tax technical
Mistler,Brian M          BMM            Manager         5/30/2023      Meetings with Other Advisors        updates and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea, B. Mistler, J.        0.5     $525.00       $262.50
                                                                                                           Berman, J. Scott, and A. Katelas
                                                                                                           Weekly meeting with K. Jacobs (A&M) and D. Hariton (S&C) to discuss latest tax technical
Lovelace,Lauren            LL       Partner/Principal   5/30/2023      Meetings with Other Advisors        updates and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea, B. Mistler, J.        0.5     $825.00       $412.50
                                                                                                           Berman, J. Scott, and A. Katelas
                                                                                                           Weekly meeting with K. Jacobs (A&M) and D. Hariton (S&C) to discuss latest tax technical
Bailey,Doug                DB       Partner/Principal   5/30/2023      Meetings with Other Advisors        updates and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea, B. Mistler, J.        0.5     $825.00       $412.50
                                                                                                           Berman, J. Scott, and A. Katelas
                                                                                                           Weekly meeting with K. Jacobs (A&M) and D. Hariton (S&C) to discuss latest tax technical
Shea JR,Thomas M          TMS       Partner/Principal   5/30/2023      Meetings with Other Advisors        updates and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea, B. Mistler, J.        0.5     $825.00       $412.50
                                                                                                           Berman, J. Scott, and A. Katelas
                                                                                                           Weekly meeting with K. Jacobs (A&M) and D. Hariton (S&C) to discuss latest tax technical
Berman,Jake                JB       Senior Manager      5/30/2023      Meetings with Other Advisors        updates and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea, B. Mistler, J.        0.5     $650.00       $325.00
                                                                                                           Berman, J. Scott, and A. Katelas
                                                                                                           Weekly meeting with K. Jacobs (A&M) and D. Hariton (S&C) to discuss latest tax technical
                                     Client Serving
Scott,James                JS                           5/30/2023      Meetings with Other Advisors        updates and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea, B. Mistler, J.        0.5     $600.00       $300.00
                                     Contractor JS
                                                                                                           Berman, J. Scott, and A. Katelas
                                                                                                           External meeting with M. Cilia (FTX), J. Cooper (A&M), and S. Witherspoon (A&M) to discuss
Katelas,Andreas            KA            Senior         5/31/2023        Meetings with Management                                                                                                                 1.0     $395.00       $395.00
                                                                                                           reporting requirements and related diligence. EY attendees: L. Lovelace, A. Katelas, and K. Pawa

                                        National                                                           External meeting with M. Cilia (FTX), J. Cooper (A&M), and S. Witherspoon (A&M) to discuss
Lowery,Kristie L          KLL                           5/31/2023        Meetings with Management                                                                                                                 1.0     $990.00       $990.00
                                    Partner/Principal                                                      reporting requirements and related diligence. EY attendees: L. Lovelace, A. Katelas, and K. Pawa
                                                                                                           Internal meeting to discuss latest updates to ITTS issues tracker and international workstreams. EY
Katelas,Andreas            KA            Senior         5/31/2023           US International Tax                                                                                                                  0.5     $395.00       $197.50
                                                                                                           attendees: L. Lovelace, D. Bailey, A. Katelas, R. Yang, and P. Zhu
                                                                                                           Internal meeting to discuss latest updates to ITTS issues tracker and international workstreams. EY
Lovelace,Lauren            LL       Partner/Principal   5/31/2023           US International Tax                                                                                                                  0.5     $825.00       $412.50
                                                                                                           attendees: L. Lovelace, D. Bailey, A. Katelas, R. Yang, and P. Zhu
                                                                                                           Internal meeting to discuss latest updates to ITTS issues tracker and international workstreams. EY
Bailey,Doug                DB       Partner/Principal   5/31/2023              Tax Advisory                                                                                                                       0.5     $825.00       $412.50
                                                                                                           attendees: L. Lovelace, D. Bailey, A. Katelas, R. Yang, and P. Zhu
                                                                                                           Internal meeting to discuss latest updates to ITTS issues tracker and international workstreams. EY
Yang,Rachel Sim           RSY       Senior Manager      5/31/2023           US International Tax                                                                                                                  0.5     $650.00       $325.00
                                                                                                           attendees: L. Lovelace, D. Bailey, A. Katelas, R. Yang, and P. Zhu
                                                                                                           Internal meeting to discuss latest updates to ITTS issues tracker and international workstreams. EY
Zhu,Philip                 PZ            Senior         5/31/2023           US International Tax                                                                                                                  0.5     $395.00       $197.50
                                                                                                           attendees: L. Lovelace, D. Bailey, A. Katelas, R. Yang, and P. Zhu
                                        National
McComber,Donna            DM                            5/31/2023             Transfer Pricing             Call on the Response to the IRS IDR. EY attendees: G. Di Stefano and D. McComber                       0.4     $990.00       $396.00
                                    Partner/Principal
Di Stefano,Giulia         GDS            Senior         5/31/2023             Transfer Pricing             Call on the Response to the IRS IDR. EY attendees: G. Di Stefano and D. McComber                       0.4     $395.00       $158.00
                                                                                                           Internal meeting to discuss FTX international workstreams and allocation of roles and
Glattstein,Arielle         AG             Staff         5/31/2023           US International Tax                                                                                                                  0.5     $225.00       $112.50
                                                                                                           responsibilities. EY attendees: A. Katelas and A. Glattstein
                                                                                                           Internal meeting to discuss FTX international workstreams and allocation of roles and
Katelas,Andreas            KA            Senior         5/31/2023           US International Tax                                                                                                                  0.5     $395.00       $197.50
                                                                                                           responsibilities. EY attendees: A. Katelas and A. Glattstein
                                                                                                           Weekly catchup discussion regarding the latest federal items. EY attendees: T. Shea, J. Scott, B.
Mistler,Brian M          BMM            Manager         5/11/2023             US Income Tax                                                                                                                       0.5     $525.00       $262.50
                                                                                                           Mistler, and J. Berman
                                                                                                           Weekly catchup discussion regarding the latest federal items. EY attendees: T. Shea, J. Scott, B.
Shea JR,Thomas M          TMS       Partner/Principal   5/11/2023             US Income Tax                                                                                                                       0.5     $825.00       $412.50
                                                                                                           Mistler, and J. Berman
                                                                                                           Weekly catchup discussion regarding the latest federal items. EY attendees: T. Shea, J. Scott, B.
Berman,Jake                JB       Senior Manager      5/11/2023             US Income Tax                                                                                                                       0.5     $650.00       $325.00
                                                                                                           Mistler, and J. Berman
                                     Client Serving                                                        Weekly catchup discussion regarding the latest federal items. EY attendees: T. Shea, J. Scott, B.
Scott,James                JS                           5/11/2023             US Income Tax                                                                                                                       0.5     $600.00       $300.00
                                     Contractor JS                                                         Mistler, and J. Berman
Demirkol,Kenan             KD             Staff         5/18/2023               Non US Tax                 Discussion with FTX Management related to FY22 financial statements                                    2.0     $225.00        $450.00
Gursoy,Damla               DG       Senior Manager      5/18/2023               Non US Tax                 Discussion with FTX Management related to FY22 financial statements                                    2.0     $650.00      $1,300.00
Yildiz,Elif                EY            Senior         5/18/2023               Non US Tax                 Discussion with FTX Management related to FY22 financial statements                                    2.0     $395.00        $790.00
Erdem,Ersin                EE       Partner/Principal   5/18/2023               Non US Tax                 Discussion with FTX Management related to FY22 financial statements                                    2.0     $825.00      $1,650.00
Demirkol,Kenan             KD             Staff          5/3/2023               Non US Tax                 Discussion with FTX Management related to tax matters                                                  1.0     $225.00       $225.00
Gursoy,Damla               DG       Senior Manager       5/3/2023               Non US Tax                 Discussion with FTX Management related to tax matters                                                  1.0     $650.00       $650.00
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                                                      Date of
                Name   Initials        Rank                        Project Category                                           Description of Services                                         Hours   Hourly Rate   Fees
                                                      Service
Yildiz,Elif              EY            Senior         5/3/2023        Non US Tax         Discussion with FTX Management related to tax matters                                                 1.0     $395.00       $395.00
Erdem,Ersin              EE       Partner/Principal   5/3/2023        Non US Tax         Discussion with FTX Management related to tax matters                                                 1.0     $825.00       $825.00
                                                                                         FTX Knowledge Transfer Discussion. EY attendees: M. Borts, C. MacLean, A. Bost, D.
Borts,Michael           MB        Managing Director   5/5/2023        Non US Tax         Katsnelson, D. McComber, G. Di Stefano, O. Hall, D. Hammon, H. Choudary, N. Srivastava, K.            0.4     $775.00       $310.00
                                                                                         Madhok, and M. Gil Diez De Leon
                                                                                         Review key due dates and local regulatory requirement information to facilitate FTX local
Hernandez,Nancy I.      NIH        Senior Manager     5/1/2023        Non US Tax                                                                                                               0.4     $650.00       $260.00
                                                                                         statutory compliance.
                                                                                         Review key due dates and local regulatory requirement information to facilitate FTX local
Hernandez,Nancy I.      NIH        Senior Manager     5/4/2023        Non US Tax                                                                                                               0.3     $650.00       $195.00
                                                                                         statutory compliance.
                                                                                         Summarize key due dates and local regulatory requirements for communication to FTX
Hernandez,Nancy I.      NIH        Senior Manager     5/8/2023        Non US Tax                                                                                                               0.9     $650.00       $585.00
                                                                                         stakeholders
                                                                                         Review key due dates and local regulatory requirement information to facilitate FTX local
Hernandez,Nancy I.      NIH        Senior Manager     5/9/2023        Non US Tax                                                                                                               1.4     $650.00       $910.00
                                                                                         statutory compliance.
Hernandez,Nancy I.      NIH        Senior Manager     5/10/2023       Non US Tax         Review status of due diligence activities to determine required escalations required.                 1.2     $650.00       $780.00
                                                                                         Summarize key due dates and local regulatory requirements for communication to FTX
Hernandez,Nancy I.      NIH        Senior Manager     5/11/2023       Non US Tax                                                                                                               1.4     $650.00       $910.00
                                                                                         stakeholders
Hernandez,Nancy I.      NIH        Senior Manager     5/12/2023       Non US Tax         Escalate pending due diligence items related to Bermuda, Bahamas, Antigua, and BVI                    0.3     $650.00       $195.00
                                                                                         Summarize key due dates and local regulatory requirements for communication to FTX
Hernandez,Nancy I.      NIH        Senior Manager     5/15/2023       Non US Tax                                                                                                               0.6     $650.00       $390.00
                                                                                         stakeholders
                                                                                         Review status of knowledge transfer process for all countries in scope for ACR services and
Hernandez,Nancy I.      NIH        Senior Manager     5/16/2023       Non US Tax                                                                                                               1.9     $650.00      $1,235.00
                                                                                         analyzing background information
Hernandez,Nancy I.      NIH        Senior Manager     5/17/2023       Non US Tax         Review background information in preparation for meetings with FTX UAE and India                      1.7     $650.00      $1,105.00
                                                                                         Review and follow-up re: knowledge transfer documentation prepared as part of due diligence for
Hernandez,Nancy I.      NIH        Senior Manager     5/18/2023       Non US Tax                                                                                                               1.2     $650.00       $780.00
                                                                                         Gibraltar entities
Hernandez,Nancy I.      NIH        Senior Manager     5/19/2023       Non US Tax         Escalate pending due diligence items related to Panama, Bermuda, Bahamas, Antigua, and BVI            0.2     $650.00       $130.00
                                                                                         Review key due dates and local regulatory requirement information to facilitate FTX local
Hernandez,Nancy I.      NIH        Senior Manager     5/22/2023       Non US Tax                                                                                                               0.4     $650.00       $260.00
                                                                                         statutory compliance.
                                                                                         Summarize key due dates and local regulatory requirements for communication to FTX
Hernandez,Nancy I.      NIH        Senior Manager     5/23/2023       Non US Tax                                                                                                               1.2     $650.00       $780.00
                                                                                         stakeholders
                                                                                         Review and follow-up re: knowledge transfer documentation prepared as part of due diligence for
Hernandez,Nancy I.      NIH        Senior Manager     5/24/2023       Non US Tax                                                                                                               1.0     $650.00       $650.00
                                                                                         South Korea entities
                                                                                         Conference call re: taxable income. EY attendees: A. Dubroff, D. Bailey, J. Blank, M. Stevens and
Dubroff,Andy             AD       Managing Director   5/15/2023   US International Tax                                                                                                         0.4     $775.00       $310.00
                                                                                         L. Lovelace
Collado,Adriana          AC        Senior Manager     5/3/2023    US International Tax   Review in the Public Registry the Public Deed of the Company and check the status                     3.9     $650.00      $2,535.00
Collado,Adriana          AC        Senior Manager     5/4/2023    US International Tax   Review of the Company in Ministry of Commerce System to check if it has a Operational License         2.1     $650.00      $1,365.00
Collado,Adriana          AC        Senior Manager     5/18/2023   US International Tax   Review of the company corporate documentation sent                                                    1.8     $650.00      $1,170.00
Collado,Adriana          AC        Senior Manager     5/19/2023   US International Tax   Review requirements for Tax Authority's system reactivation to check the status                       1.1     $650.00        $715.00
                                                                                         Review with the treasury, quality and finance department the information regarding FTX debtors,
Collado,Adriana          AC        Senior Manager     5/10/2023   US International Tax                                                                                                         2.1     $650.00      $1,365.00
                                                                                         and follow ups
                                                                                         Review and revise trial balance received from different international entities into a consistent
Karan,Anna Suncheuri    ASK             Staff         5/8/2023       Tax Advisory                                                                                                              2.6     $225.00       $585.00
                                                                                         manner to aid in the filing of 5471 process.
Karan,Anna Suncheuri    ASK             Staff         5/10/2023      Tax Advisory        Review the documents sent from A&M                                                                    3.6     $225.00       $810.00
                                                                                         Finalize organization of the trial balance received from FTX to make it consistent for OneSource
Karan,Anna Suncheuri    ASK             Staff         5/11/2023      Tax Advisory                                                                                                              3.6     $225.00       $810.00
                                                                                         income tax.
Karan,Anna Suncheuri    ASK             Staff         5/12/2023      Tax Advisory        Continue research regarding the documents provided by A&M                                             3.9     $225.00       $877.50
Karan,Anna Suncheuri    ASK             Staff         5/30/2023      Tax Advisory        Finalize technical tax analysis                                                                       2.9     $225.00       $652.50
Karan,Anna Suncheuri    ASK             Staff         5/15/2023   US International Tax   Prepare the OneSource income tax software with Paperbird international entities                       2.1     $225.00       $472.50
Karan,Anna Suncheuri    ASK             Staff         5/16/2023   US International Tax   Finalize the set-up of the OneSource income tax software with international entities                  0.9     $225.00       $202.50
Karan,Anna Suncheuri    ASK             Staff         5/17/2023   US International Tax   Review and take notes on the debtor report to apply to multiple workstreams                           3.9     $225.00       $877.50
Karan,Anna Suncheuri    ASK             Staff         5/17/2023   US International Tax   Continue research regarding the documents provided by A&M                                             2.1     $225.00       $472.50
Karan,Anna Suncheuri    ASK             Staff         5/19/2023   US International Tax   Revise the Trial balance received to make it consistent with all entities                             1.9     $225.00       $427.50
                                                                                         Revised the EYOS for the international tax team to be all inclusive of client/ third party
Karan,Anna Suncheuri    ASK             Staff         5/22/2023      Tax Advisory        interactions. this allows for information to be readily available. Included all files received and    2.1     $225.00       $472.50
                                                                                         email corresponse, organized into different workstreams.
Karan,Anna Suncheuri    ASK             Staff         5/23/2023   US International Tax   Continue research regarding the documents provided by A&M                                             3.9     $225.00       $877.50
                                                                                         Correspondence with FTX regarding UAE and Hong Kong due diligence and workstream
MacLean,Corrie          CM             Senior         5/1/2023        Non US Tax                                                                                                               1.2     $395.00       $474.00
                                                                                         outstanding items.
                                                                                         Correspondence with FTX regarding Japan and Singapore due diligence, workstream outstanding
MacLean,Corrie          CM             Senior         5/2/2023        Non US Tax                                                                                                               1.7     $395.00       $671.50
                                                                                         items and CIT deadline confirmations.
                                                                                         Correspondence for due diligence with the EY Desk contacts, workstream compliance deadlines,
MacLean,Corrie          CM             Senior         5/3/2023        Non US Tax                                                                                                               1.1     $395.00       $434.50
                                                                                         and local team transition statuses.
                                                                                         Correspondence with FTX regarding Singapore and Vietnam due diligence, and prepare local team
MacLean,Corrie          CM             Senior         5/4/2023        Non US Tax                                                                                                               2.2     $395.00       $869.00
                                                                                         global compliance and reporting assumptions.
                                                                                         Correspondence with FTX regarding Seychelles, Singapore, and Cyprus due diligence, and prepare
MacLean,Corrie          CM             Senior         5/5/2023        Non US Tax                                                                                                               2.6     $395.00      $1,027.00
                                                                                         local team accounting compliance and reporting assumptions.
                                                                                         Correspondence with FTX regarding Japan and Canada due diligence, workstream outstanding
MacLean,Corrie          CM             Senior         5/9/2023        Non US Tax                                                                                                               2.2     $395.00       $869.00
                                                                                         items and prepare local team accounting compliance and reporting assumptions.
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                                                        Date of
               Name        Initials       Rank                     Project Category                                        Description of Services                                         Hours   Hourly Rate   Fees
                                                        Service
                                                                                      Correspondence with FTX regarding entity historical information and Canada and Bahamas due
MacLean,Corrie              CM            Senior       5/10/2023     Non US Tax       diligence, transition status tracking sheet updates, and review completed knowledge transfer          2.1     $395.00       $829.50
                                                                                      questionnaires
                                                                                      Correspondence with FTX regarding Bahamas, UAE, Canada, and India due diligence, workstream
MacLean,Corrie              CM            Senior       5/12/2023     Non US Tax                                                                                                             0.9     $395.00       $355.50
                                                                                      outstanding items and transition status tracking sheet updates
                                                                                      Correspondence regarding Innovatia and FTX Equity Holdings historical documents, and
MacLean,Corrie              CM            Senior       5/16/2023     Non US Tax                                                                                                             1.1     $395.00       $434.50
                                                                                      workstream updates.
MacLean,Corrie              CM            Senior       5/17/2023     Non US Tax       Correspondence regarding payroll compliance and Canada due diligence                                  0.7     $395.00       $276.50
                                                                                      Correspondence regarding Canada and South Korea due diligence, workstream and transition status
MacLean,Corrie              CM            Senior       5/18/2023     Non US Tax                                                                                                             0.9     $395.00       $355.50
                                                                                      tracking updates
                                                                                      Correspondence with workstreams and local teams, tracking sheet updates, review historical
MacLean,Corrie              CM            Senior       5/19/2023     Non US Tax                                                                                                             1.6     $395.00       $632.00
                                                                                      documents received, classify and update master document tracking sheet
MacLean,Corrie              CM            Senior       5/22/2023     Non US Tax       Revise compliance tracker and communications to workstreams, declaration status confirmations         1.6     $395.00       $632.00
MacLean,Corrie              CM            Senior       5/25/2023     Non US Tax       Due diligence status and transition tracking updates                                                  0.8     $395.00       $316.00
                                                                                      Correspondence with FTX contacts regarding compliance questions, compile and review historical
MacLean,Corrie              CM            Senior       5/30/2023     Non US Tax                                                                                                             1.7     $395.00       $671.50
                                                                                      documents received from FTX contacts and update due diligence call notes
                                                                                      Prepare databooks including income statements, balance sheets, CIT returns, and monthly tax
Demirkol,Kenan               KD           Staff        5/2/2023      Non US Tax                                                                                                             3.9     $225.00       $877.50
                                                                                      returns (VAT, RCVAT, WHT and stamp tax returns) for FTX and SNG
Demirkol,Kenan               KD           Staff         5/8/2023     Non US Tax       Revise databooks according to FY22 CIT returns for FTX and SNG                                        3.9     $225.00       $877.50
Demirkol,Kenan               KD           Staff        5/22/2023     Non US Tax       Prepare "Compliance status of FTX and SNG based on tax returns" tables                                3.9     $225.00       $877.50
                                                                                      Review financial information received from FTX Crypto and FTX EMEA from M. Lambrianou,
Papachristodoulou,Elpida     EP       Senior Manager   5/17/2023   Value Added Tax                                                                                                          1.2     $650.00       $780.00
                                                                                      for the purpose of the VAT exposures of the Tax DD
                                                                                      Draft email correspondence in relation to the comments provided on VAT registration and
Papachristodoulou,Elpida     EP       Senior Manager   5/19/2023   Value Added Tax                                                                                                          0.2     $650.00       $130.00
                                                                                      compliance status of Innovatia Ltd.
                                                                                      Review of the responses provided re: the request for information list in relation to FTX Crypto
Skarou,Tonia                 TS           Senior       5/8/2023      Non US Tax                                                                                                             0.4     $395.00       $158.00
                                                                                      Services Ltd.
Skarou,Tonia                 TS           Senior       5/8/2023      Non US Tax       Review of the management accounts of FTX Crypto Services Ltd for the year 2022                        0.8     $395.00       $316.00
                                                                                      Review of payroll related information and analysis of legal and professional fees reported in the
Skarou,Tonia                 TS           Senior       5/8/2023      Non US Tax                                                                                                             1.6     $395.00       $632.00
                                                                                      management accounts of FTX Crypto Services Ltd for the year 2022
Skarou,Tonia                 TS           Senior       5/8/2023      Non US Tax       Review of the draft tax computation of FTX Crypto Services Ltd for the year 2022                      0.8     $395.00       $316.00
Skarou,Tonia                 TS           Senior       5/8/2023      Non US Tax       Review of the responses: the request for information list in relation to FTX EMEA Limited             0.4     $395.00       $158.00
Skarou,Tonia                 TS           Senior       5/8/2023      Non US Tax       Review of the management accounts of FTX EMEA Limited Ltd for the year 2022                           0.6     $395.00       $237.00
Skarou,Tonia                 TS           Senior       5/19/2023     Non US Tax       Review of the responses re: Innovatia Limited within the RFI                                          0.6     $395.00       $237.00
                                                                                      Prepare the Accounting Status Summary spreadsheet in relation to the bookkeeping and audit status
Skarou,Tonia                 TS           Senior       5/24/2023     Non US Tax                                                                                                             0.7     $395.00       $276.50
                                                                                      for 2022 and 2023 regarding FTX Crypto Services Ltd, FTX EMEA Ltd and FTX EU Ltd.
                                                                                      VAT due diligence review of the management accounts of FTX EMEA Limited Ltd for the year
Themistou,Victoria           VT           Senior       5/10/2023     Non US Tax                                                                                                             0.3     $395.00       $118.50
                                                                                      2022 to confirm that no VAT registration and filing obligations exist.
                                                                                      VAT due diligence review of the financial statements of FTX Crypto Services Ltd for the year
Themistou,Victoria           VT           Senior       5/14/2023     Non US Tax                                                                                                             2.3     $395.00       $908.50
                                                                                      2022 and additional information on expenses
                                                                                      VAT due diligence review of information received for FTX EU Ltd and updating the RFI (request
Themistou,Victoria           VT           Senior       5/16/2023     Non US Tax                                                                                                             0.3     $395.00       $118.50
                                                                                      for information) of FTX EU Ltd based on the information received
                                                                                      Draft follow-up correspondence re: the requested information on FTX Crypto Services Ltd, FTX
Tsikkouris,Anastasios        AT          Manager       5/5/2023      Non US Tax                                                                                                             0.3     $525.00       $157.50
                                                                                      EMEA Ltd and FTX EU Ltd for the purpose of the direct tax due diligence
                                                                                      Review of the responses provided re: the request for information list in relation to FTX Crypto
Tsikkouris,Anastasios        AT          Manager       5/8/2023      Non US Tax                                                                                                             0.3     $525.00       $157.50
                                                                                      Services Ltd
Tsikkouris,Anastasios        AT          Manager       5/8/2023      Non US Tax       Review of the management accounts of FTX Crypto Services Ltd for the year 2022                        0.6     $525.00       $315.00
                                                                                      Review of payroll related information and analysis of legal and professional fees reported in the
Tsikkouris,Anastasios        AT          Manager       5/8/2023      Non US Tax                                                                                                             1.2     $525.00       $630.00
                                                                                      management accounts of FTX Crypto Services Ltd for the year 2022
Tsikkouris,Anastasios        AT          Manager       5/8/2023      Non US Tax       Review of the draft tax computation of FTX Crypto Services Ltd for the year 2022                      0.4     $525.00       $210.00
                                                                                      Review of the responses provided re: the request for information list in relation to FTX EMEA
Tsikkouris,Anastasios        AT          Manager       5/8/2023      Non US Tax                                                                                                             0.3     $525.00       $157.50
                                                                                      Limited
Tsikkouris,Anastasios        AT          Manager       5/8/2023      Non US Tax       Review of the management accounts of FTX EMEA Limited Ltd for the year 2022                           0.3     $525.00       $157.50
                                                                                      Draft follow-up email re: the requested information on FTX EU Ltd for the purpose of the direct
Tsikkouris,Anastasios        AT          Manager       5/16/2023     Non US Tax                                                                                                             0.3     $525.00       $157.50
                                                                                      tax due diligence
Tsikkouris,Anastasios        AT          Manager       5/16/2023     Non US Tax       Revise the RFI of FTX EU Ltd and draft an email regarding the pending information                     0.6     $525.00       $315.00
Tsikkouris,Anastasios        AT          Manager       5/19/2023     Non US Tax       Review of the responses provided for Innovatia Limited within the RFI                                 0.4     $525.00       $210.00
Tsikkouris,Anastasios        AT          Manager       5/19/2023     Non US Tax       Draft an email reply in relation to the information requested for Innovatia Limited                   0.3     $525.00       $157.50
                                                                                      Draft a follow-up email re: the requested information on Innovatia Limited for the purpose of the
Tsikkouris,Anastasios        AT          Manager       5/23/2023     Non US Tax                                                                                                             0.3     $525.00       $157.50
                                                                                      direct tax due diligence
                                                                                      Discussion regarding the pending information of FTX EU Ltd. EY attendees: A. Tsikkouris and D.
Tsikkouris,Anastasios        AT          Manager       5/23/2023     Non US Tax                                                                                                             0.2     $525.00       $105.00
                                                                                      Hammon
                                                                                      Discussion re: the bookkeeping and audit status for 2022 FTX Crypto Services Ltd, FTX EMEA
Tsikkouris,Anastasios        AT          Manager       5/24/2023     Non US Tax                                                                                                             0.2     $525.00       $105.00
                                                                                      Ltd and FTX EU Ltd.
                                                                                      Review of the Accounting Status Summary spreadsheet in relation to the bookkeeping and audit
Tsikkouris,Anastasios        AT          Manager       5/24/2023     Non US Tax                                                                                                             0.4     $525.00       $210.00
                                                                                      status for 2022 and 2023 regarding FTX Crypto Services Ltd, FTX EMEA Ltd and FTX EU Ltd.
Tsikkouris,Anastasios        AT          Manager       5/29/2023     Non US Tax       Follow-up email regarding the pending information of FTX EU Ltd.                                      0.2     $525.00       $105.00
                                                                                      Revise draft follow-up email re: the requested information on Innovatia Limited for the purpose of
Tsikkouris,Anastasios        AT          Manager       5/30/2023     Non US Tax                                                                                                             0.3     $525.00       $157.50
                                                                                      the direct tax due diligence
Allen,Jenefier Michelle     JMA           Staff        5/10/2023     Payroll Tax      Create new Payroll libraries in EYI My Documents Client Workspace                                     0.4     $225.00        $90.00
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                                                          Date of
               Name       Initials        Rank                            Project Category                                                Description of Services                                           Hours   Hourly Rate   Fees
                                                          Service
Allen,Jenefier Michelle    JMA             Staff          5/8/2023          Payroll Tax             Create new Payroll libraries in EYI My Documents Engagement Workspace                                    0.4     $225.00        $90.00
Jelonek,Theresa Grace      TGJ             Staff         5/10/2023     US State and Local Tax       Prepare annual reports for May 2023 compliance                                                           3.1     $225.00       $697.50
Jelonek,Theresa Grace      TGJ             Staff         5/11/2023     US State and Local Tax       Prepare annual reports for May 2023 compliance                                                           2.3     $225.00       $517.50
Jelonek,Theresa Grace      TGJ             Staff         5/18/2023     US State and Local Tax       Contact IL SOS to request copy of previous year's filing in order to complete 2023 AR filing             0.4     $225.00        $90.00
                                                                                                    Meeting to review Illinois SOS annual report data and Form 14.30. EY attendees: V. Huang and T.
Jelonek,Theresa Grace      TGJ             Staff         5/19/2023     US State and Local Tax                                                                                                                0.3     $225.00        $67.50
                                                                                                    Jelonek
Jelonek,Theresa Grace      TGJ            Staff          5/19/2023     US State and Local Tax       Contact IL SOS with questions regarding how to complete BCA 14.05 and 14.30                              0.6     $225.00       $135.00
Jelonek,Theresa Grace      TGJ            Staff          5/19/2023     US State and Local Tax       Prepare annual reports for May 2023 compliance                                                           0.4     $225.00         $90.00
Ritz,Amy Felice            AFR       Managing Director   5/17/2023        US Income Tax             Review owner shift calculations for FTX under hold constant method                                       3.2     $775.00      $2,480.00
Bost,Anne                  BA        Managing Director    5/1/2023        Transfer Pricing          Review email correspondence                                                                              0.3     $775.00       $232.50
Bost,Anne                  BA        Managing Director    5/2/2023        Transfer Pricing          Review email correspondence                                                                              0.4     $775.00       $310.00
Bost,Anne                  BA        Managing Director    5/3/2023        Transfer Pricing          Review email correspondence                                                                              0.4     $775.00       $310.00
Bost,Anne                  BA        Managing Director    5/3/2023        Transfer Pricing          Analyze cryptocurrency valuation issues                                                                  0.8     $775.00       $620.00
                                                                                                    Weekly meeting to discuss status of the Transfer pricing documentation and Transfer pricing
Bost,Anne                   BA       Managing Director   5/18/2023         Transfer Pricing                                                                                                                  0.5     $775.00       $387.50
                                                                                                    calendar. EY attendees: D. McComber, G. Di Stefano, D. Katsnelson, O. Hall, and A. Bost
Bost,Anne                   BA       Managing Director   5/4/2023          Transfer Pricing         Review email correspondence                                                                              0.3     $775.00       $232.50
Bost,Anne                   BA       Managing Director   5/5/2023          Transfer Pricing         Discussion on TP priorities. EY attendees: A. Bost and D. Katsnelson                                     0.5     $775.00       $387.50
                                                                                                    Meeting to discuss FTX Transfer pricing tax deliverables and upcoming filing deadlines. EY
Bost,Anne                   BA       Managing Director   5/5/2023          Transfer Pricing                                                                                                                  0.5     $775.00       $387.50
                                                                                                    attendees: C. Ancona, T. Shea, and A. Bost
Bost,Anne                   BA       Managing Director    5/5/2023         Transfer Pricing         Review email correspondence                                                                              0.3     $775.00       $232.50
Bost,Anne                   BA       Managing Director    5/8/2023         Transfer Pricing         Review email correspondence                                                                              0.7     $775.00       $542.50
Bost,Anne                   BA       Managing Director    5/9/2023         Transfer Pricing         Review email correspondence                                                                              0.8     $775.00       $620.00
Bost,Anne                   BA       Managing Director    5/9/2023         Transfer Pricing         Discussion re: intercompany matrices. EY attendees: A. Bost and T. Shea                                  0.3     $775.00       $232.50
Bost,Anne                   BA       Managing Director    5/9/2023         Transfer Pricing         Discussion re: intercompany matrices. EY attendees: A. Bost and G. Di Stefano                            0.4     $775.00       $310.00
Bost,Anne                   BA       Managing Director   5/10/2023         Transfer Pricing         Review email correspondence                                                                              0.6     $775.00       $465.00
Bost,Anne                   BA       Managing Director   5/10/2023         Transfer Pricing         Discussion to determine TP priorities and next steps. EY attendees: A. Bost and D. Katsnelson            0.3     $775.00       $232.50

Bost,Anne                   BA       Managing Director   5/11/2023         Transfer Pricing         Discussion to determine TP priorities and next steps. EY attendees: A. Bost and D. Katsnelson            0.6     $775.00       $465.00
Bost,Anne                   BA       Managing Director   5/11/2023         Transfer Pricing         Review email correspondence                                                                              0.7     $775.00       $542.50
Bost,Anne                   BA       Managing Director   5/11/2023         Transfer Pricing         Review data shared by Alvarez                                                                            1.2     $775.00       $930.00
Bost,Anne                   BA       Managing Director   5/11/2023         Transfer Pricing         Review Gibraltar knowledge transfer questionnaire                                                        0.2     $775.00       $155.00
Bost,Anne                   BA       Managing Director   5/12/2023         Transfer Pricing         Review email correspondence                                                                              0.3     $775.00       $232.50
Bost,Anne                   BA       Managing Director   5/15/2023         Transfer Pricing         Review email correspondence                                                                              0.4     $775.00       $310.00
Bost,Anne                   BA       Managing Director   5/16/2023         Transfer Pricing         Review email correspondence                                                                              0.9     $775.00       $697.50
Bost,Anne                   BA       Managing Director   5/16/2023         Transfer Pricing         Technical tax weekly call with A&M                                                                       0.6     $775.00       $465.00
Bost,Anne                   BA       Managing Director   5/17/2023         Transfer Pricing         Review email correspondence                                                                              1.1     $775.00       $852.50
Bost,Anne                   BA       Managing Director   5/11/2023   Meetings with Other Advisors   Call with A&M to discuss the cryptocurrency valuation                                                    0.5     $775.00       $387.50
                                                                                                    Meeting with M. Cilia (FTX), R. Gordon (A&M) R. Hoskins (A&M), C. Broskay (A&M), R.
Bost,Anne                   BA       Managing Director   5/17/2023    Meetings with Management      Bruck (A&M), H. Trent (A&M), J. LaBella (Alix), and D. Schwartz (Alix) to walkthrough West               1.5     $775.00      $1,162.50
                                                                                                    Realm Shire silo data. EY attendees: D. McComber and A. Bost
                                                                                                    Review notes from PMO call to determine what is relevant for transfer pricing from the other
Bost,Anne                   BA       Managing Director   5/17/2023         Transfer Pricing                                                                                                                  0.4     $775.00       $310.00
                                                                                                    service providers' workstreams
Bost,Anne                   BA       Managing Director   5/18/2023         Transfer Pricing         Review email correspondence                                                                              1.2     $775.00       $930.00
                                                                                                    Meeting with M. Cilia (FTX), R. Gordon (A&M) R. Hoskins (A&M), K. Kearny (A&M), G. Walia
Bost,Anne                   BA       Managing Director   5/18/2023    Meetings with Management      (A&M), H. Trent (A&M), and J. Sequeria (A&M) to walkthrough Alameda/Ventures silo data. EY               1.5     $775.00      $1,162.50
                                                                                                    attendees: D. McComber and A. Bost
Bost,Anne                   BA       Managing Director   5/18/2023         Transfer Pricing         Call with A&M regarding EY transfer pricing                                                              0.3     $775.00       $232.50
Bost,Anne                   BA       Managing Director   5/18/2023         Transfer Pricing         Review on IDR responses                                                                                  1.2     $775.00       $930.00
                                                                                                    Internal call to discuss the IRS's information request pertaining to the loans. EY attendees: B.
Bost,Anne                   BA       Managing Director   5/19/2023         Transfer Pricing                                                                                                                  0.5     $775.00       $387.50
                                                                                                    Mistler, D. McComber, D. Katsnelson, and A. Bost
Bost,Anne                   BA       Managing Director   5/22/2023         Transfer Pricing         Discuss how to proceed with preliminary steps on tax year 2022 transfer pricing documentation            0.7     $775.00       $542.50
Bost,Anne                   BA       Managing Director   5/22/2023         Transfer Pricing         Call re: IDR responses. EY attendees: D. Katsnelson and A. Bost                                          0.8     $775.00       $620.00
Bost,Anne                   BA       Managing Director   5/22/2023         Transfer Pricing         Review email correspondence                                                                              0.6     $775.00       $465.00
                                                                                                    Review notes from PMO call to determine what is relevant for transfer pricing from the other
Bost,Anne                   BA       Managing Director   5/23/2023         Transfer Pricing                                                                                                                  0.4     $775.00       $310.00
                                                                                                    service providers' workstreams
                                                                                                    Weekly meeting with K. Jacobs (A&M), B. Seaway (A&M), and D. Hariton (S&C) to discuss
Bost,Anne                   BA       Managing Director   5/23/2023   Meetings with Other Advisors   latest tax technical updates and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea,    0.5     $775.00       $387.50
                                                                                                    B. Mistler, J. Berman, J. Scott, A. Katelas, J. Taylor, and A. Bost
Bost,Anne                   BA       Managing Director   5/23/2023         Transfer Pricing         Review email correspondence                                                                              0.7     $775.00        $542.50
Bost,Anne                   BA       Managing Director   5/23/2023         Transfer Pricing         Review certain caselaw related to accession to income                                                    1.2     $775.00        $930.00
Bost,Anne                   BA       Managing Director   5/23/2023         Transfer Pricing         Review on IDR responses                                                                                  1.6     $775.00      $1,240.00
Bost,Anne                   BA       Managing Director   5/24/2023         Transfer Pricing         Call re: transfer pricing priorities and IDR responses. EY attendees: D. Katsnelson and A. Bost          0.9     $775.00       $697.50
Bost,Anne                   BA       Managing Director   5/24/2023         Transfer Pricing         Review email correspondence                                                                              0.6     $775.00       $465.00
                                                                                                    Internal call to discuss planning for transfer pricing documentation report for tax year 2022. EY
Bost,Anne                   BA       Managing Director   5/25/2023         Transfer Pricing                                                                                                                  0.5     $775.00       $387.50
                                                                                                    attendees: D. McComber, D. Katsnelson, G. DiStefano, A. Bost, and O. Hall
Bost,Anne                   BA       Managing Director   5/25/2023         Transfer Pricing         Review email correspondence                                                                              1.1     $775.00       $852.50
Bost,Anne                   BA       Managing Director   5/25/2023         Transfer Pricing         Review certain caselaw research                                                                          1.4     $775.00      $1,085.00
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                                                      Date of
               Name   Initials        Rank                            Project Category                                               Description of Services                                          Hours   Hourly Rate   Fees
                                                      Service
                                                                                                Weekly meeting with K. Jacobs (A&M) and D. Hariton (S&C) to discuss latest tax technical
Bost,Anne               BA       Managing Director   5/30/2023   Meetings with Other Advisors   updates and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea, B. Mistler, J.        0.6     $775.00       $426.25
                                                                                                Berman, J. Scott, A. Katelas, and A. Bost
Bost,Anne              BA        Managing Director   5/30/2023         Transfer Pricing         Review IDR responses                                                                                   0.9     $775.00        $697.50
Bost,Anne              BA        Managing Director   5/30/2023         Transfer Pricing         Review documents received from FTX entities                                                            2.1     $775.00      $1,627.50
Bost,Anne              BA        Managing Director   5/31/2023         Transfer Pricing         Review loan agreements analysis                                                                        1.4     $775.00      $1,085.00
Bost,Anne              BA        Managing Director   5/30/2023         Transfer Pricing         Review email correspondence                                                                            0.7     $775.00        $542.50
Bost,Anne              BA        Managing Director   5/31/2023         Transfer Pricing         Review email correspondence                                                                            1.1     $775.00        $852.50
Espley-Ault,Olivia     OEA        Senior Manager      5/3/2023          Non US Tax              Email correspondence re: FATCA/CRS                                                                     0.3     $650.00        $195.00
Espley-Ault,Olivia     OEA        Senior Manager      5/3/2023          Non US Tax              Follow-up confirmation re: tax type scope and next steps.                                              0.9     $650.00       $585.00
Espley-Ault,Olivia     OEA        Senior Manager      5/4/2023          Non US Tax              Email correspondence regarding Bahamas VAT.                                                            0.3     $650.00        $195.00
Espley-Ault,Olivia     OEA        Senior Manager      5/4/2023          Non US Tax              Analyze the FATCA potential outcomes and needs for regional FTX entities                               1.1     $650.00        $715.00
Espley-Ault,Olivia     OEA        Senior Manager      5/4/2023          Non US Tax              Discussion re: bookkeeping needs for FTX.                                                              0.8     $650.00        $520.00
Espley-Ault,Olivia     OEA        Senior Manager      5/4/2023          Non US Tax              Discussion regarding accounting questions for Bahamas, BVI and Cayman.                                 0.4     $650.00        $260.00
Espley-Ault,Olivia     OEA        Senior Manager      5/8/2023          Non US Tax              Review correspondence and revise draft emails                                                          0.6     $650.00        $390.00
                                                                                                Call with A. Drysdale (Walkers) and A. Cruz (Walkers) to discuss compliance requirements for the
Espley-Ault,Olivia     OEA        Senior Manager     5/10/2023           Non US Tax             eight BVI companies in scope. EY attendees: M. Bahadur, O. Espley-Ault, R. Moncrieff, and M.           0.4     $650.00       $260.00
                                                                                                Sangster
                                                                                                Team call to discuss next steps/course of action following discussion with Walkers team. EY
Espley-Ault,Olivia     OEA        Senior Manager     5/10/2023           Non US Tax                                                                                                                    0.2     $650.00       $130.00
                                                                                                attendees: O. Espley-Ault, M. Bahadur, and M. Sangster
Espley-Ault,Olivia     OEA        Senior Manager     5/10/2023    Meetings with Management      Call with S. Tang (FTX) to discuss Cayman status. EY attendees: M. Bahadur and O. Espley-Ault          0.3     $650.00       $195.00
                                                                                                Discussion to determine next steps following call with S. Tang (FTX). EY attendees: M. Bahadur
Espley-Ault,Olivia     OEA        Senior Manager     5/10/2023    Meetings with Management                                                                                                             0.3     $650.00       $195.00
                                                                                                and O. Espley-Ault
Espley-Ault,Olivia     OEA        Senior Manager     5/10/2023           Non US Tax             Review information sent by Walkers re: Cayman entities.                                                0.4     $650.00       $260.00
Espley-Ault,Olivia     OEA        Senior Manager     5/15/2023           Non US Tax             Email correspondence discussing FATCA CRS                                                              0.2     $650.00       $130.00
Espley-Ault,Olivia     OEA        Senior Manager     5/15/2023           Non US Tax             Email regarding Richey May contact as well as next steps                                               0.6     $650.00       $390.00
Espley-Ault,Olivia     OEA        Senior Manager     5/15/2023           Non US Tax             Follow-up with local team on accounting rules request                                                  0.3     $650.00       $195.00
                                                                                                Call to discuss strategy for obtaining information from Richey May (third party advisor to FTX's
Espley-Ault,Olivia     OEA        Senior Manager     5/16/2023           Non US Tax                                                                                                                    0.3     $650.00       $195.00
                                                                                                Cayman entities). EY attendees: O. Espley-Ault and M. Bahadur
Espley-Ault,Olivia     OEA        Senior Manager     5/17/2023           Non US Tax             Email response re: question on VAT in The Bahamas                                                      0.3     $650.00       $195.00
Espley-Ault,Olivia     OEA        Senior Manager     5/17/2023           Non US Tax             Coordinate response to request regarding regional financial statement requirements                     0.7     $650.00       $455.00
                                                                                                Internal meeting to discuss question of tax residence and related local developments. EY attendees:
Espley-Ault,Olivia     OEA        Senior Manager     5/16/2023           Non US Tax                                                                                                                    0.5     $650.00       $325.00
                                                                                                A. Katelas, L. Phillips, R. Moncrieff, O. Espley-Ault, L. Lovelace, D. Bailey, and M. Zhou
Espley-Ault,Olivia     OEA        Senior Manager     5/17/2023           Non US Tax             Review data and prep for call re Antigua                                                               0.2     $650.00       $130.00
Espley-Ault,Olivia     OEA        Senior Manager     5/18/2023           Non US Tax             Discussion re: Bahamas VAT returns. EY attendees: M. Gil Diez de Leon and O. Espley-Ault               0.6     $650.00       $390.00
Espley-Ault,Olivia     OEA        Senior Manager     5/18/2023           Non US Tax             Review status of data received in Bahamas, BVI and Cayman                                              0.4     $650.00       $260.00
                                                                                                Discussion about the interaction between Alameda and FTX to consider the impact on BVI. EY
Espley-Ault,Olivia     OEA        Senior Manager     5/18/2023           Non US Tax                                                                                                                    0.4     $650.00       $260.00
                                                                                                attendees: A. Bost, S. Fitzmaurice, and O. Espley-Ault
                                                                                                Call to discuss strategy for obtaining information from Nav Consulting (fund admin to FTX's
Espley-Ault,Olivia     OEA        Senior Manager     5/18/2023           Non US Tax                                                                                                                    0.2     $650.00       $130.00
                                                                                                Cayman entities). EY attendees: O. Espley-Ault and M. Bahadur
                                                                                                Review email re: Alameda Research BVI and respond with BVI TP implications and questions
Espley-Ault,Olivia     OEA        Senior Manager     5/18/2023           Non US Tax                                                                                                                    0.6     $650.00       $390.00
                                                                                                about BVI entity activity
Espley-Ault,Olivia     OEA        Senior Manager     5/22/2023           Non US Tax             Analyze CbCR solution                                                                                  0.8     $650.00       $520.00
Espley-Ault,Olivia     OEA        Senior Manager     5/22/2023           Non US Tax             Analyze Bahamas data in local template and organize                                                    1.9     $650.00      $1,235.00
Espley-Ault,Olivia     OEA        Senior Manager     5/23/2023           Non US Tax             Review email from Damla and consider whether information is relevant to local work                     0.7     $650.00        $455.00
Espley-Ault,Olivia     OEA        Senior Manager     5/29/2023           Non US Tax             Follow-up re: accounting summaries                                                                     0.2     $650.00       $130.00
Espley-Ault,Olivia     OEA        Senior Manager     5/29/2023           Non US Tax             Follow-up re: FTX's Antigua registered entity's residence status                                       0.1     $650.00         $65.00
                                                                                                Bahamas team call to discuss our understanding of the financial statement requirements. EY
Espley-Ault,Olivia     OEA        Senior Manager     5/31/2023           Non US Tax                                                                                                                    0.5     $650.00       $325.00
                                                                                                attendees: O. Espley-Ault, T. McPhee, B. Rahming, and B. Coakley
Molnar,Evgeniya         EM            Senior         5/1/2023      US State and Local Tax       Prepare New Jersey West Realm Shires Services Inc. combined extension for tax year 2022.               2.7     $395.00      $1,066.50
Molnar,Evgeniya         EM            Senior         5/5/2023      US State and Local Tax       Review and update Texas combined extension for West Realm Services, Inc. & Subsidiaries.               1.8     $395.00       $711.00
Molnar,Evgeniya         EM            Senior          5/9/2023     US State and Local Tax       Revise comments in OneSource for West Realm Shires, Inc. & Subsidiaries Texas extension.               2.6     $395.00      $1,027.00
Molnar,Evgeniya         EM            Senior         5/10/2023     US State and Local Tax       Prepare West Realm Shires, Inc. & Subsidiaries Texas extension workbook                                1.9     $395.00        $750.50
                                                                                                Revise workbook and cleared comments for West Realm Shires, Inc. & Subsidiaries Texas
Molnar,Evgeniya         EM            Senior         5/11/2023     US State and Local Tax                                                                                                              2.8     $395.00      $1,106.00
                                                                                                extension workbook.
                                                                                                Revise comments in OneSource and prepared Texas extension for filing and payment in
Molnar,Evgeniya         EM            Senior         5/12/2023     US State and Local Tax                                                                                                              2.2     $395.00       $869.00
                                                                                                OneSource.
                                                                                                Phone call with Oregon Department of Revenue regarding payment options for Deck Technologies
Molnar,Evgeniya         EM            Senior         5/12/2023     US State and Local Tax                                                                                                              1.1     $395.00       $434.50
                                                                                                Inc. extension.
Molnar,Evgeniya         EM            Senior         5/12/2023     US State and Local Tax       Review New Jersey and Connecticut XML extensions in OneSource.                                         1.8     $395.00       $711.00
Molnar,Evgeniya         EM            Senior         5/12/2023     US State and Local Tax       Prepare mailing voucher for Oklahoma extension for Blockfolio, Inc.                                    0.8     $395.00       $316.00
Molnar,Evgeniya         EM            Senior         5/19/2023     US State and Local Tax       Phone call with New Jersey Department of Revenue regarding managerial member.                          1.6     $395.00       $632.00
Soderman,Kathy          KS       Managing Director   5/19/2023          Payroll Tax             Correspondence with EY Cyprus for FTX payroll services request                                         0.1     $775.00        $77.50
Soderman,Kathy          KS       Managing Director   5/22/2023          Payroll Tax             Correspondence with German team on engagement status and deliverables                                  0.1     $775.00        $77.50
Bruns,Alexander         AB        Senior Manager      5/8/2023          Non US Tax              Internal kick-off and prepare TEC                                                                      1.1     $650.00       $715.00
Bruns,Alexander         AB        Senior Manager     5/12/2023          Non US Tax              Prepare TEC, meeting-minutes, and adjustment of the IRL                                                1.3     $650.00       $845.00
Bruns,Alexander         AB        Senior Manager     5/15/2023          Non US Tax              Adjust IRL                                                                                             0.2     $650.00       $130.00
Katelas,Andreas         KA            Senior          5/1/2023      US International Tax        Review information document requests (IDRs) and related requirements for relevant entities             1.7     $395.00       $671.50
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                                                        Date of
                 Name   Initials        Rank                                Project Category                                                    Description of Services                                     Hours   Hourly Rate   Fees
                                                        Service
                                                                                                          Revise ITS entity tracker for international compliance requirements and scope of filing
Katelas,Andreas           KA            Senior         5/1/2023            US International Tax                                                                                                              1.3     $395.00       $513.50
                                                                                                          requirements
                                                                                                          Outline of Globe rules and methodology for computing consolidated revenue for purposes of
Katelas,Andreas           KA            Senior         5/2/2023            US International Tax                                                                                                              1.7     $395.00       $671.50
                                                                                                          determining application to FTX and related silos.
Katelas,Andreas           KA            Senior         5/3/2023            US International Tax           Revise internal ITTS issue tracker and FTX compliance control list based on recent developments    2.2     $395.00       $869.00
                                                                                                          Research on exchange and clearing house rulebook with respect to broker-dealers and derivative
Katelas,Andreas           KA            Senior         5/4/2023            US International Tax                                                                                                              2.4     $395.00       $948.00
                                                                                                          transactions
Katelas,Andreas           KA            Senior         5/4/2023            US International Tax           Review A&M slide deck and documentation                                                            2.2     $395.00       $869.00
                                                                                                          Revise ITS entity tracker for international compliance requirements and scope of filing
Katelas,Andreas           KA            Senior         5/4/2023            US International Tax                                                                                                              1.6     $395.00       $632.00
                                                                                                          requirements
Katelas,Andreas           KA            Senior         5/5/2023            US International Tax           Review A&M slide deck and documentation                                                            2.4     $395.00       $948.00
Katelas,Andreas           KA            Senior         5/5/2023            US International Tax           Revise international compliance and advisory deliverables in preparation for meeting               1.2     $395.00       $474.00
Katelas,Andreas           KA            Senior         5/8/2023               Tax Advisory                Review documentation and search Box site                                                           2.4     $395.00       $948.00
Katelas,Andreas           KA            Senior         5/8/2023               Tax Advisory                Revise internal ITTS issue tracker and FTX compliance control list based on recent developments    2.3     $395.00       $908.50
Katelas,Andreas           KA            Senior         5/9/2023               Tax Advisory                Review latest foreign trial balances                                                               1.7     $395.00       $671.50
                                                                                                          Revise ITS entity tracker for international compliance requirements and scope of filing
Katelas,Andreas           KA            Senior         5/10/2023              Tax Advisory                                                                                                                   2.1     $395.00       $829.50
                                                                                                          requirements
Katelas,Andreas           KA            Senior         5/11/2023              Tax Advisory                Review documentation on foreign bank accounts and search Box site                                  2.2     $395.00       $869.00
Katelas,Andreas           KA            Senior         5/12/2023              Tax Advisory                Revise internal ITTS issue tracker and FTX compliance control list based on recent developments    1.9     $395.00       $750.50
                                                                                                          Revise ITS entity tracker for international compliance requirements and scope of filing
Katelas,Andreas           KA            Senior         5/15/2023           US International Tax                                                                                                              1.7     $395.00       $671.50
                                                                                                          requirements
Katelas,Andreas           KA            Senior         5/16/2023           US International Tax           Review supporting documentation provided by A&M                                                    2.6     $395.00      $1,027.00
                                                                                                          Draft outline of cryptocurrency valuation methods proposed to S&C and A&M along with notes
Katelas,Andreas           KA            Senior         5/17/2023           US International Tax                                                                                                              1.6     $395.00       $632.00
                                                                                                          from external meeting
Katelas,Andreas           KA            Senior         5/17/2023           US International Tax           Revise internal ITTS issue tracker and FTX compliance control list based on recent developments    2.2     $395.00       $869.00
Katelas,Andreas           KA            Senior         5/19/2023           US International Tax           Review A&M provided slide deck on Japanese entity and related intercompany balances                2.8     $395.00      $1,106.00
                                                                                                          Review historical organizational charts to identify additional foreign entities and understand
Katelas,Andreas           KA            Senior         5/19/2023           US International Tax                                                                                                              1.4     $395.00       $553.00
                                                                                                          timeline of acquisitions
Katelas,Andreas           KA            Senior         5/22/2023              Tax Advisory                Revise internal ITTS issue tracker and FTX compliance control list based on recent developments    2.7     $395.00      $1,066.50
Katelas,Andreas           KA            Senior         5/22/2023              Tax Advisory                Review Box site for documentation                                                                  1.3     $395.00       $513.50
                                                                                                          Review incorporation documents and other Box site documents related to tax residence of various
Katelas,Andreas           KA            Senior         5/23/2023              Tax Advisory                                                                                                                   2.4     $395.00       $948.00
                                                                                                          entities within FTX Group
Katelas,Andreas           KA            Senior         5/24/2023              Tax Advisory                Review Box site for documentation related to minority investments, and tax residency               3.3     $395.00      $1,303.50
Katelas,Andreas           KA            Senior         5/30/2023           US International Tax           Revise internal ITTS issue tracker and FTX compliance control list based on recent developments    2.8     $395.00      $1,106.00

Katelas,Andreas           KA            Senior         5/31/2023           US International Tax           Prepare document request lists for third parties and coordinated calls with internal lead teams    1.2     $395.00       $474.00
Farrar,Anne               AF       Partner/Principal    5/2/2023   Project Management Office Transition   Discussion with leadership of FTX IRS next steps                                                   0.3     $825.00       $247.50
Farrar,Anne               AF       Partner/Principal    5/2/2023   Project Management Office Transition   Review of weekly meeting actions post team meeting                                                 0.2     $825.00       $165.00
Farrar,Anne               AF       Partner/Principal    5/4/2023   Project Management Office Transition   Prepare for weekly meeting                                                                         0.3     $825.00       $247.50
Farrar,Anne               AF       Partner/Principal    5/4/2023   Project Management Office Transition   Review of weekly meeting actions post team meeting                                                 0.3     $825.00       $247.50
Farrar,Anne               AF       Partner/Principal   5/16/2023   Project Management Office Transition   Review of weekly meeting actions post team meeting                                                 0.6     $825.00       $495.00
Farrar,Anne               AF       Partner/Principal   5/18/2023   Project Management Office Transition   Review of weekly meeting actions post team meeting                                                 0.3     $825.00       $247.50
Farrar,Anne               AF       Partner/Principal   5/23/2023   Project Management Office Transition   Review of weekly meeting actions post team meeting                                                 0.2     $825.00       $165.00
Geisler,Arthur            AG             Staff         5/15/2023           Information Reporting          Booking may for Switzerland GmbH & Europe AG                                                       3.9     $225.00       $877.50
Geisler,Arthur            AG             Staff         5/16/2023           Information Reporting          Booking may for Switzerland GmbH & Europe AG                                                       2.1     $225.00       $472.50
Geisler,Arthur            AG             Staff         5/24/2023           Information Reporting          Review VAT + AP                                                                                    2.9     $225.00       $652.50
Geisler,Arthur            AG             Staff         5/25/2023           Information Reporting          Review VAT + AP                                                                                    2.6     $225.00       $585.00
Geisler,Arthur            AG             Staff         5/26/2023           Information Reporting          Review VAT + AP                                                                                    2.3     $225.00       $517.50
Geisler,Arthur            AG             Staff         5/30/2023           Information Reporting          Review VAT                                                                                         1.6     $225.00       $360.00
Geisler,Arthur            AG             Staff         5/31/2023           Information Reporting          Review VAT                                                                                         1.6     $225.00       $360.00
Delff,Björn               BD       Partner/Principal   5/24/2023                Non US Tax                Review preliminary status of Tax Due Diligence Questionnaire                                       0.3     $825.00       $247.50
Delff,Björn               BD       Partner/Principal   5/17/2023                Non US Tax                Review of Tax Due Diligence Questionnaire                                                          0.3     $825.00       $247.50
                                                                                                          Review of analysis whether the employment of German residents with FTX EU Ltd. (Cyprus) gives
Delff,Björn               BD       Partner/Principal   5/17/2023               Non US Tax                                                                                                                    0.9     $825.00       $742.50
                                                                                                          rise to a permanent establishment of FTX EU Ltd. in Germany
Delff,Björn               BD       Partner/Principal   5/12/2023               Non US Tax                 Prepare for meeting regarding Tax due diligence Germany                                            0.8     $825.00       $660.00
Bouza,Victor              VB           Manager         5/4/2023                Non US Tax                 Call with VAT team in order to discuss about the VAT requirements of the FTX Swiss entities        0.3     $525.00       $157.50
Bouza,Victor              VB           Manager         5/5/2023                Non US Tax                 Begin the preparation of the VAT returns for Q123                                                  0.4     $525.00       $210.00
                                                                                                          Email to Swiss CFO to obtain missing documents in order to start the bookkeeping for the period
Bouza,Victor              VB           Manager         5/8/2023                Non US Tax                                                                                                                    0.3     $525.00       $157.50
                                                                                                          March-April.
Bouza,Victor              VB           Manager         5/11/2023               Non US Tax                 Review of the documents provided by the Swiss CFO and preparation of the bookkeeping               0.6     $525.00       $315.00
Bouza,Victor              VB           Manager         5/15/2023               Non US Tax                 Review of the bookkeeping entries prepared by the consultant                                       0.9     $525.00       $472.50
Bouza,Victor              VB           Manager         5/15/2023               Non US Tax                 IT Setup re: the new FTX Switzerland entity into the ERP in order to start the bookkeeping         0.3     $525.00       $157.50
Bouza,Victor              VB           Manager         5/16/2023               Non US Tax                 Review of the bookkeeping entries prepared by the consultant                                       0.7     $525.00       $367.50
                                                                                                          Review of bookkeeping entries for 03-04.2023 for FTX Europe and contact with Payroll team in
Bouza,Victor              VB           Manager         5/22/2023               Non US Tax                                                                                                                    0.6     $525.00       $315.00
                                                                                                          order to reconcile accounting with payroll journal
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                  Name       Initials    Rank                                Project Category                                                       Description of Services                                      Hours   Hourly Rate   Fees
                                                      Service
Bouza,Victor                   VB       Manager      5/23/2023                  Non US Tax                     Finalize the bookkeeping review and perform corrections according to CFO's comments                3.9     $525.00      $2,047.50
                                                                                                               Review new documents received from Swiss CFO and instructions to the consultant in order for
Bouza,Victor                   VB       Manager      5/24/2023                  Non US Tax                                                                                                                        0.8     $525.00       $420.00
                                                                                                               him to prepare the bookkeeping entries
                                                                                                               Amend entries and reporting, preparation of the updated reports, and email preparation for the
Bouza,Victor                   VB       Manager      5/24/2023                  Non US Tax                                                                                                                        0.8     $525.00       $420.00
                                                                                                               Swiss CFO
Bouza,Victor                   VB       Manager      5/25/2023                  Non US Tax                     Review of the additional entries prepared by the consultant and check VAT credentials              0.7     $525.00        $367.50
Bouza,Victor                   VB       Manager      5/30/2023                  Non US Tax                     Review bookkeeping after new documents received from the Client and VAT review                     0.8     $525.00        $420.00
Bouza,Victor                   VB       Manager      5/31/2023           Meetings with Management              Call with J. Bavaud (FTX) to discuss VAT returns for Q123 and 2022 and extension deadline          2.2     $525.00      $1,155.00
                                                                                                               Review the 940 and 941 returns and documenting the amounts on the Proof of Claim spreadsheet
Pierce,Brandon                 BO        Staff       5/17/2023                  Payroll Tax                                                                                                                       3.0     $225.00       $675.00
                                                                                                               for the relevant period
Brittany Coakley,Breshante    BBC        Staff       5/17/2023                  Non US Tax                     Research financial statement requirements for crypto entities in The Bahamas                       1.2     $225.00       $270.00
                                                                                                               Continue research into the new amendments to the legislation and communication with the
Brittany Coakley,Breshante    BBC        Staff       5/18/2023                  Non US Tax                     Securities Commission of The Bahamas regarding the requirements for the financial statements of    1.8     $225.00       $405.00
                                                                                                               crypto entities in The Bahamas
                                                                                                               Review of the data gathered on the three Bahamian Entities to provide the local team with an
Brittany Coakley,Breshante    BBC        Staff       5/25/2023                  Non US Tax                                                                                                                        0.6     $225.00       $135.00
                                                                                                               update regarding the appropriate regulatory body and the financial statements requirements.
                                                                                                               Bahamas team call to discuss our understanding of the financial statement requirements. EY
Brittany Coakley,Breshante    BBC        Staff       5/31/2023                  Non US Tax                                                                                                                        0.5     $225.00       $112.50
                                                                                                               attendees: O. Espley-Ault, T. McPhee, B. Rahming, and B. Coakley
Brittany Coakley,Breshante   BBC         Staff       5/31/2023                Non US Tax                       Amend the financial statements requirements questionnaire.                                         0.4     $225.00         $90.00
Mistler,Brian M              BMM        Manager       5/1/2023             IRS Audit Matters                   Review of IRS audit items and organization of files received from Service                          2.6     $525.00      $1,365.00
Mistler,Brian M              BMM        Manager       5/1/2023             IRS Audit Matters                   Review of IRS transcripts                                                                          3.1     $525.00      $1,627.50
Mistler,Brian M              BMM        Manager       5/1/2023               US Income Tax                     Correspondence re: historical data                                                                 0.3     $525.00        $157.50
Mistler,Brian M              BMM        Manager       5/3/2023             IRS Audit Matters                   Prepare for meeting with LedgerX                                                                   0.6     $525.00        $315.00
Mistler,Brian M              BMM        Manager       5/3/2023             IRS Audit Matters                   Review of IRS audit documentation                                                                  1.3     $525.00        $682.50
Mistler,Brian M              BMM        Manager       5/3/2023               US Income Tax                     Review tax return information for Good Luck Games                                                  1.6     $525.00        $840.00
Mistler,Brian M              BMM        Manager       5/3/2023             IRS Audit Matters                   Post-weekly IRS touchpoint correspondence                                                          0.7     $525.00        $367.50
Mistler,Brian M              BMM        Manager       5/3/2023             IRS Audit Matters                   Prepare for call with FTX and review of IRS audit requests                                         0.6     $525.00        $315.00
Mistler,Brian M              BMM        Manager       5/4/2023             IRS Audit Matters                   Review of IRS audit documentation                                                                  1.3     $525.00        $682.50
Mistler,Brian M              BMM        Manager       5/5/2023             IRS Audit Matters                   Review of IRS claims and preparation of initial summary                                            1.3     $525.00        $682.50
Mistler,Brian M              BMM        Manager       5/5/2023               US Income Tax                     Correspondence re: K-1 documentation and investments                                               0.8     $525.00        $420.00
Mistler,Brian M              BMM        Manager       5/5/2023             IRS Audit Matters                   Prepare IRS audit responses                                                                        3.1     $525.00      $1,627.50
Mistler,Brian M              BMM        Manager       5/8/2023             IRS Audit Matters                   Prepare IRS audit responses                                                                        2.4     $525.00      $1,260.00
Mistler,Brian M              BMM        Manager       5/8/2023             IRS Audit Matters                   Review of IRS audit documentation                                                                  1.7     $525.00        $892.50
Mistler,Brian M              BMM        Manager       5/9/2023             IRS Audit Matters                   Correspondence re: CAS IDRs                                                                        0.9     $525.00        $472.50
Mistler,Brian M              BMM        Manager       5/9/2023             IRS Audit Matters                   Prepare reconciliation example to send to RLA                                                      0.4     $525.00        $210.00
Mistler,Brian M              BMM        Manager       5/9/2023             IRS Audit Matters                   Prepare Ledger reconciliation                                                                      2.1     $525.00      $1,102.50
Mistler,Brian M              BMM        Manager       5/9/2023             IRS Audit Matters                   Review IDR response summaries and email correspondence with additional questions                   1.4     $525.00        $735.00
Mistler,Brian M              BMM        Manager       5/9/2023             IRS Audit Matters                   Prepare for weekly tax technical call                                                              0.3     $525.00        $157.50
Mistler,Brian M              BMM        Manager      5/10/2023               US Income Tax                     Develop data queries for tax return information                                                    1.2     $525.00        $630.00
Mistler,Brian M              BMM        Manager      5/11/2023             IRS Audit Matters                   Review of IRS claims documentation                                                                 0.6     $525.00        $315.00
Mistler,Brian M              BMM        Manager      5/12/2023             IRS Audit Matters                   Prepare IRS audit responses                                                                        3.6     $525.00      $1,890.00
Mistler,Brian M              BMM        Manager      5/14/2023             IRS Audit Matters                   Prepare computer audit specialist IDR responses                                                    2.4     $525.00      $1,260.00
Mistler,Brian M              BMM        Manager      5/14/2023             IRS Audit Matters                   Prepare IDR1 responses                                                                             3.3     $525.00      $1,732.50
Mistler,Brian M              BMM        Manager      5/14/2023             IRS Audit Matters                   Prepare CBA IDR responses                                                                          2.6     $525.00      $1,365.00
Mistler,Brian M              BMM        Manager      5/14/2023             IRS Audit Matters                   Review of IRS audit documentation                                                                  0.6     $525.00        $315.00
Mistler,Brian M              BMM        Manager      5/15/2023   Non-Working Travel (billed at 50% of rates)   Travel from San Diego, CA to New York, NY                                                          3.5     $262.50        $918.75
Mistler,Brian M              BMM        Manager      5/15/2023             IRS Audit Matters                   Correspondence with RLA re: computer audit specialist files                                        0.8     $525.00        $420.00
Mistler,Brian M              BMM        Manager      5/15/2023             IRS Audit Matters                   Prepare IDR1 responses                                                                             2.2     $525.00      $1,155.00
Mistler,Brian M              BMM        Manager      5/16/2023             IRS Audit Matters                   Prepare for IRS audit working session                                                              1.9     $525.00        $997.50
Mistler,Brian M              BMM        Manager      5/16/2023             IRS Audit Matters                   Prepare IDR1 responses                                                                             1.3     $525.00        $682.50
Mistler,Brian M              BMM        Manager      5/17/2023             IRS Audit Matters                   Prepare for IRS audit working session                                                              1.8     $525.00        $945.00
Mistler,Brian M              BMM        Manager      5/17/2023             IRS Audit Matters                   Review of IRS audit documentation                                                                  2.2     $525.00      $1,155.00
Mistler,Brian M              BMM        Manager      5/17/2023             IRS Audit Matters                   Revise IDR1 responses IRS responses                                                                1.7     $525.00        $892.50
Mistler,Brian M              BMM        Manager      5/17/2023             IRS Audit Matters                   Revise CAS responses                                                                               1.3     $525.00        $682.50
Mistler,Brian M              BMM        Manager      5/18/2023             IRS Audit Matters                   Revise IDR1 responses IRS responses                                                                2.1     $525.00      $1,102.50
                                                                                                               Travel from New York, NY to Phoenix, AZ traveled to New York for IRS audit working sessions
Mistler,Brian M              BMM        Manager      5/19/2023   Non-Working Travel (billed at 50% of rates)                                                                                                      3.7     $262.50       $971.25
                                                                                                               in advance of 5/31 IDR submission
Mistler,Brian M              BMM        Manager      5/19/2023               IRS Audit Matters                 Revise IRS audit responses for 5/31 submission                                                     3.2     $525.00      $1,680.00
Mistler,Brian M              BMM        Manager      5/22/2023               IRS Audit Matters                 Finalize IRS audit package for technical reviews                                                   2.6     $525.00      $1,365.00
Mistler,Brian M              BMM        Manager      5/22/2023               IRS Audit Matters                 Discussion of 2023 and 2024 tax liabilities                                                        1.1     $525.00        $577.50
Mistler,Brian M              BMM        Manager      5/23/2023               IRS Audit Matters                 Prepare for IRS audit walkthrough                                                                  2.2     $525.00      $1,155.00
Mistler,Brian M              BMM        Manager      5/24/2023               IRS Audit Matters                 Revise IRS IDR responses                                                                           1.8     $525.00       $945.00
                                                                                                               Travel from San Diego, CA to San Jose, CA to meet with RLA to gather information for IRS audit
Mistler,Brian M              BMM        Manager      5/24/2023   Non-Working Travel (billed at 50% of rates)                                                                                                      0.8     $262.50       $210.00
                                                                                                               submission.
                                                                                                               Travel from San Francisco, CA to San Diego, CA to meet with RLA to gather information for IRS
Mistler,Brian M              BMM        Manager      5/24/2023   Non-Working Travel (billed at 50% of rates)                                                                                                      1.2     $262.50       $315.00
                                                                                                               audit submission.
Cahalane,Shawn M.            SMC        Manager       5/1/2023         Fee/Employment Applications             Correspondence with EY team regarding confidentiality review of February time entries              0.7     $525.00       $367.50
Mistler,Brian M              BMM        Manager      5/25/2023              IRS Audit Matters                  Correspondence with RLA re: computer audit specialist files                                        0.3     $525.00       $157.50
Cahalane,Shawn M.            SMC        Manager       5/2/2023         Fee/Employment Applications             Review draft exhibits for the February fee statement                                               1.1     $525.00       $577.50
Mistler,Brian M              BMM        Manager      5/26/2023              IRS Audit Matters                  Revise IDR written responses                                                                       1.4     $525.00       $735.00
Cahalane,Shawn M.            SMC        Manager       5/2/2023         Fee/Employment Applications             Exchange correspondence with EY team regarding revisions to the February fee statement             0.9     $525.00       $472.50
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              Name   Initials       Rank                              Project Category                                                  Description of Services                                       Hours   Hourly Rate   Fees
                                                  Service
Mistler,Brian M      BMM           Manager       5/26/2023           IRS Audit Matters              Draft cover letters for IDR and other transmittals to IRS                                          2.3     $525.00      $1,207.50
Cahalane,Shawn M.    SMC           Manager        5/3/2023      Fee/Employment Applications         Confidentiality review of February time entries                                                    3.8     $525.00      $1,995.00
Mistler,Brian M      BMM           Manager       5/30/2023           IRS Audit Matters              Finalize IDR1 responses for IRS                                                                    2.4     $525.00      $1,260.00
Cahalane,Shawn M.    SMC           Manager        5/3/2023      Fee/Employment Applications         Correspondence with EY team regarding confidentiality review of February time entries              0.2     $525.00        $105.00
Mistler,Brian M      BMM           Manager       5/31/2023           IRS Audit Matters              Finalize CAS responses for IRS                                                                     2.4     $525.00      $1,260.00
Cahalane,Shawn M.    SMC           Manager        5/4/2023      Fee/Employment Applications         Confidentiality review of February time entries                                                    3.9     $525.00      $2,047.50
Mistler,Brian M      BMM           Manager       5/31/2023           IRS Audit Matters              Correspondence with RLA re: IDR questions                                                          1.2     $525.00        $630.00
Cahalane,Shawn M.    SMC           Manager        5/4/2023      Fee/Employment Applications         Continue confidentiality review of February time entries                                           2.1     $525.00      $1,102.50
Mistler,Brian M      BMM           Manager       5/31/2023           IRS Audit Matters              Finalize IRS audit 5/31 submission package                                                         2.8     $525.00      $1,470.00
                                                                                                    Research FATCA/CRS requirements for the information request list for the Bahamas entities
Rahming,Brinique       BR           Senior       5/5/2023                Non US Tax                 Alameda Research (Bahamas) Ltd, FTX Property Holdings Ltd, Technology Services Bahamas             0.9     $395.00       $355.50
                                                                                                    Limited
Cahalane,Shawn M.     SMC          Manager       5/5/2023       Fee/Employment Applications         Confidentiality review of February time entries                                                    2.6     $525.00      $1,365.00
Cahalane,Shawn M.     SMC          Manager       5/5/2023       Fee/Employment Applications         Exchange correspondence with EY team regarding revisions to the February fee statement exhibits    0.4     $525.00       $210.00
                                                                                                    Email correspondence re: findings surrounding the FATCA/CRS requirements for the information
Rahming,Brinique       BR           Senior       5/18/2023               Non US Tax                 request list for the Bahamas entities Alameda Research (Bahamas) Ltd, FTX Property Holdings        0.7     $395.00       $276.50
                                                                                                    Ltd, Technology Services Bahamas Limited
                                                                                                    Bahamas team call to discuss our understanding of the financial statement requirements. EY
Rahming,Brinique       BR           Senior       5/31/2023               Non US Tax                                                                                                                    0.5     $395.00       $197.50
                                                                                                    attendees: O. Espley-Ault, T. McPhee, B. Rahming, and B. Coakley
Cahalane,Shawn M.     SMC          Manager        5/8/2023       Fee/Employment Applications        Confidentiality review of February time entries                                                    2.2     $525.00      $1,155.00
Tong,Chia-Hui         CHT       Senior Manager    5/1/2023   Project Management Office Transition   Prepare for quality and risk review for next phase of work                                         0.9     $650.00       $585.00
Cahalane,Shawn M.     SMC          Manager        5/8/2023       Fee/Employment Applications        Continue confidentiality review of February time entries                                           1.8     $525.00        $945.00
Tong,Chia-Hui         CHT       Senior Manager    5/1/2023   Project Management Office Transition   Review upcoming open items and conduct follow-up with workstreams                                  2.1     $650.00      $1,365.00
Cahalane,Shawn M.     SMC          Manager        5/9/2023       Fee/Employment Applications        Confidentiality review of February time entries                                                    3.8     $525.00      $1,995.00
Tong,Chia-Hui         CHT       Senior Manager    5/1/2023   Project Management Office Transition   Prepare for meeting to discuss foreign firm billing process                                        0.4     $650.00       $260.00
Cahalane,Shawn M.     SMC          Manager        5/9/2023       Fee/Employment Applications        Continue confidentiality review of February time entries                                           2.2     $525.00      $1,155.00
Tong,Chia-Hui         CHT       Senior Manager    5/2/2023   Project Management Office Transition   Review activity tracker for any overdue items, dependencies and issues                             1.8     $650.00      $1,170.00
Cahalane,Shawn M.     SMC          Manager       5/10/2023       Fee/Employment Applications        Confidentiality review of February time entries                                                    3.9     $525.00      $2,047.50
Tong,Chia-Hui         CHT       Senior Manager    5/2/2023   Project Management Office Transition   Prepare agenda for internal team leads call                                                        1.1     $650.00        $715.00
Cahalane,Shawn M.     SMC          Manager       5/10/2023       Fee/Employment Applications        Continue confidentiality review of February time entries                                           3.1     $525.00      $1,627.50
Tong,Chia-Hui         CHT       Senior Manager    5/2/2023   Project Management Office Transition   Prepare agenda and escalation issues for call with FTX                                             0.9     $650.00        $585.00
Cahalane,Shawn M.     SMC          Manager       5/11/2023       Fee/Employment Applications        Confidentiality review of February time entries                                                    3.9     $525.00      $2,047.50
Tong,Chia-Hui         CHT       Senior Manager    5/3/2023   Project Management Office Transition   Review updates to draft for next phase of work                                                     0.6     $650.00       $390.00
Cahalane,Shawn M.     SMC          Manager       5/11/2023       Fee/Employment Applications        Continue confidentiality review of February time entries                                           3.9     $525.00      $2,047.50
Tong,Chia-Hui         CHT       Senior Manager    5/3/2023   Project Management Office Transition   Prepare and review FTX processes and procedures for workstreams                                    0.7     $650.00        $455.00
Cahalane,Shawn M.     SMC          Manager       5/11/2023       Fee/Employment Applications        Prepare revised draft of the January fee application                                               2.2     $525.00      $1,155.00
Tong,Chia-Hui         CHT       Senior Manager    5/3/2023   Project Management Office Transition   Review scope and budget for next phase of work for workstreams                                     0.4     $650.00        $260.00
Cahalane,Shawn M.     SMC          Manager       5/12/2023       Fee/Employment Applications        Prepare final exhibits for the January fee statement                                               2.9     $525.00      $1,522.50
Tong,Chia-Hui         CHT       Senior Manager    5/4/2023   Project Management Office Transition   Prepare agenda for internal team leads call                                                        0.6     $650.00        $390.00
Cahalane,Shawn M.     SMC          Manager       5/12/2023       Fee/Employment Applications        Review and revise final exhibits for the January fee statement                                     1.1     $525.00        $577.50
Tong,Chia-Hui         CHT       Senior Manager    5/4/2023   Project Management Office Transition   Review fee application remediation items                                                           0.3     $650.00        $195.00
Cahalane,Shawn M.     SMC          Manager       5/16/2023       Fee/Employment Applications        Finalize application and exhibits for the January fee statement                                    2.7     $525.00      $1,417.50
Tong,Chia-Hui         CHT       Senior Manager    5/5/2023   Project Management Office Transition   Prepare program management slide for FTX meeting                                                   1.1     $650.00        $715.00
Cahalane,Shawn M.     SMC          Manager       5/17/2023       Fee/Employment Applications        Confidentiality review of March time entries                                                       2.3     $525.00      $1,207.50
Tong,Chia-Hui         CHT       Senior Manager    5/5/2023   Project Management Office Transition   Review next phase of work updated budget                                                           1.6     $650.00      $1,040.00
Cahalane,Shawn M.     SMC          Manager       5/17/2023       Fee/Employment Applications        Continue confidentiality review of March time entries                                              1.7     $525.00        $892.50
Tong,Chia-Hui         CHT       Senior Manager    5/5/2023   Project Management Office Transition   Revise scope of work for workstreams from meetings                                                 0.7     $650.00       $455.00
Cahalane,Shawn M.     SMC          Manager       5/18/2023       Fee/Employment Applications        Confidentiality review of March time entries                                                       3.7     $525.00      $1,942.50
Tong,Chia-Hui         CHT       Senior Manager    5/8/2023   Project Management Office Transition   Review timeline for tax deliverable submission against completed items                             1.1     $650.00        $715.00
Cahalane,Shawn M.     SMC          Manager       5/18/2023       Fee/Employment Applications        Continue confidentiality review of March time entries                                              2.3     $525.00      $1,207.50
Tong,Chia-Hui         CHT       Senior Manager    5/8/2023   Project Management Office Transition   Review and update additional scope of work from meetings                                           0.8     $650.00       $520.00
Cahalane,Shawn M.     SMC          Manager       5/19/2023       Fee/Employment Applications        Confidentiality review of March time entries                                                       3.1     $525.00      $1,627.50
Tong,Chia-Hui         CHT       Senior Manager    5/8/2023   Project Management Office Transition   Review fee application remediation items                                                           0.7     $650.00        $455.00
Cahalane,Shawn M.     SMC          Manager       5/22/2023       Fee/Employment Applications        Continue confidentiality review of March time entries                                              2.1     $525.00      $1,102.50
Tong,Chia-Hui         CHT       Senior Manager    5/9/2023   Project Management Office Transition   Review and update activity tracker against open deliverables                                       1.3     $650.00        $845.00
Cahalane,Shawn M.     SMC          Manager       5/22/2023       Fee/Employment Applications        Continue confidentiality review of February time entries                                           1.9     $525.00        $997.50
Tong,Chia-Hui         CHT       Senior Manager    5/9/2023   Project Management Office Transition   Prepare for internal leads call                                                                    0.4     $650.00        $260.00
Cahalane,Shawn M.     SMC          Manager       5/23/2023       Fee/Employment Applications        Confidentiality review of March time entries                                                       3.9     $525.00      $2,047.50
Tong,Chia-Hui         CHT       Senior Manager    5/9/2023   Project Management Office Transition   Revise agenda for internal leads call                                                              0.6     $650.00        $390.00
Cahalane,Shawn M.     SMC          Manager       5/23/2023       Fee/Employment Applications        Correspondence with EY team regarding confidentiality review of March time entries                 0.1     $525.00         $52.50
Tong,Chia-Hui         CHT       Senior Manager   5/10/2023   Project Management Office Transition   Prepare for biweekly program management touchpoint                                                 0.3     $650.00        $195.00
Cahalane,Shawn M.     SMC          Manager       5/24/2023       Fee/Employment Applications        Confidentiality review of March time entries                                                       3.9     $525.00      $2,047.50
Tong,Chia-Hui         CHT       Senior Manager   5/10/2023   Project Management Office Transition   Review timeline for tax deliverable submission against completed items                             1.1     $650.00        $715.00
Cahalane,Shawn M.     SMC          Manager       5/24/2023       Fee/Employment Applications        Continue confidentiality review of March time entries                                              2.1     $525.00      $1,102.50
Tong,Chia-Hui         CHT       Senior Manager   5/10/2023   Project Management Office Transition   Review open items in activity tracker                                                              1.2     $650.00        $780.00
Cahalane,Shawn M.     SMC          Manager       5/25/2023       Fee/Employment Applications        Confidentiality review of March time entries                                                       3.1     $525.00      $1,627.50
Tong,Chia-Hui         CHT       Senior Manager   5/11/2023   Project Management Office Transition   Prepare program management slide for FTX meeting                                                   1.3     $650.00        $845.00
Cahalane,Shawn M.     SMC          Manager       5/25/2023       Fee/Employment Applications        Continue confidentiality review of March time entries                                              2.9     $525.00      $1,522.50
Tong,Chia-Hui         CHT       Senior Manager   5/11/2023   Project Management Office Transition   Revise next phase of work scope and budget                                                         2.1     $650.00      $1,365.00
Cahalane,Shawn M.     SMC          Manager       5/30/2023       Fee/Employment Applications        Confidentiality review of March time entries                                                       3.9     $525.00      $2,047.50
Tong,Chia-Hui         CHT       Senior Manager   5/11/2023   Project Management Office Transition   Review time remediation                                                                            0.2     $650.00        $130.00
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                                                       Date of
              Name        Initials       Rank                              Project Category                                                   Description of Services                                         Hours   Hourly Rate   Fees
                                                       Service
Cahalane,Shawn M.          SMC          Manager       5/30/2023       Fee/Employment Applications        Continue confidentiality review of March time entries                                                 3.1     $525.00      $1,627.50
Tong,Chia-Hui              CHT       Senior Manager   5/12/2023   Project Management Office Transition   Revise agenda for EY-FTX tax meeting                                                                  0.6     $650.00        $390.00
Cahalane,Shawn M.          SMC          Manager       5/31/2023       Fee/Employment Applications        Confidentiality review of March time entries                                                          2.9     $525.00      $1,522.50
Tong,Chia-Hui              CHT       Senior Manager   5/12/2023   Project Management Office Transition   Revise budgets for next phase of work                                                                 2.2     $650.00      $1,430.00
Cahalane,Shawn M.          SMC          Manager       5/31/2023       Fee/Employment Applications        Continue confidentiality review of March time entries                                                 2.1     $525.00      $1,102.50
Tong,Chia-Hui              CHT       Senior Manager   5/12/2023   Project Management Office Transition   Review timeline for tax deliverable submission against completed items                                0.7     $650.00        $455.00
Tong,Chia-Hui              CHT       Senior Manager   5/15/2023   Project Management Office Transition   Prepare for non-US firms meeting                                                                      0.7     $650.00        $455.00
Tong,Chia-Hui              CHT       Senior Manager   5/15/2023   Project Management Office Transition   Review open questions for next phase of work and document next steps                                  2.3     $650.00      $1,495.00
Tong,Chia-Hui              CHT       Senior Manager   5/16/2023   Project Management Office Transition   Review activity tracker for any overdue items, dependencies and issues                                0.9     $650.00        $585.00
Tong,Chia-Hui              CHT       Senior Manager   5/16/2023   Project Management Office Transition   Review timeline for tax deliverable submission against completed items                                1.3     $650.00        $845.00
Tong,Chia-Hui              CHT       Senior Manager   5/16/2023   Project Management Office Transition   Prepare for internal leads call                                                                       0.4     $650.00        $260.00
Tong,Chia-Hui              CHT       Senior Manager   5/16/2023   Project Management Office Transition   Revise agenda for internal leads call                                                                 0.6     $650.00        $390.00
Tong,Chia-Hui              CHT       Senior Manager   5/16/2023   Project Management Office Transition   Prepare agenda and escalation issues for call with FTX                                                0.6     $650.00        $390.00
Tong,Chia-Hui              CHT       Senior Manager   5/17/2023   Project Management Office Transition   Revise scope of work for workstreams from meetings                                                    1.4     $650.00        $910.00
Tong,Chia-Hui              CHT       Senior Manager   5/17/2023   Project Management Office Transition   Review timeline for tax deliverable submission against completed items                                1.1     $650.00        $715.00
Tong,Chia-Hui              CHT       Senior Manager   5/17/2023   Project Management Office Transition   Revise budgets for next phase of work                                                                 0.6     $650.00        $390.00
Tong,Chia-Hui              CHT       Senior Manager   5/18/2023   Project Management Office Transition   Prepare for internal leads call                                                                       0.4     $650.00        $260.00
Tong,Chia-Hui              CHT       Senior Manager   5/18/2023   Project Management Office Transition   Revise agenda for internal leads call                                                                 0.6     $650.00        $390.00
Tong,Chia-Hui              CHT       Senior Manager   5/18/2023   Project Management Office Transition   Revise agenda for EY-FTX tax meeting                                                                  0.6     $650.00        $390.00
Tong,Chia-Hui              CHT       Senior Manager   5/18/2023   Project Management Office Transition   Revise activity tracker for any overdue items, dependencies and issues                                0.7     $650.00        $455.00
Tong,Chia-Hui              CHT       Senior Manager   5/19/2023   Project Management Office Transition   Review time remediation                                                                               0.8     $650.00        $520.00
Tong,Chia-Hui              CHT       Senior Manager   5/19/2023   Project Management Office Transition   Revise scope of work for next phase of work from workstreams from meetings                            2.1     $650.00      $1,365.00
Tong,Chia-Hui              CHT       Senior Manager   5/19/2023   Project Management Office Transition   Revise activity tracker for any overdue items, dependencies and issues                                1.1     $650.00        $715.00
Tong,Chia-Hui              CHT       Senior Manager   5/19/2023   Project Management Office Transition   Revise budgets for next phase of work                                                                 0.4     $650.00        $260.00
Tong,Chia-Hui              CHT       Senior Manager   5/22/2023   Project Management Office Transition   Review open questions for next phase of work and document next steps                                  2.4     $650.00      $1,560.00
Tong,Chia-Hui              CHT       Senior Manager   5/22/2023   Project Management Office Transition   Review and update activity tracker against open deliverables                                          1.9     $650.00      $1,235.00
Tong,Chia-Hui              CHT       Senior Manager   5/22/2023   Project Management Office Transition   Revise scope of work for next phase of work from workstreams from meetings                            0.7     $650.00        $455.00
Tong,Chia-Hui              CHT       Senior Manager   5/23/2023   Project Management Office Transition   Review activity tracker for any overdue items, dependencies and issues                                1.1     $650.00        $715.00
Tong,Chia-Hui              CHT       Senior Manager   5/23/2023   Project Management Office Transition   Review timeline for tax deliverable submission against completed items                                0.9     $650.00        $585.00
Tong,Chia-Hui              CHT       Senior Manager   5/23/2023   Project Management Office Transition   Prepare for internal leads call                                                                       0.6     $650.00        $390.00
Tong,Chia-Hui              CHT       Senior Manager   5/23/2023   Project Management Office Transition   Revise agenda for internal leads call                                                                 0.6     $650.00        $390.00
Tong,Chia-Hui              CHT       Senior Manager   5/23/2023   Project Management Office Transition   Revise agenda for EY-FTX tax meeting                                                                  0.6     $650.00        $390.00
Tong,Chia-Hui              CHT       Senior Manager   5/24/2023   Project Management Office Transition   Revise scope of work for workstreams from meetings                                                    1.4     $650.00        $910.00
Tong,Chia-Hui              CHT       Senior Manager   5/24/2023   Project Management Office Transition   Review timeline for tax deliverable submission against completed items                                1.1     $650.00        $715.00
Tong,Chia-Hui              CHT       Senior Manager   5/24/2023   Project Management Office Transition   Revise budgets for next phase of work                                                                 0.6     $650.00        $390.00
Tong,Chia-Hui              CHT       Senior Manager   5/24/2023   Project Management Office Transition   Prepare for scope review meeting                                                                      0.7     $650.00        $455.00
Tong,Chia-Hui              CHT       Senior Manager   5/24/2023   Project Management Office Transition   Review time remediation                                                                               0.2     $650.00        $130.00
Tong,Chia-Hui              CHT       Senior Manager   5/25/2023   Project Management Office Transition   Review timeline for tax deliverable submission against completed items                                0.9     $650.00        $585.00
Tong,Chia-Hui              CHT       Senior Manager   5/25/2023   Project Management Office Transition   Prepare for internal leads call                                                                       0.6     $650.00        $390.00
Tong,Chia-Hui              CHT       Senior Manager   5/25/2023   Project Management Office Transition   Revise agenda for internal leads call                                                                 0.6     $650.00        $390.00
Tong,Chia-Hui              CHT       Senior Manager   5/25/2023   Project Management Office Transition   Revise agenda for EY-FTX tax meeting                                                                  0.6     $650.00        $390.00
Tong,Chia-Hui              CHT       Senior Manager   5/25/2023   Project Management Office Transition   Revise scope of work for next phase of work from workstreams from meetings                            1.6     $650.00      $1,040.00
Tong,Chia-Hui              CHT       Senior Manager   5/30/2023   Project Management Office Transition   Review activity tracker for any overdue items, dependencies and issues                                1.1     $650.00        $715.00
Tong,Chia-Hui              CHT       Senior Manager   5/30/2023   Project Management Office Transition   Review timeline for tax deliverable submission against completed items                                0.9     $650.00        $585.00
Tong,Chia-Hui              CHT       Senior Manager   5/30/2023   Project Management Office Transition   Prepare for internal leads call                                                                       0.6     $650.00        $390.00
Tong,Chia-Hui              CHT       Senior Manager   5/30/2023   Project Management Office Transition   Revise agenda for internal leads call                                                                 0.6     $650.00        $390.00
Tong,Chia-Hui              CHT       Senior Manager   5/30/2023   Project Management Office Transition   Revise agenda for EY-FTX tax meeting                                                                  0.6     $650.00        $390.00
Tong,Chia-Hui              CHT       Senior Manager   5/30/2023   Project Management Office Transition   Revise budgets for next phase of work                                                                 0.8     $650.00        $520.00
Tong,Chia-Hui              CHT       Senior Manager   5/31/2023   Project Management Office Transition   Revise scope of work for workstreams from meetings                                                    1.3     $650.00        $845.00
Tong,Chia-Hui              CHT       Senior Manager   5/31/2023   Project Management Office Transition   Review timeline for tax deliverable submission against completed items                                1.1     $650.00        $715.00
Tong,Chia-Hui              CHT       Senior Manager   5/31/2023   Project Management Office Transition   Revise budgets for next phase of work                                                                 0.7     $650.00        $455.00
Schwarzwälder,Christian     CS       Senior Manager    5/2/2023               Non US Tax                 Review tax returns & F/S re: due diligence questionnaire: complexity definitions                      1.1     $650.00        $715.00
Schwarzwälder,Christian     CS       Senior Manager    5/3/2023               Non US Tax                 Review tax returns & F/S re: due diligence questionnaire: complexity definitions                      0.3     $650.00        $195.00
                                                                                                         Email correspondence re 1) fees & complexity Swiss and Li entities, 2) FS of Swiss entities not in
Schwarzwälder,Christian     CS       Senior Manager   5/16/2023               Non US Tax                                                                                                                       0.6     $650.00       $390.00
                                                                                                         scope, and 3) Statutory requirements
Schwarzwälder,Christian     CS       Senior Manager   5/17/2023               Non US Tax                 Follow-up email correspondence re Statutory requirements                                              0.3     $650.00       $195.00
Rüegg,Christoph             CR           Senior       5/10/2023               Non US Tax                 Review required information for tax returns & client correspondence                                   0.3     $395.00       $118.50
Rüegg,Christoph             CR           Senior       5/11/2023               Non US Tax                 Review statutory requirements in Liechtenstein                                                        0.2     $395.00        $79.00
                                                                                                         Review due diligence questionnaire and follow-up questions by central team regarding scope and
Rüegg,Christoph             CR           Senior       5/12/2023               Non US Tax                                                                                                                       0.4     $395.00       $158.00
                                                                                                         inputs
Rüegg,Christoph             CR           Senior       5/25/2023               Non US Tax                 Review additional entities in scope for tax analysis                                                  0.2     $395.00        $79.00
                                                                                                         Review additional entities queries from the account team in Switzerland and coordination
Rüegg,Christoph             CR           Senior       5/26/2023               Non US Tax                                                                                                                       0.6     $395.00       $237.00
                                                                                                         regarding scope and permissibility
Ancona,Christopher          CA           Senior       5/1/2023    Project Management Office Transition   Revise agenda and compiling questions for call with FTX on tax project status                         1.1     $395.00       $434.50
Ancona,Christopher          CA           Senior       5/1/2023        Fee/Employment Applications        Revise the February fee application to submit to the debtors counsel                                  1.8     $395.00       $711.00
Ancona,Christopher          CA           Senior       5/1/2023    Project Management Office Transition   Coordinate meetings for discussions with tax workstreams regarding FTX future deliverables            0.8     $395.00       $316.00
Ancona,Christopher          CA           Senior       5/1/2023    Project Management Office Transition   Revise the FTX transition tracker for the transfer of compliance services from FTX to EY              0.6     $395.00       $237.00
                                                                                                         Correspondence with EY foreign teams with regards to open items related to the transition of
Ancona,Christopher          CA           Senior       5/1/2023    Project Management Office Transition                                                                                                         0.8     $395.00       $316.00
                                                                                                         services
Ancona,Christopher          CA           Senior       5/2/2023    Project Management Office Transition   Revise the Project Management Office status tracker for latest FTX open items updates                 0.4     $395.00       $158.00
Ancona,Christopher          CA           Senior       5/2/2023    Project Management Office Transition   Revise slide deck on tax project status for reporting to the FTX executive committee                  0.6     $395.00       $237.00
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                                          Date of
              Name   Initials   Rank                          Project Category                                                  Description of Services                                         Hours   Hourly Rate   Fees
                                          Service
                                                                                            Create and updating work items tracker for FTX upcoming deliverables across all tax workstreams
Ancona,Christopher     CA       Senior   5/2/2023    Project Management Office Transition                                                                                                        1.6     $395.00       $632.00
                                                                                            for reporting purposes
Ancona,Christopher     CA       Senior   5/2/2023    Project Management Office Transition   Revise agenda for the upcoming call with FTX regarding tax project status reporting                  0.4     $395.00       $158.00
                                                                                            Correspondence with workstream leads regarding FTX Project Management Office action items
Ancona,Christopher     CA       Senior   5/2/2023    Project Management Office Transition                                                                                                        0.8     $395.00       $316.00
                                                                                            following the EY Leads call
Ancona,Christopher     CA       Senior   5/2/2023    Project Management Office Transition   Correspondence with workstream leads regarding admin time charged to FTX codes                       0.4     $395.00       $158.00
Ancona,Christopher     CA       Senior   5/2/2023    Project Management Office Transition   Finalize agenda for call with FTX to discuss open questions and items                                0.6     $395.00       $237.00
                                                                                            Follow-up with EY member firms regarding status of open items regarding the transition of tax
Ancona,Christopher     CA       Senior   5/2/2023    Project Management Office Transition                                                                                                        0.8     $395.00       $316.00
                                                                                            compliance services from FTX to EY
                                                                                            Review time and entry detail on the February fee application and correspondence with the
Ancona,Christopher     CA       Senior   5/3/2023       Fee/Employment Applications                                                                                                              1.8     $395.00       $711.00
                                                                                            workstreams
Ancona,Christopher     CA       Senior   5/3/2023    Project Management Office Transition   Revise FTX workstream deliverables tracker as a result of calls with tax workstreams                 0.7     $395.00       $276.50
Ancona,Christopher     CA       Senior   5/3/2023    Project Management Office Transition   Correspondence with workstream leads regarding latest updates re: FTX transition deliverables        0.7     $395.00       $276.50
Ancona,Christopher     CA       Senior   5/3/2023    Project Management Office Transition   Revise the Project Management Office status tracker for latest FTX open items updates                0.4     $395.00       $158.00
Ancona,Christopher     CA       Senior   5/3/2023    Project Management Office Transition   Review engagement economics on FTX for reporting to workstreams                                      0.7     $395.00       $276.50
                                                                                            Review and update of tax workstream tracker and correspondence with tax workstream leads
Ancona,Christopher     CA       Senior   5/3/2023    Project Management Office Transition                                                                                                        0.8     $395.00       $316.00
                                                                                            regarding latest status of FTX transition deliverables
Ancona,Christopher     CA       Senior   5/4/2023        Fee/Employment Applications        Revise the February fee application to submit to the debtors counsel                                 1.1     $395.00       $434.50
Ancona,Christopher     CA       Senior   5/4/2023    Project Management Office Transition   Revise the tax workstream deliverables tracker resulting from calls with tax workstreams             0.9     $395.00       $355.50
                                                                                            Revise the EY/Alvarez & Marsal Project Management Office slide deck for reporting to the FTX
Ancona,Christopher     CA       Senior   5/4/2023    Project Management Office Transition                                                                                                        1.3     $395.00       $513.50
                                                                                            executive committee
                                                                                            Correspondence with EY member firms regarding status on transition of tax compliance services
Ancona,Christopher     CA       Senior   5/4/2023    Project Management Office Transition                                                                                                        0.6     $395.00       $237.00
                                                                                            from EY to FTX
Ancona,Christopher     CA       Senior   5/4/2023       Fee/Employment Applications         Revise expenses on the fee application for the inclusion of VAT and other surcharges                 0.6     $395.00       $237.00
Ancona,Christopher     CA       Senior   5/4/2023    Project Management Office Transition   Review latest Project Management Office tax workstream action items and updates for latest status    0.4     $395.00       $158.00
Ancona,Christopher     CA       Senior   5/4/2023        Fee/Employment Applications        Correspondence regarding the processing of the February fee application                              0.3     $395.00       $118.50
Ancona,Christopher     CA       Senior   5/4/2023        Fee/Employment Applications        Correspondence regarding submission of the January fee application                                   0.7     $395.00       $276.50
Ancona,Christopher     CA       Senior   5/4/2023    Project Management Office Transition   Prepare additional questions for FTX ahead of upcoming call                                          0.4     $395.00       $158.00
                                                                                            Revise the tax workstream deliverables tracker for FTX following several calls with additional
Ancona,Christopher     CA       Senior   5/5/2023    Project Management Office Transition                                                                                                        1.3     $395.00       $513.50
                                                                                            workstreams
                                                                                            Review and revise the February fee application for latest updates for submission to the debtors
Ancona,Christopher     CA       Senior   5/5/2023       Fee/Employment Applications                                                                                                              1.2     $395.00       $474.00
                                                                                            counsel
                                                                                            Continue additional updates to the EY/A&M Project Management Office slide deck for submission
Ancona,Christopher     CA       Senior   5/5/2023    Project Management Office Transition                                                                                                        0.3     $395.00       $118.50
                                                                                            to the FTX executive committee
Ancona,Christopher     CA       Senior   5/5/2023    Project Management Office Transition   Create the FTX IRS status tracker for all IRS inquiries                                              1.3     $395.00       $513.50
Ancona,Christopher     CA       Senior   5/8/2023    Project Management Office Transition   Revise FTX agenda for latest questions and open items regarding FTX entities                         0.4     $395.00       $158.00
Ancona,Christopher     CA       Senior   5/8/2023        Fee/Employment Applications        Review and update open items on the February fee application                                         2.1     $395.00       $829.50
Ancona,Christopher     CA       Senior   5/8/2023    Project Management Office Transition   Correspondence with EY foreign member teams regarding the transition of tax compliance services      0.6     $395.00       $237.00

Ancona,Christopher     CA       Senior   5/8/2023    Project Management Office Transition   Revise the Project Management Office status tracker after latest updates on FTX open items           0.7     $395.00       $276.50
Ancona,Christopher     CA       Senior   5/8/2023    Project Management Office Transition   Prepare reports for open items ahead of IRS audit check in meeting                                   0.6     $395.00       $237.00
Ancona,Christopher     CA       Senior   5/8/2023    Project Management Office Transition   Revise FTX phase 2 deliverables tracker for updates after discussion with tax workstreams            0.4     $395.00       $158.00
Ancona,Christopher     CA       Senior   5/8/2023    Project Management Office Transition   Correspondence with workstreams regarding latest bankruptcy court guidelines on expenses             0.7     $395.00       $276.50
                                                                                            Prepare FTX materials ahead of bi-weekly Project Management Office meeting on FTX project
Ancona,Christopher     CA       Senior   5/9/2023    Project Management Office Transition                                                                                                        1.2     $395.00       $474.00
                                                                                            status
Ancona,Christopher     CA       Senior   5/9/2023       Fee/Employment Applications         Revise the February fee application                                                                  1.7     $395.00       $671.50
Ancona,Christopher     CA       Senior   5/9/2023    Project Management Office Transition   Correspondence with the tax workstreams on required updates to the February fee application          0.4     $395.00       $158.00
Ancona,Christopher     CA       Senior   5/9/2023    Project Management Office Transition   Prepare materials ahead of the bi-weekly meeting with FTX                                            0.7     $395.00       $276.50
                                                                                            Revise the phase 2 deliverables tracker for each of the tax workstreams regarding FTX tax
Ancona,Christopher     CA       Senior   5/9/2023    Project Management Office Transition                                                                                                        0.8     $395.00       $316.00
                                                                                            deliverables and deadlines
                                                                                            Review and edit the slide deck ahead of LEADs call with each of the tax workstreams to discuss
Ancona,Christopher     CA       Senior   5/9/2023    Project Management Office Transition                                                                                                        0.4     $395.00       $158.00
                                                                                            latest project status and action items
Ancona,Christopher     CA       Senior    5/9/2023   Project Management Office Transition   Revise the Project Management Office FTX action items tracker                                        0.4     $395.00       $158.00
Ancona,Christopher     CA       Senior   5/10/2023       Fee/Employment Applications        Review open items regarding the February fee application                                             1.1     $395.00       $434.50
Ancona,Christopher     CA       Senior   5/10/2023       Fee/Employment Applications        Review open items regarding the submission of the January fee application                            0.8     $395.00       $316.00
Ancona,Christopher     CA       Senior   5/10/2023       Fee/Employment Applications        Process open items on the March fee application                                                      1.4     $395.00       $553.00
Ancona,Christopher     CA       Senior   5/10/2023   Project Management Office Transition   Revise the IRS IDR requests tracker for progress and latest status on open items                     0.6     $395.00       $237.00
                                                                                            Review the FTX transition slide deck for latest status on identified issues and next steps in
Ancona,Christopher     CA       Senior   5/10/2023   Project Management Office Transition                                                                                                        1.3     $395.00       $513.50
                                                                                            connection with the transfer of tax compliance services to EY from FTX
                                                                                            Revise the phase 2 FTX tax deliverables tracker after discussions with workstream leads for
Ancona,Christopher     CA       Senior   5/10/2023   Project Management Office Transition                                                                                                        0.9     $395.00       $355.50
                                                                                            reporting to the FTX executive committee
                                                                                            Revise the A&M/EY Project Management Office slide deck for reporting to the FTX executive
Ancona,Christopher     CA       Senior   5/10/2023   Project Management Office Transition                                                                                                        0.9     $395.00       $355.50
                                                                                            committee
Ancona,Christopher     CA       Senior   5/11/2023      Fee/Employment Applications         Discussions with EY member firms regarding updates to the February fee application                   0.8     $395.00       $316.00
Ancona,Christopher     CA       Senior   5/11/2023      Fee/Employment Applications         Review open items on the February fee application                                                    1.7     $395.00       $671.50
                                                                                            Finalize updates to the January fee application after Sullivan & Cromwell review and submission
Ancona,Christopher     CA       Senior   5/11/2023      Fee/Employment Applications                                                                                                              1.3     $395.00       $513.50
                                                                                            to the debtor's counsel
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                                          Date of
              Name   Initials   Rank                          Project Category                                                   Description of Services                                          Hours   Hourly Rate   Fees
                                          Service
Ancona,Christopher     CA       Senior   5/11/2023   Project Management Office Transition   Coordinate meetings with regards to FTX phase 2 deliverables with each of the tax workstreams          1.4     $395.00       $553.00
                                                                                            Correspondence with workstream leads regarding latest tax action items after internal LEADs call
Ancona,Christopher     CA       Senior   5/11/2023   Project Management Office Transition                                                                                                          0.4     $395.00       $158.00
                                                                                            to discuss project status
Ancona,Christopher     CA       Senior   5/11/2023   Project Management Office Transition   Revise the FTX phase 2 deliverables tracker after latest discussions with tax workstreams              0.4     $395.00       $158.00
                                                                                            Continue updates to the Alvarez & Marsal/ EY Project Management Office slide deck for reporting
Ancona,Christopher     CA       Senior   5/11/2023   Project Management Office Transition                                                                                                          1.1     $395.00       $434.50
                                                                                            to the FTX executive committee
                                                                                            Revise the FTX IRS audit tracker for latest status and updates on deliverables from tax
Ancona,Christopher     CA       Senior   5/12/2023   Project Management Office Transition                                                                                                          0.6     $395.00       $237.00
                                                                                            workstreams
Ancona,Christopher     CA       Senior   5/12/2023   Project Management Office Transition   Prepare questions and updating the agenda ahead of call with FTX                                       0.4     $395.00       $158.00
Ancona,Christopher     CA       Senior   5/12/2023   Project Management Office Transition   Revise the FTX transition tracker for the transfer of compliance services from FTX to EY               0.4     $395.00       $158.00
                                                                                            Correspondence with EY foreign teams with regards to open items related to the transition of
Ancona,Christopher     CA       Senior   5/12/2023   Project Management Office Transition                                                                                                          0.3     $395.00       $118.50
                                                                                            services
Ancona,Christopher     CA       Senior   5/12/2023   Project Management Office Transition   Revise the Project Management Office status tracker for latest FTX open items updates                  0.4     $395.00       $158.00
Ancona,Christopher     CA       Senior   5/15/2023   Project Management Office Transition   Revise the agenda ahead of call with FTX                                                               0.3     $395.00       $118.50
Ancona,Christopher     CA       Senior   5/15/2023       Fee/Employment Applications        Revise the February fee application to submit to the debtors counsel                                   1.8     $395.00       $711.00
Ancona,Christopher     CA       Senior   5/15/2023   Project Management Office Transition   Review and update the Phase 2 deliverable tracker for all of the tax workstreams for latest updates    1.3     $395.00       $513.50
Ancona,Christopher     CA       Senior   5/15/2023   Project Management Office Transition   Revise the Project Management Office tracker for latest FTX action item                                0.7     $395.00       $276.50
                                                                                            Correspondence with EY member firms regarding open items in connection with the transition of
Ancona,Christopher     CA       Senior   5/15/2023   Project Management Office Transition                                                                                                          0.7     $395.00       $276.50
                                                                                            tax compliance services
Ancona,Christopher     CA       Senior   5/15/2023   Project Management Office Transition   Revise the FTX transition tracker for the transfer of compliance services from FTX to EY               0.6     $395.00       $237.00
Ancona,Christopher     CA       Senior   5/15/2023       Fee/Employment Applications        Reviewing the March draft fee application for open items                                               1.3     $395.00       $513.50
                                                                                            Correspondence with the tax workstreams on status of open tax items ahead of the bi-weekly
Ancona,Christopher     CA       Senior   5/15/2023   Project Management Office Transition                                                                                                          0.9     $395.00       $355.50
                                                                                            touchpoint to report out on status to the FTX committee
Ancona,Christopher     CA       Senior   5/16/2023   Project Management Office Transition   Revise the FTX IRS IDR tracker for latest open items after call with team                              0.7     $395.00       $276.50
Ancona,Christopher     CA       Senior   5/16/2023   Project Management Office Transition   Correspondence and updates to materials ahead of the call with FTX                                     1.2     $395.00       $474.00
                                                                                            Review and update the Project Management Office slide deck ahead of the call with tax
Ancona,Christopher     CA       Senior   5/16/2023   Project Management Office Transition                                                                                                          0.9     $395.00       $355.50
                                                                                            workstreams on status of FTX tax items
                                                                                            Correspondence with the tax workstreams regarding updates to the fixed fee deliverables template
Ancona,Christopher     CA       Senior   5/16/2023   Project Management Office Transition                                                                                                          1.4     $395.00       $553.00
                                                                                            for FTX
Ancona,Christopher     CA       Senior   5/16/2023   Project Management Office Transition   Revise the fixed fee deliverables template for FTX                                                     1.2     $395.00       $474.00
                                                                                            Review and update the FTX transition tracker for latest open items regarding the transition of tax
Ancona,Christopher     CA       Senior   5/16/2023   Project Management Office Transition                                                                                                          0.7     $395.00       $276.50
                                                                                            compliance services
Ancona,Christopher     CA       Senior   5/17/2023      Fee/Employment Applications         Prepare materials for the fee application meeting                                                      1.6     $395.00       $632.00
                                                                                            Revise the A&M/EY Project Management Office slide deck for reporting to the FTX executive
Ancona,Christopher     CA       Senior   5/17/2023   Project Management Office Transition                                                                                                          1.4     $395.00       $553.00
                                                                                            committee
                                                                                            Revise the status of work items on the Phase 2 tax deliverables tracker for all tax workstreams for
Ancona,Christopher     CA       Senior   5/17/2023   Project Management Office Transition                                                                                                          1.1     $395.00       $434.50
                                                                                            reporting to the FTX executive committee
Ancona,Christopher     CA       Senior   5/17/2023   Project Management Office Transition   Correspondence with the tax workstream leads regarding latest status on tax deliverables               0.4     $395.00       $158.00
Ancona,Christopher     CA       Senior   5/17/2023   Project Management Office Transition   Revise the FTX Phase 2 tax deliverables slide deck                                                     0.9     $395.00       $355.50
                                                                                            Revise the FTX Phase 2 tax deliverables tracker and correspondence with workstreams after
Ancona,Christopher     CA       Senior   5/18/2023   Project Management Office Transition                                                                                                          1.4     $395.00       $553.00
                                                                                            meeting discussions
Ancona,Christopher     CA       Senior   5/18/2023       Fee/Employment Applications        Revise the February fee application to submit to the debtors counsel                                   1.6     $395.00       $632.00
Ancona,Christopher     CA       Senior   5/18/2023   Project Management Office Transition   Revise the FTX ACE template for latest information from tax workstreams                                0.9     $395.00       $355.50
Ancona,Christopher     CA       Senior   5/18/2023   Project Management Office Transition   Review and edit the agenda ahead of the call with FTX                                                  0.4     $395.00       $158.00
Ancona,Christopher     CA       Senior   5/18/2023   Project Management Office Transition   Revise the FTX IRS IDR deliverables and response tracker                                               0.7     $395.00       $276.50
                                                                                            Bi-Weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Ancona,Christopher     CA       Senior   5/23/2023   Project Management Office Transition                                                                                                          0.9     $395.00       $355.50
                                                                                            attendees: C. Ancona, C. Tong, and H. Choudary
                                                                                            Meeting with M. Cilia (FTX) and K. Schultea (FTX) to discuss progress, status and action items.
Ancona,Christopher     CA       Senior   5/23/2023        Meetings with Management                                                                                                                 0.5     $395.00       $197.50
                                                                                            EY attendees: C. Ancona, C. Tong, J. Scott, J. Berman, B. Mistler, and K. Lowery
Ancona,Christopher     CA       Senior   5/23/2023   Project Management Office Transition   Revise the FTX upcoming tax deliverables and deadlines tracker after meeting discussions               0.8     $395.00       $316.00
                                                                                            Correspondence with FTX tax workstreams regarding status of upcoming tax deliverables and
Ancona,Christopher     CA       Senior   5/23/2023   Project Management Office Transition                                                                                                          0.7     $395.00       $276.50
                                                                                            deadlines for reporting to FTX executive committee
                                                                                            Revise the Project Management Office slide deck ahead of call with tax workstreams to discuss
Ancona,Christopher     CA       Senior   5/23/2023   Project Management Office Transition                                                                                                          1.1     $395.00       $434.50
                                                                                            project status
                                                                                            Correspondence with tax workstreams on open items related to FTX tax deliverables after meeting
Ancona,Christopher     CA       Senior   5/23/2023   Project Management Office Transition                                                                                                          0.7     $395.00       $276.50
                                                                                            discussion
Ancona,Christopher     CA       Senior   5/23/2023   Project Management Office Transition   Review and revise the agenda ahead of call with FTX regarding open items                               0.6     $395.00       $237.00
Ancona,Christopher     CA       Senior   5/23/2023   Project Management Office Transition   Correspondence with tax workstreams and updates for open items on the February fee application         1.9     $395.00       $750.50
Ancona,Christopher     CA       Senior   5/24/2023   Project Management Office Transition   Follow-up on actions items with tax workstreams after call with FTX                                    0.6     $395.00       $237.00
Ancona,Christopher     CA       Senior   5/24/2023       Fee/Employment Applications        Correspondence regarding open items on the February fee application                                    1.2     $395.00       $474.00
                                                                                            Correspondence with EY member firms regarding status of deliverables in connection with the
Ancona,Christopher     CA       Senior   5/24/2023   Project Management Office Transition                                                                                                          0.3     $395.00       $118.50
                                                                                            transition of tax compliance services for FTX
                                                                                            Follow-up with each of the tax workstreams on items related to the FTX tax scoping and
Ancona,Christopher     CA       Senior   5/24/2023   Project Management Office Transition                                                                                                          2.3     $395.00       $908.50
                                                                                            assumptions deliverables template regarding future tax deliverables
Ancona,Christopher     CA       Senior   5/24/2023   Project Management Office Transition   Revise the FTX PACE and RIQ                                                                            0.8     $395.00       $316.00
                                                                                            Revise the FTX Project Management Office slide deck ahead of call with tax workstreams
Ancona,Christopher     CA       Senior   5/25/2023   Project Management Office Transition                                                                                                          0.9     $395.00       $355.50
                                                                                            regarding tax project status
Ancona,Christopher     CA       Senior   5/25/2023   Project Management Office Transition   Correspondence with tax workstreams regarding updates to the February fee application                  0.6     $395.00       $237.00
Ancona,Christopher     CA       Senior   5/25/2023   Project Management Office Transition   Review and edits to the February fee application for submission to the debtors counsel                 2.3     $395.00       $908.50
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                                                      Date of
                  Name   Initials       Rank                              Project Category                                                   Description of Services                                          Hours   Hourly Rate   Fees
                                                      Service
                                                                                                        Revise the Alvarez & Marsal/ EY Project Management Office tax status slide deck for reporting to
Ancona,Christopher         CA           Senior       5/25/2023   Project Management Office Transition                                                                                                          1.2     $395.00       $474.00
                                                                                                        the FTX executive committee
                                                                                                        Revise the FTX tax workstream deliverables tracker for latest updates after meetings with tax
Ancona,Christopher         CA           Senior       5/25/2023   Project Management Office Transition                                                                                                          0.6     $395.00       $237.00
                                                                                                        workstreams
Ancona,Christopher         CA           Senior       5/25/2023   Project Management Office Transition   Prepare materials ahead of the bi-weekly meeting with FTX                                              0.7     $395.00       $276.50
Ancona,Christopher         CA           Senior       5/25/2023   Project Management Office Transition   Prepare materials ahead of the bi-weekly Project Management Office slide deck                          0.6     $395.00       $237.00
                                                                                                        Follow-up on open items and correspondence with each of the tax workstreams to update the FTX
Ancona,Christopher         CA           Senior       5/25/2023   Project Management Office Transition                                                                                                          1.4     $395.00       $553.00
                                                                                                        tax upcoming deliverables and deadlines tracker
                                                                                                        Prepare slide deck for the bi-weekly FTX Project Management Office slide deck to report out on
Ancona,Christopher         CA           Senior       5/30/2023   Project Management Office Transition                                                                                                          1.3     $395.00       $513.50
                                                                                                        tax project status
Ancona,Christopher         CA           Senior       5/30/2023   Project Management Office Transition   Correspondence with tax workstreams ahead of status reporting call to on tax project open items        0.8     $395.00       $316.00
Ancona,Christopher        CA            Senior       5/30/2023       Fee/Employment Applications        Process the February fee application                                                                   2.6     $395.00      $1,027.00
Ancona,Christopher        CA            Senior       5/30/2023   Project Management Office Transition   Revise tax project filings and deadlines tracker after conversations with tax teams                    0.7     $395.00        $276.50
Ancona,Christopher        CA            Senior       5/30/2023   Project Management Office Transition   Revise FTX Phase 2 deliverable for latest updates                                                      1.7     $395.00       $671.50
Ancona,Christopher        CA            Senior       5/31/2023       Fee/Employment Applications        Process February fee application for submission to bankruptcy courts                                   2.1     $395.00       $829.50
Ancona,Christopher        CA            Senior       5/31/2023   Project Management Office Transition   Revise FTX Phase 2 deliverable for latest updates from tax workstreams                                 1.7     $395.00       $671.50
Ancona,Christopher        CA            Senior       5/31/2023   Project Management Office Transition   Revise agenda and correspondence with tax workstreams ahead of call with FTX                           0.7     $395.00        $276.50
Ancona,Christopher        CA            Senior       5/31/2023   Project Management Office Transition   Revise the tax deliverable status tracker for latest updates from tax workstreams                      0.6     $395.00       $237.00
Ancona,Christopher        CA            Senior       5/31/2023   Project Management Office Transition   Correspondence with workstreams regarding latest IDR requests from the IRS                             0.8     $395.00       $316.00
Ancona,Christopher        CA            Senior       5/31/2023       Fee/Employment Applications        Process March fee application                                                                          1.8     $395.00        $711.00
Li,Chunyang                CL           Senior        5/3/2023               Technology                 Draft Raptor User guide                                                                                1.8     $395.00       $711.00
Li,Chunyang                CL           Senior        5/3/2023               Technology                 Obtain credentials and setting up VDI login on local desktop and analyze VDI data                      1.2     $395.00       $474.00
Li,Chunyang                CL           Senior        5/5/2023               Technology                 Review sequence, type and data DDLs for FTX entities                                                   1.1     $395.00        $434.50
Li,Chunyang                CL           Senior        5/5/2023               Technology                 Draft audit trail documentation                                                                        1.4     $395.00        $553.00
Li,Chunyang                CL           Senior        5/8/2023               Technology                 Review data table DDLs                                                                                 0.8     $395.00       $316.00
Li,Chunyang                CL           Senior       5/11/2023               Technology                 Walkthrough new work item tracker                                                                      0.6     $395.00       $237.00
Li,Chunyang                CL           Senior       5/15/2023               Technology                 Revise FTX user guide with new screenshots and processes based on feedback                             1.3     $395.00       $513.50
Li,Chunyang                CL           Senior       5/16/2023               Technology                 Review and revise work items into new tracker                                                          1.2     $395.00       $474.00
Carver,Cody R.            CRC           Senior        5/1/2023               Payroll Tax                Review and prepare 1099 intake and documentation                                                       0.8     $395.00        $316.00
Carver,Cody R.            CRC           Senior        5/2/2023               Payroll Tax                Review 1099 intake and documentation                                                                   0.7     $395.00        $276.50
Carver,Cody R.            CRC           Senior        5/3/2023               Payroll Tax                Review and prepare 1099 intake and documentation                                                       0.4     $395.00        $158.00
Carver,Cody R.            CRC           Senior        5/4/2023               Payroll Tax                Review and prepare 1099 intake and documentation                                                       1.6     $395.00        $632.00
Carver,Cody R.            CRC           Senior        5/5/2023               Payroll Tax                Review and prepare 1099 intake and documentation                                                       1.2     $395.00        $474.00
Carver,Cody R.            CRC           Senior        5/8/2023               Payroll Tax                Review and prepare 1099 intake and documentation                                                       2.8     $395.00      $1,106.00
Carver,Cody R.            CRC           Senior        5/9/2023               Payroll Tax                Review and prepare 1099 intake and documentation                                                       1.4     $395.00        $553.00
Carver,Cody R.            CRC           Senior       5/10/2023               Payroll Tax                Review and prepare 1099 intake and documentation                                                       0.6     $395.00        $237.00
Carver,Cody R.            CRC           Senior       5/11/2023               Payroll Tax                Review and prepare 1099 intake and documentation                                                       0.3     $395.00        $118.50
Carver,Cody R.            CRC           Senior       5/15/2023               Payroll Tax                Review and prepare 1099 intake and documentation                                                       0.7     $395.00        $276.50
Carver,Cody R.            CRC           Senior       5/16/2023               Payroll Tax                Review and prepare 1099 intake and documentation                                                       0.7     $395.00        $276.50
Carver,Cody R.            CRC           Senior       5/18/2023               Payroll Tax                Review and prepare 1099 intake and documentation                                                       1.2     $395.00        $474.00
Carver,Cody R.            CRC           Senior       5/19/2023               Payroll Tax                Review and prepare 1099 intake and documentation                                                       1.6     $395.00        $632.00
                                                                                                        Review MD Annual Reports, Prepare Internal meeting agenda, touch base with team and reach out
Dulceak,Crystal            CD          Manager       5/3/2023          US State and Local Tax                                                                                                                  0.8     $525.00       $420.00
                                                                                                        to client for MD login credentials.
Dulceak,Crystal            CD          Manager        5/5/2023         US State and Local Tax           Follow-up on MD Annual Reports                                                                         1.2     $525.00       $630.00
Dulceak,Crystal            CD          Manager       5/10/2023         US State and Local Tax           Follow-up review of MD Annual Reports and sent IL Annual Report info request                           0.9     $525.00       $472.50
Dulceak,Crystal            CD          Manager       5/11/2023         US State and Local Tax           Review May Annual Reports batch and send funding to Emily for client submission and payment.           1.6     $525.00       $840.00
Dulceak,Crystal            CD          Manager       5/15/2023         US State and Local Tax           Follow-up on IL Annual Report data needed                                                              0.9     $525.00       $472.50
                                                                                                        Internal call to walk through annual return filings. Meeting attendees: M. Musano, J. Scott, W.
Dulceak,Crystal            CD          Manager       5/17/2023         US State and Local Tax                                                                                                                  1.0     $525.00       $525.00
                                                                                                        Bieganski, M. Coffey, C. Dulceak, J. Berman, B. Mistler, E. Hall
Dulceak,Crystal            CD          Manager       5/19/2023         US State and Local Tax           Review IL Annual Report                                                                                0.6     $525.00       $315.00
Dulceak,Crystal            CD          Manager       5/22/2023         US State and Local Tax           Review IL Annual Report and send funding to Emily for submission & payment                             1.7     $525.00       $892.50
Dulceak,Crystal            CD          Manager       5/23/2023         US State and Local Tax           Provide June Annual Report calendar and estimated payments 6/1-8/31.                                   1.3     $525.00       $682.50
Velpuri,Cury               CV           Staff         5/3/2023              Technology                  Prepare the user guide for FTX Raptor.                                                                 2.7     $225.00       $607.50
Velpuri,Cury               CV           Staff         5/4/2023              Technology                  Continue preparation of the user guide for FTX Raptor.                                                 1.8     $225.00       $405.00
Velpuri,Cury               CV           Staff         5/1/2023              Technology                  Prepare crating of Service Now cases for FTX tax reporting - Alameda                                   0.6     $225.00       $135.00
                                                                                                        Analyze the Service Now cases using 1042-S Pro software for FTX tax reporting - West realm
Velpuri,Cury               CV           Staff        5/2/2023           Information Reporting                                                                                                                  1.6     $225.00       $360.00
                                                                                                        Shires
                                                                                                        Analyze the Service Now cases using 1042-S Pro software for FTX tax reporting - West realm
Velpuri,Cury               CV           Staff        5/4/2023           Information Reporting                                                                                                                  1.3     $225.00       $292.50
                                                                                                        Shires
                                                                                                        Review of databooks, documents (tax returns, statutory trial balances i.e.) and preparation of call
Gursoy,Damla               DG       Senior Manager   5/2/2023                Non US Tax                                                                                                                        3.9     $650.00      $2,535.00
                                                                                                        agenda/Q&A list
                                                                                                        Review of updated databooks, FY22 CIT returns and preparation of detailed Q&A list (second set
Gursoy,Damla               DG       Senior Manager   5/9/2023                Non US Tax                                                                                                                        3.9     $650.00      $2,535.00
                                                                                                        Q&A list)
Gursoy,Damla              DG        Senior Manager   5/23/2023               Non US Tax                 Review and preparation of key tax findings memo                                                        3.9     $650.00      $2,535.00
Hammon,David Lane         DLH          Manager       5/1/2023                Non US Tax                 Correspondence concerning transition-related items for the foreign workstreams                         3.9     $525.00      $2,047.50
                                                                                                        Review summary of items discussed with local FTX contact for Singapore and Vietnam as well as
Hammon,David Lane         DLH          Manager       5/1/2023                Non US Tax                                                                                                                        1.4     $525.00       $735.00
                                                                                                        follow-up questions
                                                                                                        Summarize engagement background, details, and next steps for EY team responsible for Bahamas,
Hammon,David Lane         DLH          Manager       5/1/2023                Non US Tax                                                                                                                        0.3     $525.00       $157.50
                                                                                                        BVI and Cayman Islands
Hammon,David Lane         DLH          Manager       5/1/2023                Non US Tax                 Summarize items to be escalated to engagement leadership                                               0.3     $525.00       $157.50
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                                                         Date of
                  Name   Initials        Rank                            Project Category                                               Description of Services                                        Hours   Hourly Rate   Fees
                                                         Service
                                                                                                   Correspondence concerning the scheduling of initial knowledge transfer meetings for Australia,
Hammon,David Lane         DLH           Manager         5/2/2023            Non US Tax                                                                                                                  0.9     $525.00       $472.50
                                                                                                   Antigua and Japan
                                                                                                   Correspondence regarding the Cypriot entity Innovatia Limited (e.g., FY20 information needed by
Hammon,David Lane         DLH           Manager         5/2/2023            Non US Tax                                                                                                                  1.4     $525.00       $735.00
                                                                                                   the auditors as well as historical information required to complete due diligence)
                                                                                                   Review of clarifications to call notes provided by FTX local contact for the Singapore entity
Hammon,David Lane         DLH           Manager         5/2/2023            Non US Tax                                                                                                                  0.6     $525.00       $315.00
                                                                                                   Quoine Pte Ltd
Hammon,David Lane         DLH           Manager         5/2/2023            Non US Tax             Address April tax slips for Zubr (Gibraltar)                                                         0.2     $525.00       $105.00
                                                                                                   Correspondence concerning outstanding local FTX/third-party contacts for Seychelles and
Hammon,David Lane         DLH           Manager         5/2/2023            Non US Tax                                                                                                                  0.3     $525.00       $157.50
                                                                                                   Singapore
Katsnelson,David           DK           Manager         5/3/2023          Transfer Pricing         Attend weekly stand up call with FTX                                                                 0.4     $525.00       $210.00
                                                                                                   Participate in EY Tax call regarding status check-in, issues, and risks with regards to providing
Katsnelson,David           DK           Manager         5/11/2023         Transfer Pricing         preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and      0.5     $525.00       $262.50
                                                                                                   the implementation of global compliance and reporting services
                                                                                                   Weekly call with R. Gordon (A&M) and K. Kearney (A&M) to discuss A&M's related financial
Katsnelson,David           DK           Manager         5/11/2023   Meetings with Other Advisors                                                                                                        0.5     $525.00       $262.50
                                                                                                   findings. EY attendees: G. Di Stefano, D. McComber, A. Bost, D. Katsnelson, and O. Hall

                                                                                                   Weekly meeting to discuss status of the Transfer pricing documentation and Transfer pricing
Katsnelson,David           DK           Manager         5/18/2023         Transfer Pricing                                                                                                              0.5     $525.00       $262.50
                                                                                                   calendar. EY attendees: D. McComber, G. Di Stefano, D. Katsnelson, O. Hall, and A. Bost
                                                                                                   Call with K. Kearney (A&M) and R. Gordon (A&M) to discuss new data. EY attendees: G. Di
Katsnelson,David           DK           Manager         5/18/2023   Meetings with Other Advisors                                                                                                        0.5     $525.00       $262.50
                                                                                                   Stefano, O. Hall, D. McComber, and D. Katsnelson
                                                                                                   Internal call to discuss the IRS's information request pertaining to the loans. EY attendees: B.
Katsnelson,David           DK           Manager         5/19/2023         Transfer Pricing                                                                                                              0.5     $525.00       $262.50
                                                                                                   Mistler, D. McComber, D. Katsnelson, and A. Bost
Katsnelson,David           DK           Manager         5/30/2023         Transfer Pricing         Call to prepare IDR responses. EY attendees: G. Di Stefano and D. Katsnelson                         0.4     $525.00       $210.00
Katsnelson,David           DK           Manager         5/31/2023         Transfer Pricing         Antigua next steps call                                                                              0.3     $525.00       $157.50
Jena,Deepak                DJ           Manager          5/3/2023           Technology             Review data transformation, queries, and data analysis                                               0.6     $525.00       $315.00
Jena,Deepak                DJ           Manager          5/5/2023           Technology             Review data transformation, queries, and data analysis                                               0.2     $525.00       $105.00
Jena,Deepak                DJ           Manager         5/17/2023           Technology             Review US reporting - breakdown by jurisdiction                                                      0.9     $525.00       $472.50
Jena,Deepak                DJ           Manager         5/18/2023           Technology             Review US reporting - breakdown by jurisdiction                                                      0.9     $525.00       $472.50
Jena,Deepak                DJ           Manager         5/19/2023           Technology             Review US reporting - breakdown by jurisdiction                                                      1.3     $525.00       $682.50
Jena,Deepak                DJ           Manager         5/31/2023           Technology             Review US reporting - breakdown by jurisdiction                                                      0.6     $525.00       $315.00
                                                                                                   Set-up Bookkeeping System for Data Transfer from DATEV Client "FTX Trading GmbH"
Mosdzin,Dennis            DM        Senior Manager      5/26/2023           Non US Tax                                                                                                                  1.1     $650.00       $715.00
                                                                                                   Germany from Mazars to EY via System Upload
                                                                                                   Review and discuss the Fill-out of Data transfer Document for the Data Transfer of Bookkeeping
Mosdzin,Dennis            DM        Senior Manager      5/9/2023            Non US Tax                                                                                                                  0.3     $650.00       $195.00
                                                                                                   Data from Mazars to EY from the DATEV ERP System Provider.
Johnson,Derrick Joseph    DJJ             Staff          5/3/2023     US State and Local Tax       Revise the FTX Claims Log                                                                            3.6     $225.00       $810.00
Johnson,Derrick Joseph    DJJ             Staff          5/4/2023     US State and Local Tax       Revise the FTX Claims Log                                                                            3.9     $225.00       $877.50
Johnson,Derrick Joseph    DJJ             Staff          5/5/2023     US State and Local Tax       Revise the FTX Claims Log                                                                            3.9     $225.00       $877.50
Johnson,Derrick Joseph    DJJ             Staff          5/8/2023     US State and Local Tax       Revise the FTX Claims Log                                                                            2.7     $225.00       $607.50
Johnson,Derrick Joseph    DJJ             Staff         5/19/2023     US State and Local Tax       Revise the FTX Claims Log                                                                            0.7     $225.00       $157.50
                                        National
McComber,Donna            DM                            5/1/2023          Transfer Pricing         Prepare compliance calendar                                                                          0.8     $990.00       $792.00
                                    Partner/Principal
                                        National
McComber,Donna            DM                            5/3/2023          Transfer Pricing         Prepare compliance calendar and TPM for cost plus services                                           1.2     $990.00      $1,188.00
                                    Partner/Principal
                                        National
McComber,Donna            DM                            5/4/2023          Transfer Pricing         Analyze information for FTX interviews                                                               1.1     $990.00      $1,089.00
                                    Partner/Principal
                                        National
McComber,Donna            DM                            5/10/2023         Transfer Pricing         Prepare for call with AM                                                                             1.1     $990.00      $1,089.00
                                    Partner/Principal
                                        National
McComber,Donna            DM                            5/12/2023         Transfer Pricing         Review doc template                                                                                  1.4     $990.00      $1,386.00
                                    Partner/Principal
                                        National
McComber,Donna            DM                            5/16/2023         Transfer Pricing         Analyze TP compliance matrix                                                                         0.9     $990.00       $891.00
                                    Partner/Principal
                                        National
McComber,Donna            DM                            5/17/2023         Transfer Pricing         Prepare for WRS overview call                                                                        0.7     $990.00       $693.00
                                    Partner/Principal
                                        National
McComber,Donna            DM                            5/18/2023         Transfer Pricing         Analyze IRS IDR and available information                                                            1.1     $990.00      $1,089.00
                                    Partner/Principal
                                        National
McComber,Donna            DM                            5/18/2023         Transfer Pricing         Prepare for Alameda/ventures overview call                                                           0.8     $990.00       $792.00
                                    Partner/Principal
                                                                                                   Meeting with M. Cilia (FTX), R. Gordon (A&M) R. Hoskins (A&M), C. Broskay (A&M), R.
                                        National
McComber,Donna            DM                            5/17/2023    Meetings with Management      Bruck (A&M), H. Trent (A&M), J. LaBella (Alix), and D. Schwartz (Alix) to walkthrough the            1.5     $990.00      $1,485.00
                                    Partner/Principal
                                                                                                   West Realm Shire silo data. EY attendees: D. McComber and A. Bost
                                                                                                   Meeting with M. Cilia (FTX), R. Gordon (A&M) R. Hoskins (A&M), K. Kearny (A&M), G. Walia
                                        National
McComber,Donna            DM                            5/18/2023    Meetings with Management      (A&M), H. Trent (A&M), and J. Sequeria (A&M) to walkthrough the Alameda/Ventures silo data.          1.5     $990.00      $1,485.00
                                    Partner/Principal
                                                                                                   EY attendees: D. McComber and A. Bost
                                        National
McComber,Donna            DM                            5/23/2023         Transfer Pricing         Analyze financial information                                                                        0.8     $990.00       $792.00
                                    Partner/Principal
                                        National
McComber,Donna            DM                            5/25/2023         Transfer Pricing         Prepare documentation template                                                                       1.1     $990.00      $1,089.00
                                    Partner/Principal
                                        National
McComber,Donna            DM                            5/31/2023         Transfer Pricing         Analyze TP IDRs from IRS Audit                                                                       1.2     $990.00      $1,188.00
                                    Partner/Principal
Yildiz,Elif               EY             Senior         5/23/2023           Non US Tax             Prepare key tax findings memo                                                                        3.9     $395.00      $1,540.50
Perez,Ellen Joy           EJP            Senior         5/2/2023            Non US Tax             Prepare Management Accounts for Jan to April 2023 re: Zubr Limited                                   3.9     $395.00      $1,540.50
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                                           Date of
               Name   Initials   Rank                     Project Category                                             Description of Services                                          Hours   Hourly Rate   Fees
                                           Service
Perez,Ellen Joy         EJP      Senior    5/3/2023          Non US Tax          Prepare Management Accounts for Jan to April 2023 re: Zubr Limited                                      3.9     $395.00      $1,540.50
Perez,Ellen Joy         EJP      Senior   5/18/2023          Non US Tax          Prepare Management Accounts for Jan to April 2023 re: Zubr Limited                                      3.9     $395.00      $1,540.50
Perez,Ellen Joy         EJP      Senior   5/19/2023          Non US Tax          Prepare Management Accounts for Jan to April 2023 re: Zubr Limited                                      3.9     $395.00      $1,540.50
Perez,Ellen Joy         EJP      Senior   5/22/2023          Non US Tax          Follow-up correspondence re: Zubr Limited                                                               3.4     $395.00      $1,343.00
Perez,Ellen Joy         EJP      Senior   5/24/2023          Non US Tax          Follow-up correspondence re: Zubr Limited                                                               3.4     $395.00      $1,343.00
Hall,Emily Melissa     EMH       Senior    5/1/2023   Meetings with Management   Phone call with M. Cilia (FTX) pertaining to Ohio Commercial Activities Tax registration.               0.1     $395.00         $39.50
                                                                                 Email correspondence with M. Cilia (FTX) pertaining to Ohio Commercial Activities Tax
Hall,Emily Melissa     EMH       Senior   5/1/2023    Meetings with Management                                                                                                           0.3     $395.00       $118.50
                                                                                 registration.
Hall,Emily Melissa     EMH       Senior   5/4/2023     US State and Local Tax    Review sales data provided by Ledger Holdings for tax year 2022                                         0.3     $395.00       $118.50
Hall,Emily Melissa     EMH       Senior   5/4/2023     US State and Local Tax    Review Alameda W-2 Forms to determine employee location for locality tax purposes                       1.2     $395.00       $474.00
Hall,Emily Melissa     EMH       Senior   5/4/2023     US State and Local Tax    Review West Realm Shires W-2 Forms to determine employee location for locality tax purposes             1.8     $395.00       $711.00
Hall,Emily Melissa     EMH       Senior   5/5/2023     US State and Local Tax    Review Blockfolio W-2 Forms to determine employee location for locality tax purposes                    1.3     $395.00       $513.50
Hall,Emily Melissa     EMH       Senior   5/5/2023     US State and Local Tax    Review Ledger Holdings W-2 Forms to determine employee location for locality tax purposes               1.1     $395.00       $434.50
                                                                                 Provide state and local tax updates to the FTX Project Management Organization ("PMO")
Hall,Emily Melissa     EMH       Senior   5/5/2023     US State and Local Tax                                                                                                            0.1     $395.00        $39.50
                                                                                 PowerPoint slide.
Hall,Emily Melissa     EMH       Senior   5/8/2023     US State and Local Tax    Review Blockfolio W-2 Forms to determine employee location for locality tax purposes                    0.2     $395.00        $79.00
Hall,Emily Melissa     EMH       Senior   5/8/2023     US State and Local Tax    Review West Realm Shires W-2 Forms to determine employee location for locality tax purposes             1.2     $395.00       $474.00
                                                                                 Review Ledger Holdings, Ledger X, and LedgerPrime W-2s to determine employee location for
Hall,Emily Melissa     EMH       Senior   5/8/2023     US State and Local Tax                                                                                                            1.2     $395.00       $474.00
                                                                                 locality tax purposes.
Hall,Emily Melissa     EMH       Senior   5/8/2023     US State and Local Tax    Review and research business license team question pertaining to Maryland annual report                 1.1     $395.00       $434.50
                                                                                 Call with Ohio Department of Taxation to ensure that the Commercial Activity Tax was accepted
Hall,Emily Melissa     EMH       Senior   5/9/2023     US State and Local Tax                                                                                                            0.4     $395.00       $158.00
                                                                                 and to determine whether the return can be filed electronically through the portal.
                                                                                 Draft and sent email to FTX explaining Ohio Commercial Activity Tax due and method for
Hall,Emily Melissa     EMH       Senior   5/9/2023     US State and Local Tax                                                                                                            1.3     $395.00       $513.50
                                                                                 payment and filing
                                                                                 Review Texas web file number and revenue from past year to OneSource to clear the validation
Hall,Emily Melissa     EMH       Senior   5/10/2023    US State and Local Tax                                                                                                            0.3     $395.00       $118.50
                                                                                 errors for extension
Hall,Emily Melissa     EMH       Senior   5/10/2023    US State and Local Tax    Revise Texas extension workpaper for West Realm Shires Inc. & Subsidiaries.                             2.9     $395.00      $1,145.50
Hall,Emily Melissa     EMH       Senior   5/11/2023    US State and Local Tax    Revise data on anticipated sales and use tax and property tax filings / deliverables for 2024.          0.3     $395.00       $118.50
Hall,Emily Melissa     EMH       Senior   5/12/2023    US State and Local Tax    Revise Project Management Organization ("PMO") tax slide for state and local tax updates.               0.2     $395.00         $79.00
Hall,Emily Melissa     EMH       Senior   5/12/2023    US State and Local Tax    Continue review of Texas payment instructions for first extension purposes                              0.3     $395.00       $118.50
                                                                                 Analyze state and local deliverables for the following work streams: corporate income/franchise
Hall,Emily Melissa     EMH       Senior   5/12/2023    US State and Local Tax                                                                                                            1.8     $395.00       $711.00
                                                                                 tax; sales and use tax; unclaimed property; and real/personal property
Hall,Emily Melissa     EMH       Senior   5/12/2023    US State and Local Tax    Review Texas payment instructions for first extension purposes                                          1.1     $395.00       $434.50
Hall,Emily Melissa     EMH       Senior   5/12/2023    US State and Local Tax    Analyze LedgerPrime sales data for corporate income tax apportionment                                   1.7     $395.00       $671.50
Hall,Emily Melissa     EMH       Senior   5/15/2023    US State and Local Tax    Email correspondence requesting additional payment assistance for annual reports.                       0.2     $395.00        $79.00
                                                                                 Analyze income/franchise Gap analysis and made updates based on discussions with state and local
Hall,Emily Melissa     EMH       Senior   5/15/2023    US State and Local Tax                                                                                                            2.2     $395.00       $869.00
                                                                                 team.
Hall,Emily Melissa     EMH       Senior   5/15/2023    US State and Local Tax    Prepare New Jersey accounts for authorization letter.                                                   0.4     $395.00       $158.00
                                                                                 Analyze documentation provided by LedgerX to determine additional items to request for prior
Hall,Emily Melissa     EMH       Senior   5/16/2023    US State and Local Tax                                                                                                            2.2     $395.00       $869.00
                                                                                 year and tax year 2022 purposes.
Hall,Emily Melissa     EMH       Senior   5/16/2023    US State and Local Tax    Conduct research to determine how property is defined for Illinois Annual Report purposes.              0.6     $395.00       $237.00
                                                                                 Analyze data pertaining to corporate income tax and sales and use tax deliverables for tax year
Hall,Emily Melissa     EMH       Senior   5/16/2023    US State and Local Tax                                                                                                            0.4     $395.00       $158.00
                                                                                 2022-tax year 2023.
Hall,Emily Melissa     EMH       Senior   5/17/2023    US State and Local Tax    Create a draft annual report workpaper/calculation for West Realm Shires Services Inc.                  1.2     $395.00       $474.00
Hall,Emily Melissa     EMH       Senior   5/17/2023    US State and Local Tax    Analyze data pertaining to personal property and real property deliverables for 2022 through 2024.      0.6     $395.00       $237.00
Hall,Emily Melissa     EMH       Senior   5/18/2023    US State and Local Tax    Provide updates to Ledger Holdings documentation request tracker and emailed LedgerX                    0.3     $395.00       $118.50
                                                                                 Email correspondence explaining the expected exposure for West Realm Shires Services Inc.
Hall,Emily Melissa     EMH       Senior   5/18/2023    US State and Local Tax                                                                                                            0.6     $395.00       $237.00
                                                                                 annual report and provided next steps.
Hall,Emily Melissa     EMH       Senior   5/18/2023    US State and Local Tax    Provide additional data for annual report filings due June 1st.                                         0.4     $395.00       $158.00
Hall,Emily Melissa     EMH       Senior   5/18/2023    US State and Local Tax    Provide responses to power of attorney form for Washington, D.C.                                        0.2     $395.00        $79.00
                                                                                 Provide state and local tax updates to the FTX Project Management Organization ("PMO")
Hall,Emily Melissa     EMH       Senior   5/18/2023    US State and Local Tax                                                                                                            0.2     $395.00        $79.00
                                                                                 PowerPoint slide.
Hall,Emily Melissa     EMH       Senior   5/19/2023    US State and Local Tax    Research New Jersey managerial member requirements                                                      0.4     $395.00       $158.00
Hall,Emily Melissa     EMH       Senior   5/19/2023    US State and Local Tax    Review tax year 2022 transaction level detail for West Realm Shire Services Inc.                        0.3     $395.00       $118.50
Hall,Emily Melissa     EMH       Senior   5/22/2023    US State and Local Tax    Draft and send email to FTX containing annual report filings due 5/31 and 6/1.                          0.6     $395.00       $237.00
                                                                                 Draft and send email requesting assistance regarding Illinois annual report filings for current year
Hall,Emily Melissa     EMH       Senior   5/23/2023    US State and Local Tax                                                                                                            1.2     $395.00       $474.00
                                                                                 report and prior year filings.
Hall,Emily Melissa     EMH       Senior   5/23/2023    US State and Local Tax    Respond to Illinois Annual Report email clarifying a question asked.                                    0.3     $395.00       $118.50
Hall,Emily Melissa     EMH       Senior   5/24/2023    US State and Local Tax    Email containing additional facts pertaining to Illinois Annual Report filing.                          0.4     $395.00       $158.00
Hall,Emily Melissa     EMH       Senior   5/24/2023    US State and Local Tax    Email response regarding payment through online Secretary of State online account.                      0.3     $395.00       $118.50
Hall,Emily Melissa     EMH       Senior   5/25/2023    US State and Local Tax    Provide response to A&M for state cash tax estimates from June through August period.                   0.2     $395.00        $79.00
                                                                                 Email correspondence to FTX providing status update for Illinois Annual Report and requested
Hall,Emily Melissa     EMH       Senior   5/25/2023    US State and Local Tax                                                                                                            0.3     $395.00       $118.50
                                                                                 update on Oregon extension.
Hall,Emily Melissa     EMH       Senior   5/30/2023    US State and Local Tax    Analyze gap analysis and updated calculations based on tax year 2022 filing calendar.                   1.1     $395.00       $434.50
Hall,Emily Melissa     EMH       Senior   5/31/2023    US State and Local Tax    Analyze gap analysis and updated calculations based on tax year 2022 filing calendar.                   2.4     $395.00       $948.00
                                                                                 Reconcile filing calendar for income/franchise tax with extension tracker gap analysis and made
Hall,Emily Melissa     EMH       Senior   5/31/2023    US State and Local Tax                                                                                                            1.2     $395.00       $474.00
                                                                                 relevant updates.
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                                                       Date of
                Name   Initials        Rank                         Project Category                                            Description of Services                                        Hours   Hourly Rate   Fees
                                                       Service
                                                                                           Provide state and local tax updates to the FTX Project Management Organization ("PMO")
Hall,Emily Melissa      EMH            Senior         5/25/2023   US State and Local Tax                                                                                                        0.3     $395.00       $118.50
                                                                                           PowerPoint slide.
Erdem,Ersin              EE       Partner/Principal    5/2/2023        Non US Tax          Review of databooks and call agenda/Q&A list                                                         1.8     $825.00      $1,485.00
Erdem,Ersin              EE       Partner/Principal    5/9/2023        Non US Tax          Review of second set Q&A list                                                                        0.9     $825.00        $742.50
Erdem,Ersin              EE       Partner/Principal   5/23/2023        Non US Tax          Review and preparation of key tax findings memo                                                      1.8     $825.00      $1,485.00
Zheng,Eva                EZ           Manager          5/1/2023   US State and Local Tax   Prepare for the locality tax call discussion                                                         0.6     $525.00        $315.00
Zheng,Eva                EZ           Manager          5/1/2023   US State and Local Tax   Email correspondence summarizing the locality tax call discussion                                    1.2     $525.00        $630.00
Zheng,Eva                EZ           Manager          5/2/2023   US State and Local Tax   Review 5/15 state extensions                                                                         0.7     $525.00        $367.50
Zheng,Eva                EZ           Manager          5/3/2023   US State and Local Tax   Review and revise OH CAT workpaper for WRSS combined                                                 1.8     $525.00       $945.00
Zheng,Eva                EZ           Manager          5/5/2023   US State and Local Tax   Discuss review of online payment instruction draft                                                   0.1     $525.00         $52.50
Zheng,Eva                EZ           Manager          5/9/2023   US State and Local Tax   Review OH CAT online account registration issues & email summary                                     1.1     $525.00       $577.50
Zheng,Eva                EZ           Manager         5/10/2023   US State and Local Tax   Review and revise TX workpaper and affiliate list.                                                   2.6     $525.00      $1,365.00
Zheng,Eva                EZ           Manager         5/10/2023   US State and Local Tax   Review 8 state extension forms due on 5/15                                                           1.9     $525.00        $997.50
Zheng,Eva                EZ           Manager         5/11/2023   US State and Local Tax   Prepare batches for review                                                                           1.9     $525.00       $997.50
Zheng,Eva                EZ           Manager         5/11/2023   US State and Local Tax   Draft and send email to deliver batch 5 of extension to FTX                                          1.6     $525.00        $840.00
Zheng,Eva                EZ           Manager         5/11/2023   US State and Local Tax   Review online payment instructions for 4 states                                                      1.8     $525.00        $945.00
Zheng,Eva                EZ           Manager         5/11/2023   US State and Local Tax   Draft and send email for delivering extension to Deck Technologies                                   1.1     $525.00       $577.50
Zheng,Eva                EZ           Manager         5/12/2023   US State and Local Tax   Review/revise CT and NJ XMLs and submit the extensions through OIT.                                  0.9     $525.00       $472.50
Zheng,Eva                EZ           Manager         5/12/2023   US State and Local Tax   Draft and send TX extension email to FTX for review and signature                                    1.2     $525.00        $630.00
Zheng,Eva                EZ           Manager         5/12/2023   US State and Local Tax   Review/Revise TX extension form with affiliate list.                                                 0.8     $525.00        $420.00
Zheng,Eva                EZ           Manager         5/12/2023   US State and Local Tax   Research Deck Technologies issue with certain state online payments                                  0.9     $525.00       $472.50
Zheng,Eva                EZ           Manager         5/12/2023   US State and Local Tax   Revise TX workpapers based on review comments                                                        0.6     $525.00        $315.00
Zheng,Eva                EZ           Manager         5/12/2023   US State and Local Tax   Draft and send email to FTX for TX extension                                                         1.2     $525.00        $630.00
Zheng,Eva                EZ           Manager         5/12/2023   US State and Local Tax   Discuss review of XML                                                                                0.1     $525.00         $52.50
Zheng,Eva                EZ           Manager         5/12/2023   US State and Local Tax   Respond to client's question about making check payments                                             0.7     $525.00       $367.50
Zheng,Eva                EZ           Manager         5/12/2023   US State and Local Tax   Review XML and efile two extensions via OIT                                                          1.1     $525.00        $577.50
Zheng,Eva                EZ           Manager         5/15/2023   US State and Local Tax   Review XML and efile the extension via OIT for Texas                                                 1.8     $525.00        $945.00
Zheng,Eva                EZ           Manager         5/16/2023   US State and Local Tax   Research NJ unitary ID issue                                                                         1.1     $525.00       $577.50
Zheng,Eva                EZ           Manager         5/18/2023   US State and Local Tax   Review/revise TY21 locality annual business tax workpaper based on two different scenarios.          1.9     $525.00       $997.50
Zheng,Eva                EZ           Manager         5/18/2023   US State and Local Tax   Review GLG K-1 suite provided by federal team                                                        0.8     $525.00       $420.00
Zheng,Eva                EZ           Manager         5/19/2023   US State and Local Tax   Review TY22 city annual business tax workpaper and make revise.                                      1.7     $525.00       $892.50
Zheng,Eva                EZ           Manager         5/19/2023   US State and Local Tax   Research NJ Managerial Member & Group Name requirement                                               1.7     $525.00       $892.50
Zheng,Eva                EZ           Manager         5/22/2023   US State and Local Tax   Research on 3 states bank returned payment issue                                                     1.9     $525.00       $997.50
Zheng,Eva                EZ           Manager         5/22/2023   US State and Local Tax   Resubmit NJ extension through OIT                                                                    1.9     $525.00       $997.50
Zheng,Eva                EZ           Manager         5/23/2023   US State and Local Tax   Email client about the returned payment issue                                                        1.1     $525.00       $577.50
Zheng,Eva                EZ           Manager         5/25/2023   US State and Local Tax   Review & update FTX state extension tracker & efile confirmations                                    1.1     $525.00       $577.50
Zheng,Eva                EZ           Manager         5/25/2023   US State and Local Tax   Draft summary email for review and send to client                                                    1.1     $525.00       $577.50
Zheng,Eva                EZ           Manager         5/25/2023   US State and Local Tax   Organize EYI and EYOS for compliance STAC tool set up                                                0.9     $525.00       $472.50
                                                                                           Assess German permanent establishment acc. § 12 AO and § 13 AO- obligation for wage tax
Borchers,Fabian          FB            Senior         5/10/2023        Non US Tax                                                                                                               3.9     $395.00      $1,540.50
                                                                                           purposes
Borchers,Fabian          FB            Senior         5/17/2023        Non US Tax          Prepare email to client re: conclusion PE analysis in Germany                                        1.1     $395.00       $434.50
Borchers,Fabian          FB            Senior         5/23/2023        Non US Tax          Prepare email to EY US re: question Tax due diligence, outstanding information + due dates filing    1.3     $395.00       $513.50
Borchers,Fabian          FB            Senior         5/23/2023        Non US Tax          Analyze PE and prepare email due to conclusion PE Adjustment internal memo                           0.8     $395.00       $316.00
                                                                                           Correspondence email re: preliminary information with regard to Tax DD, outstanding information
Borchers,Fabian          FB            Senior         5/24/2023        Non US Tax                                                                                                               0.9     $395.00       $355.50
                                                                                           etc.
Di Stefano,Giulia       GDS            Senior         5/1/2023       Transfer Pricing      Review of the TP compliance calendar                                                                 2.4     $395.00        $948.00
Di Stefano,Giulia       GDS            Senior          5/8/2023      Transfer Pricing      Review transfer pricing requirement for relevant countries                                           1.1     $395.00        $434.50
Di Stefano,Giulia       GDS            Senior         5/10/2023      Transfer Pricing      Prepare country calendar and analyze local cbcR requirements                                         3.9     $395.00      $1,540.50
Di Stefano,Giulia       GDS            Senior         5/11/2023      Transfer Pricing      Review country calendar and analyzed local cbcR requirements                                         3.9     $395.00      $1,540.50
Di Stefano,Giulia       GDS            Senior         5/15/2023      Transfer Pricing      Review email contents on status of info retreat from Call notes, FTX equity record holder            2.7     $395.00      $1,066.50
Di Stefano,Giulia       GDS            Senior         5/16/2023      Transfer Pricing      Review and address questions re: country profile                                                     2.7     $395.00      $1,066.50
Di Stefano,Giulia       GDS            Senior         5/24/2023      Transfer Pricing      Review companies overview                                                                            1.8     $395.00        $711.00
Di Stefano,Giulia       GDS            Senior         5/30/2023      Transfer Pricing      Prepare loan agreement analysis and draft response to IRS loan IDR                                   3.9     $395.00      $1,540.50
Di Stefano,Giulia       GDS            Senior         5/31/2023      Transfer Pricing      Finalize loan analysis                                                                               3.9     $395.00      $1,540.50
Choudary,Hira           HC              Staff         5/1/2023        Non US Tax           Revise Onboarded EY local team contacts list                                                         0.6     $225.00        $135.00
Choudary,Hira           HC              Staff         5/1/2023        Non US Tax           Draft follow-up email to send to FTX Bahamas, BVI and Cayman                                         0.4     $225.00         $90.00
                                                                                           Daily meeting to review new documentation provided, address open items and questions from
Choudary,Hira            HC             Staff         5/2/2023         Non US Tax          E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.        1.0     $225.00       $225.00
                                                                                           Hammon, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                           Bi-Weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items.
Choudary,Hira            HC             Staff         5/2/2023         Non US Tax                                                                                                               0.5     $225.00       $112.50
                                                                                           Attendees: C. Ancona, C. Tong, and H. Choudary
                                                                                           Meeting with FTX Japan to discuss due diligence. EY attendees: D. Hammon, T. Hamano, H.
Choudary,Hira            HC             Staff         5/2/2023         Non US Tax                                                                                                               0.8     $225.00       $180.00
                                                                                           Choudary, and C. MacLean
Choudary,Hira            HC             Staff         5/2/2023         Non US Tax          Correspondence re: leads touchpoint call meeting notes                                               0.4     $225.00        $78.75
Choudary,Hira            HC             Staff         5/3/2023         Non US Tax          Prepare a summary list of all the dormant entities                                                   0.9     $225.00       $202.50
                                                                                           Meeting with EY Cyprus team to discuss due diligence questionnaire. EY attendees: C. MacLean,
Choudary,Hira            HC             Staff         5/3/2023         Non US Tax                                                                                                               0.4     $225.00        $90.00
                                                                                           D. Hammon, H. Choudary, A. Tsikkouris, E. Papachristodoulou, T. Skarou, and V. Themistou
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                                                    Date of
                Name   Initials       Rank                          Project Category                                                Description of Services                                          Hours   Hourly Rate   Fees
                                                    Service
                                                                                              Daily meeting to review new documentation provided, address open items and questions from
Choudary,Hira            HC           Staff        5/3/2023            Non US Tax             E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.           0.8     $225.00       $180.00
                                                                                              Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
                                                                                              Meeting with S. Kojima (FTX Singapore) to discuss due diligence. EY attendees: D. Hammon, C.
Choudary,Hira            HC           Staff        5/3/2023            Non US Tax                                                                                                                     0.8     $225.00       $180.00
                                                                                              MacLean, W. Wong, H. Choudary, and K. Staromiejska
                                                                                              Bi-Weekly FTX PMO touchpoint to discuss action items, project status, and follow-up items. EY
Choudary,Hira            HC           Staff        5/4/2023            Non US Tax                                                                                                                     0.5     $225.00       $112.50
                                                                                              attendees: C. Ancona, C. Tong, and H. Choudary
                                                                                              FTX Fee Application Touchpoint to review February fee application. EY attendees: C. Ancona, C.
Choudary,Hira            HC           Staff        5/4/2023    Fee/Employment Applications                                                                                                            0.6     $225.00       $135.00
                                                                                              Tong, H. Choudary, D. Neziroski, and S. Cahalane
                                                                                              Daily meeting to review new documentation provided, address open items and questions from
Choudary,Hira            HC           Staff        5/4/2023            Non US Tax             E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.           0.8     $225.00       $180.00
                                                                                              Hammon, T. Knoeller, K. Staromiejska, C. MacLean, and H. Choudary
Choudary,Hira            HC           Staff        5/4/2023            Non US Tax             Revise links added to workstream tracker                                                                0.8     $225.00       $180.00
                                                                                              Weekly meeting with workstreams discuss status of local teams knowledge transfer process. EY
Choudary,Hira            HC           Staff        5/5/2023            Non US Tax             attendees: D. Hammon, C. MacLean, D. Katsnelson, A. Bost, D. McComber, G. Stefano, H.                   0.2     $225.00        $45.00
                                                                                              Choudary, L. Rodriguez, M. Leon, N. Hernandez, and T. Knoeller
                                                                                              Daily meeting to review new documentation provided, address open items and questions from
Choudary,Hira            HC           Staff        5/5/2023            Non US Tax             E&Y foreign teams for non-US direct tax, payroll, VAT, and transfer pricing. EY attendees: D.           0.5     $225.00       $112.50
                                                                                              Hammon, T. Knoeller, C. MacLean, and H. Choudary
                                                                                              Meeting to discuss Workstream Tracker items (e.g., next steps, issues, project status). EY
Choudary,Hira            HC           Staff        5/5/2023            Non US Tax                                                                                                                     0.5     $225.00       $112.50
                                                                                              attendees: C. Ancona, C. Tong, and H. Choudary
Choudary,Hira            HC           Staff        5/8/2023            Non US Tax             Revise Onboarded EY local team contacts list                                                            0.7     $225.00       $157.50
Choudary,Hira            HC           Staff        5/8/2023            Non US Tax             Review knowledge transfer questionnaires                                                                1.6     $225.00       $360.00
Choudary,Hira            HC           Staff        5/8/2023            Non US Tax             Revise workstream tracker                                                                               1.2     $225.00       $270.00
Choudary,Hira            HC           Staff        5/9/2023            Non US Tax             Correspondence re: leads touchpoint call meeting notes                                                  0.4     $225.00        $90.00
                                                                                              Email correspondence to the foreign teams re: the preliminary data template with CIT information
Choudary,Hira            HC           Staff        5/10/2023           Non US Tax                                                                                                                     0.8     $225.00       $180.00
                                                                                              and updated tracker
Choudary,Hira            HC            Staff       5/11/2023          Non US Tax              Summarize VAT/Surcharge email confirmations for each country                                            0.9     $225.00       $202.50
Choudary,Hira            HC            Staff       5/11/2023          Non US Tax              Correspondence re: leads touchpoint call meeting notes                                                  0.6     $225.00       $135.00
Choudary,Hira            HC            Staff       5/12/2023          Non US Tax              Revise FTX OOO Calendar                                                                                 0.4     $225.00        $90.00
Choudary,Hira            HC            Staff       5/12/2023          Non US Tax              Revise workstream tracker                                                                               0.6     $225.00       $135.00
Choudary,Hira            HC            Staff       5/16/2023          Non US Tax              Revise workstream tracker                                                                               1.3     $225.00       $292.50
Choudary,Hira            HC            Staff       5/16/2023          Non US Tax              Correspondence re: leads touchpoint call meeting notes                                                  0.4     $225.00        $90.00
Choudary,Hira            HC            Staff       5/16/2023          Non US Tax              Revise ACE Solution Template                                                                            0.4     $225.00        $90.00
Choudary,Hira            HC            Staff       5/18/2023          Non US Tax              Revise ACE Solution Template                                                                            0.6     $225.00       $135.00
Choudary,Hira            HC            Staff       5/19/2023          Non US Tax              Revise workstream tracker                                                                               0.6     $225.00       $135.00
Choudary,Hira            HC            Staff       5/23/2023          Non US Tax              Email correspondence to follow-up on the declaration status                                             0.7     $225.00       $157.50
Choudary,Hira            HC            Staff       5/23/2023          Non US Tax              Revise Workstream Tracker                                                                               0.9     $225.00       $202.50
Choudary,Hira            HC            Staff       5/23/2023          Non US Tax              Revise onboarding tracker for VAT/Surcharges                                                            0.3     $225.00        $67.50
Choudary,Hira            HC            Staff       5/24/2023          Non US Tax              Follow-up re: the FTX Accounting Status Update                                                          0.7     $225.00       $157.50
Choudary,Hira            HC            Staff       5/25/2023          Non US Tax              Revise ACE Solution Templates and sent them over to Soundarya                                           2.3     $225.00       $517.50
Choudary,Hira            HC            Staff       5/25/2023          Non US Tax              Draft email to send workstreams for missing appendices                                                  0.6     $225.00       $135.00
Choudary,Hira            HC            Staff       5/30/2023          Non US Tax              Revise ITTS ACE template                                                                                0.9     $225.00       $202.50
Choudary,Hira            HC            Staff       5/30/2023          Non US Tax              Correspondence re: leads touchpoint call meeting notes                                                  0.2     $225.00        $45.00
Choudary,Hira            HC            Staff       5/31/2023          Non US Tax              Revise Federal Partnership ACE template                                                                 0.7     $225.00       $157.50
Berman,Jake              JB       Senior Manager    5/1/2023         US Income Tax            Review and Research for West Realm Shires Inc consolidated tax filing rules                             0.6     $650.00       $390.00
                                                                                              Draft response and send note to A&M and S&C around West Realm Shires consolidated tax return
Berman,Jake              JB       Senior Manager   5/3/2023          US Income Tax                                                                                                                    0.3     $650.00       $195.00
                                                                                              filing
Berman,Jake              JB       Senior Manager   5/4/2023          US Income Tax            Review and provide information internally to W-8 team around Zubr and Innovatia entities                0.3     $650.00       $195.00
                                                                                              Catchup discussion regarding FTX federal compliance items for 2022. EY attendees: J. Berman, T.
Berman,Jake              JB       Senior Manager   5/8/2023          US Income Tax                                                                                                                    0.8     $650.00       $520.00
                                                                                              Shea, B. Mistler, and J. Scott
Berman,Jake              JB       Senior Manager   5/8/2023         IRS Audit Matters         Correspondence regarding IRS audit items                                                                0.6     $650.00       $390.00
Berman,Jake              JB       Senior Manager   5/9/2023          US Income Tax            Prepare request list and tracker of trial balances for 2022 compliance purposes for all FTX entities    2.1     $650.00      $1,365.00
                                                                                              Catchup discussion regarding FTX federal compliance items for 2022. EY attendees: J. Berman, T.
Berman,Jake              JB       Senior Manager   5/11/2023         US Income Tax                                                                                                                    0.5     $650.00       $325.00
                                                                                              Shea, B. Mistler, and J. Scott
Berman,Jake              JB       Senior Manager   5/15/2023        IRS Audit Matters         Draft instructions re: how to analyze and differentiate between tax claims made by IRS                  0.6     $650.00        $390.00
Berman,Jake              JB       Senior Manager   5/16/2023        IRS Audit Matters         Draft schedule for organization and analysis of tax claims made by IRS                                  2.8     $650.00      $1,820.00
Berman,Jake              JB       Senior Manager   5/17/2023         US Income Tax            Draft email to Ledger regarding open items for IRS audit and 2022 compliance purposes                   0.4     $650.00       $260.00
Berman,Jake              JB       Senior Manager   5/17/2023         US Income Tax            Prepare initial set up of federal entities in tax compliance software for 2022                          0.3     $650.00        $195.00
                                                                                              Prepare initial request list for 2022 federal filings and sending instructions for team members to
Berman,Jake              JB       Senior Manager   5/17/2023         US Income Tax                                                                                                                    0.3     $650.00       $195.00
                                                                                              analyze trial balances to build out additional requests
Berman,Jake              JB       Senior Manager   5/18/2023        IRS Audit Matters         Revise analysis on tax claims for S&C and FTX management                                                1.6     $650.00      $1,040.00
                                                                                              Bi-weekly Federal tax team meeting to discuss workstreams and upcoming deadlines. EY
Berman,Jake              JB       Senior Manager   5/22/2023         US Income Tax                                                                                                                    0.5     $650.00       $325.00
                                                                                              attendees: T. Shea, J. Scott, J. Berman, and B. Mistler
Berman,Jake              JB       Senior Manager   5/23/2023        IRS Audit Matters         Revise analysis and documentation around tax claims                                                     1.2     $650.00       $780.00
                                                                                              IDR 1 Walkthrough with D. Hariton (S&C) and H. Kim (S&C). EY attendees: J. Berman, T. Shea,
Berman,Jake              JB       Senior Manager   5/23/2023   Meetings with Other Advisors                                                                                                           0.9     $650.00       $585.00
                                                                                              B. Mistler, and J. Scott
Berman,Jake              JB       Senior Manager   5/23/2023        IRS Audit Matters         Document analysis around tax claims for discussions                                                     1.6     $650.00      $1,040.00
Berman,Jake              JB       Senior Manager   5/23/2023        IRS Audit Matters         Revise analysis and commentary around tax claims for comments and discussion                            1.3     $650.00       $845.00
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                                                   Date of
              Name   Initials       Rank                                  Project Category                                                        Description of Services                                        Hours   Hourly Rate   Fees
                                                   Service
                                                                                                            IDR Response catchup discussion with J. Ray (RLKS), K. Schultea (RLKS), M. Cilia (RLKS), D.
Berman,Jake            JB       Senior Manager    5/26/2023           Meetings with Management                                                                                                                    0.6     $650.00       $390.00
                                                                                                            Hariton (S&C) and H. Kim (S&C). EY attendees: T. Shea, B. Mistler, J. Scott, and J. Berman
                                                                                                            Call with D. Hariton (S&C) regarding federal items. EY attendees: T. Shea, B. Mistler, J. Scott,
Berman,Jake            JB       Senior Manager    5/26/2023         Meetings with Other Advisors                                                                                                                  0.2     $650.00       $130.00
                                                                                                            and J. Berman
                                                                                                            Federal Items Response catchup discussion with J. Ray (RLKS), K. Schultea (RLKS), M. Cilia
Berman,Jake            JB       Senior Manager    5/25/2023           Meetings with Management              (RLKS), D. Hariton (S&C) and H. Kim (S&C). EY attendees: T. Shea, B. Mistler, J. Scott, and J.        0.6     $650.00       $390.00
                                                                                                            Berman
                                                                                                            Discussion regarding the latest federal items. EY attendees: T. Shea, J. Scott, B. Mistler, and J.
Berman,Jake            JB       Senior Manager    5/25/2023                US Income Tax                                                                                                                          0.4     $650.00       $260.00
                                                                                                            Berman
Berman,Jake            JB       Senior Manager    5/25/2023               IRS Audit Matters                 Revise the FTX claims summary analysis for comments                                                   0.6     $650.00       $390.00
                                 Client Serving
Scott,James            JS                         5/1/2023                 US Income Tax                    Review of data for New York State sales and use tax audit Ledger entities                             0.6     $600.00       $360.00
                                 Contractor JS
                                 Client Serving
Scott,James            JS                         5/1/2023                 US Income Tax                    Analyze federal consolidated return for West Realm Shires                                             0.7     $600.00       $420.00
                                 Contractor JS
                                 Client Serving
Scott,James            JS                         5/1/2023                 US Income Tax                    Analyze valuation approaches for digital assets                                                       0.6     $600.00       $360.00
                                 Contractor JS
                                 Client Serving
Scott,James            JS                         5/1/2023                 US Income Tax                    Assistance with determining contacts for property tax filing requirements                             0.3     $600.00       $180.00
                                 Contractor JS
                                 Client Serving
Scott,James            JS                         5/2/2023                 US Income Tax                    Prepare for S&C, A&M, EY weekly meeting content                                                       0.6     $600.00       $360.00
                                 Contractor JS
                                 Client Serving
Scott,James            JS                         5/2/2023                 US Income Tax                    Attend weekly PMO meeting                                                                             0.6     $600.00       $360.00
                                 Contractor JS
                                 Client Serving
Scott,James            JS                         5/2/2023                 US Income Tax                    Prepare for meeting with Robert Lee & Associates regarding IRS IDR responses                          0.7     $600.00       $420.00
                                 Contractor JS
                                 Client Serving
Scott,James            JS                         5/2/2023                 US Income Tax                    Prepare agenda for CAF/CFO bi-weekly meeting                                                          0.4     $600.00       $240.00
                                 Contractor JS
                                 Client Serving
Scott,James            JS                         5/2/2023                 US Income Tax                    Analyze supporting documentation for NYS sales tax audit                                              0.7     $600.00       $420.00
                                 Contractor JS
                                 Client Serving
Scott,James            JS                         5/3/2023                 US Income Tax                    Review of Ledger related entity financials, contracts and fixed assets for NYS audit                  1.4     $600.00       $840.00
                                 Contractor JS
                                 Client Serving
Scott,James            JS                         5/3/2023                 US Income Tax                    Review of EY due diligence document deliverable                                                       0.7     $600.00       $420.00
                                 Contractor JS
                                 Client Serving
Scott,James            JS                         5/3/2023                 US Income Tax                    Assistance with IRS IDR responses relating to financial data by entity                                0.6     $600.00       $360.00
                                 Contractor JS
                                 Client Serving
Scott,James            JS                         5/4/2023                 US Income Tax                    Assistance with responses to IRS exam IDRs                                                            0.8     $600.00       $480.00
                                 Contractor JS
                                 Client Serving
Scott,James            JS                         5/5/2023                 US Income Tax                    Review of January fee application detail                                                              0.7     $600.00       $420.00
                                 Contractor JS
                                 Client Serving
Scott,James            JS                         5/8/2023                 US Income Tax                    Review service line output from due diligence project for deliverable                                 1.6     $600.00       $960.00
                                 Contractor JS
                                 Client Serving
Scott,James            JS                         5/9/2023                 US Income Tax                    Analyze IRS proofs of claim for federal tax by entity and output to client                            2.2     $600.00      $1,320.00
                                 Contractor JS
                                 Client Serving
Scott,James            JS                         5/9/2023                 US Income Tax                    Attend weekly PMO meeting                                                                             0.4     $600.00       $240.00
                                 Contractor JS
                                 Client Serving
Scott,James            JS                         5/9/2023                 US Income Tax                    Prepare for bi-weekly CAF/CFO meeting                                                                 0.6     $600.00       $360.00
                                 Contractor JS
                                 Client Serving
Scott,James            JS                         5/14/2023   Non-Working Travel (billed at 50% of rates)   Travel from Raleigh, NC to New York, NY                                                               1.8     $300.00       $540.00
                                 Contractor JS
                                 Client Serving
Scott,James            JS                         5/15/2023                US Income Tax                    Analyze data responding to IRS IDR requests due May 31, 2023                                          3.2     $600.00      $1,920.00
                                 Contractor JS
                                 Client Serving
Scott,James            JS                         5/15/2023                US Income Tax                    Review of state tax response to various claim submissions                                             0.4     $600.00       $240.00
                                 Contractor JS
                                 Client Serving
Scott,James            JS                         5/16/2023                US Income Tax                    Prepare agenda and touchpoint for contents relating to CAF/CFO bi-weekly call                         0.4     $600.00       $240.00
                                 Contractor JS
                                 Client Serving
Scott,James            JS                         5/16/2023   Non-Working Travel (billed at 50% of rates)   Travel from New York, NY to Raleigh, NC                                                               1.9     $300.00       $570.00
                                 Contractor JS
                                 Client Serving
Scott,James            JS                         5/17/2023                US Income Tax                    Review of claims matrix document                                                                      0.8     $600.00       $480.00
                                 Contractor JS
                                 Client Serving
Scott,James            JS                         5/17/2023                US Income Tax                    Assistance with preparation for meeting with IRS field audit team                                     0.6     $600.00       $360.00
                                 Contractor JS
                                 Client Serving
Scott,James            JS                         5/17/2023                US Income Tax                    Analyze data responding to IRS IDR requests due May 31, 2023                                          2.4     $600.00      $1,440.00
                                 Contractor JS
                                 Client Serving
Scott,James            JS                         5/18/2023                US Income Tax                    Review of duplicative and administrative claims analysis                                              1.3     $600.00       $780.00
                                 Contractor JS
                                 Client Serving
Scott,James            JS                         5/19/2023                US Income Tax                    Assistance with IRS exam responses                                                                    2.1     $600.00      $1,260.00
                                 Contractor JS
                                 Client Serving
Scott,James            JS                         5/22/2023                US Income Tax                    Assist with IRS exam re: remaining federal tax considerations for 2021                                1.3     $600.00       $780.00
                                 Contractor JS
                                 Client Serving
Scott,James            JS                         5/22/2023                US Income Tax                    Review of federal claims offset document                                                              1.2     $600.00       $720.00
                                 Contractor JS
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                                                          Date of
                Name      Initials         Rank                                  Project Category                                                         Description of Services                                       Hours   Hourly Rate   Fees
                                                          Service
                                       Client Serving
Scott,James                 JS                           5/23/2023                US Income Tax                    Prepare agenda and assignments for CAF/CFO bi-weekly call                                             0.6     $600.00       $360.00
                                       Contractor JS
                                       Client Serving
Scott,James                 JS                           5/23/2023                US Income Tax                    Review federal tax analysis relating to IRS exam responses                                            1.3     $600.00       $780.00
                                       Contractor JS
                                       Client Serving
Scott,James                 JS                           5/24/2023                US Income Tax                    Analyze corporate tax issues relating to IRS claims                                                   0.9     $600.00       $540.00
                                       Contractor JS
                                       Client Serving
Scott,James                 JS                           5/25/2023               IRS Audit Matters                 Analyze IRS tax claims by legal entity                                                                1.4     $600.00       $840.00
                                       Contractor JS
                                       Client Serving
Scott,James                 JS                           5/25/2023             US State and Local Tax              Review Illinois annual report prior year filing                                                       0.6     $600.00       $360.00
                                       Contractor JS
                                       Client Serving
Scott,James                 JS                           5/25/2023               IRS Audit Matters                 Review of federal tax matters relating to claims filed by IRS                                         2.1     $600.00      $1,260.00
                                       Contractor JS
                                       Client Serving
Scott,James                 JS                           5/25/2023                  Non US Tax                     Coordinate tax services for FTX Europe by entity                                                      0.7     $600.00       $420.00
                                       Contractor JS
                                       Client Serving
Scott,James                 JS                           5/26/2023                US Income Tax                    Analyze historic tax return filing positions for 2019-2021                                            0.8     $600.00       $480.00
                                       Contractor JS
                                       Client Serving
Scott,James                 JS                           5/29/2023               IRS Audit Matters                 Analyze IRS claims related tax position                                                               2.2     $600.00      $1,320.00
                                       Contractor JS
                                       Client Serving
Scott,James                 JS                           5/30/2023               IRS Audit Matters                 Analyze federal tax matters relating to IRS exam                                                      1.4     $600.00       $840.00
                                       Contractor JS
                                       Client Serving
Scott,James                 JS                           5/31/2023                US Income Tax                    Review of federal filing election for historic tax years                                              1.2     $600.00       $720.00
                                       Contractor JS
                                                                                                                   Review email and documentation regarding Illinois franchise tax and annual report filings and
Fletcher,Jason R           JRF       Managing Director   5/23/2023             US State and Local Tax                                                                                                                    1.2     $775.00       $930.00
                                                                                                                   provided response.
                                                                                                                   Provide response detailing the documentation required by the Illinois Secretary of State to amend
Fletcher,Jason R           JRF       Managing Director   5/24/2023             US State and Local Tax                                                                                                                    0.9     $775.00       $697.50
                                                                                                                   annual report filings.
                                                                                                                   Discussion with Illinois Secretary of State regarding payment methods and amended return
Fletcher,Jason R           JRF       Managing Director   5/24/2023             US State and Local Tax                                                                                                                    0.4     $775.00       $310.00
                                                                                                                   process.
DeVincenzo,Jennie          JDV       Managing Director    5/3/2023                Payroll Tax                      Prepare IRS information request responses                                                             1.2     $775.00       $930.00
DeVincenzo,Jennie          JDV       Managing Director   5/10/2023                Payroll Tax                      Draft and email IRS agent responses to information requests for employment tax audits                 0.4     $775.00        $310.00
DeVincenzo,Jennie          JDV       Managing Director   5/17/2023                Payroll Tax                      Review draft agenda for meeting with FTX                                                              0.6     $775.00       $465.00
DeVincenzo,Jennie          JDV       Managing Director   5/22/2023   Non-Working Travel (billed at 50% of rates)   Travel from Westfield, NJ to New York, NY                                                             2.8     $387.50      $1,085.00
DeVincenzo,Jennie          JDV       Managing Director   5/31/2023                Payroll Tax                      Review IRS agenda in preparation for meeting with IRS                                                 0.8     $775.00       $620.00
Marlow,Joe                  JM           Senior          5/1/2023               Value Added Tax                    Coordinate VAT review with LO/ tax desk                                                               2.4     $395.00        $948.00
Marlow,Joe                  JM           Senior          5/2/2023               Value Added Tax                    Coordinate VAT review with LO/ tax desk                                                               1.8     $395.00        $711.00
Marlow,Joe                  JM           Senior          5/4/2023               Value Added Tax                    Coordinate VAT review with LO/ tax desk                                                               2.2     $395.00        $869.00
                                                                                                                   Review of documentation provided by Client in preparation of discussion with New York State
Jimenez,Joseph Robert       JRJ       Senior Manager     5/5/2023              US State and Local Tax                                                                                                                    2.2     $650.00      $1,430.00
                                                                                                                   regarding the Ledger Holdings, Inc. Sales and Use tax audit.
                                                                                                                   Internal call to discuss approach for call with New York State sales tax auditors for Ledger
Jimenez,Joseph Robert       JRJ       Senior Manager     5/8/2023              US State and Local Tax                                                                                                                    0.4     $650.00       $260.00
                                                                                                                   Holdings audit. EY attendees: M. Musano, S. Cohen, J. Jimenez, and E. Hall
                                                                                                                   Review, finalize, and submit documentation to New York State pertaining to the Ledger Holdings
Jimenez,Joseph Robert       JRJ       Senior Manager     5/10/2023             US State and Local Tax                                                                                                                    2.7     $650.00      $1,755.00
                                                                                                                   Inc. sales tax audit
                                                                                                                   Review IDR number 2 issued by NYS requesting additional documentation and email
Jimenez,Joseph Robert       JRJ       Senior Manager     5/18/2023             US State and Local Tax                                                                                                                    2.4     $650.00      $1,560.00
                                                                                                                   correspondence with taxpayer representative and New York State
Jimenez,Joseph Robert       JRJ       Senior Manager     5/24/2023             US State and Local Tax              Revise sales and use tax GAP analysis per additional payroll information                              3.3     $650.00      $2,145.00
                                                                                                                   Meeting to walk through sales and use tax gap analysis. EY attendees: M. Musano, J. Jimenez, and
Jimenez,Joseph Robert       JRJ       Senior Manager     5/31/2023             US State and Local Tax                                                                                                                    0.3     $650.00       $195.00
                                                                                                                   E. Hall
                                                                                                                   Emails related to Swiss entities related to closing bookkeeping 04.2023. Review and supervision of
Leston,Juan                 JL       Partner/Principal   5/23/2023             Information Reporting                                                                                                                     2.0     $825.00      $1,650.00
                                                                                                                   work performed
Bote,Justin                 JB            Senior          5/9/2023                 Non US Tax                      Meeting to discuss Good Luck Games (GLG). EY attendees: J. Bote and Z. Haas                           0.5     $395.00        $197.50
Bote,Justin                 JB            Senior         5/10/2023                US Income Tax                    Review data and K-1 suite prep regarding Good Luck Games                                              0.4     $395.00       $158.00
Bote,Justin                 JB            Senior         5/11/2023                US Income Tax                    Prepare K-1 suite regarding Good Luck Games                                                           2.1     $395.00       $829.50
Bote,Justin                 JB            Senior         5/12/2023                US Income Tax                    Revise K-1 suite regarding Good Luck Games                                                            1.3     $395.00       $513.50
Bote,Justin                 JB            Senior         5/15/2023                US Income Tax                    Revise Good Luck Games K-1 suite updates / Partner Forms Preparation                                  2.7     $395.00      $1,066.50
Bote,Justin                 JB            Senior         5/16/2023                US Income Tax                    Revise Good Luck Games K-1 suite updates / Partner Forms Preparation                                  1.9     $395.00        $750.50
Bote,Justin                 JB            Senior         5/17/2023                US Income Tax                    Review Good Luck Games K-1 suite / Federal Return Preparation updates                                 3.1     $395.00      $1,224.50
Bote,Justin                 JB            Senior         5/18/2023                US Income Tax                    Review Good Luck Games K-1 updates / Federal Return Preparation                                       3.9     $395.00      $1,540.50
Bote,Justin                 JB            Senior         5/19/2023                US Income Tax                    Revise Good Luck Games - K-1 / Federal Return updates                                                 1.1     $395.00        $434.50
Bote,Justin                 JB            Senior         5/23/2023                US Income Tax                    Revise Good Luck Games - K-1 / Federal Return updates                                                 3.6     $395.00      $1,422.00
Bote,Justin                 JB            Senior         5/24/2023                US Income Tax                    Revise Good Luck Games K-1 / Federal Return updates                                                   0.6     $395.00       $237.00
Bote,Justin                 JB            Senior         5/25/2023                US Income Tax                    Review Good Luck Games K-1/Federal Return updates                                                     3.8     $395.00      $1,501.00
                                                                                                                   Review equity documents for calculation of tax treatment at exercise of option and to determine
Fitzgerald,Kaitlin Rose    KRF             Staff         5/15/2023                  Payroll Tax                                                                                                                          2.8     $225.00       $630.00
                                                                                                                   information still needed
                                                                                                                   Review equity compensation data to determine missing information still needed to assess tax
Fitzgerald,Kaitlin Rose    KRF             Staff         5/16/2023                  Payroll Tax                                                                                                                          3.8     $225.00       $855.00
                                                                                                                   treatment of stock option exercises
                                                                                                                   Review stock option data to prepare for meeting with FTX to review missing equity data still
Fitzgerald,Kaitlin Rose    KRF             Staff         5/18/2023                  Payroll Tax                                                                                                                          1.2     $225.00       $270.00
                                                                                                                   needed for tax review
Fitzgerald,Kaitlin Rose    KRF             Staff         5/19/2023                  Payroll Tax                    Prepare agenda for meeting with FTX and compile all missing equity data                               3.9     $225.00       $877.50
                                                                                                                   Review data provided by FTX and assess outstanding equity information still needed for tax
Fitzgerald,Kaitlin Rose    KRF             Staff         5/22/2023                  Payroll Tax                                                                                                                          1.9     $225.00       $427.50
                                                                                                                   treatment determination
                                                                                                                   Revise spreadsheet tracking missing information after documents received from FTX meeting and
Fitzgerald,Kaitlin Rose    KRF             Staff         5/23/2023                  Payroll Tax                                                                                                                          1.2     $225.00       $270.00
                                                                                                                   determining outstanding equity data needed as follow-up requests
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                                                      Date of
                Name   Initials        Rank                                   Project Category                                                        Description of Services                                           Hours   Hourly Rate   Fees
                                                      Service
Wrenn,Kaitlin Doyle    KDW            Manager         5/4/2023            Meetings with Management              Follow-up on open items with D. Ornelas (FTX) for bonus correction processing                            0.3     $525.00       $157.50
Wrenn,Kaitlin Doyle    KDW            Manager         5/4/2023                   Payroll Tax                    Organize FTX Trading and West Realm Shires equity plan documentation                                     1.2     $525.00       $630.00
                                                                                                                Prepare analysis for Alameda IRS IDR 2 federal 941 reconciliation draft, review of related payroll
Wrenn,Kaitlin Doyle    KDW            Manager         5/8/2023                   Payroll Tax                                                                                                                             3.6     $525.00      $1,890.00
                                                                                                                registers and IRS transcripts, draft delivery email for IRS agent
                                                                                                                Equity documentation organization for further review and analysis for EY Compensation and
Wrenn,Kaitlin Doyle    KDW            Manager         5/9/2023                   Payroll Tax                                                                                                                             2.1     $525.00      $1,102.50
                                                                                                                Benefit team.
Wrenn,Kaitlin Doyle    KDW            Manager         5/9/2023                   Payroll Tax                    Email correspondence and finalization of Alameda IDR response for 2 and 5 for FTX approval               1.2     $525.00       $630.00
                                                                                                                Review and preparation of summary update of West Realm Shires Services state account access
Wrenn,Kaitlin Doyle    KDW            Manager         5/10/2023                  Payroll Tax                                                                                                                             2.8     $525.00      $1,470.00
                                                                                                                updates and transcript revies.
                                                                                                                Review and preparation of summary update of Alameda Research state account access updates and
Wrenn,Kaitlin Doyle    KDW            Manager         5/10/2023                  Payroll Tax                                                                                                                             2.2     $525.00      $1,155.00
                                                                                                                transcript revies.
                                                                                                                Revise all employment tax IRS correspondences based on provided IDR response and other items
Wrenn,Kaitlin Doyle    KDW            Manager         5/10/2023                  Payroll Tax                                                                                                                             0.8     $525.00       $420.00
                                                                                                                requested by agent.
Wrenn,Kaitlin Doyle    KDW            Manager         5/10/2023                  Payroll Tax                    Prepare for meeting with Delaney on open WRSS and Alameda Research items.                                0.6     $525.00       $315.00
Wrenn,Kaitlin Doyle    KDW            Manager         5/11/2023                  Payroll Tax                    Reconcile recently received electronic tax notifications from Delaney Ornelas                            1.3     $525.00       $682.50
                                                                                                                Coordinate in person meeting with FTX to finalize IDR 3 for Alameda Research and state account
Wrenn,Kaitlin Doyle    KDW            Manager         5/12/2023                  Payroll Tax                                                                                                                             1.2     $525.00       $630.00
                                                                                                                reviews.
                                                                                                                Email correspondence update on state account review prepared for FTX's review and approval on
Wrenn,Kaitlin Doyle    KDW            Manager         5/12/2023                  Payroll Tax                                                                                                                             1.4     $525.00       $735.00
                                                                                                                closure of accounts.
Wrenn,Kaitlin Doyle    KDW            Manager         5/15/2023                  Payroll Tax                    IRS correspondence on IDR 5 for Alameda Research payroll register format issues.                         0.8     $525.00       $420.00
                                                                                                                Coordinate meeting and summary items for FTX equity analysis review for EY compensation and
Wrenn,Kaitlin Doyle    KDW            Manager         5/15/2023                  Payroll Tax                                                                                                                             1.2     $525.00       $630.00
                                                                                                                benefit team
Wrenn,Kaitlin Doyle    KDW            Manager         5/15/2023                  Payroll Tax                    IRS proof of claim outline by payroll reporting entity summary                                           0.7     $525.00       $367.50
Wrenn,Kaitlin Doyle    KDW            Manager         5/16/2023                  Payroll Tax                    Prepare Alameda Research IRS IDR 4 response to the auditor for delivery.                                 0.8     $525.00       $420.00
                                                                                                                Draft preparation of Alameda IDR 3 for IRS audit on benefit outline by itemized request and
Wrenn,Kaitlin Doyle    KDW            Manager         5/17/2023                  Payroll Tax                                                                                                                             2.8     $525.00      $1,470.00
                                                                                                                review against data repositories
                                                                                                                Prepare agenda for upcoming meeting with FTX on open IRS items for employment tax, equity
Wrenn,Kaitlin Doyle    KDW            Manager         5/17/2023                  Payroll Tax                                                                                                                             2.9     $525.00      $1,522.50
                                                                                                                compensation review, and state transcript summary
                                                                                                                Review of IL state income tax withholding and state unemployment insurance activity for Ledger
Wrenn,Kaitlin Doyle    KDW            Manager         5/17/2023                  Payroll Tax                                                                                                                             0.8     $525.00       $420.00
                                                                                                                Prime and Ledger Holdings
                                                                                                                Outline correspondence to CA EDD regarding FTX and affiliated entities state account review for
Wrenn,Kaitlin Doyle    KDW            Manager         5/16/2023                  Payroll Tax                                                                                                                             0.9     $525.00       $472.50
                                                                                                                employment tax purposes
Wrenn,Kaitlin Doyle    KDW            Manager         5/18/2023                Payroll Tax                      Review IRS Proof of claim detailed analysis for internal team and read out with FTX                      2.3     $525.00      $1,207.50
Wrenn,Kaitlin Doyle    KDW            Manager         5/18/2023                Payroll Tax                      Prepare agenda updates for IRS IDR status                                                                0.6     $525.00        $315.00
Wrenn,Kaitlin Doyle    KDW            Manager         5/19/2023                Payroll Tax                      Review of Alameda correction filing preview provided by Rippling.                                        1.4     $525.00        $735.00
Wrenn,Kaitlin Doyle    KDW            Manager         5/19/2023                Payroll Tax                      Prepare for call on Ledger entities regarding open payroll tax items                                     1.2     $525.00        $630.00
Wrenn,Kaitlin Doyle    KDW            Manager         5/19/2023                Payroll Tax                      Review of state account transcript read out for next weeks meeting.                                      2.7     $525.00      $1,417.50
Wrenn,Kaitlin Doyle    KDW            Manager         5/21/2023   Non-Working Travel (billed at 50% of rates)   Travel from Charlotte, NC to New York, NY                                                                5.0     $262.50      $1,312.50
                                                                                                                Finalize agenda preparation for meeting with FTX and update to state account transcript review
Wrenn,Kaitlin Doyle    KDW            Manager         5/21/2023                  Payroll Tax                                                                                                                             2.9     $525.00      $1,522.50
                                                                                                                summary
Wrenn,Kaitlin Doyle    KDW            Manager         5/22/2023                Payroll Tax                      Finalize onsite employment tax meeting preparation for state closure forms                               1.2     $525.00        $630.00
Wrenn,Kaitlin Doyle    KDW            Manager         5/23/2023                Payroll Tax                      Summarize employee payroll census information for equity review.                                         0.6     $525.00        $315.00
Wrenn,Kaitlin Doyle    KDW            Manager         5/24/2023                Payroll Tax                      Reconcile payroll pay stubs for select individuals for employment tax analysis                           2.6     $525.00      $1,365.00
Wrenn,Kaitlin Doyle    KDW            Manager         5/26/2023                Payroll Tax                      Coordinate and document summary for IDR 3 benefit Alameda Research for S&C review                        1.3     $525.00        $682.50
Wrenn,Kaitlin Doyle    KDW            Manager         5/26/2023                Payroll Tax                      Summarize communication with Fed IRS team on open items for IDR responses                                1.2     $525.00        $630.00
Wrenn,Kaitlin Doyle    KDW            Manager         5/26/2023                Payroll Tax                      Revise on State employment tax POC status for FTX                                                        1.3     $525.00        $682.50
Wrenn,Kaitlin Doyle    KDW            Manager         5/25/2023   Non-Working Travel (billed at 50% of rates)   Travel from Charlotte, NC to New York, NY                                                                5.0     $262.50      $1,312.50
Wrenn,Kaitlin Doyle    KDW            Manager         5/30/2023                Payroll Tax                      Prepare for onsite meeting regarding Blockfolio employment tax                                           2.3     $525.00      $1,207.50
Wagner,Kaspar          KW              Senior          5/2/2023                Non US Tax                       Prepare complexity of direct tax compliance Switzerland and Liechtenstein                                0.9     $395.00        $355.50
Wagner,Kaspar          KW              Senior          5/2/2023                Non US Tax                       Revise the CRR Report and clarifications email for confirmation                                          0.7     $395.00        $276.50
Wagner,Kaspar          KW              Senior          5/3/2023                Non US Tax                       Revise the CRR Report and clarifications email for confirmation                                          0.9     $395.00        $355.50
Wagner,Kaspar          KW              Senior          5/3/2023                Non US Tax                       Revise complexity of direct tax compliance Switzerland and Liechtenstein                                 0.6     $395.00        $237.00
Wagner,Kaspar          KW              Senior         5/10/2023                Non US Tax                       Align with Mazars and their files                                                                        0.3     $395.00        $118.50
Wagner,Kaspar          KW              Senior         5/11/2023                Non US Tax                       Coordinate Liechtenstein Finance Survey                                                                  0.4     $395.00        $158.00
Wagner,Kaspar          KW              Senior         5/12/2023                Non US Tax                       Review Liechtenstein Finance Survey                                                                      0.7     $395.00        $276.50
Wagner,Kaspar          KW              Senior         5/12/2023                Non US Tax                       Revise scope, data providers, further process, and sign-off                                              0.6     $395.00        $237.00
                                                                                                                Prepare knowledge transfer, scope, complexity, Prime, and clarifications with client re digital asset
Wagner,Kaspar           KW             Senior         5/15/2023                  Non US Tax                                                                                                                              2.4     $395.00       $948.00
                                                                                                                transaction
Wagner,Kaspar           KW             Senior         5/15/2023                  Non US Tax                     Clarify statutory requirements questionnaire                                                             1.1     $395.00       $434.50
Wagner,Kaspar           KW             Senior         5/15/2023                  Non US Tax                     Call with Client / Complexity re entities not in scope                                                   0.7     $395.00       $276.50
Wagner,Kaspar           KW             Senior         5/17/2023                  Non US Tax                     Clarify statutory requirements questionnaire for the US team                                             0.4     $395.00       $158.00
Davis,Kathleen F.       KFD           Manager         5/17/2023             US State and Local Tax              Calls to State DORs on PPT filings/bills                                                                 0.3     $525.00       $157.50
Davis,Kathleen F.       KFD           Manager         5/18/2023             US State and Local Tax              Review West Realm Shires DC Power of Attorney form questions                                             0.6     $525.00       $315.00
Davis,Kathleen F.       KFD           Manager         5/19/2023             US State and Local Tax              Draft and submit West Realm Shires to DC Power of Attorney form for client signature.                    0.6     $525.00       $315.00
                                      National                                                                  Review of analysis prepared for Alameda IRS IDR 2 federal 941 reconciliation draft and related
Lowery,Kristie L        KLL                           5/8/2023                   Payroll Tax                                                                                                                             2.1     $990.00      $2,079.00
                                  Partner/Principal                                                             payroll registers and IRS transcripts
                                      National                                                                  Review of summary update for Alameda Research state account access updates and transcript
Lowery,Kristie L        KLL                           5/10/2023                  Payroll Tax                                                                                                                             1.1     $990.00      $1,089.00
                                  Partner/Principal                                                             reviews.
                                      National                                                                  Review of summary update for West Realm Shires Services state account access updates and
Lowery,Kristie L        KLL                           5/10/2023                  Payroll Tax                                                                                                                             1.8     $990.00      $1,782.00
                                  Partner/Principal                                                             transcript reviews.
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                                                         Date of
               Name      Initials        Rank                                   Project Category                                                       Description of Services                                           Hours   Hourly Rate   Fees
                                                         Service
                                        National                                                                  Review of IRS correspondence on IDR 5 for Alameda Research payroll register for formatting
Lowery,Kristie L          KLL                           5/15/2023                  Payroll Tax                                                                                                                            0.8     $990.00       $792.00
                                    Partner/Principal                                                             purposes.
                                        National                                                                  Review of evaluation and summary of items for FTX equity analysis review for EY compensation
Lowery,Kristie L          KLL                           5/15/2023                  Payroll Tax                                                                                                                            1.1     $990.00      $1,089.00
                                    Partner/Principal                                                             and benefit team.
                                        National
Lowery,Kristie L          KLL                           5/15/2023                  Payroll Tax                    Review of IRS proof of claim outline by payroll reporting entity summary                                0.6     $990.00       $594.00
                                    Partner/Principal
                                        National
Lowery,Kristie L          KLL                           5/17/2023                  Payroll Tax                    Coordinate Cyprus payroll processing for June                                                           0.8     $990.00       $792.00
                                    Partner/Principal
                                        National
Lowery,Kristie L          KLL                           5/18/2023                  Payroll Tax                    Review of IRS Proof of claim detailed analysis for internal team and read out with FTX.                 1.3     $990.00      $1,287.00
                                    Partner/Principal
                                        National
Lowery,Kristie L          KLL                           5/21/2023   Non-Working Travel (billed at 50% of rates)   Travel from Charlotte, NC to New York, NY                                                               5.0     $495.00      $2,475.00
                                    Partner/Principal
                                        National                                                                  Review of finalized agenda for meeting with FTX which includes updates to state account
Lowery,Kristie L          KLL                           5/21/2023                  Payroll Tax                                                                                                                            1.1     $990.00      $1,089.00
                                    Partner/Principal                                                             transcript review summary
                                        National
Lowery,Kristie L          KLL                           5/22/2023                  Payroll Tax                    Final review of onsite employment tax meeting state closure forms                                       0.6     $990.00       $594.00
                                    Partner/Principal
                                        National
Lowery,Kristie L          KLL                           5/23/2023   Non-Working Travel (billed at 50% of rates)   Travel from New York, NY to Charlotte, NC                                                               5.0     $495.00      $2,475.00
                                    Partner/Principal
                                        National                                                                  Review of reconciliation of payroll pay stubs for select individuals for employment tax analysis as
Lowery,Kristie L          KLL                           5/24/2023                  Payroll Tax                                                                                                                            1.1     $990.00      $1,089.00
                                    Partner/Principal                                                             requested by FTX
                                        National
Lowery,Kristie L          KLL                           5/30/2023                  Payroll Tax                    Prepare and review of items to discuss at onsite meeting regarding Blockfolio employment tax            1.9     $990.00      $1,881.00
                                    Partner/Principal
Lovelace,Lauren            LL       Partner/Principal   5/2/2023               US International Tax               Research re: Form 8832                                                                                  1.1     $825.00       $907.50
Lovelace,Lauren            LL       Partner/Principal   5/3/2023               US International Tax               Research re: central counterparty clearinghouse status                                                  0.8     $825.00       $660.00
                                                                                                                  Assess whether there were any clearing entities in the FTX trading chain and how that would
Lovelace,Lauren            LL       Partner/Principal   5/4/2023               US International Tax                                                                                                                       1.1     $825.00       $907.50
                                                                                                                  impact reporting for tax purposes
                                                                                                                  Call with EY leadership team to assess bottom line recommendation to client for unfiled Alameda
Lovelace,Lauren            LL       Partner/Principal   5/8/2023               US International Tax                                                                                                                       0.7     $825.00       $577.50
                                                                                                                  returns
                                                                                                                  Meeting with international team to include additional items in issue tracker and identify roadblocks
Lovelace,Lauren            LL       Partner/Principal   5/10/2023              US International Tax                                                                                                                       0.8     $825.00       $660.00
                                                                                                                  and next steps for existing issues
Lovelace,Lauren           LL        Partner/Principal   5/10/2023              US International Tax               Review details received for first batch of 10 entities                                                  0.4     $825.00        $330.00
Lovelace,Lauren           LL        Partner/Principal   5/12/2023              US International Tax               Discussion raised regarding availability of bank amount information                                     0.3     $825.00       $247.50
Lovelace,Lauren           LL        Partner/Principal   5/19/2023              US International Tax               Research case log related to IRS main claim                                                             2.1     $825.00      $1,732.50
Lovelace,Lauren           LL        Partner/Principal   5/19/2023              US International Tax               Research to compare notes for IRS main claim                                                            0.6     $825.00       $495.00
Wong,Maddie               WM              Staff          5/1/2023                US Income Tax                    Request OIT access for ITS team.                                                                        0.4     $225.00         $90.00
Wong,Maddie               WM              Staff          5/2/2023                US Income Tax                    Request OIT access for ITS team.                                                                        0.2     $225.00         $45.00
Wong,Maddie               WM              Staff          5/3/2023                US Income Tax                    Implement a liabilities section to the asset snapshot                                                   1.7     $225.00       $382.50
Wong,Maddie               WM              Staff          5/4/2023                US Income Tax                    Implement a liabilities section to the asset snapshot                                                   2.2     $225.00       $495.00
Wong,Maddie               WM              Staff         5/15/2023                US Income Tax                    Prepare a summary of claims by entity to show detail from available tax returns.                        2.7     $225.00        $607.50
Wong,Maddie               WM              Staff         5/18/2023                US Income Tax                    Create request list using estimate and extension workbook notes                                         2.7     $225.00       $607.50
Wong,Maddie               WM              Staff         5/22/2023                US Income Tax                    Create request list using estimate and extension workbook notes                                         1.6     $225.00       $360.00
Wong,Maddie               WM              Staff         5/23/2023                US Income Tax                    Create request list using estimate and extension workbook notes                                         0.6     $225.00       $135.00
                                                                                                                  Correspondence with workstreams and local teams communications re: tracking sheet updates,
Gil Diez de Leon,Marta    MDL           Manager         5/3/2023                Value Added Tax                   review of historical documents received, and classification and updates to master document              3.9     $525.00      $2,047.50
                                                                                                                  tracking sheet
                                                                                                                  Correspondence with workstreams and local teams communications re: tracking sheet updates,
Gil Diez de Leon,Marta    MDL           Manager         5/11/2023               Value Added Tax                   review of historical documents received, and classification and updates to master document              3.9     $525.00      $2,047.50
                                                                                                                  tracking sheet
                                                                                                                  Correspondence with workstreams and local teams communications re: tracking sheet updates,
Gil Diez de Leon,Marta    MDL           Manager         5/15/2023               Value Added Tax                   review of historical documents received, and classification and updates to master document              3.9     $525.00      $2,047.50
                                                                                                                  tracking sheet
                                                                                                                  Correspondence with workstreams and local teams communications re: tracking sheet updates,
Gil Diez de Leon,Marta    MDL           Manager         5/22/2023               Value Added Tax                   review of historical documents received, and classification and updates to master document              3.9     $525.00      $2,047.50
                                                                                                                  tracking sheet
                                                                                                                  Correspondence with workstreams and local teams communications re: tracking sheet updates,
Gil Diez de Leon,Marta    MDL           Manager         5/31/2023               Value Added Tax                   review of historical documents received, and classification and updates to master document              3.9     $525.00      $2,047.50
                                                                                                                  tracking sheet
                                                                                                                  Email discussing the responsible officer rules for the Ledger Holding New York State sales tax
Musano,Matthew Albert    MAM        Senior Manager      5/2/2023              US State and Local Tax                                                                                                                      1.9     $650.00      $1,235.00
                                                                                                                  audit
                                                                                                                  Review of email on the Ledger Holdings New York State sales tax audit and background needed
Musano,Matthew Albert    MAM        Senior Manager      5/2/2023              US State and Local Tax                                                                                                                      2.6     $650.00      $1,690.00
                                                                                                                  for the audit.
                                                                                                                  Correspondence with the New York State sales tax auditors to discuss documentation needed for
Musano,Matthew Albert    MAM        Senior Manager      5/2/2023              US State and Local Tax                                                                                                                      2.9     $650.00      $1,885.00
                                                                                                                  Ledger Holdings audit
                                                                                                                  Review of Ledger Holdings' New York State sales tax audit information document request for audit
Musano,Matthew Albert    MAM        Senior Manager      5/2/2023              US State and Local Tax                                                                                                                      1.8     $650.00      $1,170.00
                                                                                                                  period
                                                                                                                  Review of notice of determination received from New York Department of Taxation and Finance
Musano,Matthew Albert    MAM        Senior Manager      5/3/2023              US State and Local Tax                                                                                                                      2.8     $650.00      $1,820.00
                                                                                                                  regarding Ledger Holdings’ New York State sales tax audit
                                                                                                                  Review of documentation received from LedgerX CFO to determine if it corresponds with the New
Musano,Matthew Albert    MAM        Senior Manager      5/3/2023              US State and Local Tax                                                                                                                      2.9     $650.00      $1,885.00
                                                                                                                  York State sales tax audit information document request.
                                                                                                                  Review of Ledger Holdings' New York State sales tax audit information document request for audit
Musano,Matthew Albert    MAM        Senior Manager      5/3/2023              US State and Local Tax                                                                                                                      0.8     $650.00       $520.00
                                                                                                                  period
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                                                           Date of
              Name         Initials        Rank                            Project Category                                               Description of Services                                             Hours   Hourly Rate   Fees
                                                           Service
                                                                                                    Internal meeting to review state apportionment source data and map out revenue streams customer
Musano,Matthew Albert      MAM        Senior Manager      5/1/2023      US State and Local Tax                                                                                                                 1.1     $650.00       $715.00
                                                                                                    detail to trial balance. EY attendees: M. Musano and C. Cavusoglu
                                                                                                    Review of Ohio filing approach as it pertains to which entities to include in the new combined
Musano,Matthew Albert      MAM        Senior Manager      5/1/2023      US State and Local Tax                                                                                                                 0.6     $650.00       $390.00
                                                                                                    return
Musano,Matthew Albert      MAM        Senior Manager      5/8/2023      US State and Local Tax      Review business license team question pertaining to Maryland annual report and research                    1.1     $650.00       $715.00
                                                                                                    Review edits on Project Management Organization ("PMO") tax slide for state and local tax
Musano,Matthew Albert      MAM        Senior Manager      5/12/2023     US State and Local Tax                                                                                                                 0.2     $650.00       $130.00
                                                                                                    updates.
Musano,Matthew Albert      MAM        Senior Manager      5/12/2023     US State and Local Tax      Review business license team question pertaining to Illinois annual report and research                    0.4     $650.00       $260.00
Musano,Matthew Albert      MAM        Senior Manager      5/12/2023     US State and Local Tax      Analyze LedgerPrime sales data for corporate income tax apportionment                                      1.6     $650.00      $1,040.00
                                                                                                    Analyze documentation provided by LedgerX to determine additional items to request for prior
Musano,Matthew Albert      MAM        Senior Manager      5/16/2023     US State and Local Tax                                                                                                                 1.3     $650.00       $845.00
                                                                                                    year and tax year 2022 purposes.
Musano,Matthew Albert      MAM        Senior Manager      5/18/2023     US State and Local Tax      Provide updates to Ledger Holdings documentation request tracker and emailed LedgerX                       0.3     $650.00       $195.00
Musano,Matthew Albert      MAM        Senior Manager      5/19/2023     US State and Local Tax      Research New Jersey managerial member requirements                                                         0.6     $650.00       $390.00
                                                                                                    Review of LedgerX purchase agreement for tax related provisions and impact on state and local tax
Musano,Matthew Albert      MAM        Senior Manager      5/9/2023      US State and Local Tax                                                                                                                 0.8     $650.00       $520.00
                                                                                                    audits
                                                                                                    Review of state extensions for 5/15 including Texas, New Jersey, Connecticut, Oklahoma,
Musano,Matthew Albert      MAM        Senior Manager      5/12/2023     US State and Local Tax                                                                                                                 2.8     $650.00      $1,820.00
                                                                                                    Montana, Oregon
                                                                                                    Review of TX filing position to determine if the correct tax is being reported and the use of TY22
Musano,Matthew Albert      MAM        Senior Manager      5/12/2023     US State and Local Tax                                                                                                                 2.6     $650.00      $1,690.00
                                                                                                    data is being captured correctly
                                                                                                    Call to discuss IL's annual report's paid-in capital requirement and research on how that term is
Musano,Matthew Albert      MAM        Senior Manager      5/15/2023     US State and Local Tax                                                                                                                 0.5     $650.00       $325.00
                                                                                                    defined to properly present it on the annual report. EY attendees: M. Musano and W. Bieganski
                                                                                                    Prepare data transfer document for the data transfer of bookkeeping data from Mazars re: the
Schernbacher, Maximilian     MS            Senior         5/9/2023            Non US Tax                                                                                                                       0.3     $395.00       $118.50
                                                                                                    DATEV ERP System Provider
Yang,Rachel Sim             RSY       Senior Manager      5/1/2023        US International Tax      Review information document requests (IDRs) and related requirements for relevant entities                 0.6     $650.00       $390.00
                                                                                                    Review of updated ITS entity tracker for international compliance requirements and scope of filing
Yang,Rachel Sim             RSY       Senior Manager      5/1/2023        US International Tax                                                                                                                 0.9     $650.00       $585.00
                                                                                                    requirements
Yang,Rachel Sim             RSY       Senior Manager      5/2/2023        US International Tax      Review of py returns & status of ITS scope                                                                 1.9     $650.00      $1,235.00
Yang,Rachel Sim             RSY       Senior Manager      5/3/2023        US International Tax      Review of TB mapping                                                                                       2.1     $650.00      $1,365.00
Yang,Rachel Sim             RSY       Senior Manager      5/4/2023        US International Tax      Internal meeting to discuss ITS compliance. EY attendees: R. Yang, P. Zhu, M. Zhou, and D. Ortiz           0.5     $650.00       $325.00
Yang,Rachel Sim             RSY       Senior Manager       5/4/2023       US International Tax      Review of ITTS workpaper                                                                                   1.3     $650.00        $845.00
Yang,Rachel Sim             RSY       Senior Manager       5/5/2023       US International Tax      Review of ITTS workpaper                                                                                   2.2     $650.00      $1,430.00
Yang,Rachel Sim             RSY       Senior Manager       5/8/2023       US International Tax      Review of ITTS workpaper                                                                                   1.8     $650.00      $1,170.00
Yang,Rachel Sim             RSY       Senior Manager      5/11/2023       US International Tax      Review of ITTS workpaper                                                                                   2.2     $650.00      $1,430.00
Yang,Rachel Sim             RSY       Senior Manager      5/12/2023       US International Tax      Review of ITTS workpaper                                                                                   2.7     $650.00      $1,755.00
Yang,Rachel Sim             RSY       Senior Manager      5/15/2023       US International Tax      Review of ITTS workpaper                                                                                   1.3     $650.00        $845.00
Yang,Rachel Sim             RSY       Senior Manager      5/16/2023       US International Tax      Review of ITTS workpaper                                                                                   1.9     $650.00      $1,235.00
Yang,Rachel Sim             RSY       Senior Manager      5/17/2023       US International Tax      Review of ITTS workpaper                                                                                   2.1     $650.00      $1,365.00
Yang,Rachel Sim             RSY       Senior Manager      5/18/2023       US International Tax      Review of ITTS workpaper                                                                                   1.6     $650.00      $1,040.00
Yang,Rachel Sim             RSY       Senior Manager      5/19/2023       US International Tax      Review of ITTS workpaper                                                                                   2.4     $650.00      $1,560.00
Yang,Rachel Sim             RSY       Senior Manager      5/22/2023       US International Tax      Review of ITTS workpaper                                                                                   1.7     $650.00      $1,105.00
Yang,Rachel Sim             RSY       Senior Manager      5/23/2023       US International Tax      Review of ITTS workpaper                                                                                   1.2     $650.00        $780.00
Yang,Rachel Sim             RSY       Senior Manager      5/24/2023       US International Tax      Review of ITTS workpaper                                                                                   1.1     $650.00        $715.00
Yang,Rachel Sim             RSY       Senior Manager      5/31/2023       US International Tax      Internal meeting to discuss ITS compliance. EY attendees: R. Yang, P. Zhu, M. Zhou, and D. Ortiz           1.0     $650.00       $650.00
Shea JR,Thomas M            TMS       Partner/Principal   5/2/2023          US Income Tax           Final prep and follow-ups from weekly PMO discussion                                                       0.2     $825.00       $165.00
Shea JR,Thomas M            TMS       Partner/Principal   5/2/2023          US Income Tax           Attend weekly PMO meeting                                                                                  0.7     $825.00       $577.50
                                                                                                    Prepare for and follow-ups from re: meeting with Chief Financial Officer and Chief Administrative
Shea JR,Thomas M            TMS       Partner/Principal   5/2/2023          US Income Tax                                                                                                                      0.8     $825.00       $660.00
                                                                                                    Officer
                                                                                                    Finalize prep and agenda for meeting with Alvarez & Marsal and Sullivan & Cromwell to discuss
Shea JR,Thomas M            TMS       Partner/Principal   5/2/2023          US Income Tax                                                                                                                      0.6     $825.00       $495.00
                                                                                                    latest tax technical updates
                                                                                                    Discussion re: IRS proof of claim filings. EY attendees: T. Shea, J. Scott, N. Flagg, T. Ferris, and J.
Shea JR,Thomas M            TMS       Partner/Principal   5/4/2023         IRS Audit Matters                                                                                                                   0.5     $825.00       $412.50
                                                                                                    Healy
Shea JR,Thomas M            TMS       Partner/Principal   5/4/2023         IRS Audit Matters        Initial review of IRS proof of claims filed and written correspondence                                     2.6     $825.00      $2,145.00
                                                                                                    Prepare for and follow-ups from re: meeting with Chief Financial Officer and Chief Administrative
Shea JR,Thomas M            TMS       Partner/Principal   5/4/2023          US Income Tax                                                                                                                      1.1     $825.00       $907.50
                                                                                                    Officer
Shea JR,Thomas M            TMS       Partner/Principal   5/5/2023         IRS Audit Matters        Discussion re: IRS proof of claim filings. EY attendees: T. Shea, T. Ferris, and J. Healy                  0.3     $825.00       $247.50
Shea JR,Thomas M            TMS       Partner/Principal   5/5/2023         IRS Audit Matters        Follow-up written communications internally and with FTX and S&C re: IRS proofs of claim                   1.1     $825.00       $907.50
Shea JR,Thomas M            TMS       Partner/Principal   5/8/2023          US Income Tax           Alameda Tax Return filing discussion. EY attendees: L. Lovelace, J. Scott, D. Bailey, and T. Shea          0.5     $825.00       $412.50
Shea JR,Thomas M            TMS       Partner/Principal   5/9/2023          US Income Tax           Final prep and follow-ups from weekly PMO discussion                                                       0.8     $825.00       $660.00
Shea JR,Thomas M            TMS       Partner/Principal   5/9/2023    Fee/Employment Applications   Review of January Fee Application                                                                          1.4     $825.00      $1,155.00
Shea JR,Thomas M            TMS       Partner/Principal   5/9/2023          US Income Tax           Attend weekly PMO meeting                                                                                  0.7     $825.00       $577.50
Shea JR,Thomas M            TMS       Partner/Principal   5/9/2023         IRS Audit Matters        Written correspondence to FTX regarding Alameda return filings                                             0.8     $825.00       $660.00
                                                                                                    Prepare for and follow-ups from re: meeting with Chief Financial Officer and Chief Administrative
Shea JR,Thomas M            TMS       Partner/Principal   5/9/2023          US Income Tax                                                                                                                      0.8     $825.00       $660.00
                                                                                                    Officer
Shea JR,Thomas M            TMS       Partner/Principal    5/9/2023        IRS Audit Matters        Written correspondence to FTX re: latest updates from IRS examiner call                                    0.7     $825.00        $577.50
Shea JR,Thomas M            TMS       Partner/Principal    5/9/2023        IRS Audit Matters        Review and submission of Master Claims Log                                                                 1.1     $825.00        $907.50
Shea JR,Thomas M            TMS       Partner/Principal   5/10/2023         US Income Tax           Prepare for meeting with UCC Advisors                                                                      1.6     $825.00      $1,320.00
Shea JR,Thomas M            TMS       Partner/Principal   5/10/2023         US Income Tax           Prep call for UCC Discussion with D. Hariton (S&C)                                                         0.6     $825.00        $495.00
Shea JR,Thomas M            TMS       Partner/Principal   5/11/2023         US Income Tax           Continue preparation for UCC Discussion                                                                    1.1     $825.00        $907.50
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                                                         Date of
                Name     Initials        Rank                            Project Category                                              Description of Services                                         Hours   Hourly Rate   Fees
                                                         Service
Shea JR,Thomas M          TMS       Partner/Principal   5/11/2023         US Income Tax            Follow-up prep call for UCC Discussion with D. Hariton (S&C)                                         0.7     $825.00       $577.50
                                                                                                   Federal Team Internal Call to discuss ongoing matters (IRS Audit, IDRs, tax compliance). EY
Shea JR,Thomas M          TMS       Partner/Principal   5/11/2023        IRS Audit Matters                                                                                                              0.5     $825.00       $412.50
                                                                                                   attendees: J. Berman, J. Scott, B. Mistler, and T. Shea
Shea JR,Thomas M          TMS       Partner/Principal   5/11/2023         US Income Tax            Written correspondence internally and with FTX re: UCC Discussion                                    0.9     $825.00       $742.50
                                                                                                   Prepare for and follow-ups from re: meeting with Chief Financial Officer and Chief Administrative
Shea JR,Thomas M          TMS       Partner/Principal   5/12/2023         US Income Tax                                                                                                                 0.7     $825.00       $577.50
                                                                                                   Officer
Shea JR,Thomas M          TMS       Partner/Principal   5/12/2023         US Income Tax            Prep and Agenda for weekly tax leads call with S&C and A&M                                           0.6     $825.00       $495.00
Shea JR,Thomas M          TMS       Partner/Principal   5/15/2023          Non US Tax              Follow-up internal written correspondence from Non-US call                                           0.6     $825.00       $495.00
Shea JR,Thomas M          TMS       Partner/Principal   5/16/2023         US Income Tax            Written correspondence update to FTX re: IRS bankruptcy specialist coordination                      0.3     $825.00       $247.50
Shea JR,Thomas M          TMS       Partner/Principal   5/16/2023         US Income Tax            Final prep and follow-ups from weekly PMO discussion                                                 0.9     $825.00       $742.50
Shea JR,Thomas M          TMS       Partner/Principal   5/16/2023         US Income Tax            Attend weekly PMO meeting                                                                            0.6     $825.00       $495.00
Shea JR,Thomas M          TMS       Partner/Principal   5/16/2023        IRS Audit Matters         Review of written correspondence to S&C                                                              0.3     $825.00       $247.50
                                                                                                   EY team call to discuss IRS claims with D. Hariton (S&C). EY attendees: T. Shea, K. Gatt, N.
Shea JR,Thomas M          TMS       Partner/Principal   5/17/2023   Meetings with Other Advisors                                                                                                        0.5     $825.00       $412.50
                                                                                                   Flagg, J. Healy, and T. Ferris
Shea JR,Thomas M          TMS       Partner/Principal   5/17/2023        IRS Audit Matters         Call with D. Hariton (S&C) re: written update                                                        0.3     $825.00        $247.50
Shea JR,Thomas M          TMS       Partner/Principal   5/17/2023        IRS Audit Matters         Written correspondence update to FTX re: IRS examiner call                                           0.4     $825.00        $330.00
Shea JR,Thomas M          TMS       Partner/Principal   5/17/2023        IRS Audit Matters         Call with D. Hariton (S&C) re: IRS Audit Examiner Call                                               0.4     $825.00        $330.00
Shea JR,Thomas M          TMS       Partner/Principal   5/18/2023        IRS Audit Matters         Call with FTX re: IRS examiner call                                                                  0.1     $825.00         $82.50
Shea JR,Thomas M          TMS       Partner/Principal   5/18/2023        IRS Audit Matters         Review of IRS IDR Responses - Part 1                                                                 2.1     $825.00      $1,732.50
Shea JR,Thomas M          TMS       Partner/Principal   5/18/2023        IRS Audit Matters         Review and submission of UCC Request re: IRS claim information to FTX                                1.4     $825.00      $1,155.00
Shea JR,Thomas M          TMS       Partner/Principal   5/18/2023        IRS Audit Matters         Review of IRS IDR Responses - Part 2                                                                 1.3     $825.00      $1,072.50
Shea JR,Thomas M          TMS       Partner/Principal   5/19/2023        IRS Audit Matters         Review of IRS IDR Responses - Part 3                                                                 1.1     $825.00        $907.50
Shea JR,Thomas M          TMS       Partner/Principal   5/19/2023         US Income Tax            Prep and Agenda for weekly tax leads call with S&C and A&M                                           0.6     $825.00        $495.00
Shea JR,Thomas M          TMS       Partner/Principal   5/19/2023        IRS Audit Matters         Call with D. Hariton (S&C) prior to team leads call to discuss IRS audit                             0.3     $825.00        $247.50
Shea JR,Thomas M          TMS       Partner/Principal   5/19/2023         US Income Tax            Team leads prep call. EY attendees: T. Shea and J. Scott                                             0.2     $825.00        $165.00
Shea JR,Thomas M          TMS       Partner/Principal   5/19/2023        IRS Audit Matters         Call with C. Howe (A&M) to discuss IRS Audit and team leads call                                     0.3     $825.00        $247.50
                                                                                                   Next Steps call with D. Hariton (S&C), H. Kim (S&C), K. Jacobs (A&M), B. Seaway (A&M), and
Shea JR,Thomas M          TMS       Partner/Principal   5/19/2023   Meetings with Other Advisors   C. Howe (A&M) re: IRS Exam. EY attendees: T. Shea, D. Bailey, L. Lovelace, J. Healy, T. Ferris,      1.0     $825.00       $825.00
                                                                                                   J. Scott, and J. Berman
Zhuo,Melody               MZ             Staff           5/1/2023       US International Tax       Review International Tax Compliance Trial Balance Scoping                                            1.1     $225.00       $247.50
Zhuo,Melody               MZ             Staff           5/2/2023       US International Tax       Review International Tax Compliance Entity Scoping                                                   1.4     $225.00       $315.00
Zhuo,Melody               MZ             Staff           5/3/2023       US International Tax       Review International Tax Compliance Entity Scoping                                                   2.4     $225.00       $540.00
Zhuo,Melody               MZ             Staff           5/4/2023       US International Tax       Review International Tax Compliance Trial Balance Mapping                                            1.1     $225.00       $247.50
Zhuo,Melody               MZ             Staff           5/4/2023       US International Tax       Review International Tax Compliance Entity Tracker Organization                                      0.2     $225.00        $45.00
Zhuo,Melody               MZ             Staff           5/5/2023       US International Tax       Review International Tax Compliance Trial Balance Mapping                                            1.9     $225.00       $427.50
Zhuo,Melody               MZ             Staff           5/8/2023          Tax Advisory            Review International Tax Compliance Trial Balance Mapping                                            2.1     $225.00       $472.50
Zhuo,Melody               MZ             Staff           5/9/2023          Tax Advisory            Review International Tax Research: FTX Cross-Jurisdiction Residency                                  0.9     $225.00       $202.50
Zhuo,Melody               MZ             Staff          5/11/2023          Tax Advisory            Review International Tax Compliance Trial Balance Mapping                                            0.6     $225.00       $135.00
Zhuo,Melody               MZ             Staff          5/12/2023          Tax Advisory            Review International Tax Compliance Trial Balance Mapping                                            0.4     $225.00        $90.00
Zhuo,Melody               MZ             Staff          5/15/2023       US International Tax       Review International Tax Compliance Entity Scoping and Tracker Organization                          3.9     $225.00       $877.50
Zhuo,Melody               MZ             Staff          5/17/2023       US International Tax       Review International Tax Research: FTX Cross-Jurisdiction Residency                                  1.6     $225.00       $360.00
Zhuo,Melody               MZ             Staff          5/18/2023       US International Tax       Review International Tax Research: FTX Cross-Jurisdiction Residency                                  2.1     $225.00       $472.50
Zhuo,Melody               MZ             Staff          5/19/2023       US International Tax       Prepare international tax compliance structure chart scoping and entity tracker organization         3.9     $225.00       $877.50
Zhuo,Melody               MZ             Staff          5/21/2023          Tax Advisory            Review International Tax Research: FTX Cross-Jurisdiction Residency                                  2.2     $225.00       $495.00
Zhuo,Melody               MZ             Staff          5/22/2023          Tax Advisory            Review International Tax Research: FTX Cross-Jurisdiction Residency                                  3.8     $225.00       $855.00
Zhuo,Melody               MZ             Staff          5/24/2023          Tax Advisory            Review International Tax Research: FTX Cross-Jurisdiction Residency                                  2.6     $225.00       $585.00
Zhuo,Melody               MZ             Staff          5/24/2023          Tax Advisory            Review International Tax Research: FTX Cross-Jurisdiction Residency                                  0.9     $225.00       $202.50
Zhuo,Melody               MZ             Staff          5/30/2023       US International Tax       Review International Tax Research: FTX Cross-Jurisdiction Residency                                  1.1     $225.00       $247.50
Borts,Michael             MB        Managing Director   5/5/2023            Non US Tax             Analyze country survey for Statutory Reporting development and review                                0.9     $775.00       $697.50
Borts,Michael             MB        Managing Director   5/5/2023            Non US Tax             Survey review and discussion. EY attendees: M. Borts, P. Li and N. Srivastava                        0.9     $775.00       $697.50
                                                                                                   Follow-up connect re: open gaps for survey responses and reviews. EY attendees: M. Borts, N.
Borts,Michael             MB        Managing Director   5/25/2023           Non US Tax                                                                                                                  0.6     $775.00       $465.00
                                                                                                   Srivastava, and N. Hernandez
Borts,Michael             MB        Managing Director   5/25/2023           Non US Tax             Revise compliance calendar of Antiqua and Barbuda entities and dormant accounts                      0.6     $775.00       $465.00
Borts,Michael             MB        Managing Director   5/25/2023           Non US Tax             Review compliance calendar for LATAM entities inclusive of historical data review                    0.8     $775.00       $620.00
                                                                                                   Call with A. Drysdale (Walkers) and A. Cruz (Walkers) to discuss compliance requirements for the
Devona Bahadur,Michele    DBM        Senior Manager     5/10/2023           Non US Tax             eight BVI companies in scope. EY attendees: M. Bahadur, O. Espley-Ault, R. Moncrieff, and M.         0.4     $650.00       $260.00
                                                                                                   Sangster
                                                                                                   Team call to discuss next steps/course of action following discussion with Walkers team. EY
Devona Bahadur,Michele    DBM        Senior Manager     5/10/2023          Tax Advisory                                                                                                                 0.2     $650.00       $130.00
                                                                                                   attendees: O. Espley-Ault, M. Bahadur, and M. Sangster
Devona Bahadur,Michele    DBM        Senior Manager     5/10/2023    Meetings with Management      Call with S. Tang (FTX) to discuss Cayman status. EY attendees: M. Bahadur and O. Espley-Ault        0.3     $650.00       $195.00
                                                                                                   Discussion to determine next steps following call with S. Tang (FTX). EY attendees: M. Bahadur
Devona Bahadur,Michele    DBM        Senior Manager     5/10/2023    Meetings with Management                                                                                                           0.3     $650.00       $195.00
                                                                                                   and O. Espley-Ault
Devona Bahadur,Michele    DBM        Senior Manager     5/16/2023           Non US Tax             Prepare responses to table on financial statements for Cayman                                        0.3     $650.00       $195.00
Devona Bahadur,Michele    DBM        Senior Manager     5/16/2023           Non US Tax             Correspondence to set up a call to discuss Cayman entities                                           0.2     $650.00       $130.00
                                                                                                   Call to discuss strategy for obtaining information from Nav Consulting (fund admin to FTX's
Devona Bahadur,Michele    DBM        Senior Manager     5/18/2023           Non US Tax                                                                                                                  0.2     $650.00       $130.00
                                                                                                   Cayman entities). EY attendees: O. Espley-Ault and M. Bahadur
                                                                                                   Review preliminary monthly consolidated financials for Nov 22, Dec 22 and Jan 23 received from
Devona Bahadur,Michele    DBM        Senior Manager     5/22/2023           Non US Tax                                                                                                                  1.3     $650.00       $845.00
                                                                                                   NAV Consulting.
Devona Bahadur,Michele    DBM        Senior Manager     5/29/2023          Non US Tax              Finalize due diligence spreadsheet for the three Cayman entities.                                    0.9     $650.00       $585.00
Flagg,Nancy A.            NAF       Managing Director   5/1/2023      US State and Local Tax       Review New York sales and use tax audit update                                                       0.3     $775.00       $232.50
Flagg,Nancy A.            NAF       Managing Director   5/1/2023      US State and Local Tax       Review New York Ledger Holdings sales and use tax assessment                                         0.4     $775.00       $310.00
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                                                           Date of
                 Name       Initials        Rank                            Project Category                                                Description of Services                                            Hours   Hourly Rate   Fees
                                                           Service
Flagg,Nancy A.               NAF       Managing Director   5/2/2023      US State and Local Tax       Exchange regarding New York sales and use tax audit notice and debtor entity alignment                    0.4     $775.00       $310.00
                                                                                                      Call regarding new IRS tax claims filed and send update on claim amounts to EY account team and
Flagg,Nancy A.               NAF       Managing Director   5/4/2023      US State and Local Tax       provide guidance on how best to schedule out the claims for EY account team review. EY                    0.7     $775.00       $542.50
                                                                                                      attendees: N. Flagg and D. Johnson
Flagg,Nancy A.               NAF       Managing Director   5/4/2023         IRS Audit Matters         Review IRS claim detail and provide additional guidance                                                   0.2     $775.00       $155.00
                                                                                                      Discuss IRS claim detail compilation and provide comments for updates. EY attendees: N. Flagg
Flagg,Nancy A.               NAF       Managing Director   5/8/2023      US State and Local Tax                                                                                                                 0.3     $775.00       $232.50
                                                                                                      and J. Lubic
Flagg,Nancy A.               NAF       Managing Director   5/9/2023         IRS Audit Matters         Review IRS claim summary and send to broader EY team                                                      0.2     $775.00       $155.00
Flagg,Nancy A.               NAF       Managing Director   5/9/2023         IRS Audit Matters         Call to discuss IRS claim next steps with EY account team leadership                                      0.7     $775.00       $542.50
Flagg,Nancy A.               NAF       Managing Director   5/9/2023         IRS Audit Matters         Review IRS claim log detail and post updates                                                              0.2     $775.00       $155.00
Flagg,Nancy A.               NAF       Managing Director   5/9/2023         IRS Audit Matters         Information exchange to confirm IRS claim code WH FED INC definition                                      0.4     $775.00       $310.00
                                                                                                      EY internal call to discuss IRS claims and Unsecured Creditor Committee update request. EY
Flagg,Nancy A.               NAF       Managing Director   5/10/2023        IRS Audit Matters                                                                                                                   0.5     $775.00       $387.50
                                                                                                      attendees: T. Shea, J. Scott, E. Harvey, and N. Flagg
                                                                                                      EY internal call to discuss and prepare for Unsecured Creditor Committee call. EY attendees: T.
Flagg,Nancy A.               NAF       Managing Director   5/10/2023        IRS Audit Matters                                                                                                                   0.4     $775.00       $310.00
                                                                                                      Shea, J. Scott, J. Healy, E. Harvey, and N. Flagg
                                                                                                      EY internal call to discuss IRS claim next steps. EY attendees: T. Shea, J. Scott, J. Healy, and N.
Flagg,Nancy A.               NAF       Managing Director   5/12/2023        IRS Audit Matters                                                                                                                   0.4     $775.00       $310.00
                                                                                                      Flagg
Flagg,Nancy A.               NAF       Managing Director   5/15/2023        IRS Audit Matters         Call to discuss IRS tax claim next steps. EY attendees: T. Shea and N. Flagg                              0.2     $775.00       $155.00
                                                                                                      EY team call with D. Hariton (S&C) to discuss IRS claim next steps. EY attendees: T. Shea, J.
Flagg,Nancy A.               NAF       Managing Director   5/15/2023   Meetings with Other Advisors                                                                                                             0.7     $775.00       $542.50
                                                                                                      Scott, B. Mistler, J. Healy, and N. Flagg
Flagg,Nancy A.               NAF       Managing Director   5/15/2023        IRS Audit Matters         Draft email to IRS bankruptcy agent and send to EY account team for review                                0.4     $775.00       $310.00
Flagg,Nancy A.               NAF       Managing Director   5/15/2023        IRS Audit Matters         Revise and send draft email to IRS bankruptcy agent for review                                            0.4     $775.00       $310.00
Flagg,Nancy A.               NAF       Managing Director   5/15/2023        IRS Audit Matters         Review IRS email draft comments received from S&C and comment                                             0.2     $775.00       $155.00
                                                                                                      Bi-weekly meeting to review FTX project updates, issues, and risks with regards to providing
                                                                                                      preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and
                                                                                                      the implementation of global compliance and reporting services. The meeting includes the
                                                                                                      following attendees: C. Ancona, D. McComber, T. Shea, D. Hammon, W. Bieganski, J. Scott, A.
Flagg,Nancy A.               NAF       Managing Director   5/16/2023     US State and Local Tax                                                                                                                 0.3     $775.00       $232.50
                                                                                                      Farrar, K. Lowery, L. Lovelace, D. Bailey, A. Bost, K. Wrenn, J. Berman, D. Katsnelson, C.
                                                                                                      MacLean, Z. Haas, J. Healy, A. Katelas, B. Mistler, K. Gundu, C. Tong, H. Choudary, N. Flagg;
                                                                                                      N. Flagg was not included in the original call discription shared across the team but did attend the
                                                                                                      full call.
                                                                                                      Review updated tax claim document from Kroll Restructuring advisors and send to EY account
Flagg,Nancy A.               NAF       Managing Director   5/16/2023     US State and Local Tax                                                                                                                 0.4     $775.00       $310.00
                                                                                                      team
Flagg,Nancy A.               NAF       Managing Director   5/16/2023        IRS Audit Matters         Review S&C information on government bar date and reply                                                   0.2     $775.00       $155.00
Flagg,Nancy A.               NAF       Managing Director   5/16/2023        IRS Audit Matters         Review S&C update on administrative claims requirement and reply                                          0.2     $775.00       $155.00
Flagg,Nancy A.               NAF       Managing Director   5/16/2023        IRS Audit Matters         Provide guidance to EY account team on government bar date considerations                                 0.3     $775.00       $232.50
                                                                                                      Prepare and send email draft to D. Hariton (S&C) to request thoughts on possible application of
Flagg,Nancy A.               NAF       Managing Director   5/16/2023        IRS Audit Matters                                                                                                                   0.9     $775.00       $697.50
                                                                                                      bankruptcy code
                                                                                                      EY internal call to discuss IRS claim review priorities. EY attendees: J. Scott, T. Shea, and N.
Flagg,Nancy A.               NAF       Managing Director   5/16/2023        IRS Audit Matters                                                                                                                   0.3     $775.00       $232.50
                                                                                                      Flagg
                                                                                                      EY internal call to discuss reply from IRS email reply and prioritize next steps. EY attendees: J.
Flagg,Nancy A.               NAF       Managing Director   5/16/2023        IRS Audit Matters                                                                                                                   0.5     $775.00       $387.50
                                                                                                      Scott, T. Shea, J. Healy, K. Gatt, and N. Flagg
                                                                                                      Draft and send email to S&C on IRS response observations and recommended prioritized next
Flagg,Nancy A.               NAF       Managing Director   5/16/2023        IRS Audit Matters                                                                                                                   0.6     $775.00       $465.00
                                                                                                      steps
Flagg,Nancy A.               NAF       Managing Director   5/16/2023        IRS Audit Matters         Draft and send questions to include in IRS examiner call                                                  0.4     $775.00       $310.00
Flagg,Nancy A.               NAF       Managing Director   5/16/2023        IRS Audit Matters         Email to D. Hariton (S&C) to share updated questions list for call with IRS exam team                     0.3     $775.00       $232.50
                                                                                                      Review debtor bankruptcy schedules to draft reply to A&M in response to request to advise if there
Flagg,Nancy A.               NAF       Managing Director   5/17/2023     US State and Local Tax                                                                                                                 0.7     $775.00       $542.50
                                                                                                      are any tax authorities to add to the notice and schedule lists
                                                                                                      EY team call to discuss IRS claims with D. Hariton (S&C). EY attendees: T. Shea, K. Gatt, N.
Flagg,Nancy A.               NAF       Managing Director   5/17/2023   Meetings with Other Advisors                                                                                                             0.5     $775.00       $387.50
                                                                                                      Flagg, J. Healy, and T. Ferris
                                                                                                      Bi-weekly meeting to review FTX project updates, issues, and risks with regards to providing
                                                                                                      preliminary tax diligence services in connection with FTX Chapter 11 bankruptcy proceedings and
                                                                                                      the implementation of global compliance and reporting services. The meeting includes the
Flagg,Nancy A.               NAF       Managing Director   5/18/2023     US State and Local Tax       following attendees: C. Ancona, E. Hall, T. Shea, W. Bieganski, A. Farrar, K. Lowery, K.                  0.6     $775.00       $465.00
                                                                                                      Staromiejska, L. Lovelace, D. Bailey, A. Bost, M. Musano, K. Wrenn, J. Berman, D.
                                                                                                      Katsnelson, Z. Haas, J. Healy, A. Katelas, B. Mistler, C. Tong, H. Choudary, N. Flagg. N. Flagg
                                                                                                      was not included in the original call discription shared across the team but did attend the full call.
                                                                                                      Review email on Illinois annual report for debtor WRSS and reply regarding franchise tax liability
Flagg,Nancy A.               NAF       Managing Director   5/18/2023     US State and Local Tax                                                                                                                 0.3     $775.00       $232.50
                                                                                                      calculation estimate
Flagg,Nancy A.               NAF       Managing Director   5/18/2023     US State and Local Tax       Email to align employment tax resources for employment tax claims                                         0.2     $775.00       $155.00
Flagg,Nancy A.               NAF       Managing Director   5/23/2023       IRS Audit Matters          Review draft of IRS claim objections and comment                                                          1.1     $775.00       $852.50
Flagg,Nancy A.               NAF       Managing Director   5/26/2023       IRS Audit Matters          Follow-up with EY team on A&M tax authority noticing and schedule update request                          0.2     $775.00       $155.00
                                           National
Rumford,Neil                  NR                           5/1/2023            Non US Tax             Email correspondence to Zubr following-up re: request for accounting info                                 0.2     $990.00       $198.00
                                       Partner/Principal
                                           National
Rumford,Neil                  NR                           5/2/2023            Non US Tax             Email correspondence from OO re: ZUBR Exchange Ltd 2023 mangmt accounts                                   0.3     $990.00       $297.00
                                       Partner/Principal
                                           National
Rumford,Neil                  NR                           5/19/2023           Non US Tax             Review accounts Jan to Apr 2023 & email to OR (ZUBR)                                                      0.9     $990.00       $891.00
                                       Partner/Principal
                                                                                                      Revise and follow up with local EY teams to Revise the statutory compliance requirements for all
Srivastava,Nikita Asutosh    NAS           Manager         5/1/2023            Non US Tax                                                                                                                       0.9     $525.00       $472.50
                                                                                                      FTX entities in scope
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                                                                Date of
                 Name           Initials        Rank                       Project Category                                         Description of Services                                           Hours   Hourly Rate   Fees
                                                                Service
                                                                                               Revise and follow up with local EY teams to Revise the statutory compliance requirements for all
Srivastava,Nikita Asutosh        NAS           Manager         5/2/2023      Non US Tax                                                                                                                0.6     $525.00       $315.00
                                                                                               FTX entities in scope
                                                                                               Revise and follow up with local EY teams to Revise the statutory compliance requirements for all
Srivastava,Nikita Asutosh        NAS           Manager         5/4/2023      Non US Tax                                                                                                                0.4     $525.00       $210.00
                                                                                               FTX entities in scope
                                                                                               Revise and follow up with local EY teams to Revise the statutory compliance requirements for all
Srivastava,Nikita Asutosh        NAS           Manager         5/5/2023      Non US Tax                                                                                                                1.1     $525.00       $577.50
                                                                                               FTX entities in scope
                                                                                               Revise and follow up with local EY teams to Revise the statutory compliance requirements for all
Srivastava,Nikita Asutosh        NAS           Manager         5/11/2023     Non US Tax                                                                                                                0.6     $525.00       $315.00
                                                                                               FTX entities in scope
                                                                                               Revise and follow up with local EY teams to Revise the statutory compliance requirements for all
Srivastava,Nikita Asutosh        NAS           Manager         5/15/2023     Non US Tax                                                                                                                0.7     $525.00       $367.50
                                                                                               FTX entities in scope
                                                                                               Revise and follow up with local EY teams to Revise the statutory compliance requirements for all
Srivastava,Nikita Asutosh        NAS           Manager         5/16/2023     Non US Tax                                                                                                                0.7     $525.00       $367.50
                                                                                               FTX entities in scope
Yuan,Peiyi                       PY             Senior          5/1/2023    US Income Tax      Setup OIT access for ITS team                                                                           0.3     $395.00       $118.50
Yuan,Peiyi                       PY             Senior         5/23/2023    US Income Tax      Review the TB for federal tax compliance purpose                                                        2.3     $395.00       $908.50
Yuan,Peiyi                       PY             Senior         5/24/2023    US Income Tax      Review the TB for federal tax compliance purpose                                                        2.2     $395.00       $869.00
Walker,Rachael Leigh Braswell   RLBW       Partner/Principal    5/4/2023     Payroll Tax       Prepare for meeting with FTX to discuss equity compensation reports                                     0.3     $825.00       $247.50
Walker,Rachael Leigh Braswell   RLBW       Partner/Principal   5/12/2023     Payroll Tax       Review equity documents of stock options grants and exercises                                           1.6     $825.00      $1,320.00
                                                                                               Review equity documents of stock options grants and exercises to determine missing data for tax
Walker,Rachael Leigh Braswell   RLBW       Partner/Principal   5/15/2023      Payroll Tax                                                                                                              0.6     $825.00       $495.00
                                                                                               treatment and reporting
Walker,Rachael Leigh Braswell   RLBW       Partner/Principal   5/18/2023      Payroll Tax      Review equity files to prepare for meeting with Kathy Schultea and determine data still needed          0.7     $825.00       $577.50
Walker,Rachael Leigh Braswell   RLBW       Partner/Principal   5/19/2023      Payroll Tax      Review draft agenda for meeting with FTX                                                                0.6     $825.00       $495.00
Nunna,Ramesh kumar               RKN           Manager          5/3/2023      Technology       Prepare cost estimates for FTX US solution                                                              1.6     $525.00       $840.00
Nunna,Ramesh kumar               RKN           Manager          5/3/2023      Technology       Prepare cost estimates for FTX COM solution                                                             1.6     $525.00       $840.00
Nunna,Ramesh kumar               RKN           Manager          5/5/2023      Technology       Build optimization script for FTX US data to remove unused earlier versions of data                     1.3     $525.00       $682.50
Nunna,Ramesh kumar               RKN           Manager         5/12/2023      Technology       Setup of ADLS infrastructure spinup for FTX.COM ( Japan East Instance )                                 1.2     $525.00       $630.00
Nunna,Ramesh kumar               RKN           Manager         5/12/2023      Technology       Setup of Databricks infrastructure spinup for FTX.COM ( Japan East Instance )                           1.8     $525.00       $945.00
Nunna,Ramesh kumar               RKN           Manager         5/24/2023      Technology       Develop script to help assist with the storage costs of FTX US data                                     1.9     $525.00       $997.50
Nunna,Ramesh kumar               RKN           Manager         5/24/2023      Technology       Refine the script to assist in mitigating the expenses associated with storing FTX US data              1.6     $525.00       $840.00
                                                                                               Collaborating with Microsoft to address script issues and resolve bugs within the script designed to
Nunna,Ramesh kumar               RKN           Manager         5/25/2023      Technology                                                                                                               1.3     $525.00       $682.50
                                                                                               manage storage expenses related to FTX US data
                                                                                               Execute the script in a production environment to aid in managing the storage expenses associated
Nunna,Ramesh kumar               RKN           Manager         5/25/2023      Technology                                                                                                               1.7     $525.00       $892.50
                                                                                               with FTX US data
                                                                                               Update call regarding certain transactions pertaining to FTX and others. EY attendees: A. Katelas,
Gartin,Randell J.                RJG       Managing Director   5/9/2023     US Income Tax                                                                                                              0.5     $775.00       $387.50
                                                                                               D. Bailey, L. Lovelace, A. Sargent, A. Ritz, B. Mistler, R. Gartin, and J. Scott
Howard,Rebecca M.                RMH        Senior Manager     5/1/2023    IRS Audit Matters   Review of IRS transcript                                                                                1.0     $650.00       $650.00
Howard,Rebecca M.                RMH        Senior Manager     5/2/2023    IRS Audit Matters   Review of additional IRS transcripts                                                                    1.3     $650.00       $845.00
                                                                                               Call with A. Drysdale (Walkers) and A. Cruz (Walkers) to discuss compliance requirements for the
Moncrieff,Robert                 RM        Managing Director   5/10/2023     Non US Tax        eight BVI companies in scope. EY attendees: M. Bahadur, O. Espley-Ault, R. Moncrieff, and M.            0.4     $775.00       $310.00
                                                                                               Sangster
                                                                                               Internal meeting to discuss question of tax residence and related local developments. EY attendees:
Moncrieff,Robert                 RM        Managing Director   5/16/2023     Non US Tax                                                                                                                0.5     $775.00       $387.50
                                                                                               A. Katelas, L. Phillips, R. Moncrieff, O. Espley-Ault, L. Lovelace, D. Bailey, and M. Zhou
Moncrieff,Robert                 RM        Managing Director   5/17/2023     Non US Tax        Email follow-up in relation to Bahamas VAT registration request for information                         0.2     $775.00       $155.00
Fitzmaurice,Sean                 SF           Manager          5/18/2023     Non US Tax        Discussion on breakdown of activities by entity in the FTX structure                                    0.4     $525.00       $210.00
Carreras,Stephen                  C           Manager           5/6/2023     Non US Tax        Calculate tax & SI for April 2023 + remittance generation for tax payment for April 2023                0.4     $525.00       $210.00
Carreras,Stephen                  C           Manager          5/16/2023     Non US Tax        Request for May 2023 payroll data for monthly processing                                                0.6     $525.00       $315.00
                                                                                               Review redundancy calculations for terminated employee and prepare statutory documentation for
Carreras,Stephen                   C           Manager         5/17/2023     Non US Tax                                                                                                                0.7     $525.00       $367.50
                                                                                               filing with Gibraltar Employment Authority for termination of Employment

                                                                                               Review redundancy calculations for terminated employee and prepare statutory documentation for
Carreras,Stephen                   C           Manager         5/18/2023     Non US Tax                                                                                                                1.3     $525.00       $682.50
                                                                                               filing with Gibraltar Employment Authority for termination of Employment

                                                                                               Review redundancy calculations for terminated employee and prepare statutory documentation for
Carreras,Stephen                   C           Manager         5/19/2023     Non US Tax                                                                                                                1.2     $525.00       $630.00
                                                                                               filing with Gibraltar Employment Authority for termination of Employment

                                                                                               Review redundancy calculations for terminated employee and prepare statutory documentation for
Carreras,Stephen                   C           Manager         5/22/2023     Non US Tax                                                                                                                2.3     $525.00      $1,207.50
                                                                                               filing with Gibraltar Employment Authority for termination of Employment
                                                                                               Prepare redundancy calculations and queries re: adjustments to employee salaries and comms with
Carreras,Stephen                   C           Manager         5/23/2023     Non US Tax                                                                                                                1.8     $525.00       $945.00
                                                                                               tax authorities for May 2023 payroll matters
                                                                                               Prepare redundancy calculations and queries re: adjustments to employee salaries and comms with
Carreras,Stephen                   C           Manager         5/24/2023     Non US Tax                                                                                                                1.3     $525.00       $682.50
                                                                                               tax authorities for May 2023 payroll matters
Carreras,Stephen                   C           Manager         5/31/2023     Non US Tax        Submit of Notice of Termination of employee to the Employment Authorities in Gibraltar.                 0.4     $525.00       $210.00
                                                                                               Meeting with FTX Japan to discuss due diligence. EY attendees: D. Hammon, T. Hamano, H.
Hamano,Taisuke                    TH        Senior Manager     5/2/2023      Tax Advisory                                                                                                              0.8     $650.00       $520.00
                                                                                               Choudary, and C. MacLean
Hamano,Taisuke                    TH        Senior Manager     5/8/2023      Tax Advisory      Review of the Call minutes shares by US GCR team and comment/update the minutes                         1.0     $650.00       $650.00
                                                                                               Discussion with the Department of Inland Revenue to confirm the registration status of multiple
McPhee,Tiffany                    TM           Manager         5/15/2023     Non US Tax                                                                                                                1.5     $525.00       $787.50
                                                                                               FTX entities
                                                                                               Bahamas team call to discuss our understanding of the financial statement requirements. EY
McPhee,Tiffany                    TM           Manager         5/31/2023     Non US Tax                                                                                                                0.5     $525.00       $262.50
                                                                                               attendees: O. Espley-Ault, T. McPhee, B. Rahming, and B. Coakley
Short,Victoria                    VS            Senior         5/1/2023       Payroll Tax      Claim review and amount verification for Employment Tax                                                 3.4     $395.00      $1,343.00
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                                                    Date of
                 Name   Initials       Rank                       Project Category                                             Description of Services                                       Hours   Hourly Rate   Fees
                                                    Service
Short,Victoria            VS           Senior       5/2/2023         Payroll Tax         Employment Tax validation for WA PFML, Industrial Tax, Unemployment Insurance                        1.1     $395.00       $434.50
Short,Victoria            VS           Senior       5/2/2023         Payroll Tax         Employment Tax validation for AL Unemployment Insurance                                              0.4     $395.00       $158.00
Short,Victoria            VS           Senior       5/2/2023         Payroll Tax         Employment Tax validation and review for NC Withholding Tax                                          0.6     $395.00       $237.00
Short,Victoria            VS           Senior       5/2/2023         Payroll Tax         Employment Tax amount validation CT                                                                  0.8     $395.00       $316.00
                                                                                         Prepare account analysis per jurisdiction for WRSS, Inc., Alameda Research, Ledger Holdings, and
Short,Victoria            VS           Senior       5/2/2023         Payroll Tax                                                                                                              2.3     $395.00       $908.50
                                                                                         Ledger Prime
Short,Victoria            VS           Senior       5/3/2023         Payroll Tax         Employment Tax Unemployment insurance Tax analysis for CT                                            0.9     $395.00       $355.50
Short,Victoria            VS           Senior       5/3/2023         Payroll Tax         Analyze CO PFML tax account for WRSS, Inc. and Deck Technologies, Inc.                               1.4     $395.00       $553.00
Short,Victoria            VS           Senior       5/3/2023         Payroll Tax         Validate CO PFML account                                                                             0.3     $395.00       $118.50
Short,Victoria            VS           Senior       5/3/2023         Payroll Tax         Review transcript and validation notes for Ledger Prime                                              0.3     $395.00       $118.50
Short,Victoria            VS           Senior       5/3/2023         Payroll Tax         Analyze Employment tax accounts in good standing reconciliation with employee active list            1.3     $395.00       $513.50
                                                                                         Follow-up with states to determine account status and identify outstanding liabilities - WRSS,
Short,Victoria            VS           Senior       5/3/2023         Payroll Tax                                                                                                              1.7     $395.00       $671.50
                                                                                         Alameda, Ledger Prime, Ledger Holdings, BLockfolio - CO, MI, CT, OH, CA
                                                                                         Follow-up with states to determine account status and identify outstanding liabilities - WRSS,
Short,Victoria            VS           Senior       5/4/2023         Payroll Tax         Alameda, Ledger Prime, Ledger Holdings, BLockfolio for WA SUI, SITW, PFML, Workers Comp              3.9     $395.00      $1,540.50
                                                                                         and updating validation notes.
                                                                                         Identify outstanding liabilities AL unemployment Insurance and IL withholding follow up on
Short,Victoria            VS           Senior       5/5/2023         Payroll Tax                                                                                                              0.6     $395.00       $237.00
                                                                                         account
Short,Victoria            VS           Senior       5/8/2023         Payroll Tax         Setup online portal for Alam, WRSS, Ledger Prime Employment Tax accounts                             1.3     $395.00       $513.50
Short,Victoria            VS           Senior       5/9/2023         Payroll Tax         Correspondence with GA SUI on FEIN Discrepancy                                                       0.6     $395.00       $237.00
Short,Victoria            VS           Senior       5/10/2023        Payroll Tax         Review GA Employment Tax Notice and contact jurisdiction on notice resolution                        1.1     $395.00       $434.50
Short,Victoria            VS           Senior       5/10/2023        Payroll Tax         Review online portal screenshots of account status for employment tax added to validation notes      1.7     $395.00       $671.50

Short,Victoria            VS           Senior       5/11/2023        Payroll Tax         Follow-up with jurisdictions on account status- Alameda Research LLC IL, AL SITW and SUI             2.2     $395.00       $869.00
                                                                                         Revise and finalize validation notes for various jurisdictions for Alameda and WRSS pertaining to
Short,Victoria            VS           Senior       5/11/2023        Payroll Tax                                                                                                              1.8     $395.00       $711.00
                                                                                         employment tax accounts
Short,Victoria            VS           Senior       5/11/2023        Payroll Tax         Provide authorization information to Alabama Dept. of Labor for Alameda                              0.2     $395.00        $79.00
Short,Victoria            VS           Senior       5/11/2023        Payroll Tax         Review notices received via online portals                                                           0.6     $395.00       $237.00
Short,Victoria            VS           Senior       5/11/2023        Payroll Tax         Walkthrough NC notice with jurisdiction on whether the notices are still outstanding                 0.7     $395.00       $276.50
Short,Victoria            VS           Senior       5/12/2023        Payroll Tax         Correspondence with CA regarding FEIN Discrepancy and portal review for Alameda                      0.8     $395.00       $316.00
Short,Victoria            VS           Senior       5/12/2023        Payroll Tax         Follow-up with jurisdictions on account status- Alameda Research LLC NJ, MI, MD                      1.3     $395.00       $513.50
Short,Victoria            VS           Senior       5/12/2023        Payroll Tax         Review notices for HI, IN, IL Alameda, WRSS                                                          0.8     $395.00       $316.00
Short,Victoria            VS           Senior       5/15/2023        Payroll Tax         Follow-up re: CA FTB account status                                                                  0.4     $395.00       $158.00
                                                                                         Follow-up with jurisdictions on outstanding liabilities for SITW and SUI for WRSS, Alameda
Short,Victoria            VS           Senior       5/16/2023        Payroll Tax                                                                                                              3.9     $395.00      $1,540.50
                                                                                         Research, Blockfolio, Ledger Prime, Ledger Holdings for 5 Jurisdictions.
                                                                                         Create a state account summary for Alameda Research and WRSS that shows suggested action
Short,Victoria            VS           Senior       5/16/2023        Payroll Tax                                                                                                              1.1     $395.00       $434.50
                                                                                         items.
                                                                                         Revise mailing and business address for WRSS SITW accounts through online portals, drafting
Short,Victoria            VS           Senior       5/17/2023        Payroll Tax                                                                                                              2.7     $395.00      $1,066.50
                                                                                         account closure transcripts, gaining access to online portals for account review.
                                                                                         Review validation notes on account closure requirements and correspondence with states on
Short,Victoria            VS           Senior       5/17/2023        Payroll Tax                                                                                                              1.4     $395.00       $553.00
                                                                                         retroactively closing certain jurisdiction accounts
Short,Victoria            VS           Senior       5/17/2023        Payroll Tax         Prepare account summary overview breaking down tax owed/interest/penalty                             0.6     $395.00       $237.00
Short,Victoria            VS           Senior       5/18/2023        Payroll Tax         Call with OH SITW about closure and IN on retroactively closing account                              1.1     $395.00       $434.50
Short,Victoria            VS           Senior       5/18/2023        Payroll Tax         Revise client summary document for outstanding Employment Tax account requirements                   1.4     $395.00       $553.00
Short,Victoria            VS           Senior       5/18/2023        Payroll Tax         Follow-up with jurisdictions on account closure requirements/update address                          0.9     $395.00       $355.50
                                                                                         Follow-up with jurisdictions on account status/balance for employment tax accounts -MS, OH, NJ
Short,Victoria            VS           Senior       5/19/2023        Payroll Tax                                                                                                              1.8     $395.00       $711.00
                                                                                         SITW, NJ SUI
Short,Victoria            VS           Senior       5/19/2023        Payroll Tax         Prepare SITW closure forms for WRSS                                                                  1.6     $395.00       $632.00
Short,Victoria            VS           Senior       5/19/2023        Payroll Tax         Prepare power of attorney forms for WRSS and Alameda for CA, NJ, NY                                  2.2     $395.00       $869.00
Short,Victoria            VS           Senior       5/22/2023        Payroll Tax         Revise power of attorney forms/closure forms and follow-up with jurisdictions re: account closure    3.9     $395.00      $1,540.50
Short,Victoria            VS           Senior       5/23/2023        Payroll Tax         Follow-up with jurisdictions on account closure status                                               0.6     $395.00       $237.00
Short,Victoria            VS           Senior       5/24/2023        Payroll Tax         Call with state re: WRSS SUI account                                                                 0.3     $395.00       $118.50
Short,Victoria            VS           Senior       5/25/2023        Payroll Tax         Provide closure forms to jurisdictions and power of attorney forms to jurisdictions                  1.4     $395.00       $553.00
Shabanaj,Vlora            VS           Senior        5/8/2023        Non US Tax          Revise IRL Indirect Tax in preparation of FTX Trading GmbH call                                      0.4     $395.00       $158.00
Shabanaj,Vlora            VS           Senior       5/12/2023        Non US Tax          Prepare for meeting re: Indirect Tax due diligence Germany                                           0.4     $395.00       $158.00
Shabanaj,Vlora            VS           Senior       5/15/2023        Non US Tax          Adjust tax due diligence questionnaire regarding outstanding information                             0.6     $395.00       $237.00
                                   Client Serving
Bieganski,Walter         WB                         5/1/2023    US State and Local Tax   Review California locality tax law and calculations                                                  1.1     $200.00       $220.00
                                   Contractor WB
                                   Client Serving
Bieganski,Walter         WB                         5/1/2023    US State and Local Tax   Discussion re: California locality tax calculations                                                  0.8     $200.00       $160.00
                                   Contractor WB
                                   Client Serving                                        Review the project management office (PMO) deck, especially the state tax status items and the
Bieganski,Walter         WB                         5/2/2023    US State and Local Tax                                                                                                        0.8     $200.00       $160.00
                                   Contractor WB                                         New York sales tax assessment
                                   Client Serving
Bieganski,Walter         WB                         5/2/2023    US State and Local Tax   Analyze California locality tax as applied to the company                                            1.4     $200.00       $280.00
                                   Contractor WB
                                   Client Serving                                        Analyze FTX Trading LTD financial information and prior federal reporting to understand
Bieganski,Walter         WB                         5/3/2023    US State and Local Tax                                                                                                        0.9     $200.00       $180.00
                                   Contractor WB                                         business model and revenue streams for purposes of assessing state tax implications
                                   Client Serving
Bieganski,Walter         WB                         5/4/2023    US State and Local Tax   Review Ohio commercial activity tax analysis                                                         0.7     $200.00       $140.00
                                   Contractor WB
                                   Client Serving
Bieganski,Walter         WB                         5/9/2023    US State and Local Tax   Review Ohio commercial activity tax prior to call with E hall                                        0.3     $200.00        $60.00
                                   Contractor WB
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                                                       Date of
                Name   Initials        Rank                                Project Category                                                     Description of Services                                         Hours   Hourly Rate   Fees
                                                       Service
                                   Client Serving
Bieganski,Walter        WB                            5/8/2023          US State and Local Tax           Review state income tax implications                                                                    0.3     $200.00        $60.00
                                   Contractor WB
                                   Client Serving
Bieganski,Walter        WB                            5/10/2023         US State and Local Tax           Review documentation regarding cash tax risk                                                            1.1     $200.00       $220.00
                                   Contractor WB
                                   Client Serving
Bieganski,Walter        WB                            5/11/2023         US State and Local Tax           Review May 15th extension calculations for various states, including research of Texas law              2.9     $200.00       $580.00
                                   Contractor WB
                                   Client Serving                                                        Internal meeting to discuss about FTX Texas combined rules with TX specialist. EY attendees: M.
Bieganski,Walter        WB                            5/12/2023         US State and Local Tax                                                                                                                   0.5     $200.00       $100.00
                                   Contractor WB                                                         Musano, J. Bowden, W. Bieganski, and E. Zheng
                                   Client Serving
Bieganski,Walter        WB                            5/12/2023         US State and Local Tax           Research and document Texas law and positions                                                           0.3     $200.00        $60.00
                                   Contractor WB
                                   Client Serving
Bieganski,Walter        WB                            5/15/2023         US State and Local Tax           Review law and facts with respect to Illinois secretary of state franchise tax liability and filings    1.6     $200.00       $320.00
                                   Contractor WB
                                   Client Serving                                                        Continue review of Illinois secretary of state franchise tax filing and reporting requirements and
Bieganski,Walter        WB                            5/18/2023         US State and Local Tax                                                                                                                   1.1     $200.00       $220.00
                                   Contractor WB                                                         related calculation
Stillman,Will            WS             Staff          5/1/2023         US State and Local Tax           Revise the New Jersey combine binder in OneSource.                                                      0.4     $225.00        $90.00
Stillman,Will            WS             Staff          5/1/2023         US State and Local Tax           Conduct research on the incorporation date of various entities.                                         0.6     $225.00       $135.00
Sun,Yuchen               YS            Senior          5/9/2023         US State and Local Tax           Assist with OneSource issues and questions                                                              0.4     $395.00       $158.00
Sun,Yuchen               YS            Senior         5/10/2023         US State and Local Tax           Review and update Texas extension calculation workpaper                                                 0.4     $395.00       $158.00
Sun,Yuchen               YS            Senior         5/12/2023         US State and Local Tax           Assist with OneSource issues and questions and review Balance Sheet to identify paid in capital         0.8     $395.00       $316.00
                                                                                                         Call with CT and TX Department of Revenue to confirm whether extension payments were
Sun,Yuchen               YS            Senior         5/23/2023         US State and Local Tax                                                                                                                   0.7     $395.00       $276.50
                                                                                                         received and processed, and if not, what would be the next steps
                                                                                                         Determine next steps to prepare CO partnership return for Good Luck Games and review TY2022
Sun,Yuchen               YS            Senior         5/23/2023         US State and Local Tax                                                                                                                   0.8     $395.00       $316.00
                                                                                                         K-1 suite and prior year Federal / CO returns
Sun,Yuchen               YS            Senior         5/24/2023         US State and Local Tax           Determine next steps for preparing CO partnership return for Good Luck Games LLC                        0.6     $395.00        $237.00
Sun,Yuchen               YS            Senior         5/24/2023         US State and Local Tax           Prepare CO partnership return for Good Luck Games LLC                                                   2.7     $395.00      $1,066.50
                                                                                                         Prepare CO partnership return for Good Luck Games LLC and added CO and SALT calculations
Sun,Yuchen               YS            Senior         5/31/2023         US State and Local Tax                                                                                                                   3.2     $395.00      $1,264.00
                                                                                                         within K-1 suite
Haas,Zach                ZH        Senior Manager      5/3/2023             US Income Tax                Discussion on GLG and Alameda information request, missing information.                                 0.4     $650.00        $260.00
Haas,Zach                ZH        Senior Manager      5/3/2023             US Income Tax                Discussion with Navin on proper treatment of gain to be recognized on sale of GLG.                      0.7     $650.00        $455.00
Haas,Zach                ZH        Senior Manager      5/4/2023             US Income Tax                Call with PY Tax advisor and return signer for GLG                                                      0.4     $650.00       $260.00
Haas,Zach                ZH        Senior Manager      5/9/2023             US Income Tax                Meeting to discuss Good Luck Games (GLG). EY attendees: J. Bote and Z. Haas                             0.5     $650.00        $325.00
Haas,Zach                ZH        Senior Manager     5/11/2023             US Income Tax                Review 2022 Tax Return / K-1s compliance re: Good Luck Games                                            0.6     $650.00        $390.00
Haas,Zach                ZH        Senior Manager     5/12/2023             US Income Tax                Review Good Luck Games 2022 Tax Return / K-1s compliance                                                1.3     $650.00        $845.00
Haas,Zach                ZH        Senior Manager     5/15/2023             US Income Tax                Review Good Luck Games 2022 Tax Return / K-1s compliance                                                1.2     $650.00        $780.00
Haas,Zach                ZH        Senior Manager     5/17/2023             US Income Tax                Review Good Luck Games 2022 Tax Return / K-1s compliance                                                1.8     $650.00      $1,170.00
Haas,Zach                ZH        Senior Manager     5/18/2023             US Income Tax                Review Good Luck Games 2022 Tax Return / K-1s compliance                                                0.8     $650.00        $520.00
Haas,Zach                ZH        Senior Manager     5/23/2023             US Income Tax                Review K1 Good Luck Games return                                                                        1.2     $650.00        $780.00
Haas,Zach                ZH        Senior Manager     5/30/2023             US Income Tax                Review Good Luck Games K-1 and return                                                                   0.6     $650.00        $390.00
Haas,Zach                ZH        Senior Manager     5/31/2023             US Income Tax                Review Good Luck Games K-1 and return                                                                   1.3     $650.00        $845.00
                                                                                                         Call with Payroll Operate workstream to discuss upcoming FTX tax deliverables and deadlines. EY
Ancona,Christopher       CA            Senior         5/23/2023   Project Management Office Transition                                                                                                           0.3     $395.00       $118.50
                                                                                                         attendees: C. Tong, C. Ancona, H. Choudary, and K. Soderman
Staromiejska,Kinga       KS           Manager         5/8/2023                Non US Tax                 Email communication to teams regarding Statutory Accounting and Bookkeeping Services.                   0.2     $525.00       $105.00
                                                                                                         External meeting with M. Cilia (FTX), J. Cooper (A&M), and S. Witherspoon (A&M) to discuss
Pawa,Kunal               KP        Senior Manager     5/31/2023        Meetings with Management                                                                                                                  1.0     $650.00       $650.00
                                                                                                         reporting requirement and related diligence. EY attendees: L. Lovelace, A. Katelas, and K. Pawa
                                                                                                         FTX Knowledge Transfer Discussion. EY attendees: M. Borts, C. MacLean, A. Bost, D.
MacLean,Corrie          CM             Senior         5/5/2023                Non US Tax                 Katsnelson, D. McComber, G. Di Stefano, O. Hall, D. Hammon, H. Choudary, N. Srivastava, K.              0.4     $395.00       $158.00
                                                                                                         Madhok, and M. Gil Diez De Leon
                                                                                                         FTX Knowledge Transfer Discussion. EY attendees: M. Borts, C. MacLean, A. Bost, D.
Bost,Anne                BA       Managing Director   5/5/2023              Transfer Pricing             Katsnelson, D. McComber, G. Di Stefano, O. Hall, D. Hammon, H. Choudary, N. Srivastava, K.              0.4     $775.00       $310.00
                                                                                                         Madhok, and M. Gil Diez De Leon
                                                                                                         FTX Knowledge Transfer Discussion. EY attendees: M. Borts, C. MacLean, A. Bost, D.
Katsnelson,David         DK           Manager         5/5/2023              Transfer Pricing             Katsnelson, D. McComber, G. Di Stefano, O. Hall, D. Hammon, H. Choudary, N. Srivastava, K.              0.4     $525.00       $210.00
                                                                                                         Madhok, and M. Gil Diez De Leon
                                                                                                         FTX Knowledge Transfer Discussion. EY attendees: M. Borts, C. MacLean, A. Bost, D.
                                      National
McComber,Donna          DM                            5/5/2023              Transfer Pricing             Katsnelson, D. McComber, G. Di Stefano, O. Hall, D. Hammon, H. Choudary, N. Srivastava, K.              0.4     $990.00       $396.00
                                  Partner/Principal
                                                                                                         Madhok, and M. Gil Diez De Leon
                                                                                                         FTX Knowledge Transfer Discussion. EY attendees: M. Borts, C. MacLean, A. Bost, D.
Di Stefano,Giulia       GDS            Senior         5/5/2023              Transfer Pricing             Katsnelson, D. McComber, G. Di Stefano, O. Hall, D. Hammon, H. Choudary, N. Srivastava, K.              0.4     $395.00       $158.00
                                                                                                         Madhok, and M. Gil Diez De Leon
                                                                                                         FTX Knowledge Transfer Discussion. EY attendees: M. Borts, C. MacLean, A. Bost, D.
Hall,Olivia              OH             Staff         5/5/2023              Transfer Pricing             Katsnelson, D. McComber, G. Di Stefano, O. Hall, D. Hammon, H. Choudary, N. Srivastava, K.              0.4     $225.00        $90.00
                                                                                                         Madhok, and M. Gil Diez De Leon
                                                                                                         FTX Knowledge Transfer Discussion. EY attendees: M. Borts, C. MacLean, A. Bost, D.
Hammon,David Lane       DLH           Manager         5/5/2023                Non US Tax                 Katsnelson, D. McComber, G. Di Stefano, O. Hall, D. Hammon, H. Choudary, N. Srivastava, K.              0.4     $525.00       $210.00
                                                                                                         Madhok, and M. Gil Diez De Leon
                                                                                                         FTX Knowledge Transfer Discussion. EY attendees: M. Borts, C. MacLean, A. Bost, D.
Choudary,Hira            HC             Staff         5/5/2023                Non US Tax                 Katsnelson, D. McComber, G. Di Stefano, O. Hall, D. Hammon, H. Choudary, N. Srivastava, K.              0.4     $225.00        $90.00
                                                                                                         Madhok, and M. Gil Diez De Leon
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                                                            Date of
                Name        Initials         Rank                           Project Category                                               Description of Services                                          Hours   Hourly Rate   Fees
                                                            Service
                                                                                                      FTX Knowledge Transfer Discussion. EY attendees: M. Borts, C. MacLean, A. Bost, D.
Srivastava,Nikita Asutosh    NAS           Manager         5/5/2023            Non US Tax             Katsnelson, D. McComber, G. Di Stefano, O. Hall, D. Hammon, H. Choudary, N. Srivastava, K.             0.4     $525.00       $210.00
                                                                                                      Madhok, and M. Gil Diez De Leon
                                                                                                      FTX Knowledge Transfer Discussion. EY attendees: M. Borts, C. MacLean, A. Bost, D.
Madhok,Kishan                KM         Senior Manager     5/5/2023         Value Added Tax           Katsnelson, D. McComber, G. Di Stefano, O. Hall, D. Hammon, H. Choudary, N. Srivastava, K.             0.4     $650.00       $260.00
                                                                                                      Madhok, and M. Gil Diez De Leon
                                                                                                      FTX Knowledge Transfer Discussion. EY attendees: M. Borts, C. MacLean, A. Bost, D.
Gil Diez de Leon,Marta       MDL           Manager         5/5/2023         Value Added Tax           Katsnelson, D. McComber, G. Di Stefano, O. Hall, D. Hammon, H. Choudary, N. Srivastava, K.             0.4     $525.00       $210.00
                                                                                                      Madhok, and M. Gil Diez De Leon
                                                                                                      EY internal call to discuss and prepare for Unsecured Creditor Committee call. EY attendees: T.
Shea JR,Thomas M             TMS       Partner/Principal   5/10/2023         US Income Tax                                                                                                                   0.4     $825.00       $330.00
                                                                                                      Shea, J. Scott, J. Healy, E. Harvey, and N. Flagg
                                         Client Serving                                               EY internal call to discuss and prepare for Unsecured Creditor Committee call. EY attendees: T.
Scott,James                   JS                           5/10/2023         US Income Tax                                                                                                                   0.4     $600.00       $240.00
                                         Contractor JS                                                Shea, J. Scott, J. Healy, E. Harvey, and N. Flagg
                                                                                                      EY internal call to discuss and prepare for Unsecured Creditor Committee call. EY attendees: T.
Healy,John                    JH        Senior Manager     5/10/2023        IRS Audit Matters                                                                                                                0.4     $650.00       $260.00
                                                                                                      Shea, J. Scott, J. Healy, E. Harvey, and N. Flagg
                                                                                                      EY internal call to discuss and prepare for Unsecured Creditor Committee call. EY attendees: T.
Harvey,Elizabeth R.          ERH       Partner/Principal   5/10/2023         US Income Tax                                                                                                                   0.4     $825.00       $330.00
                                                                                                      Shea, J. Scott, J. Healy, E. Harvey, and N. Flagg
                                                                                                      Next Steps call with D. Hariton (S&C), H. Kim (S&C), K. Jacobs (A&M), B. Seaway (A&M), and
Bailey,Doug                   DB       Partner/Principal   5/19/2023   Meetings with Other Advisors   C. Howe (A&M) re: IRS Exam. EY attendees: T. Shea, D. Bailey, L. Lovelace, J. Healy, T. Ferris,        1.0     $825.00       $825.00
                                                                                                      J. Scott, and J. Berman
                                                                                                      Next Steps call with D. Hariton (S&C), H. Kim (S&C), K. Jacobs (A&M), B. Seaway (A&M), and
Lovelace,Lauren               LL       Partner/Principal   5/19/2023   Meetings with Other Advisors   C. Howe (A&M) re: IRS Exam. EY attendees: T. Shea, D. Bailey, L. Lovelace, J. Healy, T. Ferris,        1.0     $825.00       $825.00
                                                                                                      J. Scott, and J. Berman
                                                                                                      Next Steps call with D. Hariton (S&C), H. Kim (S&C), K. Jacobs (A&M), B. Seaway (A&M), and
Healy,John                    JH        Senior Manager     5/19/2023   Meetings with Other Advisors   C. Howe (A&M) re: IRS Exam. EY attendees: T. Shea, D. Bailey, L. Lovelace, J. Healy, T. Ferris,        1.0     $650.00       $650.00
                                                                                                      J. Scott, and J. Berman
                                                                                                      Next Steps call with D. Hariton (S&C), H. Kim (S&C), K. Jacobs (A&M), B. Seaway (A&M), and
Ferris,Tara                   TF       Partner/Principal   5/19/2023   Meetings with Other Advisors   C. Howe (A&M) re: IRS Exam. EY attendees: T. Shea, D. Bailey, L. Lovelace, J. Healy, T. Ferris,        1.0     $825.00       $825.00
                                                                                                      J. Scott, and J. Berman
                                                                                                      Next Steps call with D. Hariton (S&C), H. Kim (S&C), K. Jacobs (A&M), B. Seaway (A&M), and
                                         Client Serving
Scott,James                   JS                           5/19/2023   Meetings with Other Advisors   C. Howe (A&M) re: IRS Exam. EY attendees: T. Shea, D. Bailey, L. Lovelace, J. Healy, T. Ferris,        1.0     $600.00       $600.00
                                         Contractor JS
                                                                                                      J. Scott, and J. Berman
                                                                                                      Next Steps call with D. Hariton (S&C), H. Kim (S&C), K. Jacobs (A&M), B. Seaway (A&M), and
Berman,Jake                   JB        Senior Manager     5/19/2023   Meetings with Other Advisors   C. Howe (A&M) re: IRS Exam. EY attendees: T. Shea, D. Bailey, L. Lovelace, J. Healy, T. Ferris,        1.0     $650.00       $650.00
                                                                                                      J. Scott, and J. Berman
                                                                                                      Meeting with EY Canada to discuss due diligence. EY attendees: D. Katsnelson, C. Charbonneau,
Charbonneau,Claudine           0       Managing Director   5/17/2023           Non US Tax             A. Tse, T. Nasir, D. Hammon, C. Chambron, H. Choudary, C. MacLean, J. Shnaider, and K.                 0.2     $775.00       $155.00
                                                                                                      Staromiejska
                                                                                                      Meeting with EY Canada to discuss due diligence. EY attendees: D. Katsnelson, C. Charbonneau,
Tse,Andy                       0       Partner/Principal   5/17/2023           Non US Tax             A. Tse, T. Nasir, D. Hammon, C. Chambron, H. Choudary, C. MacLean, J. Shnaider, and K.                 0.2     $825.00       $165.00
                                                                                                      Staromiejska
                                                                                                      Meeting with EY Canada to discuss due diligence. EY attendees: D. Katsnelson, C. Charbonneau,
Nasir,Tariq                   TN       Partner/Principal   5/17/2023           Non US Tax             A. Tse, T. Nasir, D. Hammon, C. Chambron, H. Choudary, C. MacLean, J. Shnaider, and K.                 0.2     $825.00       $165.00
                                                                                                      Staromiejska
                                                                                                      Meeting with EY Canada to discuss due diligence. EY attendees: D. Katsnelson, C. Charbonneau,
Chambron,Claire                0        Senior Manager     5/17/2023           Non US Tax             A. Tse, T. Nasir, D. Hammon, C. Chambron, H. Choudary, C. MacLean, J. Shnaider, and K.                 0.2     $650.00       $130.00
                                                                                                      Staromiejska
                                                                                                      Meeting with J. Chan (FTX) to discuss FTX Canada due diligence. EY attendees: H. Choudary, D.
Tse,Andy                       0       Partner/Principal   5/23/2023    Meetings with Management      Katsnelson, S. Mak, T. Nasir, M. Leon, C. Charbonneau, A. Tse, C. MacLean, J. Shnaider, and D.         0.3     $825.00       $247.50
                                                                                                      Hammon
                                                                                                      Meeting with J. Chan (FTX) to discuss FTX Canada due diligence. EY attendees: H. Choudary, D.
Charbonneau,Claudine           0       Managing Director   5/23/2023    Meetings with Management      Katsnelson, S. Mak, T. Nasir, M. Leon, C. Charbonneau, A. Tse, C. MacLean, J. Shnaider, and D.         0.3     $775.00       $232.50
                                                                                                      Hammon
                                                                                                      Meeting with J. Chan (FTX) to discuss FTX Canada due diligence. EY attendees: H. Choudary, D.
Nasir,Tariq                   TN       Partner/Principal   5/23/2023    Meetings with Management      Katsnelson, S. Mak, T. Nasir, M. Leon, C. Charbonneau, A. Tse, C. MacLean, J. Shnaider, and D.         0.3     $825.00       $247.50
                                                                                                      Hammon
                                                                                                      Meeting with J. Chan (FTX) to discuss FTX Canada due diligence. EY attendees: H. Choudary, D.
Mak,Shirley                    0           Manager         5/23/2023    Meetings with Management      Katsnelson, S. Mak, T. Nasir, M. Leon, C. Charbonneau, A. Tse, C. MacLean, J. Shnaider, and D.         0.3     $525.00       $157.50
                                                                                                      Hammon
                                                                                                      EY internal call to discuss IRS claims and Unsecured Creditor Committee update request. EY
Shea JR,Thomas M             TMS       Partner/Principal   5/10/2023         US Income Tax                                                                                                                   0.5     $825.00       $412.50
                                                                                                      attendees: T. Shea, J. Scott, E. Harvey, and N. Flagg
                                         Client Serving                                               EY internal call to discuss IRS claims and Unsecured Creditor Committee update request. EY
Scott,James                   JS                           5/10/2023         US Income Tax                                                                                                                   0.5     $600.00       $300.00
                                         Contractor JS                                                attendees: T. Shea, J. Scott, E. Harvey, and N. Flagg
                                                                                                      EY internal call to discuss IRS claims and Unsecured Creditor Committee update request. EY
Harvey,Elizabeth R.          ERH       Partner/Principal   5/10/2023         US Income Tax                                                                                                                   0.5     $825.00       $412.50
                                                                                                      attendees: T. Shea, J. Scott, E. Harvey, and N. Flagg
                                                                                                      EY internal call to discuss IRS claim next steps. EY attendees: T. Shea, J. Scott, J. Healy, and N.
Shea JR,Thomas M             TMS       Partner/Principal   5/12/2023         US Income Tax                                                                                                                   0.4     $825.00       $330.00
                                                                                                      Flagg
                                         Client Serving                                               EY internal call to discuss IRS claim next steps. EY attendees: T. Shea, J. Scott, J. Healy, and N.
Scott,James                   JS                           5/12/2023         US Income Tax                                                                                                                   0.4     $600.00       $240.00
                                         Contractor JS                                                Flagg
                                                                                                      EY internal call to discuss IRS claim next steps. EY attendees: T. Shea, J. Scott, J. Healy, and N.
Healy,John                    JH        Senior Manager     5/12/2023        IRS Audit Matters                                                                                                                0.4     $650.00       $260.00
                                                                                                      Flagg
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                  Name      Initials        Rank                                Project Category                                                    Description of Services                                         Hours   Hourly Rate   Fees
                                                            Service
                                                                                                              EY team call with D. Hariton (S&C) to discuss IRS claim next steps. EY attendees: T. Shea, J.
Shea JR,Thomas M             TMS       Partner/Principal   5/15/2023      Meetings with Other Advisors                                                                                                               0.7     $825.00       $577.50
                                                                                                              Scott, B. Mistler, J. Healy, and N. Flagg
                                        Client Serving                                                        EY team call with D. Hariton (S&C) to discuss IRS claim next steps. EY attendees: T. Shea, J.
Scott,James                   JS                           5/15/2023      Meetings with Other Advisors                                                                                                               0.7     $600.00       $420.00
                                        Contractor JS                                                         Scott, B. Mistler, J. Healy, and N. Flagg
                                                                                                              EY team call with D. Hariton (S&C) to discuss IRS claim next steps. EY attendees: T. Shea, J.
Mistler,Brian M             BMM            Manager         5/15/2023      Meetings with Other Advisors                                                                                                               0.7     $525.00       $367.50
                                                                                                              Scott, B. Mistler, J. Healy, and N. Flagg
                                                                                                              EY team call with D. Hariton (S&C) to discuss IRS claim next steps. EY attendees: T. Shea, J.
Healy,John                    JH       Senior Manager      5/15/2023      Meetings with Other Advisors                                                                                                               0.7     $650.00       $455.00
                                                                                                              Scott, B. Mistler, J. Healy, and N. Flagg
                                                                                                              EY internal call to discuss reply from IRS email reply and prioritize next steps. EY attendees: J.
Shea JR,Thomas M             TMS       Partner/Principal   5/16/2023             US Income Tax                                                                                                                       0.5     $825.00       $412.50
                                                                                                              Scott, T. Shea, J. Healy, K. Gatt, and N. Flagg
                                        Client Serving                                                        EY internal call to discuss reply from IRS email reply and prioritize next steps. EY attendees: J.
Scott,James                   JS                           5/16/2023             US Income Tax                                                                                                                       0.5     $600.00       $300.00
                                        Contractor JS                                                         Scott, T. Shea, J. Healy, K. Gatt, and N. Flagg
                                                                                                              EY internal call to discuss reply from IRS email reply and prioritize next steps. EY attendees: J.
Healy,John                    JH       Senior Manager      5/16/2023            IRS Audit Matters                                                                                                                    0.5     $650.00       $325.00
                                                                                                              Scott, T. Shea, J. Healy, K. Gatt, and N. Flagg
                                                                                                              EY internal call to discuss reply from IRS email reply and prioritize next steps. EY attendees: J.
Gatt,Katie                    KG       Senior Manager      5/16/2023         US State and Local Tax                                                                                                                  0.5     $650.00       $325.00
                                                                                                              Scott, T. Shea, J. Healy, K. Gatt, and N. Flagg
                                                                                                              Meeting to discuss FTX Transfer pricing tax deliverables and upcoming filing deadlines. EY
Ancona,Christopher            CA            Senior         5/5/2023    Project Management Office Transition                                                                                                          0.5     $395.00       $197.50
                                                                                                              attendees: C. Ancona, T. Shea, and A. Bost
                                                                                                              Meeting to discuss FTX Transfer pricing tax deliverables and upcoming filing deadlines. EY
Shea JR,Thomas M             TMS       Partner/Principal   5/5/2023              US Income Tax                                                                                                                       0.5     $825.00       $412.50
                                                                                                              attendees: C. Ancona, T. Shea, and A. Bost
Lovelace,Lauren               LL       Partner/Principal   5/8/2023            US International Tax           Alameda Tax Return filing discussion. EY attendees: L. Lovelace, J. Scott, D. Bailey, and T. Shea      0.5     $825.00       $412.50
                                        Client Serving
Scott,James                   JS                           5/8/2023              US Income Tax                Alameda Tax Return filing discussion. EY attendees: L. Lovelace, J. Scott, D. Bailey, and T. Shea      0.5     $600.00       $300.00
                                        Contractor JS
Bailey,Doug                   DB       Partner/Principal   5/8/2023               Tax Advisory                Alameda Tax Return filing discussion. EY attendees: L. Lovelace, J. Scott, D. Bailey, and T. Shea      0.5     $825.00       $412.50

Bailey,Doug                   DB       Partner/Principal   5/15/2023              Tax Advisory                Conference call re: taxable income. EY attendees: D. Bailey, J. Blank, M. Stevens and L. Lovelace      0.4     $825.00       $330.00

Blank,Jacob                   JB       Partner/Principal   5/15/2023              Tax Advisory                Conference call re: taxable income. EY attendees: D. Bailey, J. Blank, M. Stevens and L. Lovelace      0.4     $825.00       $330.00
                                           National
Stevens,Matthew Aaron        MAS                           5/15/2023              Tax Advisory                Conference call re: taxable income. EY attendees: D. Bailey, J. Blank, M. Stevens and L. Lovelace      0.4     $990.00       $396.00
                                       Partner/Principal
Lovelace,Lauren               LL       Partner/Principal   5/15/2023           US International Tax           Conference call re: taxable income. EY attendees: D. Bailey, J. Blank, M. Stevens and L. Lovelace      0.4     $825.00       $330.00
                                                                                                              Meeting with Primary FTX EY Team to discuss next steps regarding Due Diligence for the
Collado,Adriana               AC       Senior Manager      5/16/2023           US International Tax                                                                                                                  0.4     $650.00       $260.00
                                                                                                              Panamanian Entity.
                                                                                                              Meeting with EY Panama to discuss due diligence next steps. EY attendees: A. Cigarruista, D.
Cigarruista,Ana                0             Staff         5/16/2023               Non US Tax                                                                                                                        0.4     $225.00        $90.00
                                                                                                              Hammon, C. MacLean, A. Rios, H. Choudary, and K. Staromiejska
                                                                                                              EY team call to discuss IRS claims with D. Hariton (S&C). EY attendees: T. Shea, K. Gatt, N.
Gatt,Katie                    KG       Senior Manager      5/17/2023      Meetings with Other Advisors                                                                                                               0.5     $650.00       $325.00
                                                                                                              Flagg, J. Healy, and T. Ferris
                                                                                                              EY team call to discuss IRS claims with D. Hariton (S&C). EY attendees: T. Shea, K. Gatt, N.
Healy,John                    JH       Senior Manager      5/17/2023      Meetings with Other Advisors                                                                                                               0.5     $650.00       $325.00
                                                                                                              Flagg, J. Healy, and T. Ferris
                                                                                                              EY team call to discuss IRS claims with D. Hariton (S&C). EY attendees: T. Shea, K. Gatt, N.
Ferris,Tara                   TF       Partner/Principal   5/17/2023      Meetings with Other Advisors                                                                                                               0.5     $825.00       $412.50
                                                                                                              Flagg, J. Healy, and T. Ferris
                                           National                                                           Internal call to discuss planning for transfer pricing documentation report for tax year 2022. EY
McComber,Donna               DM                            5/25/2023             Transfer Pricing                                                                                                                    0.5     $990.00       $495.00
                                       Partner/Principal                                                      attendees: D. McComber, D. Katsnelson, G. DiStefano, and O. Hall
                                                                                                              Internal call to discuss planning for transfer pricing documentation report for tax year 2022. EY
Katsnelson,David              DK           Manager         5/25/2023             Transfer Pricing                                                                                                                    0.5     $525.00       $262.50
                                                                                                              attendees: D. McComber, D. Katsnelson, G. DiStefano, and O. Hall
                                                                                                              Internal call to discuss planning for transfer pricing documentation report for tax year 2022. EY
Di Stefano,Giulia            GDS            Senior         5/25/2023             Transfer Pricing                                                                                                                    0.5     $395.00       $197.50
                                                                                                              attendees: D. McComber, D. Katsnelson, G. DiStefano, and O. Hall
                                                                                                              Internal call to discuss planning for transfer pricing documentation report for tax year 2022. EY
Hall,Olivia                   OH             Staff         5/25/2023             Transfer Pricing                                                                                                                    0.5     $225.00       $112.50
                                                                                                              attendees: D. McComber, D. Katsnelson, G. DiStefano, and O. Hall
Li,Peng                       PL       Senior Manager      5/5/2023           Information Reporting           Survey review and discussion. EY attendees: M. Borts, P. Li and N. Srivastava                          0.9     $650.00       $585.00
Srivastava,Nikita Asutosh    NAS          Manager          5/5/2023                Non US Tax                 Survey review and discussion. EY attendees: M. Borts, P. Li and N. Srivastava                          0.9     $525.00       $472.50
                                                                                                              Internal meeting to discuss question of tax residence and related local developments. EY attendees:
Bailey,Doug                   DB       Partner/Principal   5/16/2023              Tax Advisory                                                                                                                       0.5     $825.00       $412.50
                                                                                                              A. Katelas, L. Phillips, R. Moncrieff, O. Espley-Ault, L. Lovelace, D. Bailey, and M. Zhou

                                                                                                              Internal meeting to discuss question of tax residence and related local developments. EY attendees:
Lovelace,Lauren               LL       Partner/Principal   5/16/2023           US International Tax                                                                                                                  0.5     $825.00       $412.50
                                                                                                              A. Katelas, L. Phillips, R. Moncrieff, O. Espley-Ault, L. Lovelace, D. Bailey, and M. Zhou
                                                                                                              EY internal call to discuss IRS claim review priorities. EY attendees: J. Scott, T. Shea, and N.
Shea JR,Thomas M             TMS       Partner/Principal   5/16/2023             US Income Tax                                                                                                                       0.3     $825.00       $247.50
                                                                                                              Flagg
                                        Client Serving                                                        EY internal call to discuss IRS claim review priorities. EY attendees: J. Scott, T. Shea, and N.
Scott,James                   JS                           5/16/2023             US Income Tax                                                                                                                       0.3     $600.00       $180.00
                                        Contractor JS                                                         Flagg
                                                                                                              Meeting to discuss upcoming FTX tax deliverables deadlines. EY attendees: C. Ancona, C. Tong,
Richards,Briana A.            BR       Partner/Principal   5/17/2023      Fee/Employment Applications                                                                                                                0.4     $1,150.00     $460.00
                                                                                                              B. Richards, D. Neziroski, and S. Cahalane
                                                                                                              Meeting to discuss upcoming FTX tax deliverables deadlines. EY attendees: C. Ancona, C. Tong,
Neziroski,David               DN          Associate        5/17/2023      Fee/Employment Applications                                                                                                                0.4     $365.00       $146.00
                                                                                                              B. Richards, D. Neziroski, and S. Cahalane
                                                                                                              IDR 1 Walkthrough with D. Hariton (S&C) and H. Kim (S&C). EY attendees: J. Berman, T. Shea,
Shea JR,Thomas M             TMS       Partner/Principal   5/23/2023      Meetings with Other Advisors                                                                                                               0.9     $825.00       $742.50
                                                                                                              B. Mistler, and J. Scott
                                        Client Serving                                                        IDR 1 Walkthrough with D. Hariton (S&C) and H. Kim (S&C). EY attendees: J. Berman, T. Shea,
Scott,James                   JS                           5/23/2023      Meetings with Other Advisors                                                                                                               0.9     $600.00       $540.00
                                        Contractor JS                                                         B. Mistler, and J. Scott
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                                                            Date of
                  Name      Initials         Rank                               Project Category                                                    Description of Services                                           Hours   Hourly Rate   Fees
                                                            Service
                                                                                                              IDR 1 Walkthrough with D. Hariton (S&C) and H. Kim (S&C). EY attendees: J. Berman, T. Shea,
Mistler,Brian M             BMM            Manager         5/23/2023      Meetings with Other Advisors                                                                                                                 0.9     $525.00       $472.50
                                                                                                              B. Mistler, and J. Scott
                                                                                                              Follow-up connect re: open gaps for survey responses and reviews. EY attendees: M. Borts, N.
Srivastava,Nikita Asutosh    NAS           Manager         5/25/2023               Non US Tax                                                                                                                          0.6     $525.00       $315.00
                                                                                                              Srivastava, and N. Hernandez
                                                                                                              Follow-up connect re: open gaps for survey responses and reviews. EY attendees: M. Borts, N.
Hernandez,Nancy I.           NIH        Senior Manager     5/25/2023               Non US Tax                                                                                                                          0.6     $650.00       $390.00
                                                                                                              Srivastava, and N. Hernandez
                                                                                                              Call with EY Bahamas, BVI, Cayman teams to discuss due diligence kick off. EY attendees: C.
Devona Bahadur,Michele       DBM        Senior Manager     5/1/2023                Non US Tax                 Ancona, B. Coakley, M. Sangster, D. Hammon, T. McPhee, M. Bahadur, C. Tong, O. Espley-Ault,              0.4     $650.00       $260.00
                                                                                                              H. Choudary, B. Rahming, and C. MacLean
Neziroski,David               DN           Associate       5/3/2023       Fee/Employment Applications         Meeting to discuss February Fee application. EY attendees: C. Ancona and D. Neziroski                    0.4     $365.00       $146.00
                                                                                                              Continued discussions regarding February fee application. Attendees: C. Ancona, T. Shea, C.
Neziroski,David               DN           Associate       5/3/2023       Fee/Employment Applications                                                                                                                  0.5     $365.00       $182.50
                                                                                                              Tong, and D. Neziroski
                                                                                                              FTX Fee Application Touchpoint to review February fee application. EY attendees: C. Ancona, C.
Neziroski,David               DN           Associate       5/4/2023       Fee/Employment Applications                                                                                                                  0.6     $365.00       $219.00
                                                                                                              Tong, H. Choudary, D. Neziroski, and S. Cahalane
                                                                                                              Meeting to review the February fee application. EY attendees: C. Ancona, C. Tong, H. Choudary,
Neziroski,David               DN           Associate       5/8/2023       Fee/Employment Applications                                                                                                                  0.6     $365.00       $219.00
                                                                                                              D. Neziroski, and S. Cahalane
                                                                                                              Call with A. Thomas (FTX) to discuss Antigua due diligence. EY attendees: L. Phillips, D.
Barnet,Scott                   0           Manager         5/9/2023                Non US Tax                                                                                                                          0.7     $525.00       $367.50
                                                                                                              Hammon, M. Leon, S. Barnett, H. Choudary, J. Scott, and C. MacLean
                                                                                                              Internal meeting to discuss tax residency and related developments. EY attendees: D. Bailey, L.
Yang,Rachel Sim              RSY        Senior Manager     5/9/2023            US International Tax                                                                                                                    0.5     $650.00       $325.00
                                                                                                              Lovelace, L. Phillips, A. Katelas, R. Yang, A. Karan, and M. Zhuo
                                                                                                              Call with A. Drysdale (Walkers) and A. Cruz (Walkers) to discuss compliance requirements for the
Sangster,Mark                 MS            Senior         5/10/2023               Non US Tax                 eight BVI companies in scope. EY attendees: M. Bahadur, O. Espley-Ault, R. Moncrieff, and M.             0.4     $395.00       $158.00
                                                                                                              Sangster
                                                                                                              Team call to discuss next steps/course of action following discussion with Walkers team. EY
Sangster,Mark                 MS            Senior         5/10/2023               Non US Tax                                                                                                                          0.2     $395.00        $79.00
                                                                                                              attendees: O. Espley-Ault, M. Bahadur, and M. Sangster
                                                                                                              Internal meeting to discuss foreign bank account identification, documentation and related
Pawa,Kunal                    KP        Senior Manager     5/15/2023               Payroll Tax                                                                                                                         0.2     $650.00       $130.00
                                                                                                              reporting. EY attendees: L. Lovelace, K. Pawa, T. Shea, A. Katelas, and D. Bailey
Shea JR,Thomas M             TMS       Partner/Principal   5/15/2023             US Income Tax                Call to discuss IRS tax claim next steps. EY attendees: T. Shea and N. Flagg                             0.2     $825.00       $165.00
                                                                                                              Call to discuss strategy for obtaining information from Richey May (third party advisor to FTX's
Devona Bahadur,Michele       DBM        Senior Manager     5/16/2023               Non US Tax                                                                                                                          0.3     $650.00       $195.00
                                                                                                              Cayman entities). EY attendees: O. Espley-Ault and M. Bahadur
                                                                                                              Meeting to discuss the processing of the monthly fee application. EY attendees: C. Ancona, C.
Neziroski,David               DN           Associate       5/17/2023      Fee/Employment Applications                                                                                                                  0.6     $365.00       $219.00
                                                                                                              Tong, D. Neziroski, S. Cahalane, and H. Choudary
                                                                                                              Meeting to review Illinois SOS annual report data and Form 14.30. EY attendees: V. Huang and T.
Huang,Vanesa                  VH             Staff         5/19/2023         US State and Local Tax                                                                                                                    0.3     $225.00        $67.50
                                                                                                              Jelonek
                                                                                                              Internal meeting to discuss tax technical updates. EY attendees: D. Bailey, L. Lovelace, A. Katelas,
Taylor,John Marcus           JMT       Partner/Principal   5/22/2023              Tax Advisory                                                                                                                         1.0     $825.00       $825.00
                                                                                                              T. Shea, J. Scott, and J. Taylor
Katsnelson,David              DK           Manager         5/22/2023             Transfer Pricing             Call re: IDR responses. EY attendees: D. Katsnelson and A. Bost                                          0.8     $525.00       $420.00
                                                                                                              Weekly meeting with K. Jacobs (A&M), B. Seaway (A&M), and D. Hariton (S&C) to discuss
Taylor,John Marcus           JMT       Partner/Principal   5/23/2023      Meetings with Other Advisors        latest tax technical updates and other related issues. EY attendees: L. Lovelace, D. Bailey, T. Shea,    0.5     $825.00       $412.50
                                                                                                              B. Mistler, J. Berman, J. Scott, A. Katelas, J. Taylor, and A. Bost
                                                                                                              Weekly FTX Meeting to review workstream project status, discuss progress on deliverables, risks,
Farrar,Anne                   AF       Partner/Principal   5/24/2023   Project Management Office Transition   identify issues, and determine action items. EY attendees: C. Ancona, A. Farrar, C. Tong, and H.         0.5     $825.00       $412.50
                                                                                                              Choudary
                                                                                                              Meeting to discuss the processing of the monthly fee application. EY attendees: C. Ancona, C.
Neziroski,David               DN           Associate       5/24/2023      Fee/Employment Applications                                                                                                                  0.3     $365.00       $109.50
                                                                                                              Tong, D. Neziroski, S. Cahalane, and H. Choudary
Katsnelson,David              DK           Manager         5/24/2023             Transfer Pricing             Call re: transfer pricing priorities and IDR responses. EY attendees: D. Katsnelson and A. Bost          0.9     $525.00       $472.50
                                                                                                              Weekly meeting to discuss TP Doc and next steps. EY attendees: D. Katsnelson, G. Di Stefano, A.
Bost,Anne                     BA       Managing Director   5/29/2023             Transfer Pricing                                                                                                                      0.5     $775.00       $387.50
                                                                                                              Bost, D. McComber, and O. Hall
                                                                                                              Meeting to walk through sales and use tax gap analysis. EY attendees: M. Musano, J. Jimenez, and
Musano,Matthew Albert       MAM         Senior Manager     5/30/2023         US State and Local Tax                                                                                                                    2.7     $650.00      $1,755.00
                                                                                                              E. Hall
Di Stefano,Giulia            GDS            Senior         5/30/2023             Transfer Pricing             Call to prepare IDR responses. EY attendees: G. Di Stefano and D. Katsnelson                             0.4     $395.00       $158.00
                                                                                                              Meeting to discuss the processing of the monthly fee application. EY attendees: C. Ancona, C.
Neziroski,David               DN           Associate       5/31/2023      Fee/Employment Applications                                                                                                                  0.6     $365.00       $219.00
                                                                                                              Tong, D. Neziroski, S. Cahalane, and H. Choudary
                                                                                                              Call regarding new IRS tax claims filed and send update on claim amounts to EY account team and
Johnson,Derrick Joseph       DJJ             Staff         5/4/2023          US State and Local Tax           provide guidance on how best to schedule out the claims for EY account team review. EY                   0.7     $225.00       $157.50
                                                                                                              attendees: N. Flagg and D. Johnson
                                                                                                              Catchup discussion regarding FTX federal compliance items for 2022. EY attendees: J. Berman, T.
Shea JR,Thomas M             TMS       Partner/Principal   5/8/2023              US Income Tax                                                                                                                         0.8     $825.00       $660.00
                                                                                                              Shea, B. Mistler, and J. Scott
                                                                                                              Catchup discussion regarding FTX federal compliance items for 2022. EY attendees: J. Berman, T.
Mistler,Brian M             BMM            Manager         5/8/2023             IRS Audit Matters                                                                                                                      0.8     $525.00       $420.00
                                                                                                              Shea, B. Mistler, and J. Scott
                                         Client Serving                                                       Catchup discussion regarding FTX federal compliance items for 2022. EY attendees: J. Berman, T.
Scott,James                   JS                           5/8/2023              US Income Tax                                                                                                                         0.8     $600.00       $480.00
                                         Contractor JS                                                        Shea, B. Mistler, and J. Scott
                                                                                                              Catchup discussion regarding FTX federal compliance items for 2022. EY attendees: J. Berman, T.
Shea JR,Thomas M             TMS       Partner/Principal   5/11/2023             US Income Tax                                                                                                                         0.5     $825.00       $412.50
                                                                                                              Shea, B. Mistler, and J. Scott
                                                                                                              Catchup discussion regarding FTX federal compliance items for 2022. EY attendees: J. Berman, T.
Mistler,Brian M             BMM            Manager         5/11/2023            IRS Audit Matters                                                                                                                      0.5     $525.00       $262.50
                                                                                                              Shea, B. Mistler, and J. Scott
                                         Client Serving                                                       Catchup discussion regarding FTX federal compliance items for 2022. EY attendees: J. Berman, T.
Scott,James                   JS                           5/11/2023             US Income Tax                                                                                                                         0.5     $600.00       $300.00
                                         Contractor JS                                                        Shea, B. Mistler, and J. Scott
                                        Client Serving                                                        Call to discuss IL's annual report's paid-in capital requirement and research on how that term is
Bieganski,Walter             WB                            5/15/2023         US State and Local Tax                                                                                                                    0.5     $200.00       $100.00
                                        Contractor WB                                                         defined to properly present it on the annual report. EY attendees: M. Musano and W. Bieganski
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                                                         Date of
                 Name    Initials         Rank                           Project Category                                               Description of Services                                             Hours   Hourly Rate   Fees
                                                         Service
                                                                                                  Meeting with EY Canada to discuss due diligence. EY attendees: D. Katsnelson, C. Charbonneau,
Shnaider,Jeremy             0       Partner/Principal   5/17/2023           Non US Tax            A. Tse, T. Nasir, D. Hammon, C. Chambron, H. Choudary, C. MacLean, J. Shnaider, and K.                     0.2     $825.00       $165.00
                                                                                                  Staromiejska
                                                                                                  Meeting with J. Chan (FTX) to discuss FTX Canada due diligence. EY attendees: H. Choudary, D.
Shnaider,Jeremy             0       Partner/Principal   5/23/2023           Non US Tax            Katsnelson, S. Mak, T. Nasir, M. Leon, C. Charbonneau, A. Tse, C. MacLean, J. Shnaider, and D.             0.3     $825.00       $247.50
                                                                                                  Hammon
                                                                                                  Discussion regarding the pending information of FTX EU Ltd. EY attendees: A. Tsikkouris and D.
Hammon,David Lane         DLH           Manager         5/23/2023           Non US Tax                                                                                                                       0.2     $525.00       $105.00
                                                                                                  Hammon
Katsnelson,David           DK           Manager         5/5/2023          Transfer Pricing        Discussion on TP priorities. EY attendees: A. Bost and D. Katsnelson                                       0.5     $525.00       $262.50
Shea JR,Thomas M          TMS       Partner/Principal   5/9/2023          US Income Tax           Discussion re: intercompany matrices. EY attendees: A. Bost and T. Shea                                    0.3     $825.00       $247.50
Di Stefano,Giulia         GDS            Senior         5/9/2023          Transfer Pricing        Discussion re: intercompany matrices. EY attendees: A. Bost and G. Di Stefano                              0.4     $395.00       $158.00
Katsnelson,David           DK           Manager         5/10/2023         Transfer Pricing        Discussion to determine TP priorities and next steps. EY attendees: A. Bost and D. Katsnelson              0.3     $525.00       $157.50

Katsnelson,David           DK           Manager         5/11/2023         Transfer Pricing        Discussion to determine TP priorities and next steps. EY attendees: A. Bost and D. Katsnelson              0.6     $525.00       $315.00
                                                                                                  Discussion about the interaction between Alameda and FTX to consider the impact on BVI. EY
Fitzmaurice,Sean           SF           Manager         5/18/2023           Non US Tax                                                                                                                       0.4     $525.00       $210.00
                                                                                                  attendees: A. Bost, S. Fitzmaurice, and O. Espley-Ault
                                                                                                  Discussion about the interaction between Alameda and FTX to consider the impact on BVI. EY
Bost,Anne                  BA       Managing Director   5/18/2023         Transfer Pricing                                                                                                                   0.4     $775.00       $310.00
                                                                                                  attendees: A. Bost, S. Fitzmaurice, and O. Espley-Ault
                                      Client Serving                                              Discussion re: IRS proof of claim filings. EY attendees: T. Shea, J. Scott, N. Flagg, T. Ferris, and J.
Scott,James                JS                           5/4/2023          US Income Tax                                                                                                                      0.5     $600.00       $300.00
                                      Contractor JS                                               Healy
                                                                                                  Discussion re: IRS proof of claim filings. EY attendees: T. Shea, J. Scott, N. Flagg, T. Ferris, and J.
Flagg,Nancy A.            NAF       Managing Director   5/4/2023         IRS Audit Matters                                                                                                                   0.5     $775.00       $387.50
                                                                                                  Healy
                                                                                                  Discussion re: IRS proof of claim filings. EY attendees: T. Shea, J. Scott, N. Flagg, T. Ferris, and J.
Ferris,Tara                TF       Partner/Principal   5/4/2023         IRS Audit Matters                                                                                                                   0.5     $825.00       $412.50
                                                                                                  Healy
                                                                                                  Discussion re: IRS proof of claim filings. EY attendees: T. Shea, J. Scott, N. Flagg, T. Ferris, and J.
Healy,John                 JH        Senior Manager     5/4/2023         IRS Audit Matters                                                                                                                   0.5     $650.00       $325.00
                                                                                                  Healy
Ferris,Tara                TF       Partner/Principal   5/5/2023         IRS Audit Matters        Discussion re: IRS proof of claim filings. EY attendees: T. Shea, T. Ferris, and J. Healy                  0.3     $825.00       $247.50
Healy,John                 JH       Senior Manager      5/5/2023         IRS Audit Matters        Discussion re: IRS proof of claim filings. EY attendees: T. Shea, T. Ferris, and J. Healy                  0.3     $650.00       $195.00
                                                                                                  Discuss IRS claim detail compilation and provide comments for updates. EY attendees: N. Flagg
Lubic,Jake                 JL             Staff         5/8/2023      US State and Local Tax                                                                                                                 0.3     $225.00        $67.50
                                                                                                  and J. Lubic
Gil Diez de Leon,Marta    MDL           Manager         5/18/2023        Value Added Tax          Discussion re: Bahamas VAT returns. EY attendees: M. Gil Diez de Leon and O. Espley-Ault                   0.6     $525.00       $315.00

Zhu,Philip                 PZ            Senior         5/4/2023        US International Tax      Internal meeting to discuss ITS compliance. EY attendees: R. Yang, P. Zhu, M. Zhou, and D. Ortiz           0.5     $395.00       $197.50

Zhuo,Melody                MZ             Staff         5/4/2023        US International Tax      Internal meeting to discuss ITS compliance. EY attendees: R. Yang, P. Zhu, M. Zhou, and D. Ortiz           0.5     $225.00       $112.50

Ortiz,Daniella             DO             Staff         5/4/2023        US International Tax      Internal meeting to discuss ITS compliance. EY attendees: R. Yang, P. Zhu, M. Zhou, and D. Ortiz           0.5     $225.00       $112.50

Zhu,Philip                 PZ            Senior         5/31/2023       US International Tax      Internal meeting to discuss ITS compliance. EY attendees: R. Yang, P. Zhu, M. Zhou, and D. Ortiz           1.0     $395.00       $395.00

Zhuo,Melody                MZ             Staff         5/31/2023       US International Tax      Internal meeting to discuss ITS compliance. EY attendees: R. Yang, P. Zhu, M. Zhou, and D. Ortiz           1.0     $225.00       $225.00

Ortiz,Daniella             DO             Staff         5/31/2023       US International Tax      Internal meeting to discuss ITS compliance. EY attendees: R. Yang, P. Zhu, M. Zhou, and D. Ortiz           1.0     $225.00       $225.00
                                                                                                  Internal meeting to review state apportionment source data and map out revenue streams customer
Cavusoglu,Coskun           CC       Partner/Principal   5/1/2023            Technology                                                                                                                       1.1     $825.00       $907.50
                                                                                                  detail to trial balance. EY attendees: M. Musano and C. Cavusoglu
                                                                                                  Meeting to walk through sales and use tax gap analysis. EY attendees: M. Musano, J. Jimenez, and
Musano,Matthew Albert    MAM         Senior Manager     5/31/2023     US State and Local Tax                                                                                                                 0.3     $650.00       $195.00
                                                                                                  E. Hall
                                                                                                  Meeting to walk through sales and use tax gap analysis. EY attendees: M. Musano, J. Jimenez, and
Hall,Emily Melissa        EMH            Senior         5/31/2023     US State and Local Tax                                                                                                                 0.3     $395.00       $118.50
                                                                                                  E. Hall
                                      Client Serving
Scott,James                JS                           5/19/2023         US Income Tax           Team leads prep call. EY attendees: T. Shea and J. Scott                                                   0.2     $600.00       $120.00
                                      Contractor JS
                                                                                                  Internal meeting to discuss options for evaluation of local tax exposure given lack of available
Hammon,David Lane         DLH           Manager         5/31/2023           Non US Tax                                                                                                                       0.3     $525.00       $157.50
                                                                                                  information. EY attendees: D. Hammon, C. Maclean, and L. Phillips
                                                                                                  Internal meeting to discuss options for evaluation of local tax exposure given lack of available
MacLean,Corrie            CM             Senior         5/31/2023           Non US Tax                                                                                                                       0.3     $395.00       $118.50
                                                                                                  information. EY attendees: D. Hammon, C. Maclean, and L. Phillips
Neziroski,David            DN           Associate       5/1/2023    Fee/Employment Applications   Begin to confidentiality review of April time entries                                                      0.5     $365.00       $182.50
Neziroski,David            DN           Associate       5/2/2023    Fee/Employment Applications   Continue with confidentiality review of April time entries                                                 0.9     $365.00       $328.50
Neziroski,David            DN           Associate       5/3/2023    Fee/Employment Applications   Continue with confidentiality review of April time entries                                                 2.5     $365.00       $912.50
                                                                                                  Continued discussions regarding February fee application. Attendees: C. Ancona, T. Shea, C.
Neziroski,David            DN           Associate       5/3/2023    Fee/Employment Applications                                                                                                              0.5     $365.00       $182.50
                                                                                                  Tong, and D. Neziroski
Neziroski,David            DN           Associate       5/3/2023    Fee/Employment Applications   Meeting to discuss February Fee application. EY attendees: C. Ancona and D. Neziroski                      0.4     $365.00       $146.00
Neziroski,David            DN           Associate       5/4/2023    Fee/Employment Applications   Continue with confidentiality review of April time entries                                                 1.1     $365.00       $401.50
                                                                                                  FTX Fee Application Touchpoint to review February fee application. EY attendees: C. Ancona, C.
Neziroski,David            DN           Associate       5/4/2023    Fee/Employment Applications                                                                                                              0.6     $365.00       $219.00
                                                                                                  Tong, H. Choudary, D. Neziroski, and S. Cahalane
Neziroski,David            DN           Associate       5/8/2023    Fee/Employment Applications   Continue with confidentiality review of April time entries                                                 2.2     $365.00       $803.00
                                                                                                  Meeting to review the February fee application. EY attendees: C. Ancona, C. Tong, H. Choudary,
Neziroski,David            DN           Associate       5/8/2023    Fee/Employment Applications                                                                                                              0.6     $365.00       $219.00
                                                                                                  D. Neziroski, and S. Cahalane
Neziroski,David            DN           Associate        5/9/2023   Fee/Employment Applications   Continue with confidentiality review of April time entries                                                 0.7     $365.00        $255.50
Neziroski,David            DN           Associate       5/15/2023   Fee/Employment Applications   Continue review of April time entries for confidentiality issues                                           1.1     $365.00       $401.50
Neziroski,David            DN           Associate       5/16/2023   Fee/Employment Applications   Continue with confidentiality review of April time entries                                                 3.7     $365.00      $1,350.50
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                                             Date of
              Name   Initials    Rank                        Project Category                                            Description of Services                                      Hours     Hourly Rate      Fees
                                             Service
Neziroski,David        DN       Associate   5/17/2023   Fee/Employment Applications   Continue with confidentiality review of April time entries                                       3.3       $365.00          $1,204.50
                                                                                      Meeting to discuss the processing of the monthly fee application. EY attendees: C. Ancona, C.
Neziroski,David        DN       Associate   5/17/2023   Fee/Employment Applications                                                                                                    0.6       $365.00           $219.00
                                                                                      Tong, D. Neziroski, S. Cahalane, and H. Choudary
                                                                                      Meeting to discuss upcoming FTX tax deliverables deadlines. EY attendees: C. Ancona, C. Tong,
Neziroski,David        DN       Associate   5/17/2023   Fee/Employment Applications                                                                                                    0.4       $365.00           $146.00
                                                                                      B. Richards, D. Neziroski, and S. Cahalane
Neziroski,David        DN       Associate   5/18/2023   Fee/Employment Applications   Continue review of April time entries for confidentiality issues                                 2.7       $365.00           $985.50
Neziroski,David        DN       Associate   5/22/2023   Fee/Employment Applications   Continue review of April time entries for confidentiality issues                                 2.4       $365.00           $876.00
Neziroski,David        DN       Associate   5/24/2023   Fee/Employment Applications   Continue with confidentiality review of April time entries                                       2.1       $365.00           $766.50
                                                                                      Meeting to discuss the processing of the monthly fee application. EY attendees: C. Ancona, C.
Neziroski,David        DN       Associate   5/24/2023   Fee/Employment Applications                                                                                                    0.3       $365.00           $109.50
                                                                                      Tong, D. Neziroski, S. Cahalane, and H. Choudary
Neziroski,David        DN       Associate   5/31/2023   Fee/Employment Applications   Continue with confidentiality review of April time entries                                       3.1       $365.00          $1,131.50
                                                                                      Meeting to discuss the processing of the monthly fee application. EY attendees: C. Ancona, C.
Neziroski,David        DN       Associate   5/31/2023   Fee/Employment Applications                                                                                                    0.6       $365.00           $219.00
                                                                                      Tong, D. Neziroski, S. Cahalane, and H. Choudary
Total                                                                                                                                                                                 2,526.7                 $1,327,255.00
